Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 1 of 203




                             1
Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 2 of 203
Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 3 of 203
Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 4 of 203
Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 5 of 203
Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 6 of 203
       Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 7 of 203



                                        Town of Carlisle
                                            Office of
                                     BOARD OF HEALTH
                                      66 Westford Street                       Tel.: (978) 369-0283
                                      Carlisle, MA 01741                       Fax: (978) 369-4521



                                       BOARD OF HEALTH
                                         Meeting Agenda
                                       Tuesday, May 11, 2021
                                             7:00 PM
                                     REMOTE PARTICIPATION

Join Zoom Meeting
https://us02web.zoom.us/j/84001487216

Meeting ID: 840 0148 7216
One tap mobile
+13126266799,,84001487216# US (Chicago)
+19292056099,,84001487216# US (New York)

Dial by your location
     +1 929 205 6099 US (New York)

7:00            Minutes

7:15            Old Home Day Planning (Niles Cocanour)

7:30            Reciprocal Hazardous Waste Agreement (Barny Arnold)

7:45            Summer Fun Program (Holly Mansfield)

8:00            Benfield Farms
                   ▪ Peer Review Consultant Selection
                   ▪ Research report from Meridian Engineering

Discussion Items
              COVID-19 status report
              Public Health Excellence Grant
              Town Caucus


The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting.
Additional topics not anticipated may be discussed at the meeting under the agenda item New Business.
    ______________________________________________________________________________

Meeting Dates - May 25

Upcoming:


                                                                                                  BOH001
       Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 8 of 203




                                       Town of Carlisle
                                            Office of
                                     BOARD OF HEALTH
                                      66 Westford Street                       Tel.: (978) 369-0283
                                      Carlisle, MA 01741                       Fax: (978) 369-4521



                                        BOARD OF HEALTH
                                           Meeting Agenda
                               January 5, 2021 via Remote Participation
                                               7:00 PM

Join Zoom Meeting
https://us02web.zoom.us/j/82419013882

Meeting ID: 824 1901 3882
One tap mobile
+19292056099,,82419013882# US (New York)
Dial by your location
     +1 929 205 6099 US (New York)



7:00            Minutes



Discussion Items
              COVID-19 status report
              Personnel Requests
              Benfield Status Report



The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting.
Additional topics not anticipated may be discussed at the meeting under the agenda item New Business.
    ______________________________________________________________________________

Meeting Dates -    July 28, 2020

Upcoming:




                                                                                                  BOH002
        Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 9 of 203




                                       Town of Carlisle
                                            Office of
                                     BOARD OF HEALTH
                                      66 Westford Street                       Tel.: (978) 369-0283
                                      Carlisle, MA 01741                       Fax: (978) 369-4521



                                       BOARD OF HEALTH
                                      Special Meeting Agenda
                              January 26, 2021 via Remote Participation
                                              7:00 PM

                                            Join Zoom Meeting
                                 https://us02web.zoom.us/j/86751194223


                                    Meeting ID: 867 5119 4223
                                          One tap mobile
                          +13017158592,,86751194223# US (Washington D.C)

                                         Dial by your location
                                    +1 929 205 6099 US (New York)




7:00            Benfield Farms – Conceptual Plan for System Upgrade (Meridian Engineering)



DISCUSSION ITEMS
          COVID-19 Vaccination Clinic Staffing



The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting.
Additional topics not anticipated may be discussed at the meeting under the agenda item New Business.
    ______________________________________________________________________________


Next Meeting: February 2, 2021




                                                                                                      BOH003
        Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 10 of 203


                                       Town of Carlisle
                                            Office of
                                     BOARD OF HEALTH
                                      66 Westford Street                       Tel.: (978) 369-0283
                                      Carlisle, MA 01741                       Fax: (978) 369-4521



                                       BOARD OF HEALTH
                                         Meeting Agenda
                                      Wednesday, May 26, 2021
                                             7:00 PM
                                     REMOTE PARTICIPATION

Join Zoom Meeting
https://us02web.zoom.us/j/82189659567

Meeting ID: 821 8965 9567
One tap mobile
+13017158592,,82189659567# US (Washington DC)
+13126266799,,82189659567# US (Chicago)

Dial by your location
     +1 929 205 6099 US (New York)


7:00            Minutes 1/19/21 3/23/21; 4/20/21; 4/27/21; and 5/11/21 (pending)

7:15            Reciprocal Hazardous Waste Agreement (Barny Arnold)

7:30            56 Bellows Hill Road – Accessory Apartment (Sabatini)

8:00            Birch Lane Septic Installations and Fees – request to modify (Brem)

Discussion Items
              95 Hanover Road – status report
              Benfield Farms – status report
              COVID-19
                  Local Data
                  Town Hall Reopening
                  Regional Clinic Update
                  Local Clinic Discussion
              Public Health Excellence Grant
              Board of Health Vacancies


The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting.
Additional topics not anticipated may be discussed at the meeting under the agenda item New Business.
    ______________________________________________________________________________

Meeting Dates - tbd
Upcoming:       Town Meeting 6/6/21; Town Election 6/22/21

                                                                                                      BOH004
         Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 11 of 203




                                       Town of Carlisle
                                            Office of
                                     BOARD OF HEALTH
                                      66 Westford Street                       Tel.: (978) 369-0283
                                      Carlisle, MA 01741                       Fax: (978) 369-4521



                                         BOARD OF HEALTH
                                          Meeting Agenda v.2
                                       Tuesday, February 2, 2021
                                         Remote Participation
                                               7:00 PM


Join Zoom Meeting
https://us02web.zoom.us/j/88651968447

Meeting ID: 886 5196 8447
One tap mobile
+13017158592,,88651968447# US (Washington DC)

Dial by your location
     +1 929 205 6099 US (New York)



7:00            Minutes

7:15            60 Garnet Rock – septic system installation

7:30            Continued Public Hearing: 49 Concord Street – septic system upgrade requiring
                local approval waivers

Discussion Items
              COVID-19 report
              Personnel Requests - update
              FY22 Budget Request - update



The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting.
Additional topics not anticipated may be discussed at the meeting under the agenda item New Business.
    ______________________________________________________________________________

Meeting Dates -

Upcoming:



                                                                                                      BOH005
        Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 12 of 203


                                       Town of Carlisle
                                            Office of
                                     BOARD OF HEALTH
                                      66 Westford Street                       Tel.: (978) 369-0283
                                      Carlisle, MA 01741                       Fax: (978) 369-4521



                                       BOARD OF HEALTH
                                          Meeting Agenda
                                    Wednesday, August 11, 2021 v 2
                                             7:00 PM
                                    REMOTE PARTICIPATION


Meeting ID: 874 9423 6919
Join Zoom Meeting
https://us02web.zoom.us/j/87494236919

One tap mobile
+19292056099,87494236919# US (New York)



7:00            Minutes

7:15            Public Hearing - 142 Russell St – Septic System Upgrade
                Request for Local Upgrade Approval Waiver
                   • Distance to wetlands

7:30            Discussion Items
                COVID-19 status report
                   • State Guidance
                   • Carlisle data
                   • Old Home Day – Mobile Vaccine Unit
                   • Public Health Nurse access
                   • BinaxNOW test kits for local public health
                Senior Flu Clinic Planning
                PFA’s – state grant

8:00            Benfield Farms – Septic System Upgrade
                   • Design Review Comments
                   • Discussion of Enforceable Agreement
                   • Fees
New Business

The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting.
Additional topics not anticipated may be discussed at the meeting under the agenda item New Business.
    ______________________________________________________________________________

Meeting Dates -    TBD
Upcoming:

                                                                                                      BOH006
       Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 13 of 203
                                       Town of Carlisle
                                            Office of
                                     BOARD OF HEALTH
                                      66 Westford Street                       Tel.: (978) 369-0283
                                      Carlisle, MA 01741                       Fax: (978) 369-4521



                                        BOARD OF HEALTH
                                               Agenda
                                      Tuesday, February 16, 2021
                                               7:00 PM

                                          Remote Participation

https://us02web.zoom.us/j/87138020098

Meeting ID: 871 3802 0098
One tap mobile
+19292056099,,87138020098# US (New York)

Dial by your location
     +1 929 205 6099 US (New York)


7:00            Minutes -1/19/21; 1/26/21

7:15            60 Garnet Rock Lane – septic system installation
                     Status of Certificate of Compliance
                     Discussion of Installation Delays with Installer


DISCUSSION ITEMS
           COVID-19 General Update
                Vaccination Clinic Update
           Goals Workshop – report
           FY22 Budget Update (if available)
           Personnel Requests
                Health Dept. Staff
                Vaccination Clinic Staffing
           Annual Report Preparation




The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting.
Additional topics not anticipated may be discussed at the meeting under the agenda item New Business.
    ______________________________________________________________________________

Meeting Dates -

Upcoming:



                                                                                                      BOH007
        Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 14 of 203




                                       Town of Carlisle
                                            Office of
                                     BOARD OF HEALTH
                                      66 Westford Street                       Tel.: (978) 369-0283
                                      Carlisle, MA 01741                       Fax: (978) 369-4521



                                        BOARD OF HEALTH
                                          Meeting Agenda
                                      Wednesday August 25, 2021
                                             7:00 PM
                                     REMOTE PARTICIPATION

https://us02web.zoom.us/j/86268667814

Meeting ID: 862 6866 7814
One tap mobile
+19292056099,,86268667814# US (New York)

Dial by your location
     +1 929 205 6099 US (New York)



7:00            Minutes

7:15            PH continued 142 Russell Street – septic system upgrade requiring local
                waiver for setback to wetlands

Discussion Items
              COVID 19
                 • Community status
                 • Testing and Vaccinations




New Business

The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting.
Additional topics not anticipated may be discussed at the meeting under the agenda item New Business.
    ______________________________________________________________________________

Meeting Dates -    8/25/21
Upcoming:




                                                                                                      BOH008
       Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 15 of 203




                                       Town of Carlisle
                                            Office of
                                     BOARD OF HEALTH
                                      66 Westford Street                       Tel.: (978) 369-0283
                                      Carlisle, MA 01741                       Fax: (978) 369-4521



                                        BOARD OF HEALTH
                                          Meeting Agenda
                                       Tuesday, March 9, 2021
                                             7:00 PM
                                     REMOTE PARTICIPATION

Join Zoom Meeting
https://us02web.zoom.us/j/83279854137

Meeting ID: 832 7985 4137
One tap mobile
+13017158592,,83279854137# US (Washington DC)

Dial by your location
     +1 929 205 6099 US (New York)


7:00            Minutes 10/10/19, 2/16/21

7:30            Benfield Farms – status report from Meridian Engineering

Discussion Items
              27 Old East Street – Accessory Apartment Appeal
              Open Space & Recreation Draft – comments
              COVID-19 report
              FY22 Budget
              Personnel Request
              2020 Community Chest Grant Status Report


The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting.
Additional topics not anticipated may be discussed at the meeting under the agenda item New Business.
    ______________________________________________________________________________

Meeting Dates - July 28, 2020

Upcoming:




                                                                                                 BOH009
        Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 16 of 203




                                       Town of Carlisle
                                            Office of
                                     BOARD OF HEALTH
                                      66 Westford Street                       Tel.: (978) 369-0283
                                      Carlisle, MA 01741                       Fax: (978) 369-4521



                                       BOARD OF HEALTH
                                          Meeting Agenda
                                    Wednesday September 22, 2021
                                             7:00 PM
                                    REMOTE PARTICIPATION


Join Zoom Meeting
https://us02web.zoom.us/j/86136555525

Meeting ID: 861 3655 5525
One tap mobile
+13017158592,,86136555525# US (Washington DC)
+13126266799,,86136555525# US (Chicago)




7:00            Minutes

Discussion Items
              COVID-19 Status Report
              Benfield Farms – Septic System Upgrade

New Business


The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting.
Additional topics not anticipated may be discussed at the meeting under the agenda item New Business.
    ______________________________________________________________________________

Meeting Dates
Upcoming:




                                                                                                      BOH010
       Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 17 of 203
                                       Town of Carlisle
                                            Office of
                                     BOARD OF HEALTH
                                      66 Westford Street                  Tel.: (978) 369-0283
                                      Carlisle, MA 01741                  Fax: (978) 369-4521



                                        BOARD OF HEALTH
                                             Agenda v 3
                                       Tuesday, March 23, 2021
                                              7:00 PM

                                         Remote Participation

Join Zoom Meeting
https://us02web.zoom.us/j/83210927189

Meeting ID: 832 1092 7189
One tap mobile
+19292056099,,83210927189# US (New York)

Dial by your location
     +1 929 205 6099 US (New York)


7:00           Minutes

7:10-7:30      95 Hanover Road – septic system installation (Nouvellon)

7:30-8:15      Benfield Farms – septic system upgrade
               7:30-7:45       Plan presentation
               7:45-8:15       Board discussion, Q&A

8:15-8:30      27 Old East Street – Accessory Apartment – septic upgrade status

8:30-8:40      Open Space and Recreation Plan – Board comments

8:40-9:00      Other Discussion Items
                   COVID-19 Updates
                   Carlisle Public School RTN 3-35688 report from Omni Environmental
                   Garrison Place – status of Septic Escrow Account, Operations Manual, Sampling
                      Results
                   Public Health Excellence Grant Opportunity
                   FY22 Budget Update
                   Municipal Vulnerability Grant – March 27th Workshop




                                                                                                 BOH011
      Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 18 of 203




The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting.
Additional topics not anticipated may be discussed at the meeting under the agenda item New Business.
    ______________________________________________________________________________

Meeting Dates -

Upcoming:




                                                                                                  BOH012
        Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 19 of 203
                                       Town of Carlisle
                                            Office of
                                     BOARD OF HEALTH
                                      66 Westford Street                       Tel.: (978) 369-0283
                                      Carlisle, MA 01741                       Fax: (978) 369-4521



                                       BOARD OF HEALTH
                                        Meeting Agenda v.3
                                      Wednesday, October 6 2021
                                             7:00 PM
                                     REMOTE PARTICIPATION

Join Zoom Meeting
https://us02web.zoom.us/j/81885830886

Meeting ID: 818 8583 0886
One tap mobile
+13017158592,,81885830886# US (Washington DC)
+13126266799,,81885830886# US (Chicago)

Dial by your location
     +1 929 205 6099 US (New York)


7:00            Minutes

7:15            75 Peter Hans Road (O’Brien) – request to modify existing Deed Restriction to
                accommodate new addition

7:30            288 Lowell Street (Guecia) – Deed Restriction request to add rooms

DISSCUSSION ITEMS
          COVID-19 –
              Status Report
              Mask Mandate
          Glass Recycling Proposition
          Fern’s Country Store – Water Issue Update

8:00            Benfield Farms Septic Upgrade (To be Rescheduled)

8:05            Garrison Place – discussion of Permit Conditions


NEW BUSINESS

The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting.
Additional topics not anticipated may be discussed at the meeting under the agenda item New Business.

Meeting Dates -    10/27/21
Upcoming:



                                                                                                      BOH013
       Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 20 of 203



                                        Town of Carlisle
                                            Office of
                                     BOARD OF HEALTH
                                      66 Westford Street                       Tel.: (978) 369-0283
                                      Carlisle, MA 01741                       Fax: (978) 369-4521



                                       BOARD OF HEALTH
                                         Meeting Agenda
                                       Tuesday, May 11, 2021
                                             7:00 PM
                                     REMOTE PARTICIPATION

Join Zoom Meeting
https://us02web.zoom.us/j/84001487216

Meeting ID: 840 0148 7216
One tap mobile
+13126266799,,84001487216# US (Chicago)
+19292056099,,84001487216# US (New York)

Dial by your location
     +1 929 205 6099 US (New York)

7:00            Minutes

7:15            Old Home Day Planning (Niles Cocanour)

7:30            Reciprocal Hazardous Waste Agreement (Barny Arnold)

7:45            Summer Fun Program (Holly Mansfield)

8:00            Benfield Farms
                   ▪ Peer Review Consultant Selection
                   ▪ Research report from Meridian Engineering

Discussion Items
              COVID-19 status report
              Public Health Excellence Grant
              Town Caucus


The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting.
Additional topics not anticipated may be discussed at the meeting under the agenda item New Business.
    ______________________________________________________________________________

Meeting Dates - May 25

Upcoming:


                                                                                                  BOH014
        Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 21 of 203
                                         Town of Carlisle
                                              Office of
                                       BOARD OF HEALTH
                                        66 Westford Street                     Tel.: (978) 369-0283
                                        Carlisle, MA 01741                     Fax: (978) 369-4521



                                       BOARD OF HEALTH
                                         Meeting Agenda
                                  Wednesday, November 10, 2021 v 2
                                             7:00 PM
                                   REMOTE PARTICIPATION

https://us02web.zoom.us/j/84298206729

Meeting ID: 842 9820 6729
One tap mobile
+13017158592,,84298206729# US (Washington DC)
+13126266799,,84298206729# US (Chicago)

Dial by your location
     +1 929 205 6099 US (New York)



7:00            Minutes

7:15            Clark Farm Stand – septic system permit

7:45            0 South Street – Senior Residential Open Space presentation


DISSCUSSION ITEMS
          Benfield Farms Leach Field Installation – update
          PFA’s status report
          COVID-19 town status


NEW BUSINESS

The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting.
Additional topics not anticipated may be discussed at the meeting under the agenda item New Business.

Meeting Dates -    12/1/21, 12/15/21
Upcoming:




                                                                                                      BOH015
        Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 22 of 203


                                       Town of Carlisle
                                            Office of
                                     BOARD OF HEALTH
                                      66 Westford Street                       Tel.: (978) 369-0283
                                      Carlisle, MA 01741                       Fax: (978) 369-4521



                                       BOARD OF HEALTH
                                         Meeting Agenda
                                      Wednesday, May 26, 2021
                                             7:00 PM
                                     REMOTE PARTICIPATION

Join Zoom Meeting
https://us02web.zoom.us/j/82189659567

Meeting ID: 821 8965 9567
One tap mobile
+13017158592,,82189659567# US (Washington DC)
+13126266799,,82189659567# US (Chicago)

Dial by your location
     +1 929 205 6099 US (New York)


7:00            Minutes 1/19/21 3/23/21; 4/20/21; 4/27/21; and 5/11/21 (pending)

7:15            Reciprocal Hazardous Waste Agreement (Barny Arnold)

7:30            56 Bellows Hill Road – Accessory Apartment (Sabatini)

8:00            Birch Lane Septic Installations and Fees – request to modify (Brem)

Discussion Items
              95 Hanover Road – status report
              Benfield Farms – status report
              COVID-19
                  Local Data
                  Town Hall Reopening
                  Regional Clinic Update
                  Local Clinic Discussion
              Public Health Excellence Grant
              Board of Health Vacancies


The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting.
Additional topics not anticipated may be discussed at the meeting under the agenda item New Business.
    ______________________________________________________________________________

Meeting Dates - tbd
Upcoming:       Town Meeting 6/6/21; Town Election 6/22/21

                                                                                                      BOH016
        Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 23 of 203
                                       Town of Carlisle
                                            Office of
                                     BOARD OF HEALTH
                                      66 Westford Street                       Tel.: (978) 369-0283
                                      Carlisle, MA 01741                       Fax: (978) 369-4521



                                        BOARD OF HEALTH
                                     Rescheduled Meeting Agenda
                                    Tuesday, November 16, 2021 V2
                                              7:00 PM
                                     REMOTE PARTICIPATION

Join Zoom Meeting
https://us02web.zoom.us/j/86574678913

Meeting ID: 865 7467 8913
One tap mobile
+19292056099,,86574678913# US (New York)

Dial by your location
     +1 929 205 6099 US (New York)



7:00            Minutes 10/27/21

7:15            Clark Farm Stand – septic system permit
                (Geoffrey Freeman)

7:45            0 South Street – Senior Residential Open Space Application
                (Hancock Engineering – Brian Geaudreau)

8:00            DISSCUSSION ITEMS
                   ▪ Benfield Farms Leach Field Installation – update
                   ▪ PFA’s status report – to be rescheduled

8:10            COVID-19 - town status

NEW BUSINESS

8:40            Executive Session pursuant to M. G. L. c. 30A sec. 21(a)(3) to discuss strategy
                with respect to litigation: Michael Bush et al. v. Town of Carlisle et al., United
                States District Court for the District of Massachusetts Case No. 1:21-cv-11794-
                ADB.

The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting.
Additional topics not anticipated may be discussed at the meeting under the agenda item New Business.

Meeting Dates -    12/15/21
Upcoming:




                                                                                                      BOH017
        Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 24 of 203


                                       Town of Carlisle
                                            Office of
                                     BOARD OF HEALTH
                                      66 Westford Street                       Tel.: (978) 369-0283
                                      Carlisle, MA 01741                       Fax: (978) 369-4521



                                       BOARD OF HEALTH
                                          Meeting Agenda
                                    Wednesday, August 11, 2021 v 2
                                             7:00 PM
                                    REMOTE PARTICIPATION


Meeting ID: 874 9423 6919
Join Zoom Meeting
https://us02web.zoom.us/j/87494236919

One tap mobile
+19292056099,87494236919# US (New York)



7:00            Minutes

7:15            Public Hearing - 142 Russell St – Septic System Upgrade
                Request for Local Upgrade Approval Waiver
                   • Distance to wetlands

7:30            Discussion Items
                COVID-19 status report
                   • State Guidance
                   • Carlisle data
                   • Old Home Day – Mobile Vaccine Unit
                   • Public Health Nurse access
                   • BinaxNOW test kits for local public health
                Senior Flu Clinic Planning
                PFA’s – state grant

8:00            Benfield Farms – Septic System Upgrade
                   • Design Review Comments
                   • Discussion of Enforceable Agreement
                   • Fees
New Business

The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting.
Additional topics not anticipated may be discussed at the meeting under the agenda item New Business.
    ______________________________________________________________________________

Meeting Dates -    TBD
Upcoming:

                                                                                                      BOH018
        Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 25 of 203
                                       Town of Carlisle
                                            Office of
                                     BOARD OF HEALTH
                                      66 Westford Street                       Tel.: (978) 369-0283
                                      Carlisle, MA 01741                       Fax: (978) 369-4521




                                       BOARD OF HEALTH
                                          Meeting Agenda
                                    Wednesday, November 17, 2021
                                             7:00 PM
                                    REMOTE PARTICIPATION

https://us02web.zoom.us/j/86574678913

Meeting ID: 865 7467 8913
One tap mobile
+19292056099,,86574678913# US (New York)

Dial by your location
     +1 929 205 6099 US (New York)
Meeting ID: 865 7467 8913


7:00            Minutes

7:15            Clark Farm Stand – septic system permit

7:45            0 South Street – Senior Residential Open Space presentation


DISSCUSSION ITEMS
          Benfield Farms Leach Field Installation – update
          PFA’s status report
          COVID-19 town status


NEW BUSINESS

The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting.
Additional topics not anticipated may be discussed at the meeting under the agenda item New Business.

Meeting Dates -    12/15/21
Upcoming:




                                                                                                      BOH019
        Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 26 of 203




                                       Town of Carlisle
                                            Office of
                                     BOARD OF HEALTH
                                      66 Westford Street                       Tel.: (978) 369-0283
                                      Carlisle, MA 01741                       Fax: (978) 369-4521



                                        BOARD OF HEALTH
                                          Meeting Agenda
                                      Wednesday August 25, 2021
                                             7:00 PM
                                     REMOTE PARTICIPATION

https://us02web.zoom.us/j/86268667814

Meeting ID: 862 6866 7814
One tap mobile
+19292056099,,86268667814# US (New York)

Dial by your location
     +1 929 205 6099 US (New York)



7:00            Minutes

7:15            PH continued 142 Russell Street – septic system upgrade requiring local
                waiver for setback to wetlands

Discussion Items
              COVID 19
                 • Community status
                 • Testing and Vaccinations




New Business

The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting.
Additional topics not anticipated may be discussed at the meeting under the agenda item New Business.
    ______________________________________________________________________________

Meeting Dates -    8/25/21
Upcoming:




                                                                                                      BOH020
        Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 27 of 203
                                       Town of Carlisle
                                            Office of
                                     BOARD OF HEALTH
                                      66 Westford Street                       Tel.: (978) 369-0283
                                      Carlisle, MA 01741                       Fax: (978) 369-4521



                                       BOARD OF HEALTH
                                       Special Meeting Agenda
                                     Tuesday, November 23, 2021
                                               8:00 AM
                                     REMOTE PARTICIPATION


Join Zoom Meeting
https://us02web.zoom.us/j/86121936991?pwd=Sitrd3hMR1F3NFpHMTA2d2V2emd4Zz09

Meeting ID: 861 2193 6991
Passcode: 846379




8:00            NEW BUSINESS

                Executive Session pursuant to M. G. L. c. 30A sec. 21(a)(3) to discuss strategy
                with respect to litigation: Michael Bush et al. v. Town of Carlisle et al., United
                States District Court for the District of Massachusetts Case No. 1:21-cv-11794-
                ADB.

The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting.
Additional topics not anticipated may be discussed at the meeting under the agenda item New Business.

Meeting Dates -    12/15/21
Upcoming:




                                                                                                      BOH021
        Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 28 of 203




                                       Town of Carlisle
                                            Office of
                                     BOARD OF HEALTH
                                      66 Westford Street                       Tel.: (978) 369-0283
                                      Carlisle, MA 01741                       Fax: (978) 369-4521



                                       BOARD OF HEALTH
                                          Meeting Agenda
                                    Wednesday September 22, 2021
                                             7:00 PM
                                    REMOTE PARTICIPATION


Join Zoom Meeting
https://us02web.zoom.us/j/86136555525

Meeting ID: 861 3655 5525
One tap mobile
+13017158592,,86136555525# US (Washington DC)
+13126266799,,86136555525# US (Chicago)




7:00            Minutes

Discussion Items
              COVID-19 Status Report
              Benfield Farms – Septic System Upgrade

New Business


The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting.
Additional topics not anticipated may be discussed at the meeting under the agenda item New Business.
    ______________________________________________________________________________

Meeting Dates
Upcoming:




                                                                                                      BOH022
        Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 29 of 203
                                       Town of Carlisle
                                            Office of
                                     BOARD OF HEALTH
                                      66 Westford Street                       Tel.: (978) 369-0283
                                      Carlisle, MA 01741                       Fax: (978) 369-4521



                                       BOARD OF HEALTH
                                        Meeting Agenda v.3
                                      Wednesday, October 6 2021
                                             7:00 PM
                                     REMOTE PARTICIPATION

Join Zoom Meeting
https://us02web.zoom.us/j/81885830886

Meeting ID: 818 8583 0886
One tap mobile
+13017158592,,81885830886# US (Washington DC)
+13126266799,,81885830886# US (Chicago)

Dial by your location
     +1 929 205 6099 US (New York)


7:00            Minutes

7:15            75 Peter Hans Road (O’Brien) – request to modify existing Deed Restriction to
                accommodate new addition

7:30            288 Lowell Street (Guecia) – Deed Restriction request to add rooms

DISSCUSSION ITEMS
          COVID-19 –
              Status Report
              Mask Mandate
          Glass Recycling Proposition
          Fern’s Country Store – Water Issue Update

8:00            Benfield Farms Septic Upgrade (To be Rescheduled)

8:05            Garrison Place – discussion of Permit Conditions


NEW BUSINESS

The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting.
Additional topics not anticipated may be discussed at the meeting under the agenda item New Business.

Meeting Dates -    10/27/21
Upcoming:



                                                                                                      BOH023
        Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 30 of 203
                                       Town of Carlisle
                                            Office of
                                     BOARD OF HEALTH
                                      66 Westford Street                       Tel.: (978) 369-0283
                                      Carlisle, MA 01741                       Fax: (978) 369-4521



                                       BOARD OF HEALTH
                                         Meeting Agenda
                                    Wednesday December 15, 2021
                                             7:00 PM
                                    REMOTE PARTICIPATION

Join Zoom Meeting
https://us02web.zoom.us/j/86504718312

Meeting ID: 865 0471 8312
One tap mobile +13017158592,,86504718312# US (Washington DC)
Dial by your location   +1 929 205 6099 US (New York)



7:00            Minutes:        10/6/21; 11/16/21

7:15            COVID-19 – discussion
                  ▪ Community Status
                  ▪ Mask Mandate
                  ▪ Booster Clinic

8:00            Benfield Farms Septic Upgrade
                   ▪ FAST Permit Conditions (tentative)
                   ▪ Progress Report (Beaudry)

8:20            DISSCUSSION ITEMS
                   • PFA’s status report
                   • Fern’s Country Store – Well update


NEW BUSINESS

The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting.
Additional topics not anticipated may be discussed at the meeting under the agenda item New Business.

Meeting Dates -    TBD
Upcoming:




                                                                                                      BOH024
        Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 31 of 203
                                         Town of Carlisle
                                              Office of
                                       BOARD OF HEALTH
                                        66 Westford Street                     Tel.: (978) 369-0283
                                        Carlisle, MA 01741                     Fax: (978) 369-4521



                                       BOARD OF HEALTH
                                         Meeting Agenda
                                  Wednesday, November 10, 2021 v 2
                                             7:00 PM
                                   REMOTE PARTICIPATION

https://us02web.zoom.us/j/84298206729

Meeting ID: 842 9820 6729
One tap mobile
+13017158592,,84298206729# US (Washington DC)
+13126266799,,84298206729# US (Chicago)

Dial by your location
     +1 929 205 6099 US (New York)



7:00            Minutes

7:15            Clark Farm Stand – septic system permit

7:45            0 South Street – Senior Residential Open Space presentation


DISSCUSSION ITEMS
          Benfield Farms Leach Field Installation – update
          PFA’s status report
          COVID-19 town status


NEW BUSINESS

The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting.
Additional topics not anticipated may be discussed at the meeting under the agenda item New Business.

Meeting Dates -    12/1/21, 12/15/21
Upcoming:




                                                                                                      BOH025
        Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 32 of 203
                                        Town of Carlisle
                                             Office of
                                      BOARD OF HEALTH
                                       66 Westford Street                      Tel.: (978) 369-0283
                                       Carlisle, MA 01741                      Fax: (978) 369-4521



                                      BOARD OF HEALTH
                                         Meeting Agenda
                                   Wednesday January 12, 2022 v.2
                                             7:00 PM
                                    REMOTE PARTICIPATION
Join Zoom Meeting
https://us02web.zoom.us/j/86914001589

Meeting ID: 869 1400 1589
One tap mobile
+13017158592, 86914001589# US (Washington DC)



7:00            Minutes        12/15/21
                8/28/19, 8/29/19, 1010/19,12/12/19

7:15            COVID-19
                   Community Status
                   Mask Mandate
                   ARPA Funding
                   Remote meetings
                   General Updates

7:45            Benfield Farms Septic Upgrade
                    FAST Permit Conditions – final draft


DISSCUSSION ITEMS
              FY23 Budget Preparation
              PFA’s status report
              Fern’s Country Store – Well update


NEW BUSINESS

The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting.
Additional topics not anticipated may be discussed at the meeting under the agenda item New Business.

Meeting Dates -    January 26, 2022
Upcoming:




                                                                                                      BOH026
        Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 33 of 203
                                       Town of Carlisle
                                            Office of
                                     BOARD OF HEALTH
                                      66 Westford Street                       Tel.: (978) 369-0283
                                      Carlisle, MA 01741                       Fax: (978) 369-4521



                                        BOARD OF HEALTH
                                     Rescheduled Meeting Agenda
                                    Tuesday, November 16, 2021 V2
                                              7:00 PM
                                     REMOTE PARTICIPATION

Join Zoom Meeting
https://us02web.zoom.us/j/86574678913

Meeting ID: 865 7467 8913
One tap mobile
+19292056099,,86574678913# US (New York)

Dial by your location
     +1 929 205 6099 US (New York)



7:00            Minutes 10/27/21

7:15            Clark Farm Stand – septic system permit
                (Geoffrey Freeman)

7:45            0 South Street – Senior Residential Open Space Application
                (Hancock Engineering – Brian Geaudreau)

8:00            DISSCUSSION ITEMS
                   ▪ Benfield Farms Leach Field Installation – update
                   ▪ PFA’s status report – to be rescheduled

8:10            COVID-19 - town status

NEW BUSINESS

8:40            Executive Session pursuant to M. G. L. c. 30A sec. 21(a)(3) to discuss strategy
                with respect to litigation: Michael Bush et al. v. Town of Carlisle et al., United
                States District Court for the District of Massachusetts Case No. 1:21-cv-11794-
                ADB.

The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting.
Additional topics not anticipated may be discussed at the meeting under the agenda item New Business.

Meeting Dates -    12/15/21
Upcoming:




                                                                                                      BOH027
        Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 34 of 203
                                       Town of Carlisle
                                            Office of
                                     BOARD OF HEALTH
                                      66 Westford Street                       Tel.: (978) 369-0283
                                      Carlisle, MA 01741                       Fax: (978) 369-4521



                                       BOARD OF HEALTH
                                        Meeting Agenda V 2
                                      Monday January 24, 2022
                                             7:00 PM
                                     REMOTE PARTICIPATION


https://us02web.zoom.us/j/86926925602

Meeting ID: 869 2692 5602
One tap mobile
+19292056099,,86926925602# US (New York)
+13017158592,,86926925602# US (Washington DC)



7:00            Minutes:      1/12/22 (tentative)
                Board of Health Commuication

7:15            COVID-19 – discussion
                  ▪ Community Status
                  ▪ Revised Guidance
                  ▪ Community Events
                        • Gleason Library (Martha Patten-Feeney)

8:00            Clark Farm Stand – Water Supply Question

DISSCUSSION ITEMS
             • Liaison Reports
             • PFA’s status report
             • Fern’s Country Store – Well update

NEW BUSINESS

The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting.
Additional topics not anticipated may be discussed at the meeting under the agenda item New Business.

Meeting Dates -    TBD
Upcoming:




                                                                                                      BOH028
        Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 35 of 203
                                       Town of Carlisle
                                            Office of
                                     BOARD OF HEALTH
                                      66 Westford Street                       Tel.: (978) 369-0283
                                      Carlisle, MA 01741                       Fax: (978) 369-4521




                                       BOARD OF HEALTH
                                          Meeting Agenda
                                    Wednesday, November 17, 2021
                                             7:00 PM
                                    REMOTE PARTICIPATION

https://us02web.zoom.us/j/86574678913

Meeting ID: 865 7467 8913
One tap mobile
+19292056099,,86574678913# US (New York)

Dial by your location
     +1 929 205 6099 US (New York)
Meeting ID: 865 7467 8913


7:00            Minutes

7:15            Clark Farm Stand – septic system permit

7:45            0 South Street – Senior Residential Open Space presentation


DISSCUSSION ITEMS
          Benfield Farms Leach Field Installation – update
          PFA’s status report
          COVID-19 town status


NEW BUSINESS

The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting.
Additional topics not anticipated may be discussed at the meeting under the agenda item New Business.

Meeting Dates -    12/15/21
Upcoming:




                                                                                                      BOH029
        Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 36 of 203
                                       Town of Carlisle
                                            Office of
                                     BOARD OF HEALTH
                                      66 Westford Street                       Tel.: (978) 369-0283
                                      Carlisle, MA 01741                       Fax: (978) 369-4521



                                       BOARD OF HEALTH
                                        Meeting Agenda V2
                                     Wednesday February 9, 2022
                                             7:00 PM
                                     REMOTE PARTICIPATION

https://us02web.zoom.us/j/89018024555

Meeting ID: 890 1802 4555
One tap mobile
+13126266799,,89018024555# US (Chicago)
+19292056099,,89018024555# US (New York)

Dial by your location
     +1 929 205 6099 US (New York)



7:00            Community Input

7:05            COVID-19 – discussion
                  ▪ Community Status
                  ▪ Mask Mandate Discussion

7:30            Benfield Farms –
                   • Indoor Air Quality Complaint
                   • FAST Start-Up report

DISSCUSSION ITEMS
          ARPA Requests - update
          PFA’s status update
          Minutes:      1/24/22
          Administrative Reports

NEW BUSINESS

The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting.
Additional topics not anticipated may be discussed at the meeting under the agenda item New Business.

Meeting Dates -    2/23/22
Upcoming:




                                                                                                      BOH030
        Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 37 of 203
                                       Town of Carlisle
                                            Office of
                                     BOARD OF HEALTH
                                      66 Westford Street                       Tel.: (978) 369-0283
                                      Carlisle, MA 01741                       Fax: (978) 369-4521



                                       BOARD OF HEALTH
                                       Special Meeting Agenda
                                     Tuesday, November 23, 2021
                                               8:00 AM
                                     REMOTE PARTICIPATION


Join Zoom Meeting
https://us02web.zoom.us/j/86121936991?pwd=Sitrd3hMR1F3NFpHMTA2d2V2emd4Zz09

Meeting ID: 861 2193 6991
Passcode: 846379




8:00            NEW BUSINESS

                Executive Session pursuant to M. G. L. c. 30A sec. 21(a)(3) to discuss strategy
                with respect to litigation: Michael Bush et al. v. Town of Carlisle et al., United
                States District Court for the District of Massachusetts Case No. 1:21-cv-11794-
                ADB.

The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting.
Additional topics not anticipated may be discussed at the meeting under the agenda item New Business.

Meeting Dates -    12/15/21
Upcoming:




                                                                                                      BOH031
        Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 38 of 203
                                       Town of Carlisle
                                            Office of
                                     BOARD OF HEALTH
                                      66 Westford Street                       Tel.: (978) 369-0283
                                      Carlisle, MA 01741                       Fax: (978) 369-4521



                                       BOARD OF HEALTH
                                          Meeting Agenda
                                     Wednesday February 23, 2022
                                             7:00 PM
                                     REMOTE PARTICIPATION

https://us02web.zoom.us/j/87550874312

Meeting ID: 875 5087 4312
One tap mobile
+13126266799,,87550874312# US (Chicago)
+19292056099,,87550874312# US (New York)

Dial by your location
     +1 312 626 6799 US (Chicago)
     +1 929 205 6099 US (New York)
     +1 301 715 8592 US (Washington DC)
     +1 346 248 7799 US (Houston)
     +1 669 900 6833 US (San Jose)
     +1 253 215 8782 US (Tacoma)


7:00            Community Input

7:05            COVID-19 – discussion
                  ▪ Community Status
                  ▪ Mask Mandate Discussion

7:30            PH 147 Westford Street – septic system upgrade requiring Local Waiver
                   • 15.211 Distances – leaching area 91’ from wetlands, 100’ required

DISSCUSSION ITEMS
             • FY23 Budget Update
             • PFA’s status report
             • Minutes:       2/9/22
             • Administrative Reports

NEW BUSINESS

The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting.
Additional topics not anticipated may be discussed at the meeting under the agenda item New Business.

Meeting Dates -    3/9/22
Upcoming:




                                                                                                      BOH032
        Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 39 of 203
                                       Town of Carlisle
                                            Office of
                                     BOARD OF HEALTH
                                      66 Westford Street                       Tel.: (978) 369-0283
                                      Carlisle, MA 01741                       Fax: (978) 369-4521



                                       BOARD OF HEALTH
                                         Meeting Agenda
                                    Wednesday December 15, 2021
                                             7:00 PM
                                    REMOTE PARTICIPATION

Join Zoom Meeting
https://us02web.zoom.us/j/86504718312

Meeting ID: 865 0471 8312
One tap mobile +13017158592,,86504718312# US (Washington DC)
Dial by your location   +1 929 205 6099 US (New York)



7:00            Minutes:        10/6/21; 11/16/21

7:15            COVID-19 – discussion
                  ▪ Community Status
                  ▪ Mask Mandate
                  ▪ Booster Clinic

8:00            Benfield Farms Septic Upgrade
                   ▪ FAST Permit Conditions (tentative)
                   ▪ Progress Report (Beaudry)

8:20            DISSCUSSION ITEMS
                   • PFA’s status report
                   • Fern’s Country Store – Well update


NEW BUSINESS

The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting.
Additional topics not anticipated may be discussed at the meeting under the agenda item New Business.

Meeting Dates -    TBD
Upcoming:




                                                                                                      BOH033
        Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 40 of 203
                                       Town of Carlisle
                                            Office of
                                     BOARD OF HEALTH
                                      66 Westford Street                       Tel.: (978) 369-0283
                                      Carlisle, MA 01741                       Fax: (978) 369-4521



                                       BOARD OF HEALTH
                                        Meeting Agenda V 2
                                      Wednesday March 23, 2022
                                             7:00 PM
                                     REMOTE PARTICIPATION


https://us02web.zoom.us/j/83860206671

Meeting ID: 838 6020 6671
One tap mobile
+13126266799,,83860206671# US (Chicago)
+19292056099,,83860206671# US (New York)

Dial by your location
     +1 312 626 6799 US (Chicago)
     +1 929 205 6099 US (New York)
     +1 301 715 8592 US (Washington DC)



7:00            Community Input

7:05            COVID-19 - community status

7:15            Town Meeting COVID Planning – Wayne Davis, Moderator

7:30            Ferns Country Store – Public Water Supply update (Herweck)

DISSCUSSION ITEMS
          Financials
             • 53E Revolving Cap
             • FY23 Operating Budget – staffing
             • FY21 Year End Memo
          Minutes:      3/9/23
          Administrative Reports

NEW BUSINESS

The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting.
Additional topics not anticipated may be discussed at the meeting under the agenda item New Business.

Meeting Dates -    4/6/22
Upcoming:



                                                                                                      BOH034
        Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 41 of 203
                                        Town of Carlisle
                                             Office of
                                      BOARD OF HEALTH
                                       66 Westford Street                      Tel.: (978) 369-0283
                                       Carlisle, MA 01741                      Fax: (978) 369-4521



                                      BOARD OF HEALTH
                                         Meeting Agenda
                                   Wednesday January 12, 2022 v.2
                                             7:00 PM
                                    REMOTE PARTICIPATION
Join Zoom Meeting
https://us02web.zoom.us/j/86914001589

Meeting ID: 869 1400 1589
One tap mobile
+13017158592, 86914001589# US (Washington DC)



7:00            Minutes        12/15/21
                8/28/19, 8/29/19, 1010/19,12/12/19

7:15            COVID-19
                   Community Status
                   Mask Mandate
                   ARPA Funding
                   Remote meetings
                   General Updates

7:45            Benfield Farms Septic Upgrade
                    FAST Permit Conditions – final draft


DISSCUSSION ITEMS
              FY23 Budget Preparation
              PFA’s status report
              Fern’s Country Store – Well update


NEW BUSINESS

The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting.
Additional topics not anticipated may be discussed at the meeting under the agenda item New Business.

Meeting Dates -    January 26, 2022
Upcoming:




                                                                                                      BOH035
        Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 42 of 203
                                       Town of Carlisle
                                            Office of
                                     BOARD OF HEALTH
                                      66 Westford Street                       Tel.: (978) 369-0283
                                      Carlisle, MA 01741                       Fax: (978) 369-4521



                                       BOARD OF HEALTH
                                         Meeting Agenda
                                      Wednesday, April 6, 2022
                                            7:00 PM
                                     REMOTE PARTICIPATION

https://us02web.zoom.us/j/83283607771

Meeting ID: 832 8360 7771
One tap mobile
+19292056099,,83283607771# US (New York)
+13017158592,,83283607771# US (Washington DC)

Dial by your location
     +1 929 205 6099 US (New York)



7:00            Community Input

7:05            COVID-19 – Community Status

7:15            Fern’s County Store- Food Establishment Permit

DISSCUSSION ITEMS
          Benfield Farms
          • Septic Upgrade Status Report
          • Indoor Air Quality Update
          • Health Survey



NEW BUSINESS

The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting.
Additional topics not anticipated may be discussed at the meeting under the agenda item New Business.


Meeting Dates -    April 20, 2022Upcoming:




                                                                                                      BOH036
        Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 43 of 203
                                       Town of Carlisle
                                            Office of
                                     BOARD OF HEALTH
                                      66 Westford Street                       Tel.: (978) 369-0283
                                      Carlisle, MA 01741                       Fax: (978) 369-4521



                                       BOARD OF HEALTH
                                        Meeting Agenda V 2
                                      Monday January 24, 2022
                                             7:00 PM
                                     REMOTE PARTICIPATION


https://us02web.zoom.us/j/86926925602

Meeting ID: 869 2692 5602
One tap mobile
+19292056099,,86926925602# US (New York)
+13017158592,,86926925602# US (Washington DC)



7:00            Minutes:      1/12/22 (tentative)
                Board of Health Commuication

7:15            COVID-19 – discussion
                  ▪ Community Status
                  ▪ Revised Guidance
                  ▪ Community Events
                        • Gleason Library (Martha Patten-Feeney)

8:00            Clark Farm Stand – Water Supply Question

DISSCUSSION ITEMS
             • Liaison Reports
             • PFA’s status report
             • Fern’s Country Store – Well update

NEW BUSINESS

The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting.
Additional topics not anticipated may be discussed at the meeting under the agenda item New Business.

Meeting Dates -    TBD
Upcoming:




                                                                                                      BOH037
       Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 44 of 203
                                       Town of Carlisle
                                            Office of
                                     BOARD OF HEALTH
                                      66 Westford Street                       Tel.: (978) 369-0283
                                      Carlisle, MA 01741                       Fax: (978) 369-4521



                                       COVID TASK FORCE
                                              Agenda
                                       Monday, August 23, 2021
                                             7:00 PM



                                          Remote Participation
Join Zoom Meeting
https://us02web.zoom.us/j/89671387033

Meeting ID: 896 7138 7033
One tap mobile
+19292056099,,89671387033# US (New York)
Dial by your location
     +1 929 205 6099 US (New York)



7:00            NEW BUSINESS
                  ▪ Community COVID Status
                  ▪ Wearing of Face Covers
                  ▪ General Information.


The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting.
Additional topics not anticipated may be discussed at the meeting under the agenda item New Business.




                                                                                                      BOH038
        Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 45 of 203
                                       Town of Carlisle
                                            Office of
                                     BOARD OF HEALTH
                                      66 Westford Street                       Tel.: (978) 369-0283
                                      Carlisle, MA 01741                       Fax: (978) 369-4521



                                       BOARD OF HEALTH
                                        Meeting Agenda V2
                                     Wednesday February 9, 2022
                                             7:00 PM
                                     REMOTE PARTICIPATION

https://us02web.zoom.us/j/89018024555

Meeting ID: 890 1802 4555
One tap mobile
+13126266799,,89018024555# US (Chicago)
+19292056099,,89018024555# US (New York)

Dial by your location
     +1 929 205 6099 US (New York)



7:00            Community Input

7:05            COVID-19 – discussion
                  ▪ Community Status
                  ▪ Mask Mandate Discussion

7:30            Benfield Farms –
                   • Indoor Air Quality Complaint
                   • FAST Start-Up report

DISSCUSSION ITEMS
          ARPA Requests - update
          PFA’s status update
          Minutes:      1/24/22
          Administrative Reports

NEW BUSINESS

The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting.
Additional topics not anticipated may be discussed at the meeting under the agenda item New Business.

Meeting Dates -    2/23/22
Upcoming:




                                                                                                      BOH039
        Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 46 of 203
                                       Town of Carlisle
                                            Office of
                                     BOARD OF HEALTH
                                      66 Westford Street                       Tel.: (978) 369-0283
                                      Carlisle, MA 01741                       Fax: (978) 369-4521



                                       BOARD OF HEALTH
                                          Meeting Agenda
                                     Wednesday February 23, 2022
                                             7:00 PM
                                     REMOTE PARTICIPATION

https://us02web.zoom.us/j/87550874312

Meeting ID: 875 5087 4312
One tap mobile
+13126266799,,87550874312# US (Chicago)
+19292056099,,87550874312# US (New York)

Dial by your location
     +1 312 626 6799 US (Chicago)
     +1 929 205 6099 US (New York)
     +1 301 715 8592 US (Washington DC)
     +1 346 248 7799 US (Houston)
     +1 669 900 6833 US (San Jose)
     +1 253 215 8782 US (Tacoma)


7:00            Community Input

7:05            COVID-19 – discussion
                  ▪ Community Status
                  ▪ Mask Mandate Discussion

7:30            PH 147 Westford Street – septic system upgrade requiring Local Waiver
                   • 15.211 Distances – leaching area 91’ from wetlands, 100’ required

DISSCUSSION ITEMS
             • FY23 Budget Update
             • PFA’s status report
             • Minutes:       2/9/22
             • Administrative Reports

NEW BUSINESS

The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting.
Additional topics not anticipated may be discussed at the meeting under the agenda item New Business.

Meeting Dates -    3/9/22
Upcoming:




                                                                                                      BOH040
        Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 47 of 203
                                       Town of Carlisle
                                            Office of
                                     BOARD OF HEALTH
                                      66 Westford Street                       Tel.: (978) 369-0283
                                      Carlisle, MA 01741                       Fax: (978) 369-4521



                                       BOARD OF HEALTH
                                         Meeting Agenda
                                      Wednesday March 9, 2022
                                             7:00 PM
                                     REMOTE PARTICIPATION

https://us02web.zoom.us/j/82449457194

Meeting ID: 824 4945 7194
One tap mobile
+13017158592,,82449457194# US (Washington DC)
+13126266799,,82449457194# US (Chicago)



7:00            Community Input

7:05            Town Meeting Planning (tentative)

7:15            PH cont. 147 Westford Street – septic system upgrade

7:30            55 Lions Gate Road (Zanga) – request for Deed Restriction
                for basement renovation


DISSCUSSION ITEMS
             • FY23 Budget Update
             • Benfield Farms
                  o Indoor Air Quality resident complaint
                  o Septic System Update
             • PFA’s status report
             • Minutes:       2/23/22
             • Administrative Reports

NEW BUSINESS

The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting.
Additional topics not anticipated may be discussed at the meeting under the agenda item New Business.

Meeting Dates - tbd
Upcoming:       Town Caucus 3/14/22




                                                                                                      BOH041
        Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 48 of 203
                                       Town of Carlisle
                                            Office of
                                     BOARD OF HEALTH
                                      66 Westford Street                       Tel.: (978) 369-0283
                                      Carlisle, MA 01741                       Fax: (978) 369-4521



                                       BOARD OF HEALTH
                                        Meeting Agenda V 2
                                      Wednesday March 23, 2022
                                             7:00 PM
                                     REMOTE PARTICIPATION


https://us02web.zoom.us/j/83860206671

Meeting ID: 838 6020 6671
One tap mobile
+13126266799,,83860206671# US (Chicago)
+19292056099,,83860206671# US (New York)

Dial by your location
     +1 312 626 6799 US (Chicago)
     +1 929 205 6099 US (New York)
     +1 301 715 8592 US (Washington DC)



7:00            Community Input

7:05            COVID-19 - community status

7:15            Town Meeting COVID Planning – Wayne Davis, Moderator

7:30            Ferns Country Store – Public Water Supply update (Herweck)

DISSCUSSION ITEMS
          Financials
             • 53E Revolving Cap
             • FY23 Operating Budget – staffing
             • FY21 Year End Memo
          Minutes:      3/9/23
          Administrative Reports

NEW BUSINESS

The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting.
Additional topics not anticipated may be discussed at the meeting under the agenda item New Business.

Meeting Dates -    4/6/22
Upcoming:



                                                                                                      BOH042
        Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 49 of 203
                                       Town of Carlisle
                                            Office of
                                     BOARD OF HEALTH
                                      66 Westford Street                       Tel.: (978) 369-0283
                                      Carlisle, MA 01741                       Fax: (978) 369-4521



                                       BOARD OF HEALTH
                                         Meeting Agenda
                                      Wednesday, April 6, 2022
                                            7:00 PM
                                     REMOTE PARTICIPATION

https://us02web.zoom.us/j/83283607771

Meeting ID: 832 8360 7771
One tap mobile
+19292056099,,83283607771# US (New York)
+13017158592,,83283607771# US (Washington DC)

Dial by your location
     +1 929 205 6099 US (New York)



7:00            Community Input

7:05            COVID-19 – Community Status

7:15            Fern’s County Store- Food Establishment Permit

DISSCUSSION ITEMS
          Benfield Farms
          • Septic Upgrade Status Report
          • Indoor Air Quality Update
          • Health Survey



NEW BUSINESS

The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting.
Additional topics not anticipated may be discussed at the meeting under the agenda item New Business.


Meeting Dates -    April 20, 2022Upcoming:




                                                                                                      BOH043
        Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 50 of 203
                                       Town of Carlisle
                                            Office of
                                     BOARD OF HEALTH
                                      66 Westford Street                       Tel.: (978) 369-0283
                                      Carlisle, MA 01741                       Fax: (978) 369-4521



                                       BOARD OF HEALTH
                                        Meeting Agenda V 3
                                      Wednesday April 20, 2022
                                             7:00 PM
                                     REMOTE PARTICIPATION

https://us02web.zoom.us/j/82735665564

Meeting ID: 827 3566 5564
One tap mobile
+13017158592,,82735665564# US (Washington DC)
+13126266799,,82735665564# US (Chicago)



7:00            Community Input

7:05            COVID-19 – updates

7:15            Town Meeting Updates (tentative)

7:30            Recreation Commission – Dog Park Warrant Article

7:45            COVID Guidance – discussion with Carlisle School Administration
                (to be rescheduled)

DISSCUSSION ITEMS
             • Benfield – status report
             • Daisy Gasoline Station Monitoring Well Results
             • Minutes:       4/6/22
             • Administrative Reports

NEW BUSINESS

The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting.
Additional topics not anticipated may be discussed at the meeting under the agenda item New Business.

Meeting Dates -    TBD
Upcoming:




                                                                                                      BOH044
       Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 51 of 203
                                       Town of Carlisle
                                            Office of
                                     BOARD OF HEALTH
                                      66 Westford Street                       Tel.: (978) 369-0283
                                      Carlisle, MA 01741                       Fax: (978) 369-4521



                                       BOARD OF HEALTH
                                        Meeting Agenda V2
                                       Wednesday May 4, 2022
                                             7:00 PM
                                     REMOTE PARTICIPATION



Join Zoom Meeting
https://us02web.zoom.us/j/89592261741

Meeting ID: 895 9226 1741
One tap mobile
+13017158592,,89592261741# US (Washington DC)
+13126266799,,89592261741# US (Chicago)




7:00            Community Input

7:05            COVID – community status


DISSCUSSION ITEMS
             • Benfield Farms
                  o PHN Health Visits
                  o Septic System Update
             • Beaver Management
             • Minutes       4/20/22
             • Administrative Reports

NEW BUSINESS

The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting.
Additional topics not anticipated may be discussed at the meeting under the agenda item New Business.

Meeting Dates -    5/18/22
Upcoming:       Town Election 5/10/22




                                                                                                      BOH045
       Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 52 of 203
                                       Town of Carlisle
                                            Office of
                                     BOARD OF HEALTH
                                      66 Westford Street                       Tel.: (978) 369-0283
                                      Carlisle, MA 01741                       Fax: (978) 369-4521



                                       COVID TASK FORCE
                                              Agenda
                                       Monday, August 23, 2021
                                             7:00 PM



                                          Remote Participation
Join Zoom Meeting
https://us02web.zoom.us/j/89671387033

Meeting ID: 896 7138 7033
One tap mobile
+19292056099,,89671387033# US (New York)
Dial by your location
     +1 929 205 6099 US (New York)



7:00            NEW BUSINESS
                  ▪ Community COVID Status
                  ▪ Wearing of Face Covers
                  ▪ General Information.


The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting.
Additional topics not anticipated may be discussed at the meeting under the agenda item New Business.




                                                                                                      BOH046
                 Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 53 of 203


                                              BOARD OF HEALTH
                                                     Agenda
                                             Tuesday, January 5, 2021
                                                    7:00 PM
                                              Remote Participation
                                                    Join Zoom Meeting
                                         https://us02web.zoom.us/j/82419013882
                                                Meeting ID: 824 1901 3882
        7:00 Minutes
        7:30 DISCUSSION ITEMS
               • Benfield Status Report
               • COVID 19 – Status Report
               • 10-Day Emergency Permit (Beavers) – tentative
               • FY 21 and FY 22 Staffing Requests - report

    Attendance members: Tony Mariano Chairman, Jean J Barry, Catherine Galligan, Donna Margolies, Todd
    Thorsen
    Attendance nonmembers: Linda Fantasia Health Agent, , Dave Erickson (recorder), Emily Smith (Carlisle
    Mosquito), Phil Giffee (NOAH), Mal Nelson (NOAH), Joan Crooker, Maureen Deery, Joseph P, F Vasquez

    The meeting was called to Order at 7:02 pm.

    1. Minutes
       The minutes of August 28, 2019 with corrections that Galligan had already sent to Fantasia were accepted
       with one abstention. (Barry did not attend)
       The minutes of August 29, 2019 were accepted with one abstention (Barry did not attend).
       The minutes of December 1, 2020 were accepted unanimously.

    2. COVID-19 Status Report
       Fantasia--as expected Carlisle is having a surge. As of January 5th, there are 117 total confirmed or suspected
       cases with ages ranging from 2 to 90. Historically, the case count was: March (5), April (2), May (15), June
       (2), July (5), Aug (4), Sep (3), Oct (8), Nov (15), Dec (55), Jan (3) to date.

        Tricia McGean (PHN) has been able to keep up with contact tracing but using the Community Tracing
        Collaborative more. A second round of CARES Act funds will continue through 12/31/21.

        The Council on Aging is suspending haircuts in January in light of the upsurge in COVID cases in Carlisle.

        The Governor has rolled back the reopening guidance to Phase 3 Step 1. This means smaller indoor and
        outdoor gatherings and lower occupancy rates for buildings. Great Brook Ski Touring Center revised their
        plan—the barn is not open for rental equipment. They are getting more visitors so they will have more
        monitors in the parking area. They are trying to do whatever is necessary to keep people safe while still
        continuing to operate.

        The fire department is doing 40-50 COVID test/day and that will continue for a while. The test is free for
        residents and workers in Carlisle. The BOH received a small grant to help with the testing costs to the town.


Carlisle Board of Health Minutes                                                 Page 1 of 3
Meeting Date: December 15, 2020
Approved: January 19, 2021




                                                                                                        BOH047
                 Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 54 of 203

        The COVID-19 refrigerator has been moved to the Police Station garage which has 24/7 security. The new
        TempStick temperature monitoring device is operational and needs to calibrate for 24 hours.

        The state has added anyone 75 or older to Phase I. There are many questions about who is considered an
        essential worker and where they fit in the vaccination guidance. The categories are changing constantly.
        Carlisle is cosponsoring a closed clinic with Concord on January 14, 15, and 16 for First Responders.
        Volunteers who work the clinic will be considered essential so they can get their shot. They should be aware
        that it takes about 2 weeks to start developing antibodies but they will get reasonable protection even without
        the second shot. At this point the second tier (including educators and those 65 and older) should start in
        February or March. Fantasia--if a vial is open, it should be used preferably on someone in a higher priority
        category. The state does not want vaccine to be wasted.

    3. COVID-19 staffing
       Mariano--said the Vaccine Advisory Group (VAG) agreed that there is a need for a technical coordinator,
       that is, someone who will manage the on the ground procedure of these clinics. This will be someone who
       can move things to where they need to be, check-in volunteers, put out personal protective equipment, and
       provide general assistance in the daily operation of the clinic. The BOH has a candidate and Thorsen
       volunteered to interview the person.

        Galligan asked whether this will be a paid position and what would be required to get it funded. Mariano
        said it is not yet funded. The Town will first need to determine whether the position would be eligible under
        the various COVID funding sources.
        Fantasia (Health Agent) will be the Vaccination Clinic Coordinator) and Kris Gines (Assistant to Health
        Agent) will be the backup clinic coordinator. Dr. Jean Barry will be the Medical Director. Gines and Fantasia
        what roles the will be responsible for but either one would be capable of doing the job of Vaccination
        Coordinator... Fantasia has talked with Gines and she is interested but she is also working her regular job in
        the Health Department. The BOH needs to decide on how they want the staff to use their time. Galligan
        thinks Gines is the logical person and has the proper skill set to be backup coordinator and she thinks it is the
        most effective thing to do. The Health Department is already triaging its work so the Selectmen need to
        understand that health needs resources for COVID-19 as well as the work currently being set aside. Fantasia
        brought up bringing in an outside coordinator—there was some discussion of this but the feeling seemed to
        be that it might be difficult to find such a person and even if they were available to hiring process would take
        time and funding could be an issue. The possibility of supplementing the current staff was raised; Galligan
        has done a lot of field work and suggested having an overall Vaccine-Clinic Coordinator (or as Thorsen
        describes it, a Lab Manager position). The preference is to to continue with Fantasia and Gines in this role.

        Barry brought up the issue of letting the town know the plans. Unfortunately, there is very little detailed
        information on phase 2. The BOH does not want to give out inaccurate information. The BOH agreed that it
        is important to inform residents that clinics are being planned but there are no details yet. As soon as
        information becomes available the BOH will share it with the public. Barry will prepare and FAQ.

        Mariano brought up the need to talk about liability protection for volunteers. Fantasia sent out a good
        summary of current protections.

    4. Benfield Status Report
       Mariano said that there are 2 issues with Benfield, heat and water. He said heat has largely been resolved
       (heat exchanger equipment was repaired and recharged with Freon and a coil has been ordered for a unit for
       the common areas). Because there were no violations of the MA sanitary code pertaining to housing, is not
Carlisle Board of Health Minutes                                                Page 2 of 3
Meeting Date: December 15, 2020
Approved: January 19, 2021




                                                                                                          BOH048
                 Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 55 of 203

        really a BOH issue. It was mentioned that the system may only be able to heat to 69, regardless of the
        thermostat reading, if it is really cold (this temperature is still compliant with the sanitary code).

        In terms of water damage, the Building Inspector had gone out and found water damage around the threshold
        of a third-floor door. This condition (moisture) does come under the sanitary code and the Health
        Department is coordinating with the Building Department. The sub sill was rotted and has been repaired.
        Since the repairs there was no water leakage in the first rain but there was some leakage in a subsequent rain,
        with water pooling and leaking into the library and common community room on the second floor. Benfield
        staff reported that the door seemed to have been damaged between last Friday and Saturday and is now split
        and needs to be repaired. There have also been occasions where the door has been left open—there is hope
        of installing a camera to get a better idea of what is happening; also there is an issue with the tilt of the porch
        outside the door that should be rectified.

    5. Beavers - There was no discussion.

    6. FY 21 and FY 22 Staffing Requests
       Mariano, Galligan and Fantasia went before the Select Board (SB) to request a permanent public health nurse
       position. Thanks to the work Galligan and Fantasia did there was a lot of deliberation but the SB are putting
       off a decision until January 12th, in general the reception was not as positive as had been hoped.

        The BOH would also like to increase the hours of the Assistant to the Health Agent from 24 to 35
        hours/week. There was discussion about the how the growth of projects and project complexity and
        increased popularity of accessory apartments in the town is putting more load on the BOH but, unlike other
        town committees, funding for the BOH has been basically flat for the last several years. Last year a request
        for a Public Health Nurse was rejected and funds to increase staffing have been difficult to obtain. There is a
        COA employee looking for an additional hours/week. Fantasia will follow up to see if they are interested.

        There is a Selectboard meeting next week and Mariano suggested that people interested in the BOH might
        attend that meeting to advocate for the BOH. They will need to request the Zoom details.

    7. Other
       The FY22 budget is due on January 18. Fantasia, Gines, and Galligan are working on it.
       Fantasia is in the process of filing the vaccine agreement with the state and completing online training for
       Prep Mod and MIIS. [Note: Prep Mod is the state’s online, paperless system that local health departments
       can use at immunization clinics to schedule, screen, bill and report to the Massachusetts Immunization
       Information System (MIIS).]

        Adjourned: There was no further business discussed. Meeting Adjourned at 20:52,

        The next meetings are January 19th and February 2nd.

        Respectfully submitted,

        David Erickson,
        Recorder
(All documents discussed during this meeting are available for review upon request in the office of the Board of Health)



Carlisle Board of Health Minutes                                                   Page 3 of 3
Meeting Date: December 15, 2020
Approved: January 19, 2021




                                                                                                               BOH049
                 Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 56 of 203


                                              BOARD OF HEALTH
                                              MEETING MINUTES
                                             Tuesday, January 19, 2021
                                                     7:00 PM
                                               Remote Participation
Join Zoom Meeting
https://us02web.zoom.us/j/83166602293
Meeting ID: 831 6660 2293
        7:00 Minutes
        7:15 PH 49 Concord Road (Sillers) – upgrade of failed septic system requiring waivers.
        DISCUSSION ITEMS and NEW BUSINESS
        •      60 Garnet Rock Lane – septic system installation
        •      FY22 Budget Request
        •      Personnel Requests
        7:40 Benfield Farms – Report from Meridian Engineering on Septic System Upgrade


    Attendance members: Tony Mariano Chairman, Jean J Barry, Catherine Galligan, Donna Margolies, Todd
    Thorsen
    Attendance nonmembers: Linda Fantasia Health Agent, Dave Erickson, Mal Nelson, Emily Smith (Carlisle
    Mosquito), Phil Giffee, Sylvia Sillers, Susan Blankenship, Paul Kirchner

    The meeting was called to Order at 7:00 pm.

    1. Minutes—minutes from 9/11/20, 12/15/20, and 1/5/21 were approved with corrections which will be
       emailed to Fantasia who will update the minutes accordingly.

    2. PH 49 CONCORD ROAD – Septic System Upgrade. It was moved (Galligan) and seconded (Barry) to
       open the public hearing. Motion passed unanimously. Paul Kirchner of Stamski & McNary attended on
       behalf of the applicant Sylvia Sillers. Since the plan was still under review by Rob Frado, Kirchner asked for
       a continuance to the next meeting. It was moved (Barry) and seconded (Galligan) to continue the hearing
       until 2/2/21. Motion passed unanimously.

    3. Benfield Farms – present Phil Giffee (NOAH), Mal Nelson (Property Manager)

        Mariano moved Benfield farms up on the Agenda since Giffee and Nelson were already present, and it was
        not a public hearing. The plans and narrative had only recently been emailed to the Board. Mariano said he
        had not had time to look at it and since Beaudry was not present, he proposed delaying the Benfield report
        until 2/2/21. Mariano raised the question of the timely submittals so that Rob Frado has enough time to do
        his review. Fantasia said an initial review takes 14 days even for a conceptual plan. Giffee said that a lot of
        work has been done but more discussion with Frado is needed. It was suggested that the BOH hold a special
        meeting as soon as possible so work can begin in the spring. Mariano said that it was important to
        coordinate with the ConsComm. Galligan noted that Frado’s role is to review the design, not help create it.
        As the consultant for the local approving authority (the Board) he cannot be involved in the design work.
        Discussion of conceptual plans should happen with the Board. Mariano is looking for specific timelines for


Carlisle Board of Health Minutes                                               Page 1 of 4
Meeting Date: January 19, 2021
Approved: February 16, 2021.
Amended: May 26, 2021.




                                                                                                         BOH050
                 Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 57 of 203

        the final design. The Board is concerned that NOAH does not appreciate the urgency of the situation. Giffee
        assured the Board that NOAH wants the problem resolved as soon as possible.

        Fantasia asked about the moisture problem. Nelson had a contractor come out last Thursday (1/14/21) who
        said that based on what he saw the door needs to be replaced. The threshold has already been replaced in-
        house. There is also a leveling issue, the contractor needs to determine how best to prevent pooling and
        ensure that water drains--he should have a proposal by Friday 1/22/21. Mariano asked whether there is an
        issue at this time or whether it is a band aid solution. Nelson said that yes it may be a short term solution but
        there have been two storms with no leaking on the first storm and some leaking on the second storm. Nelson
        will look at what else can be done until they can get the contractor out. Galligan noted that both storms had a
        lot of wind and the fact that there was only leakage on the second storm suggests they are going in the right
        direction. Giffee said that once the leakage has been resolved any inside problems (plaster, damage to 2nd
        floor ceiling, etc.) resulting from the leakage will be corrected. There was no further discussion. Nelson and
        Giffee left at 7:46pm.

    4. 60 Garnet Rock Lane
       Fantasia has not heard from the installer for 2 weeks. The septic installation was to have been completed by
       December 15 but so far, they only have the bottom of the bed has been dug and approved. The homeowner
       needs to pump every week which is clearly not sustainable, especially since there are no guarantees that
       nothing is going out from the septic tank. Galligan observed that the history of winter installations is that
       timely completion is promised but frequently doesn’t happen. Nevertheless, completion of this system needs
       to be resolved quickly.

        Sending a warning letter/reprimand to the installer was discussed; this warning would be a first step before
        taking the installer off the BOH list of approved contractors. After one warning the Board can pull the
        license to install systems in Carlisle, but since it would be important to finish any outstanding jobs any action
        on pulling a license would likely be delayed until next year. Since the bed is in place, the recommended
        course of action is to allow 2 weeks for completion or converting to a tight tank. The number of people living
        in the house is unknown. Two alternative courses of action were discussed, an enforcement order which
        requires due process, or an advisory letter spelling out the conditions – 2 weeks for a certificate of
        completion or revert to a tight tank. To addresses the installer’s performance, Fantasia suggested saying that
        we are going to discuss issuing a warning letter at the next meeting. Mariano provided some history—this
        installation involved the COVID-related extension of the winter shut down. The installer was supposed to
        start by Nov 17 and finish by Dec 15. Because of a personal situation the installer was allowed to start after
        November 1st. The installation progressed only as far as digging out and approval of the bottom of the bed
        again being delayed for personal circumstances of the installer.

        Galligan moved and Barry seconded that an advisory letter be sent out requiring a Certificate of
        Compliance within 2 weeks or conversion to a tight tank. Passed unanimously.


    5. COVID-19
       There are currently 135 total cases, up from 117 on 1/5/21. Carlisle currently has a 3.53% positivity rate
       (which includes Carlisle residents who got tested elsewhere), the State’s rate is 5.9%.
       We did have the clinic in Concord for EMS on 1/14/21-1/16/21 and it brought up some issues that need to be
       resolved. There were close to 194 vaccinations on Thursday and a somewhat lower numbers on Friday and
       Saturday. One issue that became clear was that it would be much better to have the vaccination list arranged
Carlisle Board of Health Minutes                                                Page 2 of 4
Meeting Date: January 19, 2021
Approved: February 16, 2021.
Amended: May 26, 2021.




                                                                                                          BOH051
                 Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 58 of 203

        by appointment time rather than alphabetically. With an alphabetic list it was necessary to repeatedly scan
        the list to estimate counts and attendance whereas if it have been arranged by time it would have been
        possible to go line by line.

        Fantasia completed MIIS (Massachusetts Immunization Information System) and vaccine agreement today.
        This was done electronically and was approved immediately. Forms for ordering the vaccine will follow
        later. Carlisle is now eligible to receive vaccine and hopes s to receive vaccine in Jan. Fantasia is looking
        into hiring a clinic technician/administrator, who would be responsible for opening and closing clinics,
        managing supplies, and serving as a general resource throughout the clinics. Barry and Jen Derkerzarian are
        taking care of recruiting volunteers and Burt Rubenstein will train vaccinators. We will start using our own
        EMTs who are trained in doing injections. The structures for vaccinations should ship today or tomorrow,
        we did need make a modification of using abutment blocks rather than 39 stakes to hold it down (The
        Congregational church would probably not appreciate stakes driven into their parking lot). The structures
        should be here in a week or 2.

        For towns doing clinics, the state is requiring participants to do all clinics for the duration of the program, not
        just sub-groups. Fantasia has had some discussion with other health directors regarding doing single-town or
        regional clinics. No one feels they can manage a regional clinic for all 5 towns, but we might want to partner
        with Concord (or other subgroup). Barry, the medical director, is the only unpaid member of staff . On the
        question of regionalizing or going it alone we should consider that after first responders we must eventually
        do the entire town, which raises the question of capacity. Galligan suggested that towns could reach out to
        the state and object to the all-or-nothing policy--the state has changed policy based on feedback before (such
        as the definition of occupational groups). It's also possible that the job will become easier since CVS and
        Walgreens may have significant capacity by July. Barry noted that we are assuming that we will do clinics
        until completion, but the burden may lessen if some residents don't want the vaccine or get it at work or
        elsewhere. It might not be as big a burden as it seems.

        In terms of the clinic administrator, another candidate was recommended by Barry. Fantasia is looking for
        someone able to carry tables and set up chairs but also has educational experience. A second volunteer could
        be useful for doing inventories and financials needed for CARES Act reimbursement. Thorsen plans to work
        8 hrs/ week and he volunteered to help manage the clinic administrator(s).

        Roles and duties for the administrator and others were briefly discussed and will be formalized. Fantasia sees
        us starting off with paid town staff for the clinics then transitioning to volunteers, ensuring that they are
        properly trained. That is Concord’s approach; they are only using town employees until they see and resolve
        any problems.

        Fantasia discussed that the BOH has primary responsibility for the vaccination program (i.e., MA DEP has
        given responsibility for carrying out COVID vaccine clinic duties to local Boards of Health) and this is
        managed by the Agent (Linda, Kris-back up) with the Medical Director’s input and BOH support. Linda is
        getting directives from both the LEPC and the Vaccine Advisory Committee (VAC), which needs to be
        resolved. Linda will reach out to LEPC and VAC about moving the VAC to the BOH instead of the LEPC.
        Barry and Mariano will draft a memo clarifying that BOH has responsibility for vaccinations for it at the next
        LEPC and VAC meetings.
        .
        Other Covid related points:


Carlisle Board of Health Minutes                                                  Page 3 of 4
Meeting Date: January 19, 2021
Approved: February 16, 2021.
Amended: May 26, 2021.




                                                                                                            BOH052
                 Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 59 of 203

        Thorsen noted that the Moderna vaccine is the likely vaccine for Carlisle because of user-friendly storage
        requirements. Baker announced that Massachusetts is getting about 44000 doses of Moderna vaccine per
        week. This week 10,000 doses are going to CVS/Walgreens--mostly to Fitchburg and Worcester high impact
        areas. Next week there will be a roll out to supermarkets—Wegmans and Stop & Shop. This follows the flu
        vaccine administration model.

        Carlisle has a number of decisions to make for its clinics, such as accepting insurance for administering the
        vaccine ($17 shot #1, $28 for shot #2) or having a wait list (feature in PrepMod).

    6. FY22 budget request
       The BOH FY22 request for additional staffing was put off again, the selectmen will send a list of questions
       for the BOH to answer. So far, those questions have not been received. The Board discussed their general
       feeling that Health employees had been unfairly attacked at the BOS meeting and it was agreed to submit a
       letter to the Select Board objecting to this sort of behavior in public meetings.

        The meeting adjourned at 21:36. There is a meeting with Fincom on 1/25 at 5:00pm, a special BOH meeting
        on 1/26, and the next regular BOH meeting on 2/2/21.

        Respectfully submitted,


        David Erickson,
        Recorder


        (All documents discussed are available for review in the office of the Board of Health)




Carlisle Board of Health Minutes                                               Page 4 of 4
Meeting Date: January 19, 2021
Approved: February 16, 2021.
Amended: May 26, 2021.




                                                                                                        BOH053
                 Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 60 of 203


                                               BOARD OF HEALTH
                                              Special Meeting Minutes
                                             Tuesday, January 26, 2021
                                                      7:00 PM
                                               Remote Participation
                                         https://us02web.zoom.us/j/86751194223
                                                Meeting ID: 867 5119 4223
        AGENDA
             7:00 Benfield Farms Conceptual Plan for System Upgrade (Meridian Engineering)
        DISCUSSION ITEMS
             COVID-19 Vaccination Clinic Staffing


    Attendance members: Tony Mariano Chairman, Jean J Barry, Catherine Galligan, Donna Margolies, Todd
    Thorsen
    Attendance nonmembers: Linda Fantasia Health Agent, Mark Beaudry (Meridian Associates), Bev(?), Maureen
    Deery, Dave Erickson, Rob Frado(Technical Consulting Group), Phil Giffee (NOAH), Mal Nelson
    The meeting was called to Order at 7:00 pm.

    1. Review of Benfield Farms Conceptual Plan for System Upgrade
       Meridian Associates did soil testing at Benfield Farms in October and December. They started by testing in
       the primary septic area where they found the soils not suitable so they moved on to testing the reserve area.
       They noticed inconsistencies with the testing done in 2003 (the 2003 testing was not done by Meridian).
       While the Northern part of the reserve area was unsuitable (around 18min/inch) they did find soils in the
       lower part of the reserve area (5 min/inch or better, although they did not find soils with 2min/inch as
       indicated in 2003). The soils were variable across both the primary and the reserve areas. They were able to
       basically duplicate the current design in the reserve area, although they needed to rotate it some to keep it
       within suitable soils and in the easement area. They saw a seasonal high water table 64"-68" below grade,
       which was a little higher than 2003 but fairly consistent.

         Beaudry sent the Soil Evaluation Logs to Fantasia today confirming all the test pits and ground elevations.
        Beaudry also sent Fantasia two versions of preliminary septic plans. In Plan A, the elevations were based on
        a mound of .9' which Meridian had calculated in 2013 or 2014. Mariano asked about the .9' mounding
        versus an earlier analysis calculating 2.6' mounding. Beaudry said that the 2.6' mounding was based on the
        Title 5 Minimum Required Design Flows of 3900 gallons/day (design flow) whereas the observed average
        flow is 1045 gallons/day with a peak of 1369 gallons in 2018 and 1800 gallons in 2019. In response to a
        question by Frado, Beaudry said he does not expect these flows to increase because of water conservation
        requirements. Beaudry realized that he made a mistake in the calculations. He had shown a 2' separation to
        groundwater whereas the BOH under Local Upgrade Approval could waive the normal 4' separation to 3' it
        cannot waive it to 2'. Beaudry noted that the Perc-Rite tubing runs do not necessarily need to be level. A
        mound above ground level elevations, such as shown in Plan B, would need a Conservation Restriction (CR)
        change. Beaudry asked for feedback from the Board, since he would be going to the ConsCom meeting later
        in the week. Beaudry also noted that adding an aeration unit to the FAST pretreatment system will improve
        the quality of the effluent coming into the field from the pretreatment system.

        Frado said that the contractor should be told to remove restrictive features (such features are a large part of
        the reason for the failure of the current system). Beaudry mentioned that someone asked if the system could
        be done on the recreation land. Beaudry's understanding at the time was that there was a Conservation
Carlisle Board of Health Minutes                                                 Page 1 of 3
Meeting Date: January 26, 2021
Approved: February 16, 2021




                                                                                                         BOH054
                 Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 61 of 203

        Restriction on the rec land but that is not the case. Still, the rec land is heavily wooded and Beaudry feels it
        would be expensive putting the system on the rec land. He was asked to look into that and provide more
        details on what expenses would be involved, it was noted that the expense could help justify a waiver to go
        to 3' separation. Frado asked whether the board was resigned to living within the CR. Galligan was not
        resigned to that; she understands that it would take time to modify the CR but she doesn't get the impression
        that the soils in the reserve area are as good as might be hoped. She is also unclear whether aeration with
        the FAST unit will work as well as hoped and noted that while they expected Micro C to take care of the
        problems earlier, it has not. She is also reluctant to grant a waiver because of the past problems with the
        operation and maintenance of the system including filing timely reports, replacing missing bolts and
        addressing excessive noise in the blower. Beaudry noted that the idea of aeration came from the independent
        consultant (Onsite Engineering, Inc). He went on to note that the Micro C system took care of nitrogen
        issues but led to a carbon surplus which led to BOD (Biochemical Oxygen Demand) issues. The aeration is
        designed to take care of the BOD issue. Mariano noted that regardless of the source of design suggestions,
        the ultimate design will be Meridian’s and not a third party consultant. Beaudry felt the relief being requested
        for the 3’ offset to groundwater was minimal and allowed under Title 5.

        Giffee thinks that since they have taken over management of the system, it has been running well.
        Fantasia suggested it is worth exploring how rigid the restrictions are so that it might be possible to build the
        system without a waiver, especially since this is a matter of public health. Beaudry shared the CR document
        with the Board and noted that whereas some of the language related to existing ground elevations is very
        precise, it also refers to a “maximum feasible” elevation over the soil absorption field. Beaudry interpreted
        the spirit of the CR as having more flexibility. This might also apply to the restrictive easement which is
        actually a rider to the CR and which could possibly be enlarged. It was agreed that Beaudry would bring
        these issues up with ConsCom and consult back with the BOH before proceeding to a final design.

        Barry asked why there was disagreement in the soil testing logs. Beaudry said that soils do not change but
        there may be a buildup of the biomat resulting in the restrictive layer in the field. Beaudry then provided
        additional details on the proposed design and the possibility of using the pump chamber for the aeration unit
        which could be a smaller FAST unit.

        In order to move forward, the Board agreed to require the following information:
            • A decision from the Conservation Commission on changes to the grade under the CR to eliminate the
                need for a waiver on the separation to groundwater
            • Estimated cost of locating the system on Recreation Land
            • Legal Opinion on whether the Restrictive Easement can be enlarged
            • Progress report mid-February and Design by the end of February

        Galligan said it should not be assumed that the Board of Health is willing to grant the waiver on separation to
        groundwater. It is important for the Conservation Commission to understand this. The Board of Health
        decision will be based on safety of the public health and environment. Fantasia suggested that Beaudry
        contact the Conservation Administrator about the Board’s concerns so that the Commission will be prepared
        to respond at their meeting. Frado agreed the CR may be open to interpretation. He said the primary role of
        the Board is to protect the public health. Galligan suggested that the intent of the CR focused on the location
        of the primary field and not necessarily the reserve area. Frado and Board members were in agreement that
        public health should pre-empt a land use restriction. All parties agreed that the soils at Benfield were just
        adequate and not very good. This is reason to proceed carefully with a replacement system. Frado agreed
        that with poor soils the Board should err on the side of caution, especially because it is a large system. He
        also disagreed that the system will always have limited flows. There was no guarantee that the system will
Carlisle Board of Health Minutes                                                 Page 2 of 3
Meeting Date: January 26, 2021
Approved: February 16, 2021




                                                                                                           BOH055
                 Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 62 of 203

        not need to function at full capacity at some point in the future. The question was asked why a conventional
        system was not being considered. Frado said either way the system will require pressure dosing because of
        its size. Fantasia was concerned that the proposed design is the same configuration as the failed system – a
        FAST pre-treatment and a Perc-Rite leaching area. Beaudry said by using the same types of I/A systems
        they will be able to re-use some of the components. He is confident in proposing the two I/A systems.

        Maureen Deery, Benfield resident and Carlisle Housing Trust (CHT) member, said there are flow limits
        placed on Affordable Housing. She also asked that the CHT Chair, Kate Reid, be kept informed of the
        Board’s meetings on Benfield. The CHT is considering placing an Article on the Town Meeting Warrant to
        help with some of the costs of replacing the system. It will be important to have an idea of the potential costs.
        Mariano said he had spoken with Reid about tonight’s meeting.

        Beaudry thanked the Board for their comments. He does not want to move forward on a final design until he
        is confident that it can be approved by the Board.

    2. COVID-19
       Mariano said that there is a lot going on, Barry, Fantasia and Thorsen have been very active with vaccine
       clinic planning. Fantasia said that the Health Dept. has been granted access to PrepMod, the vaccination sign
       up system. Carlisle is also enrolled in the state immunization program (MIIS) and has received approval
       from the DPH Vaccine Unit to receive and administer vaccine. The state is rolling out new guidance on who
       is eligible to be vaccinated. Gines is preparing information for the website. To order vaccine the town will
       fill out a survey Monday morning as to the number of vaccine doses required. Unfortunately, towns cannot
       request more than 100 doses/week. Barry offered to do a press release because it is important to keep people
       informed. Mariano notes that at 100 doses/week, there will not be enough vaccine to cover any of the top
       groups quickly. After Phase 1 which includes health care workers, first responders and home health aides,
       Phase 2 starts with individuals 75+ years of age. There are 423 people in Carlisle who are 75 or older. Since
       the vaccine will be so limited, Fantasia suggested checking the PHN for a list of the more critical residents in
       this age group. The Board discussed whether to wait on advising residents about local clinics until there is
       available vaccine.

        Betsy Fell, Mosquito editor, joined the meeting and Barry suggested the Mosquito publish a list of
        vaccination sites. These are currently listed on the state website. Barry also said hospitals will send out
        letters to people who are 75 or older. Fell is putting an article in the paper about the vaccine so she could get
        information from Barry to include in the article.

        The vaccine advisory meeting is scheduled for Monday.

        Meeting adjourned at 21:04
        The next regular BOH meeting will be on 2/2/21.

        Respectfully submitted,


        David Erickson,
        Recorder
        (All documents discussed are available for review in the office of the Board of Health)



Carlisle Board of Health Minutes                                                Page 3 of 3
Meeting Date: January 26, 2021
Approved: February 16, 2021




                                                                                                          BOH056
                 Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 63 of 203


                                              BOARD OF HEALTH
                                                 Meeting Minutes
                                             Tuesday, February 2, 2021
                                                     7:00 PM
                                               Remote Participation
Join Zoom Meeting
https://us02web.zoom.us/j/88651968447
Meeting ID: 886 5196 8447
        7:00 Minutes
        7:30 Continued Public Hearing: 49 Concord Street - septic system upgrade requiring local approval waivers.
        DISCUSSION ITEMS
        •      COVID-19 report
        •      Personnel Requests - update
        •      FY22 Budget Request - update


    Attendance members: Tony Mariano Chairman, Jean J Barry, Catherine Galligan, Donna Margolies, Todd
    Thorsen
    Attendance nonmembers: Fantasia Health Agent, Dave Erickson, Paul Kirchner, Alan Lewis, Lara Lofdahl
    (Carlisle Mosquito)

    The meeting was called to Order at 7:00 pm.

    1. Minutes— Galligan asked others to look at the minutes from 1/26/21 and the minutes from 1/19/21 have not
       yet been distributed. Mariano tabled the minutes--they will be addressed at the next meeting.

    2. New Business
       Mariano updated the board on the Benfield presentation by Mark Beaudry to the ConsCom. Mariano and
       Galligan attended as well as Mark Beaudry and Phil Giffee. ConsCom's reaction was favorable--they
       recognized that there was a problem to be solved and seemed willing to be flexible about the grade. They
       decided their next step would be to talk to Town Counsel to see whether ConsCom could take the liberty of
       adjusting the grade. There was some back and forth after that because the proposed grade was based on .9'
       water mounding and Beaudry gave the impression that BOH had approved a .9' mounding design. In fact,
       that decision has not yet been made, and this was clearly stated at the ConsCom meeting; so, it is still
       necessary to consider a design based on a 2.6' mounding. Fantasia wants to remind board remembers that this
       is a large system with a design rate of 3900 gal/day and anything over 2000 gal/day requires a special ground
       water mounding analysis and that it is the BOH that has to agree on the analysis. Galligan noted that she had
       strong reservations in the BOH meeting and the ConsCom meeting because Beaudry was pushing for .9'
       mounding based on average usage and not on the design rating. Galligan says it is a large development and
       the BOH should hold to Title 5 without variances; since it is so large it can have a big impact on the
       environment. Galligan expressed reservations and would prefer taking a more conservative approach to the
       design; she does not think .9' mounding is reasonable and Beaudry is proposing going to 3' separation to
       groundwater as if it is an entitlement, which it is not. Mariano said we can go into all of this once we have
       the design. The easement does restrict the available land area so Mariano is unsure they can make a larger
       field. Galligan responded that the field could extend into the original area and other (possibly more
       expensive) options could be explored. Mariano tended to agree but does think cost is important. It was noted


Carlisle Board of Health Minutes                                               Page 1 of 4
Meeting Date: February 2, 2021
Approved: February 16, 2021




                                                                                                         BOH057
                 Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 64 of 203

        that non-compliances bring considerable costs to the Health Department, so installation costs are not the only
        costs to be considered.

    3. 7:15 60 Garnet Rock Lane
       At the BOH meeting on January 19, the board decided to issue an advisory letter and request a certificate of
       compliance, but then the next morning the Health Department was notified that the system was ready for
       inspection, so no advisory letter was sent. The as-built inspection was completed on Wednesday, January 28
       and the last step would have been the final grade inspection on February 2; this was prevented by a
       snowstorm. Bonica and Frado will decide when to do the inspection. The system is in and hooked up, the
       only issue is whether to take any further action--Fantasia thinks there is no need for an advisory letter to the
       owner. The Board asked if Bonica had been working on the system all along; Fantasia reported that the
       owner had not heard from him. In this installation there was more than a month of the Health Department
       being put off by Bonica. He has been a licensed installer for years with no issues. Fantasia thinks Frado
       might think a warning letter is unnecessary at this point. Barry said that since he doesn't seem to be a repeat
       offender that she would be inclined to be lenient. Galligan thinks he should be present at the meeting but
       thinks we should still send a letter because BOH made a big exception for a winter system that we didn’t
       want to do. If we don't send a letter, then we have no documentation of poor performance. It was noted that
       warnings are not taken lightly by installers because this could affect their business. Galligan commented that
       historically winter installations have not gone well and if we choose no warning, the board needs to be
       rigorous about not allowing late starts. Mariano will table this until Bonica can be present.

    4. 7:31 PH continued: 49 Concord Street – septic system upgrade.

        Mariano noted that at the last meeting a redesign had been submitted with inadequate time for Frado to
        review it. Kirchner said that Frado has since reviewed it, making some minor changes but nothing of
        substance. The absorption system has been designed to remain 50' from wetlands and 5' to property line. To
        accommodate that goal there is an unusual shape to the absorption system (part of which is under the
        driveway) which is allowed by Title 5. Everything will be done within the lot without going into the right of
        way. There is a lot of detail provided for the installer as this is a trickier installation. Frado's comments: we
        were referencing the incorrect note--it now says see note 15 (instead of 16) and the other comment concerned
        venting. In a pumped system a vent is required but in a gravity system it is unneeded because there is proper
        airflow to the building stack. Mariano would like to hear Fantasia's review--he notes that Frado has no
        engineering comments. Fantasia did talk to Frado to ensure that vents were unnecessary. Frado didn't feel
        he needed to be at meeting. Mariano noted that the major difference is related to a change in the lateral
        configuration of the absorption system so that it is now partially under the driveway, Kirchner noted that the
        distribution box is close to the drive but not under it. Mariano asked whether Frado was ok with the
        stabilization fabric. Fantasia has sent the plan to Willard and attended a ConsCom meeting, there was a red
        line change, but it does not require another hearing. The only waiver needed from the BOH is allowing 50'
        to wetlands and 5' to the property line. There were no public questions.

        Fantasia pointed out that the complex design will require careful attention by the installer and may merit
        special actions by the board to insure proper installation. Fantasia and Kirchner discussed the staking out of
        the system for the installer, and Fantasia commented that we would want to ensure the stakeout is very
        detailed because there is so little leeway for error. Fantasia said Frado could approve the stake out as a
        separate inspection. Fantasia said maybe it should not be included in the motion, but she will check with
        Frado and if he wants to go out more often, he might. Galligan noted that if Frado does go out additional
        times that we would have to charge for that.

Carlisle Board of Health Minutes                                                Page 2 of 4
Meeting Date: February 2, 2021
Approved: February 16, 2021




                                                                                                          BOH058
                 Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 65 of 203

        It was moved (Galligan) and unanimously approved to close the Public Hearing.
        It was moved (Galligan) to approve the proposed septic system upgrade for 49 Concord Street and
        grant the following waivers: 50’ distance to wetlands (100’ require); 5’ distance to property line (10’
        required; conditional upon approval by the Conservation Commission and additional staking of the
        lines by the engineer to ensure proper installation. Motion was seconded and approved unanimously.

    5. Carlisle Hazard Mitigation Plan
       Linda reminded the BOH members that there is a Municipal Vulnerability Preparedness (MVP) meeting on
       February 9. This group was established and has a grant to consider impacts of climate change and where the
       town is vulnerable. For example, the need for shelters, or drought conditions that could cause wells to dry up
       and prompt a need for a community water supply.

    6. COVID-19
       Barry (medical director) is cc-ing everyone on the board when updating timing. The first batch of 100
       vaccine doses was ordered and should be here by next Wednesday at the latest. The first clinic is set for Feb.
       13th. The tent is in transit and Mariano says that Police Chief John Fisher believes it should be ok even in
       the worst case.
       Barry suggested prioritizing those 88 years and older initially and trying to finish remaining members from
       phase 1. Mariano notes that the structure is an important part of the planning. Fisher explored backup
       options with the school and the gym/exercise room seems feasible as a vaccination site with accessibility for
       the senior community. Fantasia has filed the vaccine request and should hear by Friday on our allocation.
       New requests have to be filed every Monday. Barry said we now have to keep track of the second doses and
       suggested scheduling the 2nd dose when giving the first. The state created a color-coded flow chart as a
       guidance tool – very complex with a rainbow of colors. Gines and Fantasia have been taking training on
       PrepMod and MIIS (Massachusetts Immunization Information System), on one hand tracking patients and
       appointments and on the other tracking vaccine. Gines will maintain the MIIS, and Fantasia will be
       responsible for PrepMod. Massachusetts will do a webinar on administering the vaccine. Fantasia has
       learned from FEMA that there is funding available for vaccination clinics. Considering that we won't get
       through phase 2 until the end of March and then we have phase 3, we must be prepared that each phase will
       result in many more vaccinations. We will be doing clinics for a long time unless people start getting the
       vaccine through primary care or other clinics. Fantasia would like to hire a clinical coordinator--it is not
       necessary to go through normal hiring. We might also want to consider compensating Zander Ansara and
       Colleen O'Connor who are putting in an enormous number of hours. Ansara’s and O'Connor's positions
       could be covered by FEMA. BOH can write a job description and submit costs to the town for
       reimbursement. Mariano thinks it is a good thing to pursue if it is going to be covered. Come springtime
       there will be septic installations, Benfield and others and these things cannot be put on the back burner while
       vaccines will go at least into June. Barry also noted that we may be looking at booster shots in 6 months or
       so, so we should be prepared for that. Mariano said that is part of what we considered when looking to get
       hours from a public health nurse--there is going to be fallout. Mariano asked Barry about information on
       variants. Barry had no information, but it is something to be concerned about. This might become like the
       flu season, but we really don't know how long protection will last and we won't know for a while.
       Galligan asked if we will get >100 doses/week at some point. Fantasia said that when we get a group taken
       care of the state can add that into federal request but with the upcoming phases there are tremendous
       numbers involved.
       Thorsen asked about 2nd doses and Fantasia said that on the form you can list second doses and it does not
       count against the 100. Mariano heard that a disproportionate amount was going to minority communities and
       Mariano wonders if that might affect Carlisle. Fantasia knows the state is concerned because minorities are

Carlisle Board of Health Minutes                                              Page 3 of 4
Meeting Date: February 2, 2021
Approved: February 16, 2021




                                                                                                       BOH059
                 Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 66 of 203

        not accessing the vaccine. There have been 18,000 doses and 360,000 requests (not sure of time period).
        Barry says that in the coming months Moderna is looking to ramp up production.
        The Board thanked Barry for ccing us on releases to the Mosquito and Barry, Thorsen, Mariano, Fantasia,
        and Gines for their work on the vaccines & clinics. Mariano commented that we are on the verge of
        realizing these things and we have a group of people who are passionate, educated and prepared right down
        to tablecloths--there are a lot of people managing this stuff.

        Mariano asked Fantasia what we know about FEMA money--does it move on after or even to phase 3?
        Fantasia thinks it goes to end of year if not into 2022. Fantasia would like to put together a job description
        for clinical coordinator and also 2 part time volunteers and by next meeting will find out the process to get it
        through the town.

    7. FY22 budget request
       Mariano said that we have to wait until Fincom deliberates on department budgets and communicates to the
       Select Board. Galligan said the message from Fincom was that the Health Department information was
       comprehensive, and they did not have additional questions.

        Fantasia will be interviewed by the Concord-Carlisle Community Chest as they are doing their long-term
        planning. It’s unlikely we would receive another grant; we could apply but the Community Chest generally
        doesn’t provide long-term support for the same requests. Fantasia thinks we have used a small amount of the
        current $10,000 Community Chest grant. A challenge is that human resources to oversee grant work are
        limited in the Health Department because of COVID. The Board discussed the many consequences of
        COVID, such as opioid usage and increased teen age suicides, and the possibility of using grant fund for
        such topics. COA is reorganizing and they have a social worker who is going from part to full time--could
        we pay for that additional time with the grant money? Is there a role for the library, such as the social
        worker holding a zoom program for teens or the library and social worker working together to provide zoom
        programs? Perhaps work could be done with the school psychologist because kids are stressed out. Galligan
        said the Community Chest has been very generous so she would not be averse to giving money back, but if
        it’s feasible to develop programs it seems like there is a tremendous need.

        The meeting adjourned at 20:30. The next meeting will be 2/16/21 (by which time we should have the
        Benfield design) and 3/2//21.

        Respectfully submitted,


        David Erickson,
        Recorder

         (All documents discussed are available for review in the office of the Board of Health)




Carlisle Board of Health Minutes                                                Page 4 of 4
Meeting Date: February 2, 2021
Approved: February 16, 2021




                                                                                                          BOH060
                 Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 67 of 203


                                              BOARD OF HEALTH
                                              MEETING MINUTES
                                            Tuesday, February 16, 2021
                                                     7:00 PM
                                              Remote Participation
Join Zoom Meeting

Meeting ID: 871 3802 0098
7:00 Minutes 1/19/21; 1/26/21
7:15      60 Garnet Rock Lane – septic system installation
             ▪ Status of Certificate of Compliance
             ▪ Discussion of Installation Delays with Installer
DISCUSSION ITEMS
          COVID-19 General Update
             ▪ Vaccination Clinic Update
          Goals Workshop – report
          FY22 Budget Update (if available)
          Personnel Requests
             ▪ Health Dept. Staff
             ▪ Vaccination Clinic Staffing
          Annual Report Preparation


    Attendance members: Tony Mariano Chairman, Jean J Barry, Catherine Galligan, Donna Margolies, Todd
    Thorsen
    Attendance nonmembers: Fantasia Health Agent, Dave Erickson, Michael Joseph


    The meeting was called to Order at 7:00 pm.

    1. Minutes—the minutes from 1/19/21, 1/26/21, and 2/2/21 were approved with some amendments.

    2. 60 Garnet Rock Lane
       This system was allowed to start late with the installer’s agreement that it would be completed by
       12/17/2020. The rough excavation was approved 12/2/20. Subsequent construction and requests for the next
       three inspections did not occur in a timely manner and the installer did not respond to outreach by the Health
       Department (pump chamber, tank and leach field inspected 1/20/21, force main inspected 1/27/21, and rough
       grade inspected 2/3/21). The Health Department is currently waiting for the hard copy of the "as built".
       Frado has approved the grading although the owner is not happy with the current state of the lawn but that is
       for the owner and Bonica to work out.

        There was a discussion as to whether to send a notification letter to Bonica due to the delays and repeated
        failures to communicate with the Health Department. This culminated in Galligan moving to issue a warning
        letter to John Bonica for his performance on 60 Garnet Rock Road. The motion was seconded and passed
        unanimously. Bonica will have 10 days from the receipt of the letter to request a hearing with the BOH.

    3. Covid-19
Carlisle Board of Health Minutes                                              Page 1 of 2
Meeting Date: February 16, 2021
Approved: March 9, 2021




                                                                                                       BOH061
                 Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 68 of 203

        Massachusetts now has 29 cases of Covid B.1.1.7 (the UK Variant) of which 19 cases occurred in the last
        couple of weeks and there was also an instance of the South African Variant. Recent reports tend to indicate
        that B.1.1.7 is more harmful and more deadly. There was discussion about paying Zander and O'Connor as
        assistant dispensing coordinator and assistant clinic administrator and about reimbursement from the Cares
        Act. Galligan moved that the job description for assistant vaccine coordinator and assistant clinic
        coordinator (exact titles to be determined) be finalized for an amount not to exceed $10,000 to cover 2
        positions for 13 weeks at $25/hour and 15hours/week, with the flexibility to move hours between the two
        positions. The positions would be approved by either the chair or the treasurer of the BOH.
        Approved unanimously.

        There was a discussion as to whether Carlisle should allow registration to the general public (i.e., outside of
        Carlisle residents). Carlisle has not been given the requested vaccine for 2 weeks in a row and going public
        might help us acquire vaccine. It is possible that if we went public, we might be able to set up a wait list to
        ensure that Carlisle residents receive at least some of the vaccine. We might also go public to get the ball
        rolling and then go back to private. Fantasia suggested that she could send a letter to her contact in the State
        Health Department who might then forward it to the appropriate person to get the ball rolling.

    4. Goal Workshop
       The goal workshop evidently came from a group attempting to realign the town land use departments. Given
       the current Covid crises as well as the BOH management of critical projects it was felt that the BOH is not
       currently able to work on goals.
    5. Budget Update
       The BOH has not heard back from the Select Board about its budget request.
    6. Annual Report
       Town meeting is not until June 5 so the BOH has not missed the deadline. There was a call for volunteers to
       write a narrative of what the BOH has done in the last calendar year—Galligan said she will follow up with
       Fantasia on this.
    7. Adjourned
       The meeting adjourned at 20:37. The next meeting will be 3/9/21.


        Respectfully submitted,


        David Erickson,
        Recorder

         (All documents discussed are available for review in the office of the Board of Health)




Carlisle Board of Health Minutes                                                Page 2 of 2
Meeting Date: February 16, 2021
Approved: March 9, 2021




                                                                                                          BOH062
          Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 69 of 203



                                              BOARD OF HEALTH
                                                      Minutes
                                             Tuesday, March 9, 2021
                                                      7:00 PM
                                               Remote Participation
                                                 Join Zoom Meeting
                                     https://us02web.zoom.us/j/83279854137
                                             Meeting ID: 83279854137
         7:00     Minutes 10/10/19, 2/16/21
         7:30     Benfield Farms – status report from Meridian Engineering

         Discussion Items
                 27 Old East Street – Accessory Apartment Appeal
                 Open Space & Recreation Draft – comments
                 COVID-19 report
                 FY22 Budget
                 Personnel Request
                 2020 Community Chest Grant Status Report



    Attendance members: Tony Mariano Chairman, Jean J Barry, Catherine Galligan, Donna Margolies, Todd
    Thorsen
    Attendance nonmembers: Fantasia Health Agent, Kris Gines, Mark Beaudry (Meridian), Elizabeth Daglish,
    Maureen Deery (Carlisle Affordable Housing Trust), Dave Erickson, Phil Giffee (Benfield Farms), Mal Nelson
    (Benfield Farms),Lee Storrs, Bill Risso, Ginny Turner, 617-697-5600

    The meeting was called to Order at 7:00 pm.

    1.   Minutes—the Minutes from 10/10/19 and 2/16/21 were approved with minor changes.

    2.   COVID Update
         Trisha McGean was able to vaccinate 11 home bound residents with no adverse reactions. We owe a debt of
         gratitude to Concord for sharing vaccine with us.

         A collaborative consisting of 8 towns, including Carlisle, is proposing a regional clinic to the state. The
         clinic would address a gap in the state’s planned mass vaccination site locations. Two sites are being
         proposed: the former K-Mart in Acton and drive-up structures in the Concord Carlisle High School parking
         lot. The CCHS structures were used for the First Responder Clinics. There will be a meeting on Thursday to
         come up with a plan to be submitted. Since there are 8 towns involved there will need to be a traffic plan
         and also a plan for staffing. Staffing will include paid municipal staff and volunteers. A full day clinic
         requires 10-15 medical personnel and up to 15 non-medical. We would like the clinic to have evening hours
         as well as since many of the medical volunteers work during the day.

         To be considered a clinic must be able to administer 750 to 1000 doses per day for a minimum of 5 days per
         week. Mariano noted that if this gets approved we will be talking about 1000s of doses/week. He asked about
         the doling it out to multiple locations so that possibly Bedford and Carlisle could have a clinic in Carlisle.
         Fantasia said the towns do not want to complicate anything at this point and noted that the State has made it
         very clear that they want a single mass vaccination site and not local community clinics. It was noted that
         Carlisle purchased the drive-thru structures largely at the State's request and we need to use the structure so
         we can get reimbursed. Fantasia thinks our drive through system is very efficient and it might be possible to
         set it up at the regional clinic. Galligan suggested it could also be used as a drive-thru clinic at the regional
         site; making use of it in some capacity will provide a better chance of getting reimbursement. Fantasia will
         post a vaccine advisory meeting on Monday.
Carlisle Board of Health Minutes                                                             Page 1 of 4
Meeting Date: March 9, 2021
Approved: April 20, 2021



                                                                                                                 BOH063
         Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 70 of 203



         Fantasia said that another swap meet is being planned and there was some discussion of traffic management,
         although it was felt that the last swap meet was well handled. The committee has improved many of the
         features based on their experience with the previous ones.

         The COVID tally is up to 164 cases--they are largely family clusters but nothing like we were dealing with
         in November, December and January. The school has been responding quickly to reports of infection and is
         doing routine pool testing. The school held a meeting last week with the Board of Health to discuss loosening
         up occupancy guidelines on buses; the School Committee will consider a compromise between current
         practice and the new state recommendations at their next meeting.

         The COVID discussion wrapped up with a formal vote to participate in the local consortium for a regional
         vaccination clinic. Acton has offered to be the lead team and will write up the plan, which is modeled on one
         submitted by the Town of Hopkinton.

         Galligan moved that Carlisle join with the other towns in applying to the state for a regional vaccination
         clinic. Barry seconded the motion and it was approved unanimously.

    3.   7:30 Benfield Farms status report
         Beaudry had forwarded to the Board an email from Sylvia Willard, Conservation Administrator, on a meeting
         with town counsel Tom Harrington, and Conservation Commission (CC) members Lee Tatistcheff (Chair)
         and Alex Parra. Counsel had been asked to review the legal documents relative to the Benfield Farms
         Conservation Restriction and Easements.

         Harrington advised the following:
                 1. The septic field does not need to be constrained to the easement since the easement was a local
                 initiative and can be amended.
                 2. CC, BOH, and Select Board should work together to find the best area for the system.
                 3. The proposed work will not require a change to the Conservation Restriction so there is no need
                 to go to the state.
                 4. The CC will expect that when the work is done the septic field will look like a meadow, not a
                 mounded field.
                 5. If further access is needed to Tom Harrington then the BOH should go through the Select Board.

         The question of putting the system on Lot 3 had been raised earlier since it is not part of the Conservation
         Restriction but held by the Recreation Commission. Beaudry said the land is heavily forested and according
         to older soil tests has a high water table and less favorable percolation rates (12-18 mpi compared to 5 mpi
         on Lot 4). Beaudry was not able to get an exact estimate for locating a system on Lot 3 but indicated that
         with the land clearing it might be $75,000-$100,000 above the cost of the system on Lot 4 estimated to be
         around $120,000. Beaudry felt this was impractical.

         Beaudry would like to have the location decided so he can move forward with the design. His proposed
         design would include a 4.0’ separation to groundwater using the .9’ groundwater mounding calculation of
         the original septic design. This would put the mound approximately 10” above existing grade. It would be
         possible to fit it within the contours of the proposed location to make it acceptable to the Conservation
         Commission. The Board noted that a recent study conducted by Onsite Engineering referred to a 2.6’
         groundwater mounding offset. Beaudry said this would put the finished grade 3.5’ above ground and make
         it very hard to blend in with the natural setting. Beaudry suggested the Board be flexible on this issue since
         the effluent will have received pre-treatment. He noted that the metered flows averaged 1000 GPD or
         approximately 25% of the Title 5 Design flows of 3900 GPD. In response to a question from the Board,
         Beaudry explained that 10-12 soil tests were done with at least 6 test pits within the proposed footprint.
         Beaudry was confident that the soils were well defined. He is considering using a GeoMat alternative
         technology which would lower the height of the mound.


Carlisle Board of Health Minutes                                                           Page 2 of 4
Meeting Date: March 9, 2021
Approved: April 20, 2021



                                                                                                              BOH064
         Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 71 of 203


         Beaudry says the treatment component is not yet designed but he would like to begin work on the disposal
         field, possibly facilitated by having two disposal permits (one for the field and one for the treatment system).
         Access to the leaching area via a cart path can be problematic during wet weather and will require an Order
         of Conditions. Beaudry would like to start work on the field before the wet summer weather. A second
         permit would be obtained for the treatment unit design.

         There was considerable discussion of this request and the history of the system.

         The board discussion, with former board members Risso and Storrs, included the following:
         • Testing and experience indicate that the soils in the former field still have red flags and the potential for
             problems in the substrate layer. This may be true of the new location which is adjacent.
         • Any design needs to provide high assurance of protecting public health; use of metered flows is not
             practical since there is no way of predicting future uses.
         • While Beaudry must balance acceptability to CC, the BOH purview is public health. The CC function is
             complementary, and their terms may include appearance and issues related to use of the land.
         • Construction should not begin on part of the system until both the pre-treatment and disposal field have
             been designed and the integration considerations are set; two permits may be confusing although only a
             single Certificate of Compliance would be issued for the system.
         • Questions were raised about the likely design of the field. Beaudry reported that the preliminary design
             used a PercRite system (same as original system) because other alternatives would require more fill. He
             is proposing a GeoMat system which will require upgrading the pump chambers.
         • As far as digging out the existing leaching field and using Title 5 sand, Beaudry reported that test pits
             revealed impermeable soil to ~7’ depth so this would not be an option.
         • Like the current system, a “canary well” will be present.
         • Flow rates should not be reduced; a larger, more robust system is the better approach.
         • Historically, solids were pumped into the field. The PercRite system is sensitive to solids and clogging,
             which raised concerns about potential failure. The pre-treatment is critical because plugging up the
             PercRite can push liquid through a few spots, which will bubble up to the surface. If a drip system is
             used, a filter should be incorporated prior to the drip system with an alarm that is set off when the flow
             slows down or stops.
         • The whole design should be presented to the board, along with consideration of pre-treatment potential
             problems and how they would affect the system.
         • Access to the field is limited to a small window of time so timely design and approval are critical.

         Beaudry is meeting with CC two days hence and will provide a preliminary design at the next BOH meeting.
         The Board agreed on the following:

             •    The Board will not entertain any waiver requests,
             •    System must be designed according to Title 5 Minimum Flow Rates and not actual metered flows
             •    A decision must be made on what systems are being proposed for leaching field and pre-treatment
             •    It would be helpful to demonstrate what a conventional Title 5 system would look like
             •    Preliminary plans for the leaching area should be submitted so that Rob Frado has time to review
                  before the next meeting. This will not be a full technical review but an assessment of the assumptions
                  of the design. The plans do not need to include full construction details.

         It was noted that Title 5 systems >2000 gpd require an independent review of ground water mounding, which
         will be arranged. The Board reiterated that its decisions will be based on protecting the public health and the
         environment. Conservation and esthetic features must be secondary. The Board is willing to consider CC’s
         input but is obligated to follow Title 5.

    4.   Other business
         No additional information on FY22 budget or personnel.


Carlisle Board of Health Minutes                                                             Page 3 of 4
Meeting Date: March 9, 2021
Approved: April 20, 2021



                                                                                                                BOH065
         Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 72 of 203


        2020 Concord Carlisle Community Chest (CCCC) grant -- Fantasia and Galligan met virtually with Executive
        Director Jennifer Ubaldino. CCCC recognized the difficulty in using grant funds during 2020 and is willing
        to extend the completion date to the end of 2021. One of CCCC’s interests is the mental health impacts of
        COVID, especially on children, and we discussed outreach on mental health as a grant deliverable. Following
        the CCCC meeting, Fantasia met with colleagues from nearby towns and the group will share costs and
        sponsor a series of workshops for parents and children.

        27 Old East Street and Open Space are postponed to the next meeting.

        The next meeting is set for 3/23/21.
        Galligan moved to adjourn, Barry seconded and the motion was approved.
        Meeting adjourned at 21:04.


        Respectfully submitted,


        David Erickson,
        Recorder

        (All documents discussed during this meeting are available for review upon request in the office of the
        Board of Health)




Carlisle Board of Health Minutes                                                        Page 4 of 4
Meeting Date: March 9, 2021
Approved: April 20, 2021



                                                                                                          BOH066
                  Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 73 of 203


                                                   BOARD OF HEALTH
                                                   MEETING MINUTES
                                                  MARCH 23, 2021 7:00 PM
                                                 REMOTE PARTICIPATION

                                                             Agenda
Remote Participation by Zoom Meeting
Tuesday, March 23, 2021 at 7 pm
Meeting ID: 832 1092 7189     https://us02web.zoom.us/j/83210927189

7:00              Minutes
7:10-7:30         95 Hanover Road – septic system installation (Nouvellon)
7:30-8:15         Benfield Farms – septic system upgrade
                  7:30-7:45         Plan presentation
                  7:45-8:15         Board discussion, Q&A
8:15-8:30         27 Old East Street – Accessory Apartment – septic upgrade status
8:30-8:40         Open Space and Recreation Plan – Board comments
8:40-9:00         Other Discussion Items and New Business
                      ▪ COVID-19 Updates
                      ▪ Carlisle Public School RTN 3-35688 report from Omni Environmental
                      ▪ Garrison Place – status of Septic Escrow Account, Operations Manual, Sampling Results
                      ▪ Public Health Excellence Grant Opportunity
                      ▪ FY22 Budget Update
                      ▪ Municipal Vulnerability Grant – March 27th Workshop


Attendance members: Tony Mariano Chairman, Jean J Barry, Catherine Galligan, Donna Margolies, Todd Thorsen
Attendance nonmembers: Fantasia Health Agent, Kris Gines, Mark Beaudry (Meridian), Rob Frado, Chantal Nouvellon, Justin
Daglish, Dave Erickson, Bill Risso, Michael Joseph, David Schofield, Terry Holsinger, Ted Doucette, Derek Zanga, Emily Smith
(Carlisle Mosquito)

The meeting was called to Order at 7:00 pm.

1.   Minutes—the Minutes from 3/9/21 will be reviewed at the next meeting. Fantasia will incorporate edits and send them out for
     review before the next meeting.

2.   95 Hanover Road - septic system installation (Nouvellon)
         This has been an ongoing project which seems to have been complicated by Nouvellon's installer's license having lapsed and
         by the installer not properly communicating with the town. The well was drilled in 2012 and a water test done on August 20,
         2020 was submitted last week. The water test must be performed within 12 months of occupancy. The well cap was
         fractured at one point and needs to be verified. The BOH agreed that the Well Inspector will do a current inspection on the
         well.

         Nouvellon would like a temporary occupancy permit, which the BOH cannot grant because there is no septic system. The
         next steps for the septic:
         • A licensed contractor must sign out the plans. The homeowner could get a licensed installer, or her previous installer
             could renew his license.
         • A detailed workplan and schedule must be provided by the installer, including details on how the fill will be removed
             and the inspections.
         • Frado needs to verify that the stakes for the septic field are properly placed. The engineer will stake the corners, as the
             first step, and provide the offsets. No work may proceed until Frado has approved the bed. David Schofield, engineer,
             confirmed that this will be done.

         Mariano expects that a licensed installer should be in place within a week. It should then take 2 weeks to submit a work plan.
         The current fill must be removed and Frado may need to observe part of the removal which will be charged to Nouvellon.
         The Board instructed that communication with the Health Department should be handled by the engineer and installer since
         they are more familiar with the required procedures and this line of communication will ensure that the installation is
Carlisle Board of Health Minutes                                                           Page 1 of 4
Meeting Date: March 23, 2021
Approved: June 8, 2021
                                                                                                                      BOH067
                  Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 74 of 203

         completed in the most time effective manner. The BOH will send a letter with this timeline outlined as well as details on
         getting the water certificate. The following schedule was outlined for Nouvellon:
         • Timeline:
                   o By Thursday, April 8 - Licensed installer on board and plan signed out.
                   o By Thursday, April 22 – Installer provides work plan to Health Department.
                            ▪ After approval of work plan, commence replacing the fill and completing the field.
                            ▪ Health Department schedules Frado for inspections
                            ▪ 4 weeks for inspections & as-builts
                   o Thursday, May 20 – certificate of completion, per this schedule

    3.   7:48 Benfield Farms septic system upgrade. Present Phil Giffee (NOAH) and Mark Beaudry (Meridian Engineering).

         Beaudry reviewed the results of the stakeholders meeting (ConsCom and Town Council) reiterating that fill on lot 4 was
         permissible provided that the finish grade looked natural and that working outside the easement was acceptable. The design
         has been moving forward with that understanding and Beaudry has since forwarded the following summary of the plans:

         Perc-Rite
         As presented at the BOH meeting last week, the design has been evolved to allow the reconstructed system footprint and
         grading to be located outside of the existing Utility Easement consistent with ConCom and “stakeholders” direction.
          Secondly, based on BOH desires to have no waivers, we are providing a system design with a 4-foot separation to the
         previously approved 0.9-foot groundwater mound (calculated to be at full design load). A scenario with a 3’ separation is
         also depicted on the plan, but we do not anticipate going this route as it would require Local Upgrade Approval relief.

         With the layout adjustment, the finished grade at the corners of the system would all be 0.6 feet (about 7 inches) above
         existing grade. We believe this can be mitigated, that is, blended into the surrounding area and concealed, with the “off
         grading” of added fill around the edges to comply with ConCom and CCF requirements relative to the Conservation
         Restriction. Proposed grading is now depicted. The utility easement will be adjusted upon completion.

         GeoMat
         Also as presented at the BOH meeting last week, this design alternative was selected to provide what our team believes to be
         an improvement to the disposal area with enhanced, longer term performance (and “peace of mind”), more complete and
         uniform distribution, and enhanced treatment prior to recharge as a bonus. This leaching bed layout involves placement of a
         6-inch-thick sand bed in the required bed footprint area (as sized for new construction at an LTAR of 0.74 GPD/SF). On top
         of this sand bed, rows of 24” wide GeoMat Leaching System will be installed. GeoMat is a product developed by Geomatrix
         Systems LLC that is approved as an alternate system for General Use and Remedial Use by the MassDEP. It is a low-profile
         system consisting of an approximately 1” thick highly transmissive core (comprised of fused entangled plastic filaments)
         fully wrapped in a hygroscopic membrane. Perforated distribution pipe laterals are then placed inside each of the membrane
         “units” on a plastic seat/shield on top of the core. The laterals are then loaded uniformly by traditional pressure distribution
         techniques. This will require a new pump chamber to be located adjacent to the disposal area. It is intended that this new
         pump chamber will be supplied by the existing “Perc-Rite” pumps (in the pump chamber near the Benfield housing) and the
         2” force main down the cart path that will be retained. The GeoMat system with lateral is only 2” to 3” tall and requires only
         6 inches of cover. Therefore, the finished grade with this system can be lower than the Perc-Rite system with a fill of only 4”
         to 5” above existing grade while maintaining a 4’ separation to the mounded groundwater (at 0.9’ maximum mound).
          Proposed grading is depicted.

         This system will also require components to be located outside of the existing Utility Easement and will the utility easement
         to be adjusted upon completion.

         Treatment System
         A letter outlining the proposed upgrades to the treatment system, which is anticipated to be an added MicroFAST 0.9-unit,
         recirculation system and Micro-C supply modifications, will be forwarded to the BOH shortly. This treatment approach was
         discussed with the BOH at its meeting last week.

    4.   27 Old East Street – Accessory Apartment – septic upgrade status. Present: Terry Holsinger (owner), Ted Doucette
         (engineer)
         Fantasia noted that the accessory apartment, which was not approved by the Planning Board, is in a detached garage and
         there was no documentation on how the apartment is tied into the septic system. It has since been verified that it is properly
         tied in. The BOH has set timelines for the permit (Jan. 1, 2021) and completion (May 1, 2021). It will not be possible to
         meet the May 1 deadline. Since it is not a failed system it seems appropriate to grant an extension. The following schedule
Carlisle Board of Health Minutes                                                           Page 2 of 4
Meeting Date: March 23, 2021
Approved: June 8, 2021
                                                                                                                        BOH068
                  Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 75 of 203

         was outlined: testing next week then 2-3 weeks to get the plan and then 1-2 weeks to review the plan looking for July 30 for
         the “as built” plan and the certificate of compliance. The BOH will send out a letter that can then be used as a basis for
         communication. The Planning Board will be copied on the letter.

    5.   Open Space and Recreation Plan – Board comments
         Open space plan needs final comments by 4/30. Mariano and Fantasia have discussed it. Galligan focused on the highlighted
         areas when reviewing it but Mariano looked through the whole plan and said it was an enjoyable read but just looking at
         highlighted areas is probably fine. It was noted that the term “shared septic system” was used incorrectly and was flagged.
         Thorsen noted that there was a lot on water, barns, and beavers but not so much on people. Fantasia noted that we do not
         want to confuse this with the Master plan--this is the open space and recreation plan. Barry noted that a 400 page plan every
         ten years is a lot of work, but Fantasia said that it is needed to apply for grants and that every town goes through this.
         Mariano noted that it is really important to the town; we will revisit some of those initiatives and get comments out.

    6.   Covid Updates
         There were 168 cases as of 3/21/21. Every week we get a few more cases but not like last year. The application for a
         regional clinic at the Acton Kmart was submitted on Friday; we have not heard anything yet. Fantasia thinks it is a good plan
         at a good location, but we will not have any vaccine earlier than mid-May at which time we would hire a professional staff.
         We are also talking with UMass Grad School of Medicine about sending students to do vaccinations. No one has any idea
         how long this will go on, especially if there is a vaccine for children. There was some discussion about allocation of vaccine
         between states with the perception that people are resisting vaccination in Southern states which may be why some of them
         are opening vaccination to younger people sooner than other states. It was decided that there was nothing pressing for the
         vaccination subcommittee so it will not schedule a meeting until we hear back from the state. Fantasia has followed up with
         contact Jana Ferguson on a budget matter but otherwise has no additional information.

    7.   Other business
         The environmental consultant for the school elevator spill is filing for closure to the project and recommending an end to the
         carbon filtration system which would be good because it was interfering with radon issues.

         Fantasia notes that their new milestones for Garrison Place that will involve BOH approval. They are about ready to enter
         occupancy to unit 10 on June 16 but we want to insure they have satisfied BOH regulations, especially the septic escrow
         account. They are not currently asking for a certificate of compliance on the septic, they are moving ahead but nothing major
         now.

         Public Health Excellence grant opportunity. Galligan said that Fantasia made us aware of a state grant that allowed a group of
         towns to apply for a grant for shared services. There are 351 local BOH departments and the state would like more
         cooperation to raise the level of performance and improve uniformity across the state. The state is making a large pool of
         funds available for groups who will work together so Fantasia has worked with 5 other towns to get funding to share
         inspectional services for pools, septic systems, and food establishments as well as other Health Department duties. It is a
         good opportunity and Sudbury is writing it up. Galligan is skeptical about our changes of being awarded the grant, as the
         state is looking at the nature of communities and especially underserved communities. The state has 30 grants for up to
         $300,000 per year and for 3 years.

         FY22 Galligan says Fincomm met the other night. They are in support of 10 hours for a public health nurse but not for
         additional hours for our Assistant to the Health Agent. There is a meeting with the Selectboard tonight to see what both
         groups would support. While it is positive that they will likely approve 10 hours for a public health nurse it is frustrating that
         they do not recognize that need for additional AHA hours. More monitoring of compliance, especially in larger projects,
         might avert the sorts of crises we have been seeing. Despite limited hours Gines does an outstanding job and has been
         getting as much done as possible. It might be helpful if our Selectboard liaison participated in more BOH meetings.

         Municipal Vulnerability workshop is Saturday, and they would like to have BOH representation. There will be presentations
         and break out groups.

         Fantasia brought up that hazardous waste day has not been scheduled. There was talk about whether it should be opened to
         other communities, but the general feeling was that we should keep it restricted to Carlisle residents. Fantasia will book a day
         for Carlisle in the fall. Galligan suggested we also talk to the Selectmen about reopening oil collection. It was also suggested
         that the swap shed might be reopened (possibly limiting it to 2 people at a time). Barry says that the science indicates that
         fomite transmission of Covid is minimal (see https://www.nature.com/articles/d41586-021-00251-4 for one discussion).

         Barry moved to adjourn, passed unanimously. Adjourned at 21:37
Carlisle Board of Health Minutes                                                            Page 3 of 4
Meeting Date: March 23, 2021
Approved: June 8, 2021
                                                                                                                          BOH069
 Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 76 of 203


        Respectfully submitted,


        David Erickson, Recorder

        (All documents discussed are available for review in the office of the Board of Health)




Carlisle Board of Health Minutes                                                     Page 4 of 4
Meeting Date: March 23, 2021
Approved: June 8, 2021
                                                                                                   BOH070
                 Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 77 of 203


                                               BOARD OF HEALTH
                                     Minutes for Tuesday, April 20, 2021 7:00 PM
                                                Remote Participation

7:00            Minutes
7:00-7:10       Minutes 3/9/21, 3/23/21
                Request for Deed Restriction. 137 Bingham Road (withdrawn)
7:10-7:20       67 Hanover Road. Request to reduce Perc-Rite sampling frequency.
7:20-7:30       Bonica Excavating Co. Installation Update (tentative)
7:30-7:40       Septic Upgrade Extensions
                    ▪ 27 Old East Street
                    ▪ 49 Concord Street
7:40-8:00       Garrison Place. Request for Certificate of Compliance
8:00-8:30       Benfield Farms. Septic System Upgrade
DISCUSSION ITEMS
        COVID-19 Updates
        FY22 Budget
        Old Home Day Planning

Attendance members: Tony Mariano Chairman, Jean J Barry, Catherine Galligan, Donna Margolies, Todd
Thorsen
Attendance nonmembers: Fantasia Health Agent, Mark Beaudry (Meridian), Elizabeth Daglish, Dave Erickson,
Joey LaPointe, Robert Lilley, Steve Martini, Gerry Boucher, Phil Herman

    The meeting was called to Order at 7:00 pm.

1. Minutes—the 3/9/21 were reviewed and several minor edits were suggested. Barry moved to accept the minutes
   as corrected, Margolies seconded the motion which was approved unanimously. The 3/23/21 minutes were
   tabled to allow more time for review.

2. 137 Bingham Road withdrew their request for a deed restriction.

3. 67 Hanover Road. Request to reduce Perc-Rite sampling frequency.
   The Perc-Rite system had failed so the sampling frequency had been increased. Since 2016 the system has been
   operated by Eco-Dynamics and they have been complying, so they now want to return to the regular yearly
   testing schedule. Galligan moved to allow 67 Hanover Rd. to go from quarterly sampling to yearly. Barry
   seconded the motion, and it was approved unanimously.

4. Miscellaneous
   Fantasia has issued licenses to Kimbals and Great Brook Farms to open their ice cream stands. She is still
   working on annual report. There will not be a caucus this year--instead of a caucus anyone running for board
   seats must pick up papers and with only 10 signatures required to run there could be a lot of candidates.
   Continuing members will also need to take out nomination papers, Fantasia does not yet have the relevant dates.

5. Covid
   Standards for close contact on the bus or in the classroom has been reduced to 3' (from 6'), schools can opt to
   stay with 6'. The State is looking at new distance requirements in the event of new cases. All teachers who wish
   to be vaccinated have been vaccinated.

    Vaccination statistics are available on the dashboard--they are updated every Thursday. Carlisle cases are on the
    increase with 202 cases as of last week. New cases seem to be the result of family transmission and they are
Carlisle Board of Health Minutes                                                             Page 1 of 3
Meeting Date: April 20, 2021
Approved: June 8, 2021
                                                                                                       BOH071
                  Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 78 of 203

    climbing because of the new variants. Barry says B117 seems to be the predominant variant. It is much easier to
    catch as it is about twice as contagious as the strains circulating a year ago. Given this, the need to wear masks
    was stressed, there was puzzlement expressed that the state is not more forceful in promoting the use of masks.

    Fantasia would love to get vaccine, use our structure, and prepare for boosters in the fall. Thorsen said Moderna
    is planning a combination flu and Covid vaccine and may file for emergency approval next week. Barry is
    concerned that these companies are motivated by money, she thinks people may be protected for at least a year.
    Antibody levels do not tell the entire story, we need to see if people actually contract disease.

6. Bonica installation update
   Bonica is not present. Mariano said there have been some missed deadlines and work being done outside
   specified dates. Fantasia has been in touch with Bonica, and we were hoping he would be here tonight. Fantasia
   has been in touch with him, and he said that it was a combination of personal and weather issues--he had to plow
   the bed four times and agrees that winter installations are very difficult. He wanted to remind board that he has
   been licensed in Carlisle for many years and has never had any problems and has a good relationship with Frado.
   Mariano was inclined to back off issuing a warning letter. Barry agreed with Mariano although she was
   disappointed that he was not present and asked whether Fantasia's conversation provided evidence of mitigating
   circumstances. Galligan did not think we should put Fantasia in the position of advocating for Bonica—the BOH
   made it very clear they did not want to allow a late start and then when it went off plan, Fantasia was repeatedly
   chasing him. Galligan felt he should have been communicating with us and felt the BOH should at least issue a
   warning. After more discussion Galligan moved to send a letter of warning to John Bonica, Margolies
   seconded the motions, and it was approved unanimously. Fantasia will handle sending him the letter.

7. 27 Old East Street Septic Extension
   High water has delayed the perc tests so the schedule needs to be updated, they may have to wait until June
   instead of March 31. They are proceeding and Fantasia received word from the owner that their apartment
   tenant will be moving out. The system is not in failure, but they cannot use the accessory apartment until the
   BOH approves an upgraded system. Galligan, suggest we defer this--a dry spring may allow testing sooner and
   while Galligan agrees with an extension she would rather wait to see how conditions develop. Mariano agreed
   and it was decided to defer discussion of an extension.

8. 45 Concord Street Septic Extension
   The BOH has granted several waivers but now there is an unfortunate change of plans because of a death in the
   family. They are not going to build the garage so the question of opening discussions to remove some of the
   waivers came up. Fantasia did invite the owners to this meeting, but she was not sure they understood what is at
   stake. After some continuing discussion Mariano thought the BOH should table this. Galligan thought it might
   be better to have a conversation offline and Fantasia will set something up.

9. Garrison Place request for certificate of Compliance
   Fantasia said the septic is functioning and that an occupancy permit was issued 2 weeks ago. The BOH wants
   compliance for Perc-rite and Fast system. The septic escrow has been funded and they put together a spread
   sheet for sampling, but the units have only recently been occupied. Joey LaPointe is the project manager and
   said that the system has been in operation for a couple of years--he believes that they have met all the obligations
   for a certificate of compliance. Galligan noted that there have been samples where total nitrogen is out as well as
   BOD. There was discussion of sampling. It was eventually decided that the BOH needs to see the data and after
   Mariano goes over the data with LaPointe and Fantasia the BOH will revisit this issue.

10. Sampling Wells
    Mariano brought up that the BOH is seeing problems with septic monitoring wells not being useful. During part
    of the year, they cannot be sampled because they are dry. The BOH should discuss sampling wells, possibly
    including engineers. He asked Fantasia to put it on a future agenda.
Carlisle Board of Health Minutes                                                               Page 2 of 3
Meeting Date: April 20, 2021
Approved: June 8, 2021
                                                                                                         BOH072
                  Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 79 of 203


11. Benfield Farms septic upgrade
    Beaudry said that Benfield Farms representative was not able to attend, he will provide an update tomorrow.
    The Geomat system had looked like a good system but further engineering works this afternoon showed that
    Geomat would double the footprint of the system, so it has proved to be untenable. Consequently, they are going
    back to Plan 1 for the Perc-rite system which makes the infrastructure simpler, and they can keep the current
    pumping station and force line, merely relocating the system over to the new area. Beaudry forwarded Fantasia a
    letter from Biomicrobic (producers of the MicroFast system). They are proposing the MicroFast 0.9 system
    which should take care of residual carbon from the MicroC system. They will also put in a dedicated pipe for the
    MicroC instead of tanks for better all-weather delivery and to require less manual intervention. It turned out that
    under previous management that the MicroC pump had failed so there was a period of no MicroC. The new
    management company, Waste Management discovered it immediately. The new system will be basically the
    same system but easier to monitor. Mariano is concerned that there should be less need for manual involvement.
    If companies are monitoring the process, there is always the possibility of not fully transferring protocols to new
    operators. Beaudry notes that conservation approval is important--over the last weeks they have confirmed wet
    land lines and will be moving forward with concsomm to get approval for access to construct system.

    Beaudry presented preliminary designs at the last board meeting. ConsCom is happy with what they have seen
    since the last BOH meeting. Beaudry will be working with ConsCom concurrently with furthering the design.
    Beaudry would like to avoid waiting until august. They can use swamp mats to allow access when the cart path
    is wet--the path was not dry until August last year. Galligan said that the system failed 2 years ago on May 6 and
    there is a 2-year replacement period. Fantasia said the board can extend the period if they have an enforceable
    agreement. Beaudry should keep in mind that the system has been shut down and is going to a tight tank.
    Galligan asked whether this should go back to a conventional system and wants to avoid rushing at this stage.
    Mariano asked Galligan to elaborate on "conventional system" and noted there are major issues with conscomm.
    Galligan said a sand filter and a conventional field would be a conventional system. BOH concern is protecting
    public health and the environment. There was considerable discussion of conventional vs. Plan 1 design and
    difficulties that might result with ConsCom. It was finally agreed that Beaudry would look at conventional
    designs and that there would be a special meeting next week to go over the enforceable agreement.

12. FY22 budget
    Galligan and Fantasia sat in on the Fincomm meeting--they were not going to revisit BOH request at the meeting
    so it looks like they will approve 10hours/week for public health nursing but not are unwilling to provide for
    more time by the administrative assistant. There was also some discussion of the new review process and
    questions about when decision will be made about things like employee health insurance co pay.

13. Other
    Old home day is being planned but largely depends upon state regulation—maybe could occur in the fall.
    Fantasia will schedule a toxic waste day in the fall.
    Thorsen and Margolies are not running for another term.

    Galligan moved to adjourn, seconded and the motion was approved.
    Meeting adjourned at 20:52.

    Respectfully submitted,

    David Erickson, Recorder

        (All documents discussed are available for review in the office of the Board of Health)



Carlisle Board of Health Minutes                                                               Page 3 of 3
Meeting Date: April 20, 2021
Approved: June 8, 2021
                                                                                                         BOH073
                  Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 80 of 203



                                                      BOARD OF HEALTH
                                                      MEETING MINUTES
                                                      Tuesday, May 11, 2021
                                                            7:00 PM
                                                      Remote Participation

7:00 Minutes
7:15 Old Home Day Planning (Niles Cocanour)
7:30 Reciprocal Hazardous Waste Agreement (Barny Arnold)
7:45 Summer Fun Program (Holly Mansfield)
8:00 Benfield Farms
. Peer Review Consultant Selection
. Research report from Meridian Engineering
Discussion Items
COVID-19 status report
Public Health Excellence Grant
Town Caucus
The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting. Additional topics not
anticipated may be discussed at the meeting under the agenda item New Business.

The meeting was called to Order via remote participation at 7:00 pm.
Attendance members: Tony Mariano Chairman, Jean J Barry, Catherine Galligan, Donna Margolies, Todd Thorsen
Attendance nonmembers: Fantasia Health Agent, Mark Beaudry (Meridian), Dave Erickson, Niles Cocanour, Christie
Cocanour, Phil Giffee, Holly Mansfield, Barney Arnold, Launa Zimmaro, Mal Nelson, Rob Frado, Mike Moreau, Carlos
Quintal, Ginny Turner

1. Minutes
   Minutes are postponed to the next meeting.
2. Old Home Day Planning (Niles Cocanour)
   The committee started meeting several months ago, at the time there were 2 dates proposed 6/26 and 9/25 and
   6/26 was finally selected. There will be a number of changes this year as a result of Covid. There will be a
   staggered start for the road races, cakes will be displayed at the school (FRS will be closed) with one way and
   limited traffic for the viewing, the pet show will be virtual (which will also be easier on the pets). Mask wear
   will be encouraged outside and required inside. It is undecided whether there will be food trucks--if there are
   people must take their food and sit to eat it. There will be games, some games, like the egg toss, lend themselves
   to social distancing. If there is a town fair it will be in the school parking lot. The committee will watch the
   swap meet for ideas on the town fair and will keep the BOH apprised of their plans.
3. Reciprocal Hazardous Waste Agreement
   Barney Arnold is the liaison to the Energy Task Force, and she reached out to Julie Green, the regional
   coordinator for The Mass CEP (Comprehensive Energy Plan) about recycling hazardous waste. The concept of
   the "Massachusetts Reciprocal Arrangement for Hazardous Waste Disposal" was before the board a while ago.
   This arrangement would mean residents of other towns could participate in Carlisle Hazardous Waste Day and
   Carlisle residents participate in hazardous waste collection in other towns. Green says that in her experience the
   number of non residents that show up is usually very small; on May 1, Dracut had 100 cars of which 5 were non
   residents, which is typical of a small town. Non residents would need to pay and there was concern about
   collecting the payments of non residents. Collaborating with other towns could give us points with the state that
   could provide some value to Carlisle. It was decided to continue this discussion at the next meeting, in the
   meantime, Arnold explained, Green has allowed us to tentatively put our name on a list, but Carlisle residents
   cannot go to other towns unless we execute the Reciprocal Agreement.
4. Summer Fun Program (Holly Mansfield)

Carlisle Board of Health Minutes
Meeting Date: May 11, 2021
Approved: June 8, 2021                                                           Page 1 of 4
                                                                                                                       BOH074
                 Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 81 of 203


   Holly Mansfield has sent the Summer Fun Program description (June 20 to Aug 6) to the BOH. There will not
   be an extended day program. The participants will be in pods with 4 groups of 10 for a maximum of 40
   participants. Kids will stay within their pods for the day with no intermingling. They are still considering
   whether they should keep siblings together and they are unsure whether kids will need to wear masks at
   activities. They will be following good hand washing routines, cleaning bathrooms and porta potties twice a day
   which will be available only for fun day kids. Last year they did pre-screening; they had parents fill out a form
   every day and it went smoothly. Mansfield wanted to know if that would be necessary this year. After doing
   screening questions the child would leave the car with the parents staying in the car. If any household tests
   positive, then their child could not come and if anyone in a pod tests positive then the pod will be barred from
   continuing the program until everyone is cleared. Mariano thought that outdoor masks are not required but
   Fantasia said that the governor has not yet changed the mask mandate. Fantasia said that they had no cases last
   year, but that prescreening will still be required, pods can go to 25 and siblings do not need to be together.
   Mansfield said they have a wait list so they could increase the pod size, but they wouldn't want to go over 12.
5. Peer Review Consultant Selection
   Fantasia: three peer review quotes came in with one coming in lower. Mariano, Galligan, and Barry seemed to
   prefer Peter Shanahan of Hydro Analysis. Shanahan worked on the Woodward Village project.
6. Research report from Meridian Engineering
   Beaudry said that the board had asked him to investigate alternatives to the proposed system. He has looked at
   the Presby Environmental disposal system, but the primary purpose tonight is to talk about pretreatment since
   disposal was largely covered last time. Beaudry asked Mike Moreau to attend to talk about the existing FAST
   system and Carlos Quintal who is familiar with other types of systems. Quintal has been designing waste
   treatment systems since 1980 and with about 40 treatment plants throughout Massachusetts has a good
   understanding of how they work. He said that for a treatment plant, 20ppm of nitrogen (N) is the permit number.
   A recirculating sand filter will give you that a number but there are other alternatives. Regardless of the system,
   some type of fixed film bacterial growth is required to obtain the correct nitrogen discharge. In the Fast system,
   there is one tank with the bacterial film and the introduction of oxygen supports aerobic digestion, but the
   biological oxygen demand (BOD) needs to be controlled. Orenco, sand filters, Bioclere (AquaPoint) are other
   alternatives, but they all need careful monitoring at least during start up. They are all capable of doing 20ppm
   but they must be optimized, ideally you would look at alkalinity and BOD on a daily basis. Quintal would
   recommend minimizing the addition of carbon (Micro C) in the beginning until the system adjusts. Adding
   carbon can easily send BOD sky high. Quintal wouldn't advise something brand new at this stage for Benfield, it
   could be just as bad as what we have currently. Galligan asked whether a sand filter would be an option. Quintal
   didn't think a sand filter provided adequate flexibility; he has one in Wrentham that is not working well but you
   can't see it--the bacterial mat is not allowing filtration, but you can't tell from the top. Frado asked what the first
   step would be, and Quintal said the when the leaching area is functional go through the MicroFast, turn on the
   air, and see what comes out. He would like to see 4 to 5 times daily flow or higher recycled. You won't get
   denitrification until you get rid of the oxygen but by recycling you use a carbon source that is already part of the
   system, ideally it would work without the Micro C. It has been done but it's not easy.

    Mike Moreau said Waste Treatment Systems (WTS) has been involved from the beginning; they changed from
    monthly to quarterly monitoring as time went on. He agrees that this is a water chemistry issue--with any onsite
    technology you don't have all the controls that you would have in a larger plant. Benfield is limited because it
    does not have a lot of food waste or soap but there is also a lot of variation in both BOD and Nitrogen which is
    somewhat unusual. Recirculation can help smooth out the variability and Quintal thinks that we should monitor
    as closely as possible, ideally at least testing alkalinity daily. Once the system is optimized testing could be
    scaled back. Quintal will be available to Beaudry as a consultant. Mariano thanked Quintal and Moreau and
    said he thinks the alternatives would not be an improvement at this time.

    Beaudry then describe the Presby system. It consists of a 12" perforated tube wrapped in a material with a
    geotextile around it. Bedding area can slope with the slope and the tubes can be laid as close as 1.5' on center but
Carlisle Board of Health Minutes
Meeting Date: May 11, 2021
Approved: June 8, 2021                                                   Page 2 of 4
                                                                                                           BOH075
                  Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 82 of 203


      each section handles 500gal/day, so it requires 8 sections to get over 3900gal/day. It does not require pressure
      dosing and so does not require another pump station; the existing effluent pump can go to an 8 outlet D box.
      Each section is independent, and you need a foot of sand all around so the footprint would be 48'*87'. It is 28"
      from the bottom of the sand to finish grade so assuming a .9' mound and 4' ground water separation you end up
      with 1.9' of fill on the low side going to 2.4-2.5' fill on high side. The ground water separation could go down to
      2' (with a perc rate of 2min/"). It's a great system and provides additional nitrogen removal--although MA
      doesn't give credit for that. We could safely go with some reduced ground water separation and still get
      appropriate ground water quality. A new compliance well will be installed. It would cost more than the perc-rite
      system, but the Board may feel more comfortable with this going forward--especially since it doesn't require
      another pump station with a 2-3hp pump in the field.
      Mariano asked when Beaudry will be presenting to ConsCom on the wetland crossing, Beaudry said the next
      ConsCom meeting is May 27, but he hopes to submit the design by next week. Frado asked whether it will you
      show 2' or 4' separation--Beaudry will probably show something in the middle—he is not looking for full relief
      to 2' ground water separation but would probably be looking for about a 3' separation--he thinks it would satisfy
      the BOH and ConsCom which manages the land under a conservation restriction. Galligan said that Beaudry
      should not assume that he can use the middle ground option which requires a waiver approval from the Board.
      Beaudry said he will submit a preliminary design and the board can comment.
      Beaudry has not submitted to ConsCom yet because he is trying to get information from the installer about
      whether they can get around the boulder in the cart path. The installer has not yet been able to get out to examine
      the situation--but they are very supportive of the Presby system--they have installed hundreds of them.
      Beaudry has also been talking to Steve Smith at Geo-Hydrocycle and he says dry monitoring wells are common
      because of ledge; Mariano would like to entertain the possibility of moving the well a bit to avoid it going dry.
7.    COVID-19 status report
      There was only one new case in Carlisle in the last 2 weeks; the testing positivity rate is .5%. There is a lot of
      talk of Pfizer being available for 12-15 year olds but the only ones doing this now are doing it under FDA
      approval, the American Academy of Pediatrics has not yet approved it but that may happen soon. Barry said that
      Middlesex had 18 cases recently and Concord had a huge cluster which shut their school down for a couple of
      weeks. The Carlisle school has been doing pod testing without a positive result and the fire department has not
      had a positive result since April 27.
      Galligan asked Fantasia to read an encouraging article in the NY Times that there is less concern about getting
      Covid from out of door activity, there is a much reduced risk outdoors, even if you are just few feet apart. Pfizer
      and Moderna work well against the variants but some of the other vaccinations don't work as well. Fantasia
      reported that unfortunately a Carlisle resident has traveled to India where he caught Covid and died.
8.    Public Health Excellence Grant
      Five towns including Carlisle were awarded $300,000. The money will be used to hire and share additional
      staff – public health nurse, health educator and sanitarian. There will be a meeting this week to work out details.
9.    Town Caucus
      Town Caucus will be this Thursday. It is only necessary to attend if you are nominating someone, Galligan will
      attend as she is nominating someone in another group but as yet there are no candidates for the BOH; if anyone
      can find someone let Fantasia know. Thorsen asked if candidates need signatures and Galligan said no unless
      you skipped the nomination, in which case the number of signatures required has been reduced to 10.
10.   Miscellaneous
      Fantasia and Galligan still have reservations about hazardous waste--that will be discussed at the next meeting.
      Barry moved to adjourn; Thorsen seconded the motion which was approved unanimously. Meeting adjourned at
      21:34, next meeting May 25, 2012.

      Respectfully submitted,


      David Erickson,
Carlisle Board of Health Minutes
Meeting Date: May 11, 2021
Approved: June 8, 2021                                                   Page 3 of 4
                                                                                                          BOH076
Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 83 of 203


      Recorder




  Carlisle Board of Health Minutes
  Meeting Date: May 11, 2021
  Approved: June 8, 2021                              Page 4 of 4
                                                                    BOH077
                 Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 84 of 203


                                                  BOARD OF HEALTH
                                      Minutes for Wednesday, May 26, 2021 7:00 PM
                                                  Remote Participation

        AGENDA
        7:00 Minutes 3/23/21; 4/20/21; 4/27/21; 5/11/21
        7:15 Reciprocal Hazardous Waste Agreement (Barney Arnold)
        7:30 56 Bellows Hill Road – Accessory Apartment (Sabatini)
        8:00 Birch Lane Septic Installations and Fees – request to modify (Brem)
        Discussion Items
        95 Hanover Road – status report
        Benfield Farms – status report
        COVID-19
        • Local Data
        • Town Hall Reopening
        • Regional Clinic Update
        • Local Clinic Discussion
        Public Health Excellence Grant
        Board of Health Vacancies
        The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting. Additional topics
        not anticipated may be discussed at the meeting under the agenda item New Business.



The meeting was called to order via Remote Participation at 7:03 pm. Attendance members: Tony Mariano
Chairman, Jean J Barry, Catherine Galligan. Attendance nonmembers: Fantasia Health Agent, Dave Erickson,
Barney Arnold, Kim Sabatini

1.      Minutes
        Minutes for 1/19/21 were discussed and amended. Galligan moved to accept the amended minutes, Barry
        seconded, and they were approved unanimously. The remaining minutes are postponed to the next meeting.
2.      Reciprocal Hazardous Waste Agreement (Barney Arnold)
        The reciprocal agreement was discussed. The general feeling was that only a few Carlisle residents would
        benefit from it and that implementing it could well involve more effort than expected. Given the limited
        resources available to the BOH the consensus seemed to be against joining the reciprocal agreement. Galligan
        moved to not participate in the Reciprocal Hazardous Waste Agreement and Barry seconded the motion.
        Mariano asked whether we should add to the motion to communicate with Arnold to get the word out about
        alternatives. It was decided not to amend the motion which was then passed unanimously.
3.      56 Bellows Hill Road
        This is a request for an accessory apartment in a barn. The barn has an accessory apartment on the first floor
        and rooms and bath, with no kitchen, on the second floor. There was discussion of what restrictions to put on
        the approval. Galligan moved that the approval be conditional on routine water quality testing annually at a
        drinking water tap, water meters for the main house and the out building (total of 2 meters), no irrigation
        system, pumping of the new 4 bed system every 2 years, and that the BOH would have the same final plans as
        planning board. Barry seconded the motion. There was additional discussion and Galligan amended the
        conditions to remove the restriction on irrigation. Barry seconds the amendment and the amended motion was
        approved unanimously
4.      Birch Lane Septic Installations and Fees
        At the request of the developer, Jeff Brem, the matter was tabled.



Carlisle Board of Health Minutes                                                         Page 1 of 2
Meeting Date: March 23, 2021
Approved: July 14, 2021

                                                                                                                      BOH078
                 Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 85 of 203

5.      95 Hanover Road – status report95 Hanover Road has have been moving right along, Frado has verified the
        removal of all the fill. A partial as built is needed and the final grade inspection is expected to take place in the
        next week or so.
6.      Benfield Farms – status report
        Shanahan is doing the peer review mounding study; they submitted the electronic copy on May 17, but Frado
        needs a paper copy, which only came in on Monday (5/24/21). Frado will try to get as much done as possible
        but probably will not have a full review by June 6. The notice of intent has been filed with ConsCom.
7.      COVID-19 status report
        The working group met and there is no interest in a regional clinic, there really seems to be little need for a
        regional clinic as many of the clinics are not getting the use they expected. People are not looking for the
        vaccine as much; they are either refusing it or have already been vaccinated. We will write to the state and
        thank them for their approval but until things change don't see a need to set up a clinic. As of June 15, the
        state of emergency will be over. The Town Hall will go back to full time on June 1, as will the library. Each
        department will manage whether staff will be able to work remotely. Old Home Day does not have to do all
        the restrictions they were planning unless they choose to and now Recreation only needs to follow camp
        regulations.
        Mariano asked about unvaccinated youth—he is concerned about opening up with an unvaccinated population.
        Barry said there is no good answer, but from her reading it seems that COVID will eventually become like
        other seasonal viruses we encounter. Over time they become less severe because of prior exposure. In younger
        age groups COVID is typically less severe, but this could change if new variants arise.
8.      Public Health Excellence Grant
        Nothing is worked out yet; the group needs to meet to see how it will be administered.
9.      Board of Health Vacancies
        There was some discussion of the coming vacancies. No one has been identified, although David Erickson of
        237 Fiske Street will be running as a write in candidate.
10.     Adjourn
        Barry moved to adjourn, Galligan seconded it and it was approved unanimously, adjourned at 20:53. The next
        meetings will be June 8 and June 22.

Respectfully submitted,



David Erickson,
Recorder




Carlisle Board of Health Minutes                                                   Page 2 of 2
Meeting Date: March 23, 2021
Approved: July 14, 2021

                                                                                                              BOH079
                   Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 86 of 203


                                                   BOARD OF HEALTH
                                         Minutes for Tuesday, July 14, 2021, 7:00 PM
                                                    Remote Participation


7:00               Welcome New Board Members
                       ▪ Dave Erickson
                       ▪ Patrick Collins
                   Board Organization
                   Minutes 6/8/21

7:30               295 Hanover Road – Request for Deed Restriction for Addition

Discussion Items
                   Tick Borne Disease
                       o Prevention
                       o Tick Testing
                   FY22 Contracts
                       o Engineering
                       o Emerson Home Care
                   Public Health Excellence Grant
                   Benfield Farms – Status Report

The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting. Additional topics not
anticipated may be discussed at the meeting under the agenda item New Business.



Attendance members: Tony Mariano Chairman, Jean J Barry, Patrick Collins, David Erickson, Catherine Galligan
Attendance nonmembers: Linda Fantasia Health Agent, Kris Gines Asst. Health Agent.

New Board Members
Patrick Collins and David Erickson were welcomed to the board. Board members then spent a few minutes
introducing themselves with several members having extensive experience with many of the issues that come before
the board.
Board Organization
Mariano was willing to remain Chairman and Galligan was willing to remain treasurer, although she does not plan
on seeking another term on the board next year. David Erickson was nominated to serve as vice-Chairman; Collins
moved to continue with Mariano as Chairman and Galligan as treasurer, the motion was amended to include
Erickson as vice-chairman—the motion was then approved unanimously.
Minutes
Minutes from 11/04/2019 were tabled; the minutes from 5/26/21 were approved with Galligan’s edits and changes to
be made by Fantasia; other minutes were tabled for future meetings.
295 Hanover Road
The applicant has withdrawn their request for a deed restriction.
Tick Borne Diseases
Fantasia reported that a resident contracted Powassan virus disease and reached out to notify the BOH. While the
Carlisle BOH should have been notified through MAVEN, that did not happen. Linda notified Dr. Catherine Brown,
MDPH State Epidemiologist of the system failure and Dr. Brown is working on a resolution. Powassan is usually
considered a rare disease, with 39 cases reported in Massachusetts from 2013-2020, however, it is not clear whether
it is truly rare or just rarely reported as many cases may be asymptomatic or mild. The resident reported that he

Carlisle Board of Health Minutes                                                    Page 1 of 2
Meeting Date: July 14, 2021
Approved: August 11, 2021



                                                                                                               BOH080
               Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 87 of 203

removed an attached tick in March and was treated with doxycycline. When symptoms continued, it took
Massachusetts General over 4 weeks to diagnose the disease and in the meantime the resident developed
encephalitis. Prevention recommendations are the same as for all other tick diseases. Mariano thought next steps
such as outreach and education would be better handled by the Lyme subcommittee. Fantasia will get in touch with
the resident to see if he is interested in being interviewed for the Mosquito. Barry will do some research to give the
Mosquito important facts.

Fantasia brought up whether Carlisle should subsidize the testing of ticks and Galligan moved that we allocate $750
from the Community Chest grant to subsidize $25 (of the $50 cost) for testing ticks. The motion passed
unanimously.
Engineering and Nursing Contracts
Galligan moved to accept Frado’s proposal for a 3-year contract at a rate of $135/hour (versus the current rated of
$125/hour). This works out to about a 2.6%/year increase and seems in line with current engineering rates. The new
contract was approved unanimously.
There was more discussion on the Emerson Home Care contract, with Public Health Nursing (PHN) follow up on
cases reported in MAVEN increasing from $50/hour to $90/hour (an 80% increase). It was explained that the cost of
Covid-related support had been significantly underestimated last year. In any case, the contract only applies when
Carlisle chooses to use Emerson Home Care, so Galligan moved to accept the contract, Barry seconded, and the
motion was approved unanimously.
Benfield Farms status
Mariano summarized the Benfield septic problems to bring Collins up to speed. Collins indicated that since he is a
neighbor of Benfield Farms that he will recuse himself from any decisions. Mariano doubts that they will have a
plan by 7/28 since Frado will be on vacation for a week he has not yet received anything. They have incorporated
Shanahan's concepts and are doing a new design; they would like Shanahan's help with the design, but Mariano
thinks that is inappropriate. Frado has reported that he is concerned with the results of the testing he is he seeing.
Fantasia asked if she should get in touch with Peter Shanahan and have him stand by to look at the new testing.
Galligan said we must set up a new contract, but Fantasia says she will just extend his current contract. Fantasia said
Shanahan was happy to hear that they were moving the system to the south.
PFAS
Fantasia reported that a number of residential water supplies in Carlisle tested over 20 ppt for PFAS. PFAS results at
the town hall were 38ppt and the library results were over 90 ppt: a level considered an imminent health hazard. The
Library has put plastic over all the faucets, the Congregational church also has high levels. We missed the deadline
for the first-round state grants for mitigation but there is a second-round deadline in October--Fantasia will put this
on the agenda for the next meeting.
Covid
Since April there have been 11 cases in Carlisle. One person was 49 and another 20 years old, but all other cases
have been in the young (age 1, 9, etc.). There were 2 cases in one household.
Adjourn
Next meeting will be on 7/28 and Aug 11,2021. The next meeting will continue to be on zoom.
Barry moved to adjourn, Galligan seconded, and the meeting was adjourned at 9:29PM.

Respectfully submitted,


David Erickson,
Recorder




Carlisle Board of Health Minutes                                               Page 2 of 2
Meeting Date: July 14, 2021
Approved: August 11, 2021



                                                                                                      BOH081
                 Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 88 of 203



                                                BOARD OF HEALTH
                                   Minutes for Wednesday, August 25, 2021, 7:00 PM
                                                Remote Participation

7:00             Minutes

7:15             PH continued 142 Russell Street – septic system upgrade requiring local waiver for setback
                 to wetlands

Discussion Items
              COVID 19
                 • Community status
                 • Testing and Vaccinations

New Business

The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting.
Additional topics not anticipated may be discussed at the meeting under the agenda item New Business.


Attendance members: Tony Mariano Chairman, Jean J Barry, Patrick Collins, David Erickson, Catherine Galligan
Attendance nonmembers: Fantasia Health Agent, Kris Gines, Rob Frado, David Model (Selectboard liaison), Paul
Kirchner, Tricia McGean, Jessica Moschella

1. Minutes 8/11/21
   Galligan moved to accept the minutes of 8/11/21 as amended, Barry seconded, it was approved unanimously.

2. 142 Russell Street request for Waiver
   Paul Kirchner from Stamski and McNary said that they had removed the cleanout and added an electrical sweep
   as Frado had suggested and Frado confirmed this. There was a lengthy discussion of the possibility of rotating
   the septic field to allow greater distance to the wetland, but it was noted that this would result in increased tree
   clearing as well as difficulty in ensuring a proper swale to manage runoff from the adjacent property. It was also
   noted that Title V requires 50' to wetland as opposed to the 100' Carlisle requires, although Galligan pointed out
   that Carlisle is more reliant on private wells than most towns. Fantasia noted that the BOH has approved waivers
   up to 20' and that this is also an advanced bio septic system.
   After the discussion, Collins moved to close the hearing, Barry seconded, and the motion was approved
   unanimously. Galligan then moved to approve a waiver to the wetland of 83' contingent upon the final "as built"
   grade showing spot grades along the swale to verify the swale was built as intended and also conditional on
   approval by Conscom. The motion was seconded and approved unanimously.

3. Covid 19
   Tricia McGean reported that since 7/1 Carlisle has had 7 cases with only 1 person currently in isolation. Of
   those 7 cases, 4 were fully vaccinated. Concord has had 73 cases with 37 fully vaccinated and Lincoln had 23
   cases with 20 fully vaccinated. The good news is that most have minor symptoms and kids under 12 have cold
   like symptoms. There is one person who is 90 years old who is currently in the hospital, but he had other
   comorbidities.
Carlisle Board of Health Minutes                                               Page 1 of 2
Meeting Date: August 25, 2021
Approved: October 6, 2021



                                                                                                        BOH082
                 Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 89 of 203



    Mariano reconvened the Covid task force Monday night

    The state has now implemented a mask mandate for schools so any BOH recommendation relative to the school
    is moot, however, the Selectboard would still like the BOH to make recommendations for the town. There was a
    general feeling that a mask mandate for the town was appropriate, but it was recognized that people working in
    an office, without direct exposure to the public, might find it difficult to wear a mask at all times. There was also
    discussion of improving air exchanges and filtering in public buildings, possibly by using portable air filters and
    we would like more information on airflow in town buildings from Bill Rizzo. Eventually, Barry moved that we
    implement a mask mandate for the entire Town of Carlisle for face masks for indoor public spaces except for
    employees working at their desk who should wear a mask whenever possible and also that we revisit this
    mandate in early October. Erickson seconded the motion which was then approved unanimously.

    The BOH then discussed doing a pop up Covid clinic around September 25 but it was decided that given the
    current high vaccination rate in Carlisle that there was little benefit in holding such a clinic.

4. Miscellaneous
   The Benfield plans were delivered to Frado's home on Sunday. The working group will continue working on the
   conditions and Frado will review the plans. There will be a special BOH meeting on 9/7/21 to review the plans
   and conditions. Hopefully, the BOH could have a vote around Sept. 14. David Model asked Fantasia to send a
   summary to the housing trust and Mariano notes that we need to amend the agreement.

5. Adjourn
   There will be a Special meeting September 7, 2021, and a regular meeting September 8.
   Galligan moved to adjourn, Collins seconded, it was approved unanimously, and the meeting adjourned at 21:37

    Respectfully submitted,


    David Erickson,
    Recorder




Carlisle Board of Health Minutes                                                Page 2 of 2
Meeting Date: August 25, 2021
Approved: October 6, 2021



                                                                                                          BOH083
        Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 90 of 203




                                       Town of Carlisle
                                            Office of
                                     BOARD OF HEALTH
                                      66 Westford Street                       Tel.: (978) 369-0283
                                      Carlisle, MA 01741                       Fax: (978) 369-4521



                                       BOARD OF HEALTH
                                          Meeting Agenda
                                    Wednesday September 22, 2021
                                             7:00 PM
                                    REMOTE PARTICIPATION

                                             CANCELLED


Join Zoom Meeting
https://us02web.zoom.us/j/86136555525

Meeting ID: 861 3655 5525
One tap mobile
+13017158592,,86136555525# US (Washington DC)
+13126266799,,86136555525# US (Chicago)




7:00            Minutes

Discussion Items
              COVID-19 Status Report
              Benfield Farms – Septic System Upgrade

New Business


The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting.
Additional topics not anticipated may be discussed at the meeting under the agenda item New Business.
    ______________________________________________________________________________

Meeting Dates
Upcoming:




                                                                                                      BOH084
                  Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 91 of 203



                                                  BOARD OF HEALTH
                                     Minutes for Wednesday, October 6, 2021, 7:00 PM
                                                  Remote Participation

7:00              Minutes

7:15              75 Peter Hans Road (O’Brien) – request to modify existing Deed Restriction to accommodate new addition

7:30              288 Lowell Street (Guecia) – Deed Restriction request to add rooms

DISSCUSSION ITEMS
             COVID-19 –
                 • Status Report
                 • Mask Mandate
             Glass Recycling Proposition
             Fern’s Country Store – Water Issue Update

8:00              Benfield Farms Septic Upgrade (To be Rescheduled)

8:05              Garrison Place – discussion of Permit Conditions

New Business
The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting. Additional topics not
anticipated may be discussed at the meeting under the agenda item New Business.


Attendance members: Tony Mariano Chairman, Jean J Barry, Patrick Collins, David Erickson, Catherine Galligan
Attendance nonmembers: Fantasia Health Agent, Rob Frado, David Model (Selectboard liaison), Wanda Avril
(Carlisle Mosquito), Mark Beaudry (Meridian Systems), Jack Huntress, Carrie Patel, 978-254-5943, Ken Ayres, Gerry
Boucher, Phil Giffee, Phil Herman, Matt Herweck, Michael Joseph, Joey LaPointe, Robert Lilley, Karla Miller, Mike
O'Brien, Kim Packard (SWSS), Debbie Trumbull, Jennifer Wall

1. Minutes
   Galligan moved and Barry seconded that the minutes from 8/25/21 be approved with the change that Selectboard
   should be Selectboard. It was approved unanimously.
   Barry moved and Galligan seconded that the minutes from 9/7/21 be approved. The minutes were approved with
   Collins abstaining.
   Mariano asked whether we got counsel feedback on minutes, Fantasia said that counsel said that any sitting
   member can vote to approve minutes even if they were not present at the meeting.
2. Senior Flu Clinic
   The flu clinic was quite successful with 128 doses administered. Wallgreens did an excellent job and Fantasia
   thanked them for doing this. In addition, Fantasia got a nice thank you from St. Irene's--although we feel that we
   should thank them. We didn't get Wallgreens’ form until the day of the clinic and that introduced some confusion
   which made it a bit more difficult. It was suggested to limit the number of people during the first 1/2 hour which
   often has delays, but it might have been difficult to schedule; in the future it would be good to go over the
   paperwork in advance.
3. 75 Peter Hans Road (O’Brien) – request to modify existing Deed Restriction to accommodate new
   addition
   The septic system has a 4-bedroom capacity. Mike O'Brien is the owner and Miller is the builder, they propose to
   finish basement rooms which would raise the room count from 12 to 13 rooms which would technically require a
   6-bedroom system; however, they are legally grandfathered and while the existing system was designed for 4
Carlisle Board of Health Minutes                                                          Page 1 of 4
Meeting Date: October 6, 2021
Approved: December 15, 2021

                                                                                                                       BOH085
                 Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 92 of 203


    bedrooms the field size was increased to accommodate a garbage grinder under local regulations. The renovation
    would add a playroom for their girls and exercise room with a 1/2 bath. The area only has small basement windows
    so these rooms could not be classified as bedrooms. There is currently a deed restriction to restrict the property to
    4 bedrooms and they are asking to allow 13 rooms rather than 12, keeping the number of bedrooms at 4. Mariano
    said he is not a fan of deed restrictions since they are difficult to enforce but given that they already have such a
    restriction we need to consider whether to allow the addition of another room. Barry's perspective is that the rooms
    added will not have proper windows so cannot be classified as bedrooms, although Mariano noted that Title 5 talks
    of rooms, not bedrooms. Galligan is concerned that the current system is 22 years old, and they already have a
    deed restriction. Mariano noted that if the system should fail it would need to be replaced with a 6-bedroom system
    and he asked whether there was a reserve area that could be used. Fantasia said that this was a repair system which
    does not require a reserve area so there is no reserve area specified. O'Brien stated that there is plenty of room to
    put in a bigger septic. Galligan said that would need an engineer's confirmation. The builder asked whether a
    Title 5 analysis would help. Galligan said a Title 5 analysis doesn’t give guarantees; we need to know if a 6-
    bedroom system could be installed.
    Mariano noted that the only change is a finished basement. Fantasia noted that this system was 440 GPD+50% at
    the time of construction; this qualifies as a six-bedroom system (660 GPD) without a garbage grinder under current
    regulations; Mariano noted that we could prohibit a garbage grinder. In response to a question by Collins it was
    noted that the property had two recent Title 5 Inspections, one in 2016 and another in 2019 which found everything
    in good working condition. Barry moved we impose a garbage grinder deed restriction to accommodate the
    proposed renovations, Collins seconded it, the motion was approved 4-1 with Galligan opposing.

4. 288 Lowell Street (Guecia) - Deed Restriction request to add rooms
   288 Lowell St is a deed restriction issue. The applicant is not present because they don't zoom. The house has a
   3-bedroom septic system and currently has 2 bedrooms. They wish to add a family room, den and 3rd bedroom
   over an existing garage which will put the house at 8 rooms with 3 bedrooms. The current system is sized for 495
   gal/day (three bedrooms with the required garbage grinder allowance), and they would be willing to put in a
   garbage grinder deed restriction in exchange for the new rooms. Galligan asked the age of the system and whether
   it has a Title 5 analysis. Fantasia said it was installed in 1998 and has no Title 5 analysis. Mariano asked whether
   it was similar to the last item. Fantasia said it was but more modest. Galligan suggested that we could require Title
   5 inspection. Collins asked if there is a restriction on the den becoming a bedroom. Fantasia said they could never
   market it as a 4-bedroom house. Barry moved that we add a garbage grinder restriction for 288 Lowell Rd.
   Galligan proposed an amendment to also add a satisfactory Title 5 inspection as a condition. Collins seconded the
   amendment, which was then approved 4-1 with Erickson apposed. The motion was then approved unanimously.
5. Ferns Country Store water update
   Fantasia met with store's owner--Ferns is under a boil water order because of coliform and e-coli. They are working
   with the state and are looking at the well and septic system. They have posted a sign. The well is old and about
   100' deep and will be inspected with a camera tomorrow by Skillings. Matt Herweck, Fern’s owner, reported that
   SWSS (Small Water Systems Services) has done testing and chlorinated the well but have been unable to get a
   clean set of results. The septic is to be pumped Wednesday, 10/13/21 and inspected by the town. The rest room
   uses a waterless composting toilet. The coffee brewers go through reverse osmosis which does not solve the
   problem, but the temperature has been raised above the minimum temperature required by the state. Herweck
   noted that SWSS indicates that with the heavy rains this summer they have seen an increase in bacteria. There are
   solutions such a chlorinating the well and UV filtration. They are continuing to explore the problem and are willing
   to do what the state requires since the well is classified as a Public Water Supply.
6. Covid 19-status report
   Fantasia reported from 7/1-10/6/21 there were 25 new covid cases with 4 new ones this week. There is nothing
   really worrisome and the school seems ok. During the same period Concord had 134 cases.
7. Mask Mandate


Carlisle Board of Health Minutes                                                Page 2 of 4
Meeting Date: October 6, 2021
Approved: December 15, 2021

                                                                                                          BOH086
                 Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 93 of 203


   Per our original plan, the BOH revisited the mask mandate at this meeting. Covid Task Force member Barry said
   that we implemented the mandate at a good time and the numbers are dropping in Massachusetts. Delta is
   extraordinarily contagious, and it can be hard on even healthy individuals. Experts predict a drop off after
   Thanksgiving. Barry notes that now that it is fall people will go back to work and we might expect more infection,
   the question is what is likely in the next month. Mariano asked Jack Huntress about the school. Huntress said that
   at this point the school is just following guidance from the State which has been extended through November 1.
   The feared September challenge has not materialized. They are not getting definition at the State or National level.
   There is currently nothing for the School Committee to decide but at some point, it may be in their hands. Galligan
   said we have the flu season coming on top of Covid so we may have other respiratory disease to worry about.
   Galligan sees the long game as air purification but until town building have improved air purification we should
   continue with masks. Model said that generally the Select Board will follow recommendations of the BOH;
   technically Town Hall and Police are employed by the Select Board, and the Select Board is in favor of continuing
   the mask mandate. They are proud of vaccination rates, 97-99% at town hall. The largest employer is the school
   which does have a mask mandate. Barry asked Fantasia about the experience at town hall--Fantasia said it's not
   easy wearing a mask all day but it is necessary since most employees are working close to someone else. Kris and
   Fantasia try to alternate their time in the office. Model said that in his business they do weekly testing and
   suggested that we could also make testing/home testing kits available. Regular testing in the building would show
   it to be safe. Barry said we could discuss testing at a future point but in her experience, Antigen COVID testing
   is considered to be somewhat unreliable. It was suggested that we should look at all things that qualify for the
   American Rescue Plan Act (ARPA) funding--filtration is extremely expensive particularly for the school which
   has 100 employees and 600 kids.
   Barry said HEPA filters are not too bad and could reduce exposure, but we need town-wide parity. Galligan thinks
   UVC could be an effective alternative and there are town volunteers who are familiar with the design and
   procurement of systems. Erickson moved to continue the mask mandate, revisiting it in November, Collins
   seconded it and it was approved unanimously.
8. Benfield Update
   Mariano formed a work group for conditions to permit and approvals that we voted in. They got materials
   Wednesday and met on Thursday. It wasn't what was expected, and the group is waiting for more input from
   NOAH. Fantasia has consolidated the workgroup’s information requests. NOAH's group will be working on that,
   and they are looking to finalize their input. Beaudry has proposed to split off the permit approval conditions and
   move ahead with construction. Beaudry submitted a letter to the board, and we are considering that separation.
   Frado noted that Beaudry is proposing getting the leach field installed. Disposal is designed and approved by
   ConsCom--hopefully everything comes together but there would be no discharge until everything is done to the
   satisfaction of the BOH. Beaudry said he could work on finalizing that narrative as the field is being built, and
   they are still earnestly moving forward to get more information to the board. Galligan clarified that it is not just
   treatment documentation but the full package, including escrow and operations and maintenance documents.
   Carlos Quintal is taking the lead on the pre-treatment system documentation. Carlos has asked if he could consult
   with Frado to ensure he is going in the right direction. Fantasia and Mariano felt this should be done via a
   workgroup meeting. Fantasia put together a summary of the workgroup which she sent to the board yesterday it
   contains some new wording, and she assumes she can get it to Beaudry tomorrow. Frado asked if Beaudry has
   spoken with installers about their availability, as Linda has given conditional approval of the plan and Rob verified
   the notes have been corrected.
9. Garrison Place
   Fantasia reports that Garrison Place is fully occupied and that all units have been sold. The owner is requesting a
   cert of compliance on the septic system. The escrow was fully funded last March, the O&M manual has been
   prepared, and the testing plan for FAST system is done. Fantasia is asking certification of compliance tonight.
   Partial certificates have been released as the units were sold. Frado said that everything has been done and signed
   off on so that part of the permit is complete. Total nitrogen should be tested if the system is in a nitrogen sensitive
   area--which Garrison Place is not, but it is >2000gal/day and has public water so that triggers nitrogen testing.
Carlisle Board of Health Minutes                                                 Page 3 of 4
Meeting Date: October 6, 2021
Approved: December 15, 2021

                                                                                                           BOH087
                 Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 94 of 203


    Joey Lapointe and Debbie Trumbell (SWSS) commented that total nitrogen is tested every 3 years at the test well.
    Trumbull said the effluent is sampled quarterly for BOD, TSS and pH. Per the I/A/General Use Approval, testing
    of total nitrogen in the effluent is not required.

    Mariano has asked Fantasia in the past and she indicated that most of Carlisle is nitrogen sensitive. Fantasia said
    Title 5 can be interpreted in several ways and said the FAST system was approved assuming testing for nitrogen,
    but nitrogen has not been tested. Debbie Trumbull said that the system is not designed to take care of nitrogen
    specifically. Robert Lille--effluent goes through the FAST system to the tank without reentering the FAST system
    so currently there is no way to remove the nitrogen. There is nitrogen reduction in the disposal field. BOD and
    TCSs has remained in compliance but total nitrogen will remain as is. Pretreatment is to deal with BOD and TSS,
    not nitrogen. Trumbull asks what happens if the BOH wants something different. Mariano we are looking at this
    from a town wide view and we had assumed that FAST reduced nitrogen, but we need to separate that from the
    Certificate of Compliance. Galligan notes that Trumbull brings up good points so one thing that Galligan would
    like to suggest is testing total nitrogen on quarterly basis. It would be good to have a history of system performance
    should there ever be elevated nitrogen levels detected in the wells. Galligan suggests testing for it, but not making
    it a regulatory test. LaPointe says it has been, transferred over to the trustees and he doesn't want to volunteer to
    do extra testing, but he could ask the trustees. Phil Herman for the trustees said they need to get a Certificate of
    Compliance, if additional testing is needed at this point, then Brendon should do testing. Herman commented that
    going forward, additional testing might make sense if it were not cost prohibitive. Trumbull estimated that total
    nitrogen quarterly testing would be about $404/year. Herman thinks that is reasonable but can't speak for trustees.
    Ayres and Boucher, trustees, agreed that quarterly testing could be considered with the understanding there is no
    regulatory standard requirement, and the data would be for historical purposes as an indicator of performance.
    Galligan moved to issue the certificate of compliance for Garrison Place, Barry seconded, approved unanimously.
10. Glass Grinder
    The Transfer Station Task Force reported that glass is no longer being recycled and now goes to landfill. The town
    is considering purchasing a glass grinding machine and grinding it to a safe size to make it available for use by
    town residents for construction. Noise and airborne dust during grinding are concerns. Collins noted that if there
    is no demand for product (ground glass), the expense and energy input are not worthwhile. Other towns have mixed
    it with road sand, but there were complaints from residents about the residue. Since there didn't seem to be an
    identifiable use for ground glass the BOH declined to endorse buying a glass grinder.
11. Nitrogen
    Collins would like a general discussion of nitrogen in the context of bigger properties. It will be put on a future
    agenda.
12. Adjourn
    The next meeting is October 27, 2021.
    Barry moved to adjourn, Collins seconded, it was approved unanimously, and the meeting adjourned at 21:58
    Respectfully submitted,


    David Erickson,
    Recorder




Carlisle Board of Health Minutes                                                 Page 4 of 4
Meeting Date: October 6, 2021
Approved: December 15, 2021

                                                                                                           BOH088
        Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 95 of 203
                                         Town of Carlisle
                                              Office of
                                       BOARD OF HEALTH
                                        66 Westford Street                     Tel.: (978) 369-0283
                                        Carlisle, MA 01741                     Fax: (978) 369-4521




  MEETING CANCELLED due to conflict with COVID Vaccination Clinic
                                       BOARD OF HEALTH
                                         Meeting Agenda
                                  Wednesday, November 10, 2021 v 3
                                             7:00 PM
                                   REMOTE PARTICIPATION

https://us02web.zoom.us/j/84298206729

Meeting ID: 842 9820 6729
One tap mobile
+13017158592,,84298206729# US (Washington DC)
+13126266799,,84298206729# US (Chicago)

Dial by your location
     +1 929 205 6099 US (New York)



7:00            Minutes

7:15            Clark Farm Stand – septic system permit

7:45            0 South Street – Senior Residential Open Space presentation


DISSCUSSION ITEMS
          Benfield Farms Leach Field Installation – update
          PFA’s status report
          COVID-19 town status


NEW BUSINESS

The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting.
Additional topics not anticipated may be discussed at the meeting under the agenda item New Business.

Meeting Dates -    12/1/21, 12/15/21
Upcoming:




                                                                                                      BOH089
                 Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 96 of 203


                                                BOARD OF HEALTH
                                   Minutes for Tuesday, November 16, 2021, 7:00 PM
                                                 Remote Participation

7:00            Minutes 10/27/21

7:15            Clark Farm Stand – septic system permit - (Geoffrey Freeman)

7:45            0 South Street – Senior Residential Open Space Application
                (Hancock Engineering – Brian Geaudreau)

8:00            DISSCUSSION ITEMS
                   ▪ Benfield Farms Leach Field Installation – update
                   ▪ PFA’s status report – to be rescheduled

8:10            COVID-19 - town status

NEW BUSINESS

8:40            Executive Session pursuant to M. G. L. c. 30A sec. 21(a)(3) for the purpose of discussing strategy with respect to
                litigation since an open meeting may have a detrimental effect on the litigating position of the Board

The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting. Additional topics not
anticipated may be discussed at the meeting under the agenda item New Business.


Attendance members: Tony Mariano Chairman, Jean J Barry, Patrick Collins, David Erickson, Catherine Galligan
Attendance nonmembers: Fantasia Health Agent, Kris Gines, Rob Frado, M.L. Bohn, Donna Brewer, Christopher Buono,
Geoff Freeman, Brian Geaudreau, Meg Howes, Marjii, Tricia McGean, Derek Zanga, Kathy Chick

1. Minutes
   Changes to the 10/27/21 minutes were discussed and incorporated into the minutes, Barry moved to approve the
   amended minutes, Galligan seconded the motion which was then approved unanimously. Other outstanding minutes
   were tabled until the next meeting.
2. Clark Farm stand septic system permit
   Mariano explained that Clark Farm has a septic system design request for the Farm Stand before the board which
   raises the question of whether the water supply well becomes a becomes a public water supply. Geoff Freeman is
   present to answer questions about the farm market and explained that they applied for the septic system to deal with
   gray water. They would like to put an indoor washing station for vegetables but since Carlisle does not recognize gray
   water specifically, they need a septic system with a leaching field, and they have reserved land for a leaching field.
   The farm market is not otherwise changing their operation but one of the issues in designing the field was that
   Stamski & McNary needed to come up with a flow rate and since the system would only be used for vegetables and
   washing up (portable toilets are used at events) they came up with a flow rate below the minimum required by the
   Town. Freeman said they do host private events, but portable toilets are provided at those events. He thinks they have
   had about 7 events. Stamski pointed out that there is no change in their program and that their usage is below the
   minimum to qualify as a public water supply. They have been working with a food safety consultant (Meg Howes)
   and they do take out a 1-day permit when they hold events, which currently represents about 2% of their revenue.
   They do not prepare or serve food and they use bottled water for making coffee. Galligan suggested a restriction to
   prevent adding a bathroom and Freeman said that there are codes in effect and that they could not put in a bathroom in
   without a plumbing and building permits. Mariano noted that the food service/inspection issues are understood, and
   the only question is what triggers a public water supply. Again, Freeman notes that their water use is below the
   minimum for a public water supply, and they don't have a site suitable for a public water well. Barry raised the
   concern that if a leaching field is installed then the state might say they should have a public water supply. It would
Carlisle Board of Health Minutes                                                      Page 1 of 3
Meeting Date: November 16, 2021
Approved: December 15, 2021


                                                                                                                  BOH090
                 Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 97 of 203

     be good to ensure that the state is on board to avoid problems down the line. Freeman did ask where he could put in a
     public water supply and Marjie said the cost of putting it in would probably put them under. Mariano asked Fantasia
     where we stand with the septic design, Fantasia said the design is complete. Galligan said that it is too late to start a
     septic system now so it might be worth having Fantasia check with the DEP. Fantasia will check with the DEP and
     assuming a green light from them she could then issue a permit to move forward in March.
3.   0 South Street - Senior Residential Open Space Application
     Christopher Buono is the developer and Brian Geaudreau is the engineer representing South Street Carlisle 11c, the
     South Street senior housing development. The development will be on a parcel of land off South Streets. The have a
     wetlands determination and will be meeting with the Planning Board in December. They were asked to come before
     the BOH. There are issues of a public water supply versus a private water supply and septic system issues. The parcel
     is 24.7acres and is bisected by wetlands. It is undulating and predominantly wooded. They have done extensive soil
     testing in 2015/2016 which was witnessed by Stamski & McNary. They have gone back and forth between single
     family lots versus an open space subdivision and have opted for an open space subdivision. 17.9 acres would not be
     developed and there is town owned land at the property line. They are planning on developing it as 2 projects, each
     with their own homeowner’s association and independent wells and septic systems. Each project would have 3 two-
     bedroom duplexes for a total of twelve bedrooms accommodating 24 people in each project. Each well will serve 12
     bedrooms and 24 people so the wells will be private water supplies and each septic is designed for 12 bedrooms at
     1980 gallons per day. Mariano noted that what they are showing on screen conforms to regulations and should not
     need waivers. Galligan asked if there is a septic duplication area and Geaudreau said each project has a primary and
     reserve system area. Mariano noted that we have seen difficulties scaling up large systems, so he appreciated that this
     is being done using 2 smaller systems. Fantasia pointed out that from a BOH perspective this is one project with a
     single permit. The board needs to carefully consider the project as a whole and not as two separate projects. As soon
     as you hit 2000 gallons/day you need to do ground water mounding studies. The project is so close to 2000 gpd (flows
     of 1980 gpd) the state should be consulted. This is similar to Birch Farm, where the state made the determination on
     private vs. public water supply. The engineer agreed to work follow up with Linda and get in touch with the state.
4.    Benfield Farms Leach Field Installation - update
     Installation seems to be going well, Mariano thinks the contractor is doing a great job. It was clearly clean sand being
     brought in, and everything was staged well. He was shown the excavation of areas of tight soils that are believed to be
     the cause of the last failure. He could see that the lenses and pockets of hard packed material were being removed.
     They were in the process of flushing the force main, they had done one flush and put in pool shock chemicals to clean
     out the main and were letting it sit before flushing again. There was some discussion of where they are at and it
     sounds like everything is going smoothly and on schedule, the field should be completed by Nov 30, as required. No
     discharge will be allowed until the pretreatment process is developed and approved and all BOH conditions are met. It
     is important to finalize this as quickly as possible as you don't want to leave the system unused.
5.   PFAS status
     There is not much new information, sampling is going on and we are waiting to get more information from the state.
     Fantasia said residents are continuing to test.
6.   Covid 19
     Mariano said we need to vote on maintaining the mask mandate. Mariano's view is that we implemented this in
     response to Delta and as he doesn't think it is as much of a threat, he would like to consider backing off and making it
     a recommendation--just having the sign "Please wear a mask" could be effective. McGean said Lincoln wants to talk
     about dropping the mandate once Middlesex numbers drop but they are still high. Sudbury still has an indoor
     mandate, Concord does not. Collins said we talked about this for several months, a month ago things seemed to flatten
     out but from the information he can find the NH/VT numbers are going wild, he doesn't think this is the time to relax
     the mandate. Galligan screen-shared a CDC resource that shows high community transmission in Middlesex county.
     Fantasia said that Middlesex has large towns with low vaccination rates so she would be cautious about looking at
     Middlesex as a whole. Galligan would agree if we stayed within our boundaries, but we go to other areas--if we all
     stayed in Carlisle she would be more comfortable. Barry lost internet connection during much of the conversation re:
     mask mandate and was unable to hear or participate. When she was able to rejoin the meeting Barry noted that the
     mask mandate was proposed in late August by the BOH in response to the new delta variant and in anticipation of a
     rise in COVID cases when residents returned to school and work in September. It was not intended as a long term
     solution. Barry felt that based on the unremarkable recent case numbers presented by Tricia McGean (public health
Carlisle Board of Health Minutes                                                    Page 2 of 3
Meeting Date: November 16, 2021
Approved: December 15, 2021


                                                                                                              BOH091
                Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 98 of 203

    nurse), we should discontinue the mask mandate in favor of a "strong recommendation" to wear masks in public
    indoor spaces.

    Erickson moved to reconsider the mandate at the next meeting, and Collins seconded. Barry said she would lean
    toward a strong recommendation at which point Erickson withdrew his motion to allow consideration of relaxing the
    mandate. Galligan then moved to continue the mask mandate and review it in early January. Collins seconded the
    motion and it passed 3-2 with Barry and Mariano voting against.

    Kathy Chick, representing the Carlisle Chamber Orchestra, said this decision will affect upcoming concerts. The
    orchestra has been performing with String players and everyone is required to be vaccinated. The orchestra needs to
    get the wind players back, if not, they will lose the orchestra. They do take precautions; they don't use the first rows
    and don't allow standing around socializing. After further discussion, Barry moved to allow activities in which a
    performer or speaker can remove their mask while performing/speaking, the motion was approved unanimously.

7. Executive Session

    It was moved (Erickson) and seconded (Collins) to go into Executive Sessions pursuant to M. G. L. c. 30A sec.
    21(a)(3) for the purpose of discussing strategy with respect to litigation since an open meeting may have a detrimental
    effect on the litigating position of the Board. Roll Call: Aye – Barry, Collins, Erickson, Galligan, Mariano. Motion
    passed 5-0-0.

    The Board announced it would not return to public session. Next meetings are set for 12/01/21, and 12/15/21.
    The public meeting was adjourned at 21:19.


    Respectfully submitted,


    David Erickson,
    Recorder




Carlisle Board of Health Minutes                                                  Page 3 of 3
Meeting Date: November 16, 2021
Approved: December 15, 2021


                                                                                                            BOH092
        Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 99 of 203
                                       Town of Carlisle
                                            Office of
                                     BOARD OF HEALTH
                                      66 Westford Street                       Tel.: (978) 369-0283
                                      Carlisle, MA 01741                       Fax: (978) 369-4521




   MEETING CANCELLED due to conflict with COVID Vaccination
                        Clinic
                                       BOARD OF HEALTH
                                          Meeting Agenda
                                    Wednesday, November 17, 2021
                                             7:00 PM
                                    REMOTE PARTICIPATION

https://us02web.zoom.us/j/86574678913

Meeting ID: 865 7467 8913
One tap mobile
+19292056099,,86574678913# US (New York)

Dial by your location
     +1 929 205 6099 US (New York)
Meeting ID: 865 7467 8913


7:00            Minutes

7:15            Clark Farm Stand – septic system permit

7:45            0 South Street – Senior Residential Open Space presentation


DISSCUSSION ITEMS
          Benfield Farms Leach Field Installation – update
          PFA’s status report
          COVID-19 town status


NEW BUSINESS

The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting.
Additional topics not anticipated may be discussed at the meeting under the agenda item New Business.

Meeting Dates -    12/15/21
Upcoming:




                                                                                                      BOH093
                 Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 100 of 203


                                                   BOARD OF HEALTH
                                      Minutes for Tuesday, December 15, 2021, 7:00 PM
                                                    Remote Participation

7:00              Minutes:          10/6/21; 11/16/21

7:15              COVID-19 – discussion
                      Community Status
                      Mask Mandate
                      Booster Clinic

8:00              Benfield Farms Septic Upgrade
                       FAST Permit Conditions (tabled)
                       Installation Summary Report (Frado)

8:20              646 South Street – Request for Garbage Grinder Deed Restriction (tentative)

8:40              19 Bellows Hill Road – Request for Emergency Septic Upgrade (Chesleigh)

DISCUSSION ITEMS
                          PFA’s status report
                          Fern’s Country Store – Well update
NEW BUSINESS

The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting. Additional topics not
anticipated may be discussed at the meeting under the agenda item New Business.



Attendance members: Tony Mariano Chairman, Jean J Barry, Patrick Collins, David Erickson, Catherine Galligan
Attendance nonmembers: Fantasia Health Agent, Wanda Avril, Michael and Amoreena Chesleigh, Rob Frado,
Michael Joseph, David Model, Ginny Turner, K. Zinke,

1. Minutes
   It is a violation of the open meeting laws (OLM) for a quorum of board members to have a discussion on any
   board related matter. This means that that no board member can speak to more than one other member about a
   topic. OML also prohibits the polling of members one at a time in order to solicit a decision. In the future
   comments on draft minutes will be sent to Fantasia who will then create a final draft for approval at the next
   meeting. Barry moved to approve the 11/6/21 minutes as amended; Erickson seconded the motion, which was
   then approved unanimously. Galligan moved to approve the 10/06/21 minutes as amended which was seconded
   and approved.
2. Covid-19
   Fantasia reported that Concord had 19 cases in the last 7 days (315 since 7/1), Carlisle had 10 in the last 7 days
   (69 since 7/1), and Lincoln had 71 cases since 7/1. We are definitely seeing an uptick and according to MAVEN
   most cases are the Delta variant. The school is also seeing cases of COVID. They are doing pool testing; out of
   300 pool testing candidates they had 1 positive.
   There have been 4 Concord/Carlisle clinics with 700 doses in the first clinic and 800 doses in the second (about
   200 of the total were Carlisle students). Fantasia has submitted an application to the State for a mobile booster
   clinic but has not heard anything; the State has been overwhelmed with requests. Even though it would be nice to
   have local Carlisle clinic Public Health Nurse (PHN) McGean has submitted an application for a Tri-Town
   booster clinic which the state might be more favorable to. Both applications are in, and we hope they move
   forward. The MA Community Tracing Collaborative (CTC) has been disbanded so the PHN is now managing all
   contact tracing for local MAVEN cases. The state has removed a lot of the follow up requirements. The school
Carlisle Board of Health Minutes                                                                            Page 1 of 3
Meeting Date: December 15, 2021
Approved: January 12, 2022

                                                                                                                        BOH094
                Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 101 of 203

   nurse is managing students identified in pool testing, and McGean, Fantasia, and Gines will do initial
   notifications for MAVEN cases. It was reported that an individual on the CCHS swim team tested positive and
   the entire team had to be quarantined. Fantasia has asked McGean to let us know if she is overwhelmed.
   Fantasia sent the call notes from DPH call Tuesday, 12/15. There was little information on Omicron. The State
   will be providing home test kits starting with socially disadvantaged towns.
   Barry noted that now positive antigen tests don't need to be followed up with PCR tests and Fantasia noted that
   even probable cases are now treated as confirmed. The state has implemented a new notification system Mass
   Notify. Once the App is installed on your phone you will receive an alert if you have come in close contact with
   someone who tested positive. There is no real way, however, for the state to follow up on identified close
   contacts. People would be expected to do the appropriate self-monitoring and testing. Barry said that most of the
   cases in Carlisle are mild because of our high vaccination rates. Fantasia said Carlisle did have 1 death related to
   COVID-19, but the patient had other health issues. A drawback to the home or rapid tests was noted - without
   PCR follow up these cases won't get counted in MAVEN, making MAVEN's case counts artificially low, but
   hospitalizations are way up. On the antigen test 2 of 5 people who are positive have no symptoms. The Fire
   Dept. is planning on continuing to offer PCR testing for residents and workers in town. Fantasia said the BOH
   should state its support for continuing the PCR testing. Barry agreed commenting that she has only heard good
   things about the service. Fantasia said that right now the town is carrying the cost, assuming that we will
   eventually be reimbursed with Federal funds, but it is expensive.
   Mariano asked whether we have a tally on youth vaccinations and how that affects our vaccination rate. Fantasia
   said it was on the State web site, 220 aged 12-15years had at least one shot. The grade school has a population of
   approximately 450 including the 200 7th and 8th graders that got vaccinated earlier. Fantasia said people were
   having a hard time getting appointments at pharmacies. The Board would like to have vaccination data on the 5-
   11 year olds for the next meeting. In terms of reviewing the mask mandate, we decided to wait until January, in
   line with the vote taken on 11/16.
   Barry said that data released today indicates for Omicron, the likelihood of infection for people having received
   Moderna with the booster is comparable to the Delta variant without the booster. For Moderna the booster is a
   1/2 dose. The nature of the immune response is somewhat different, possibly getting longer lasting T cell
   immunity.
3. PFAS
   Fantasia said the retesting of a resident’s well came out much higher and the State is installing a filtration
   system. Barry spoke to the homeowner, who didn't remove the aerator before obtaining the water sample.
   Fantasia mentioned other houses were slightly elevated, but the library was over 100 both times and Concord Rd
   was 90. One Chelmsford public water supply was tested at 21ppt. Fantasia is getting a lot of inquiries from
   residents and doesn't feel she has good information to give them. Mariano said we need to follow up with the
   State.
4. Fern’s Country Store
   There is no real update; they still have a boil water order and have not filed for a new well location yet.
5. Benfield Farms Septic Upgrade
   Frado said the septic field is completed. He had a look today and the entire field has been hydro-seeded and
   covered with hay. Rob Sarmanian of Oakson came out and checked the filter and put pool shock into the pump
   chamber and let it sit overnight, it seemed to clean up the lines pretty well, the pump water began a little dirty,
   but it gradually got clearer and clearer, so he thinks it did a pretty good job. The electric boxes, manifold, and
   everything else is in. When preparing the bed, the impermeable material was easy to identify. Frado basically
   watched every scoop and could say to dig a little deeper when necessary, going from 4' to 7' to get to good
   material. 2000 cubic yards were brought in and Frado is confident that they got most if not all of the
   impermeable material. We still need to get an as built final grade from Mark Beaudry and Frado thinks there
   should be bird boxes to mark the corners of the new field. There should be monuments over the new monitoring
   wells and plastic manhole cover, and inspection port in the middle of the field--these all need to be noted in the
   Final As Built as well. Frado doesn't think that we have a decommissioning report on the old wells. Beaudry
   needs to supply all of that.
Carlisle Board of Health Minutes                                                               Page 2 of 3
Meeting Date: December 15, 2021
Approved: January 12, 2022

                                                                                                         BOH095
                Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 102 of 203

     Fantasia has told Beaudry that he still has a few things to provide. Mariano would like information on how the
     monitoring wells are constructed: their depth, whether they have filter packing, and did they hit bedrock. Frado
     thinks Beaudry needs to be reminded to take care of these items.
     Fantasia will inform Beaudry of the approval for the field, but that the BOH is not ready to send waste to the
     leach field until it gets the additional items noted (O&M plan, startup plan, etc.). A draft start up plan for the
     FAST just came in today and the work group needs to review it before bringing it before the board, also we need
     to ensure that finances have been resolved. Fantasia sees 2 steps: 1-a system restart permit and then 2-certificate
     of compliance after 1 yr. of monitoring. Galligan said they have not produced the O&M-- Mariano asked
     Fantasia to remind Mark that we need the O&M.
     Mariano who had visited the site was surprised at how easy it was to identify bad material. Frado was surprised
     at how much there was, but it has been removed and Mariano was happy to see clean Title 5 sand. Frado said the
     cut showed how variable the soil was; last time poor fill material was used on top of some bad soils; this time the
     entire field was excavated. The work group meeting will be next week. Galligan raised concern about the field
     sitting unused over the winter, and Frado said that Sarmanian did operate the pumps and checked the hydraulic
     system. There was a question of whether there could be a problem with freezing (normally effluent would warm
     the field) but there is about 6" of sand and 9-10" of topsoil over the field and while we could have 4' of frost
     Frado has never seen it that deep.
6.   19 Bellows Hill Rd.
     The septic system has failed. Wind River has confirmed the failure and has designed a new system, but
     November 18th is too late for a winter installation. The system is a pumped system with a 1500-gallon septic
     tank and a 1000-gallon pump tank. The homeowners (Michael and Amoreena Chesleigh) need to go to a tight
     tank and pump until the system can be replaced after March 1 when we allow installation to begin. They will
     check with their installer on converting the tank to a tight tank and produce a pumping schedule for the interim.
7.   Title 5 training
     Fantasia will try to set up a Title 5 training session.
8.   New Business
     In other new business, Mariano noted that Galligan has been working behind the scenes on air purification
     systems for town hall. With the BOH’s support, Galligan had reached out to Goddard in September about using
     ARPA funding to improve air quality; Goddard agreed this was a worthwhile project. Fortunately, we have a
     couple of knowledgeable volunteers spearheading this effort. Galligan and Fantasia met with Bill Risso who
     installed a UCV purification system at 51 Walden, and Alan Lewis who is familiar with and on the standards
     committee for these types of systems. Both have worked with companies that supply such systems and are
     scoping out equipment and will draft a proposal for the ARPA funding committee Fantasia thanked Galligan for
     getting a small air purifier for the BOH office, so they don't need to wear masks 100% of the time.
9.   Adjourn
     Next meetings are set for 01/05/21, and 01/19/21
     Barry moved to adjourn, Galligan seconded, meeting adjourned at 20:55

     Respectfully submitted,


     David Erickson,
     Recorder




Carlisle Board of Health Minutes                                                                Page 3 of 3
Meeting Date: December 15, 2021
Approved: January 12, 2022

                                                                                                          BOH096
                Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 103 of 203

                                                  BOARD OF HEALTH
                                     Minutes for Wednesday, January 12, 2022, 7:00 PM
                                                   Remote Participation

7:00             Minutes 12/15/21,

7:15             COVID-19
                    • Community Status
                    • Mask Mandate
                    • ARPA Funding
                    • Remote meetings
                    • General Updates

7:45             Benfield Farms Septic Upgrade
                     ▪ FAST Permit Conditions – final draft


DISSCUSSION ITEMS
               • FY23 Budget Preparation
               • PFA’s status report
               • Fern’s Country Store – Well update

NEW BUSINESS

The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting. Additional topics not
anticipated may be discussed at the meeting under the agenda item New Business.



Attendance members: Tony Mariano Chairman, Jean J Barry, Patrick Collins, David Erickson, Catherine Galligan
Attendance nonmembers: Fantasia Health Agent, Wanda Avril, Rob Frado, Phil Giffee, Alan Lewis, Ginny Turner

1. Minutes
   Mariano said he would prefer to see less detail of the discussions in the minutes. Galligan moved to approve the
   minutes of 12/15/21 as amended, it was seconded and approved unanimously.
2. Covid-19
   Last Thursday we had a fifth clinic with Concord, vaccinating 415 people, mainly adults (largely college
   students). We have had a dramatic surge in cases, 123 in December and 142 from Jan 1-Jan 10, 2022. The Fire
   Department is managing. The school is doing a tremendous job in keeping up with their cases, although there is
   talk of not following up on contact tracing but only calling people with positive results. People should isolate for
   5 days, onset of symptoms or date of test is day 0 and then mask until day 10, most people are not having serious
   symptoms. Fantasia thinks about we have about an 85% vaccination rate, it is very high, and we have done a lot
   of kids--parents are getting kids vaccinated but despite this we have the highest case rate ever.
   After a discussion of case rates, mask effectiveness, and air purifiers Galligan moved to continue the mask
   mandate to be reviewed at the end of February. Barry seconded the motion which was approved unanimously.
3. ARPA Funding
   Lewis and others are trying to get ARPA funding for air filtration systems which will be sponsored by the BOH.
   We have been in touch with the ARPA committee. Alan Lewis said there are three different technologies being
   considered. One is an encapsulated UV system integrated into the air handling system and where facilities is
   talking about revamping the air handling that may be the way to go. The second system is a ceiling installed
   titanium dioxide system with a fan bringing air through the titanium dioxide. We do have a quote, but Lewis is
   not happy with the data on effectiveness, the data are not scientifically robust and are poorly documented. The

Carlisle Board of Health Minutes                                                    Page 1 of 3
Meeting Date: January 12, 2022
Approved: February 9, 2022


                                                                                                               BOH097
                 Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 104 of 203

     third system uses short wavelength UV which is harmless to humans but would require about 120 fixtures in the
     ceiling of the Town Hall which could be prohibitively expensive. Finally, a fourth system is a small portable
     Aleddra system using titanium dioxide irradiated with LEDs--it can handle offices of up to 100 sq. feet and could
     be very cost effective. Titanium dioxide kills bacteria and neutralizes the virus--it's a very effective system and it
     also works on mold--titanium dioxide has been used for a long time with exposure to short or long wave
     radiation. Galligan expressed concern about possibly harmful byproducts. Lewis said ozone is one concern, but
     this system does not produce ozone or VOCs.
4.   Remote Meetings
     Fantasia said that the Select Board asked whether we would recommend remote meetings. After some discussion
     we decided that we do recommend remote meetings at this time and Mariano asked Fantasia to relay that we
     currently recommend virtual meetings during this period of the Omicron variant, but we will reconsider next
     month.
5.   Benfield Farms Septic Upgrade
     Fantasia, Galligan, Frado, and Mariano met in person with Carlos Quintal (the engineer overseeing the system
     startup and stabilization). Frado reported that at that meeting, Carlos clarified the operational chart and
     responsibilities and reiterated that he is taking the lead in ensuring that things are being properly managed and
     monitored. The automatic pH monitoring system was scheduled for installation by Jan 3, but Frado doesn't think
     that has happened and the system can’t start up with pH monitoring. There is also concern about maintaining
     continuity if NOAH’s employees or contractors get sick or quit. Title 5 also requires pressure testing the force
     main so Beaudry will need to coordinate that with the board.
     Galligan raised a concern that historically, BOH has not received sample test results the indicate system
     performance in a timely manner. BOH should have test results for a specific month within 2 weeks of the month
     end. Carlos anticipates that, per his timeline, by the end of May he should have a handle on whether the FAST
     0.9 system needs to be installed for nitrogen reduction. Galligan wanted to ensure that Frado would be part of the
     field work startup and we also want it to be very clear what happens when system goes out of control--there
     should be a trouble shooting guide. Carlos said testing of the monitoring wells would be quarterly or monthly but
     monthly for the start up. Mariano said the work group feels comfortable that we are on the same page with
     Carlos and that we should approve the startup and give them a go ahead with the caveat that Fantasia and Frado
     must approve it before actual discharge. Galligan expressed confidence in Carlos and moved that we authorize
     the startup of the Benfield Farms system contingent on a letter to be sent to NOAH, Barry seconded the motion.
     Frado said to be sure to include pressure testing, and Galligan noted the need for an electrical permit, and these
     should be in the letter. Mariano said Fantasia can put that together. It passed unanimously with Collins recusing
     himself.
6.   FY23 budget
     The Select Board felt we acted out of turn by changing counter drop-in hours without Select Board approval, but
     Mariano disagreed, and the Town Council supported Mariano's views. David Model has acknowledged to
     Mariano that if the Health Department is to stay with full service, more hours are needed. The Select Board will
     put us on a future agenda to discuss workflow and budget needs. We are asking for an additional 6 hours of
     Gines' time but even that may not be enough to go back to full time as drop-in hours are very inefficient.
     Hopefully, this can lead to better communications between the Select Board and the BOH.
7.   PFA’s status
     Mariano reported not much has changed; we are waiting on the state for the treatment of wells. Fantasia said we
     continue to get additional household tests. Fantasia will get an update from the state before our next meeting to
     get the State's opinion of where Carlisle stands, the town of Princeton is having similar issues. A brief update on
     PFAs should be on future meeting agendas.
8.   Fern's Country Store - Well update
     The boiled water order was rescinded by DEP because there were multiple tests with no E. coli. Ferns still plan
     to relocate the well, but we don't know the status. Mariano is concerned that in our discussion with the state they
     mentioned that E. coli is usually an indicator of a problem but not the sole problem. For example, a breach in the

Carlisle Board of Health Minutes                                                  Page 2 of 3
Meeting Date: January 12, 2022
Approved: February 9, 2022


                                                                                                            BOH098
                Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 105 of 203

    well casing could admit other contaminants. Ferns is looking into filtration systems with SWSS and Linda with
    check in with SWSS. The DEP is keeping a close eye on this situation.
9. New business
    Fantasia said we need to make a comment on rapid at-home tests and coordinate with the Fire Department if it is
    appropriate to make rapid tests available. It's a matter of who will place the order and who is going to get the
    tests. Fantasia said a lot of people tested positive with at home tests and then went in for a PCR test, which is
    unnecessary.
10. Update on Public Health Grant
    Sudbury has 5 positions that they would like to bring on, they will be a meeting tomorrow at 8:30 and hopefully
    they will be approved tomorrow
11. Adjourn
    Next meetings are set for 01/24/21
    Barry moved to adjourn, Galligan seconded, meeting adjourned at 21:09
    Respectfully submitted,


    David Erickson,
    Recorder




Carlisle Board of Health Minutes                                             Page 3 of 3
Meeting Date: January 12, 2022
Approved: February 9, 2022


                                                                                                      BOH099
                Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 106 of 203


                                                 BOARD OF HEALTH
                                    Minutes for Wednesday, January 24, 2022, 7:00 PM
                                                  Remote Participation

7:00             Minutes: 1/12/22 (tentative)
                 Board of Health Communication

7:15             COVID-19 – discussion
                    ▪   Community Status
                    ▪   Revised Guidance
                    ▪   Community Events
                             •    Gleason Library (Martha Patten-Feeney)

8:00             Clark Farm Stand – Water Supply Question

DISSCUSSION ITEMS
                 •        Liaison Reports
                 •        PFA’s status report
                 •        Fern’s Country Store – Well update

NEW BUSINESS

The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting.
Additional topics not anticipated may be discussed at the meeting under the agenda item New Business.


Attendance members: Tony Mariano Chairman, Jean J Barry, Patrick Collins, David Erickson, Catherine Galligan
Attendance nonmembers: Fantasia Health Agent, Martha Feeney-Patten, Geoff Freeman, Margie Findlay, Sarah
Hart (Mosquito), Meg Howes, Joey LaPointe, Gary LaPointe
1. Minutes
    Minutes for 1/12/22 were tabled until the next meeting. In the future, I will BCC the draft minutes to all
    members of the BOH.
2. Covid-19
    Fantasia reported that cases have spiked, there were 263 cases reported in January 2022, about 40% of the 646
    cases reported to MAVEN since January 2020. The Fire Department has been doing a fantastic job, especially
    since a lot of tests they do are negative. People are also increasingly using rapid at home tests, so the numbers
    are in fact higher than being reported to MAVEN.
    Due to the surge in local COVID cases in January, Fantasia has been unable to keep up with the MAVEN follow
    up calls, so it is necessary to prioritize the calls based on age, family clusters and school connections. Fantasia
    said that 99% of the responses she gets were from people who weren't seriously ill and who were aware of the
    guidelines. What we have seems to be working well in Carlisle and the Fire Department will continue testing, at
    least for a while. Trisha McGean was not present but reported 143 cases from 1/5-1/12 and 103 from 1/13-1/19;
    she is tracking it through the school but none of these numbers reflect at home tests which are not reportable in
    MAVEN.
    There was a discussion of test availability, and it seems that tests are now more readily available, so it was
    suggested that we hold off on purchasing tests. The BOH did not revise its mask guidance at this time but asked
    Fantasia to check on state recommendations.
3. Gleason Library
    Martha Feeney-Patten said the library would like to get back to having events and would like to have a reception,
    with snacks, in March. After some discussion the BOH agreed that it seemed reasonable to plan the event
    assuming people would be masked (assuming the mask mandate is still in place) except when eating or drinking.


Carlisle Board of Health Minutes                                               Page 1 of 2
Meeting Date: January 24, 2022
Approved: February 9, 2022

                                                                                                        BOH100
                Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 107 of 203

4. Clark Farm Stand
   Fantasia got feedback from the state that the proposed septic system will not trigger a public water supply if
   there are no public restrooms. The proposed grey water system will serve as a handwashing sink for employees
   only. After some discussion the BOH agreed and said that Fantasia can issue a Title 5 construction permit with
   conditions prohibiting the installation of a restroom or changes in operation without BOH prior approval. The
   Farm Stand is inspected annually by the Health Dept and the private well is tested annually as required under the
   Food Code. Portable restrooms will be provided for private catered events and caterer notification must be
   submitted to the Health Dept. for each event.
5. PFA’s status
   There is nothing new from the State on PFAs testing in Carlisle nor on the status of the treatment plans for a
   local household with extremely high levels. It was noted that the library had a quote of $10,000 to design a
   treatment system. That seemed high and Mariano suggested they get other estimates. There was also a discussion
   of waste from water treatment--there seems to be no good resolution on how to treat such waste. Mariano would
   like to see the State do an open presentation to talk about what they are doing.
6. Fern's Country Store - Well update
   Fantasia said they are still trying to get a new water source but there is no clear timeline. They currently are
   using bottled water for potable use but well water general household use.
7. New business
   Benfield Farms - According to the residents, Benfield has an indoor air quality issue, possibly due to lack of
   maintenance of the air filters in each apartment. The residents are conducting a survey to see which apartments
   are affected. At this point it is hard to know what should be before the BOH as an enforcement issue and what
   should be before NOAH as owner of the facility. The residents are currently tabulating survey results, so we
   hope to have more information in the future.
   Garrison Place - Collins agreed to look at the Garrison Place O&M manual. Stamski and McNary put the manual
   together and Fantasia thinks it is adequate but would like Collins to review it.
8. Adjourn
   Next meetings are set for 02/09/22 and 2/23/22.1
   Galligan moved to adjourn, Collins seconded, meeting adjourned at 20:42
   Respectfully submitted,


    David Erickson,
    Recorder




Carlisle Board of Health Minutes                                             Page 2 of 2
Meeting Date: January 24, 2022
Approved: February 9, 2022

                                                                                                      BOH101
                 Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 108 of 203


                                                 BOARD OF HEALTH
                                    Minutes for Wednesday, February 23, 2022, 7:00 PM
                                                  Remote Participation

7:00              Community Input

7:05              COVID-19 – discussion
                     ▪ Community Status
                     ▪ Mask Mandate Discussion

7:30              PH 147 Westford Street – septic system upgrade requiring Local Waiver
                      • 15.211 Distances – leaching area 91’ from wetlands, 100’ required

DISSCUSSION ITEMS
               •           FY23 Budget Update
               •           PFA’s status report
               •           Minutes: 2/9/22
               •           Administrative Reports

NEW BUSINESS

The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting. Additional topics not
anticipated may be discussed at the meeting under the agenda item New Business.



Attendance members: Jean J Barry, David Erickson, Catherine Galligan
Attendance nonmembers: Fantasia Health Agent, Nathanial Cataldo, Rob Frado, Chris Johnson, Amy Livens,
Tricia McGean
1. Community Input
    At 19:04 Erickson opened the meeting.
    Amy Livens made the following statement:
    "I feel it is appropriate at this time for Carlisle's mask mandate to be lifted. We are in a different place then we
    were in 2020 and 2021. We now have therapies, data, high vaccination rates and natural immunity. My biggest
    concern is for our children's mental health. They have been greatly affected by the pandemic. Children, like us
    all, need to see faces and connect. Please set a date to give us hope! Please consider following Governor Baker's
    deadline of dropping mask mandate on February 28th."
2. Covid-19
    Fantasia said that from Jan 1, 2020 - Dec 31, 2021, there were 374 confirmed cases. There were 284 confirmed
    cases in Jan 2022 but from Feb 1,2022 to Feb 19 there were only 21 cases, and many were family members of
    infected people, although there are many family members who are doing rapid home testing and whose numbers
    are therefore unknown. When McGean talks to people they frequently say others in the family were infected.
    Fortunately, there have been no hospitalizations due to the Omicron variant and McGean confirms that most
    cases are mild with a moderate fever for a few days and sinus infection-like issues. Most cases start with a
    scratchy throat. Barry recommends changing from a mandate to an advisory effective no later than the end of
    February. See attached notes.
    After some continuing discussion Barry moved to lift the mask mandate effective immediately and establish a
    mask advisory consistent with the CDC & Massachusetts Department of Public Health. Galligan seconded the
    motion which was then approved unanimously.
3. 147 Westford Street
    Galligan moved to open the public hearing for 147 Westford Street, the motion was seconded and approved

Carlisle Board of Health Minutes                                                          Page 1 of 3
Meeting Date: February 23, 2022
Approved: March 9, 2022


                                                                                                                       BOH102
                Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 109 of 203

    Cataldo was present for Stamski and McNary. There was a question that came up in the afternoon as to whether
    the system was in a 500-year flood plain. There was some discussion of this but it was eventually stated that the
    site chosen is probably the best site on the property and is in any case an improvement over the previous system
    and is in compliance with State requirements and so does not require a state waiver. Frado was comfortable with
    the assumptions being made. Cataldo agreed to keep the PH open to allow for the Conservation Commission
    scheduled meeting.

   Galligan moved to approve plan entitled “Sewage Disposal Plan, 147 Westford Street, Map 15, Parcel 43-3,
   designed by Stamski & McNary, Inc. revised February 16, 2022 and grant a setback waiver from leach field to
   wetlands (91’ provided; 100’ required) under local upgrade approval, contingent on a floor plan verifying the
   house is a 4-bedroom house and an Order of Conditions from the Conservation Commission that would not
   affect the septic system design. Barry seconded the motion which was then approved unanimously.
4. FY23 Budged Update
   Galligan attended the Select Board/FinComm meeting discussing the town operational budget. The BOH had
   asked for a total of 11 additional hours, going from 24 to 35 hours/week. Of those hours, 8.5 would come from
   the tax base and 2.5 from 53c account. The Select Board was amenable to more hours, but FinCom was not in
   support noting that the BOH had received a 15% increase in the operating budget for FY22 (this was for the
   Public Health Nurse position, which had previous y been funded by pilot grants for multiple years). FinCom
   eventually included a 9.1% increase (as opposed to the 12.3% requested). It is a step in the right direction but we
   will continue to try to communicate why we need the full amount requested.
5. PFA’s status
   Fantasia and Kris attended a DEP workshop this morning and have sent out a link. Fantasia noted that the state
   does not currently regulate private wells. There is a Model Private Well Guideline that many communities use.
   There is also a Bill before the Legislature for a uniform code for private wells similar to what Title 5 does for
   septic system. A uniform code would still allow for more stringent local regulations.
   Administrative reports
   Fantasia provided a document detailing the administrative reports. Fantasia summarized the report, but I am
   copying it here for the record:
   Minutes
   2/9/22 minutes: It was noted that Ginny Turner should be added to the list of attendees. Galligan moved to
   accept the amended minutes, Barry seconded, and the motion was approved unanimously.
   Adjourn
   Next meeting is set for 3/09/22.
   Barry moved to adjourn, Galligan seconded, meeting adjourned at 20:26
   Respectfully submitted,


    David Erickson,
    Recorder




Carlisle Board of Health Minutes                                               Page 2 of 3
Meeting Date: February 23, 2022
Approved: March 9, 2022


                                                                                                        BOH103
                Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 110 of 203


    Meeting Materials

                                         ADMINISTRATIVE REPORTS
                                             February 23, 2022

Public Health Excellence Grant – We have hired Kelly Cael as the Grant Coordinator. Kelly was the former
health director in Hopkinton and managed a similar grant collaborative. We are in the process of preparing a
mission statement and goals so we have a road map on future activities. Next step will be to hire a FT Inspector
and FT PHN.

Assistant Health Agent – report from Select Board meeting 2/22/22. (Galligan)

Ongoing Projects
      Large Development Compliance
      Operations and Maintenance Template
      Presentation on PFAs
      Ferns PWS

        Mask Mandate Notes (JBarry)




Carlisle Board of Health Minutes                                           Page 3 of 3
Meeting Date: February 23, 2022
Approved: March 9, 2022


                                                                                                   BOH104
                 Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 111 of 203


                                                   BOARD OF HEALTH
                                      Minutes for Wednesday, March 23, 2022, 7:00 PM
                                                   Remote Participation

7:00              Community Input

7:05              COVID-19 - community status

7:15              Town Meeting COVID Planning – Wayne Davis, Moderator

7:30          Ferns Country Store – Public Water Supply update (Herweck)
 DISCUSSION ITEMS
              Financials
                  • 53E Revolving Cap
                  • FY23 Operating Budget – staffing
                  • FY21 Year End Memo
               Minutes:        3/9/23
              Administrative Reports

NEW BUSINESS

The meeting agenda lists all topics reasonably anticipated by the Board of Health at the time of posting. Additional topics not
anticipated may be discussed at the meeting under the agenda item New Business.



Attendance members: Tony Mariano Chairman, Jean Barry, Patrick Collins, David Erickson, Catherine Galligan
Attendance nonmembers: Linda Fantasia Health Agent, Wanda Avril (Carlisle Mosquito), Wayne Davis, Matt
Herweck, Michael Joseph
1. Community Input
    At 19:03 Mariano opened the meeting. There was no community input.
2. COVID-19 community status
    There were 288 cases in January 2022, 27 cases in February, and 11 cases through March 23rd--there were 4
    new cases this week. Fantasia said that McGean's analysis showed that 2 of the recent cases were the BA.2
    variant. Over the last 7 days Lincoln had 7 cases, Carlisle had 2 cases and Concord had 38 cases (possibly
    because of a community event). The BA.2 variant is similar to the original Omicron variant but even more
    contagious. CDC is now tracking hospitalizations rather than number of cases to inform prevention measures.
    The State has not produced good guidance on contract tracing. School cases should be reported to the BOH but
    we can no longer do contact questioning, it is up to individual to notify close contacts. There is a template that
    the CDC prepared to help individuals decide who they should notify. The template will be added to the town’s
    website.
3. Town Meeting Planning
    Wayne Davis, Moderator, is looking for advice on dealing with Covid. The Town Meeting date is late April and
    unfortunately, we do not know how BA.2 will evolve. Town meeting is a little different from other meetings in
    that it is important for running our town government and we cannot provide the option of using Zoom and voting
    remotely. Davis is particularly concerned with ensuring that immunocompromised individuals can safely
    participate. He is thinking of designating a portion of the auditorium where people can maintain social distance.
    He will not order people to wear masks. The cafeteria is set up for people with young kids but might also have a
    section for people to maintain social distance. The use of the cafeteria tends to vary with what is on the warrant
    and without the pickleball issue he expects there will not be that many families present. Barry suggested that we
Carlisle Board of Health Minutes                                                          Page 1 of 4
Meeting Date: March 23, 2022
Approved: April 6, 2022



                                                                                                                        BOH105
                Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 112 of 203

     might have a larger number of HEPA filters set up. There was some concern that noise could be an issue with
     HEPA filters, but Galligan said that at least on low speed they are unobtrusive. Davis will check with the new
     school facilities person about what is available through the school. Barry noted that we should follow CDC
     guidelines regarding masking. Mariano asked about staggered seating in the auditorium unless the house is
     packed. Davis does not think it will be too large a crowd because most of the remaining issues are relatively
     uncontroversial. Davis would not open the divider to the upper level unless there is an uptick in cases. Davis
     noted that it is important to get information to people before the meeting so they can make an informed decision
     about participation and protection. The BOH will be meeting on April 6 and probably April 20 so if Covid
     worsens we can revise plans before the Town Meeting.
4.   Fern’s Country Store Public Water Supply Update
     There has been a concern with water quality. DEP issued a Boil Water Order last summer when e. Coli was
     detected. At that time Skilling’s examined the well and discovered a crack, unfortunately, sealing the crack
     stopped the flow to the well so a new well is needed--either drilling in place or at a new location. There was a
     meeting with Matt Herweck, the BOH and DEP to discuss options and to take interim actions to ensure safe
     operations with weekly testing. Unfortunately, testing has stopped because SWSS has not been paid and no
     action has occurred in developing a new water source or in properly treating the water. Fantasia spoke with the
     DEP, and they are concerned that the water supply does not meet public drinking water standards and the lack of
     effort in addressing the problem. Fantasia reported that Fern's had not properly renewed their permit in January
     and was operating the deli without a permit. For a food permit, there must be an approved water source. Fantasia
     spoke with the Town Counsel, and they recommended not issuing a food permit until the water supply is
     corrected. Since the call to Town Counsel Fern's has submitted an application to renew their food permit and
     paid SWSS who will resume testing. The latest testing for the store shows no coliform and it has been a while
     since they detected e. coli, which is why the state lifted the Boil Water Order in December. These problems have
     been exacerbated because Fern's is leasing the property and the owner had not been paying the bills. Fern's has
     since paid SWSS directly and they will resume testing and Fern's has made an offer to buy the property, which
     would mean they could have complete responsibility. Ferns has also reached out to several engineers about
     designing a water system but have not yet found an engineer willing to take it on.
     After some additional discussion Collins moved to not approve the permit since there is not an approved water
     source. Galligan seconded the motion, which was then approved by Mariano, Barry, Collins, and Galligan with
     Erickson abstaining. The Board noted that the Food Service Permit only applies to the Deli. The retail market
     which only provides commercially prepackaged products can remain open as well as the wine and beer store.
     The Board is willing to remove the temporary closure as soon as the drinking water source is approved by DEP.
5.   53E revolving Cap
     We had a very busy year; our revolving account has been capped at $70,000 and as of last week we only had
     $2,500 to last until June 30. We have submitted a letter to temporarily raise the cap to $100,000 for the
     remainder of FY22. Expenses were high because Frado had to spend a significant amount of time on Benfield
     and 15 SDS applications that came in for the Still Meadows development. Gines and Fantasia have been tracking
     engineering and it has been increasing by about 30%/year. Fantasia spoke with Kimberly Kane, Finance
     Director, and she suggested a warrant item to raise the cap to $100,000 for FY23. Galligan moved that we seek
     to raise the cap to $100,000 which was then approved unanimously.
6.   Year-end memo
     Fantasia sent a memo detailing FY21 activity.
7.   Minutes 3/9/22
     Galligan moved to approve the 3/9/22 minutes as amended. Collins seconded the motion which was approved
     unanimously.
8.   Administrative Reports
     Clean Harbors is increasing their rates by 8-15% but they are cutting back and cannot commit to a date for
     hazardous waste collection. Costs have increased significantly for transporting waste. Mariano asked about


Carlisle Board of Health Minutes                                              Page 2 of 4
Meeting Date: March 23, 2022
Approved: April 6, 2022



                                                                                                       BOH106
                Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 113 of 203

   alternatives and Galligan said that Sudbury uses a different company, Fantasia and Gines are looking into
   options. There is also the possibility that we could rejoin the Minuteman regional group.
   Woodward Village (WV) held a preconstruction meeting with the project manager and installer, Collins has
   volunteered to be the BOH representative. WV hoped to start next week but needs to pay a second deposit to
   cover the town’s engineering costs for the field work.
   See full report below.
9. Adjourn
   Collins moved to adjourn, seconded, and approved unanimously. Adjourned at 20:31. Next meetings are set for
   4/06/22 and 4/20/22
   Respectfully submitted,


    David Erickson,
    Recorder


    Meeting Materials

                                      ADMINISTRATIVE REPORTS
                                           March 23, 2022

Hazardous Waste Collection – notice from Clean Harbors on rate increase as of 4/1/22 by 8 – 15%, date of
collection TBD

Woodward Village – septic system pre-installation meeting was held 3/16/22; WV invoiced deposit for field
work ($4000); hope to start in another week; expected 15-18 build out. Two building permits issued.
Additional permits require Fire Dept. approval of the cistern. Inspections will be done on Tues and Th, if
possible, to keep Wed open for other Town engineering work.

Public Health Excellence (PHE) Grant - PHE: 0.5 FTE Shared Services Coordinator (Kelli Caeli), 1 FTE
Regional Public Health Nurse, 1 FTE Regional Health Inspector, 0.5 FTE PHN, and 1 FTE Community Health
Coordinator. CT/CI (Wayland’s grant): 0.2 FTE Shared Services Coordinator, 1 FTE Public Health Nurse, 1
FTE Epidemiologist

Benfield Farms – fees paid through January 2022 ($21,225.75); formalizing agreement with CAQ Engineering
Associates, Inc. (Carolos Quintal) for FAST System start-up and operations

Garrison Place – Certificate of Compliance released 3/21/22. All conditions satisfied. O&M updated and
submitted (hard copy and pdf). Latest testing by SWSS noted high levels of sludge in bioreactor which may be a
concern. They will continue to monitor. Monitoring well results could also use BOH review.

Private Well Legislation – statewide code for private wells. Currently the state only has guidelines. Local
authorities could have supplementary regulations similar to Title 5. MHOA looking for support.
S.2667, "An Act Promoting Drinking Water Quality for All"




Ongoing Projects
Carlisle Board of Health Minutes                                           Page 3 of 4
Meeting Date: March 23, 2022
Approved: April 6, 2022



                                                                                                   BOH107
Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 114 of 203

        Large Development Compliance
        Operations and Maintenance Template
        Presentation on PFAs




Carlisle Board of Health Minutes                         Page 4 of 4
Meeting Date: March 23, 2022
Approved: April 6, 2022



                                                                       BOH108
          Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 115 of 203


                                               Select Board
                                         Tuesday, August 31, 2021
                                          Town Hall – Clark Room
                                     66 Westford St., Carlisle, MA 01741

The Carlisle Select Board met on Tuesday, August 31, 2021 at 6:15 p.m. at the Carlisle Town Hall (Clark Room)
located at 66 Westford Street. Present were Barney Arnold-Chair, David Model-Vice-chair, Nathan Brown, Kate
Reid and Luke Ascolillo.

This meeting was live streamed and recorded: https://www.youtube.com/watch?v=Gwvzvs59zwk

Remote participation: Zoom Meeting / ID: 894 9174 2669
https://us02web.zoom.us/j/89491742669?pwd=bzIxbzF1TVhQQ2NGTk9ySk9DL0tHdz09

Executive Session

On the motion made by Nathan Brown and seconded by Luke Ascolillo, it was unanimously VOTED, that the
Select Board enter into executive session pursuant to MGL Ch. 30A, §21(a) paragraph (5) To investigate
charges of criminal misconduct or to consider the filing of criminal complaints.

Roll Call Vote: B. Arnold-Aye, L. Ascolillo-Aye, N. Brown-Aye, D. Model-Aye, and K. Reid-Aye.

On the motion made by Nathan Brown and seconded by Luke Ascolillo, it was unanimously VOTED, that the
Select Board enter into executive session pursuant to MGL Ch. 30A, §21(a) paragraph (6) to consider
the value of real property located at 338 Bedford Road in connection with a gift of an indoor/outdoor pickleball
complex as the Chair has declared that an open meeting may have a detrimental effect on the Town’s
negotiating position and that afterwards the Board will return to open session.”

Roll Call Vote: B. Arnold-Aye, L. Ascolillo-Aye, N. Brown-Aye, D. Model-Aye, and K. Reid-Aye.

7:10 PM Chair Barbara Arnold reconvened the meeting of the Select Board in open session.

Community Input:    There were no requests.

LEPC Update

7 new covid-19 cases reported in the month of August.

Carlisle remains a low-risk community. The vaccines are working with only a few breakthrough cases in the
Town of Carlisle.

Health Agent Linda Fantasia reported that the Department of Public Health has issued a new mask advisory in
light of the Centers for Disease Control and Prevention’s updated guidance. Fully vaccinated individuals are
advised to wear a mask or face covering when indoors outside of your home if you have a weakened immune
system, are at increased risk for COVID-19 or if someone in your household is at increased risk or unvaccinated.
Masks are still mandatory for all individuals on public and private transportation systems (including rideshares,
livery, taxi, ferries, MBTA, Commuter Rail and transportation stations), in healthcare facilities and in other

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SB MINTUES 8.31.2021
Approved 9.14.21

                                                                                                      BOH109
          Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 116 of 203

settings hosting vulnerable populations, such as congregate care settings.

The Board of Health at their meeting held Aug. 25, 2021 passed a motion requiring face masks to be worn
Indoors in all public areas. The LEPC voted unanimously to support the mask mandate.

In response to the recent increase in positive COVID-19 cases in Carlisle and throughout Middlesex County,
including break-through cases among those who have been fully vaccinated, the Carlisle Board of Health hereby
adopts an indoor face mask mandate for all indoor public spaces, or private spaces open to the public within the
Town of Carlisle except where an individual is unable to wear a face mask due to a medical condition or disability
and in employee’s private work space where face masks are encouraged.

On the motion made by Nathan Brown and seconded by Luke Ascolillo, it was unanimously VOTED to support
the Board of Health’s mask mandate effective September 1, 2021 to require facemasks to be worn indoors in
public areas.

This mandate will be revisited by the Select Board and Board of Health in early October, 2021.

Veterans/Celebrations Committee – Proposal to combine committees

The Select Board met with Scott Evans and Christopher Eisenbies to discuss their proposal to combine
Celebrations Committee and Veterans Committee.

The Veterans Committee has lacked critical mass of members making it difficult to gain sufficient momentum
behind initiated activities to serve our veteran community. The celebrations committee often seeks members
with a veteran background and solicits input from the veterans committee when planning Memorial Day.
Combining the two organizations will benefit the Celebrations Committee with a more involved and cohesive
input from our veteran members, and the Veterans Committee gains the added strength of the Celebrations
Committee members in support of existing and planned veteran activities. A combined committee will result in
a shared-knowledge of the town needs/activities, and relationships/connections. Aligned goals to
celebrate/support/honor worthy civic contributions by individuals and to bring citizens to together for
community cohesion and conscientiousness with regards to veterans.

                                                DRAFT CHARGE:

         Bring people together, build community awareness, create events, and foster a sense of
         appreciation around Veterans needs and issues in Carlisle and surrounding communities.

         Core/proposed responsibilities and activities of joint committee:

         1. Honor Roll maintenance
         2. Veterans plaque and area on green
         3. Memorial Day event
         4. Selection of Honored Citizen
         5. Create Carlisle Veterans Day event
         6. Quarterly Veterans breakfasts/socials.
         7. Initiate biannual school event (e.g. veterans speak with students/classrooms)
         8. Participate in regional Sleepy Hollow Veterans Day event.
         9. Liaison with Boy/Girl scouts


                                                                                                                 2
SB MINTUES 8.31.2021
Approved 9.14.21
                                                                                                      BOH110
          Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 117 of 203

On the motion made by Nathan Brown and seconded by Kate Reid, it was unanimously VOTED to combine the
Carlisle Celebrations Committee and Veterans Committee to create the Celebrations and Veterans Committee
with the following existing members:

Scott Evans,
Laura Mullins
Heidi Haring
Christopher Eisenbies
Greg Fairbanks

It was agreed to schedule a future meeting to review and formally adopt a charter for Celebrations and Veterans
Committee Charge.

Personnel Requests

Council on Aging
The Select Board me with COA Director Joan Ingersoll regarding her request for a new Transportation/Office
Manager position. COA Transportation and Meals on Wheels Coordinator retired August 26, 2021.

The purpose of this new position is to manage the COA Transportation Program and provide coordination,
implementation, and oversight of Meals on Wheels, Volunteer Services, the Senior Tax Worker Program, and
other administrative responsibilities required for the efficient and effective operation of the COA. The
Transportation and Office Manager is responsible for a set of programs and services that seniors depend on and
must be administered with a high level of competence. Transportation is a major component of the COA’s
services and enables many seniors to attend essential medical appointments and receive ongoing treatment.
Meals on Wheels provides nutrition support to homebound seniors who are unable to prepare meals

Transportation and Meals on Wheels Coordinator = $32,760
Outreach and Program Assistant = $15,463
Total Cost = $48,223
LRTA Portion = $20,000

Cost to Town = $28,223

Rationale:
     The COA will function more efficiently with 4 full-time staff
    • It makes sense to have the same number of staff members as available workstations, which is 4
    • Adding office management responsibilities to the Transportation position does not change the skill sets
        needed; both are public-facing and require solid organizational and communication skills
    • A team of 4 full-time staff enables greater cross training and collaboration across responsibility areas,
        which provides skill development opportunities for staff and higher quality services for seniors
    • This is a cost neutral proposal
    • The current Outreach and Program Assistant, who has been trained and provides back-up for
        transportation and meals on wheels, is interested in the proposed full-time position, enabling the COA
        to promote a current staff member.

On the motion made by David Model and seconded by Luke Ascolillo, it was unanimously VOTED to move
the request of the COA for a new Transportation/Office Manager position forward to the Personnel Board.


                                                                                                                  3
SB MINTUES 8.31.2021
Approved 9.14.21
                                                                                                    BOH111
          Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 118 of 203

No further action taken by the Select Board at this time.

Continued Discussion - Town of Carlisle Personnel Policie s Revisions

The Select Board met with Town Counsel Donna Brewer to continue reviewing the Town of Carlisle Personnel
Policy updates/revisions.

22.0 Holidays

        22-1. Coverage. Hourly full-time and part-time employees are eligible for holiday compensation.
        Contract and Temporary employees are not eligible for holiday compensation.

        22-2. Recognized Holidays. The following holidays shall be recognized by the Town on the day on which
        they are legally observed by the Commonwealth of Massachusetts, and on these days employees,
        without loss of pay, shall be excused from all duty except in cases where the appointing authority
        determines that the employee is required to maintain essential Town services or in the case of the
        Library where there shall be a floating holiday for the day after Thanksgiving:

                New Year’s Day                    Labor Day
                Martin Luther King Day            Columbus Day
                Washington’s Birthday             Veteran’s Day
                Patriot’s Day                     Thanksgiving Day
                Memorial Day                      Christmas Day
                Juneteenth (To be added)           Day After Thanksgiving
                Independence Day

        As is customary for municipal offices in the Commonwealth of Massachusetts, holidays falling on Sunday
        are legally observed on the following Monday. Some departments may differ due to public service
        requirements.

        22-3. Terms of Holiday Pay. Hourly employees who are scheduled to work on a holiday, or who are
        requested by their supervisor to work on a holiday, (excluding the Library) shall receive their regular
        hourly rate in addition to an extra day’s pay for the first eight (8) hours and shall be compensated at a
        one and one-half rate for hours in excess of eight (8) hours, or shall have compensatory time off
        scheduled by their department head for all holidays worked. For the New Year’s Day, Thanksgiving Day,
        and Christmas Day holidays, employees shall be compensated at a one and one-half hourly rate for all
        hours worked in addition to an extra day’s pay.

        Holiday pay shall be granted provided the employee was in full pay status on the regularly scheduled
        working day preceding and following the holiday in accordance with other provisions of these policies or
        was officially and appropriately absent.

At its last meeting, the board requested to know the town-wide cost of adding a new holiday (Juneteenth) which
is approximately $60K according to the Town Accountant. The Board also expressed the desire not to increase
the net number of holidays so in order to add Juneteenth and keep the number the same a current holiday
would have to be eliminated.

Note: A follow-up email disclosed that the cost of adding the Juneteenth holiday was less than 60K.

                                                                                                                4
SB MINTUES 8.31.2021
Approved 9.14.21
                                                                                                      BOH112
           Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 119 of 203

The Board does have the authority to amend the personnel policies; any changes to the holiday in the Police or
Dispatch Collective Bargaining Agreements would have to be the subject of collective bargaining.

        Town has observed certain official holidays (Independence Day, Veterans’ Day, Christmas and New
         Years’) that occasionally fall on Saturdays on the Friday immediately preceding the holiday and observing
         Sunday holidays on Mondays.

        The Day After Thanksgiving holiday

[The Select Board unanimously agreed to add the Juneteenth Holiday and not remove any of the existing
recognized holidays.]

The Select Board further reviewed Town Counsel language edits

Definitions (1-4 )

         ADA Coordinator” shall mean the Town Administrator.

[The Board agreed to keep the Town Administrator as the Town’s ADA Coordinator]

19. 0 Alcohol and Drug Testing Policy For Employees in Safety-Sensitive Positions
(This policy is based on requirements of the Federal Motor Carrier Safety Administration)

19-5.     TESTING

5.       Return to Duty and Follow-Up - Return to duty and follow-up drug and alcohol tests are conducted
         when an individual who has violated the prohibited alcohol or drug standards of this policy, or who has
         been identified as needing assistance in resolving problems associated with alcohol and/or drug misuse,
         returns to performing safety-sensitive duties. Follow-up tests are unannounced and at least six (6) tests
         must be conducted in the first twelve (12) months after a driver returns to duty. Follow-up testing may
         be extended for up to sixty (60) months [5 years] following the return to duty at the discretion of the
         employer. The Town will incur the expense of all follow-up tests.

                  The Town will not pay for the testing of a former employee, for the follow-up testing of any new
                  employee due to a violation as defined by the Department of Transportation while that
                  individual was employed by another employer, or for a second sample test requested by the
                  employee whose result is positive.

B. How Tests Are Conducted

d.       Testing is conducted using a two-stage process. First a screening test is performed. If the test is positive
         for one or more of the drugs, a confirmation test is performed for each identified drug. Sophisticated
         testing requirements ensure that over-the-counter medications or preparations are not reported as
         positive results.

[The Select Board agreed to language added by Town Counsel]

24.0 Sick Leave

                                                                                                                        5
SB MINTUES 8.31.2021
Approved 9.14.21
                                                                                                          BOH113
          Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 120 of 203

24-8. Sick Leave Bank. Employees who have exhausted their own sick and vacation leave and have a non-work
related injury or serious illness may seek to extend paid leave from the sick leave bank.

        24.8.1 An employee may apply for up to fifty (50) days of sick leave from the sick leave bank. The leave
        need not be taken entirely on consecutive days.

        24.8.2 An employee who seeks leave from the sick leave bank must provide a written request to the
        Town Administrator with the following information:

                (a) the dates for which the employee anticipates being absent and the date of return to work;
                (b) if requesting intermittent leave, the proposed work schedule; and
                (c) identification of the nature of the injury or illness, with supporting medical documentation
                from the employee’s treating physician or medical health provider;

[The Select Board agreed that the Sick Leave Bank application shall be approved by the Town Administrator.]
with input from Town Accountant and Town Treasurer prior to final approval by the Town Administrator.

26.0 Military Leave

26-1. Coverage. The Town shall comply with the Uniformed Services Employment and Reemployment Act. M
embers called to State active duty shall be considered to be on Federal active duty for purposes of this policy.

26-2. Policy. Employees in the Federal or State military reserve forces shall be granted a military leave of
absence, for a period not to exceed two (2) weeks for each calendar year. Such employees shall be paid in an
amount equal to their normal pay (less the amount paid for military service by the Federal or State government).


The Select Board discussed asking the Town to accept the provisions of G.L. c. 33, § 59. Without knowing the
full financial impact, it was agreed to table adding this revised section for Military Leave.

31.0    Small Necessities Leave

        31-1. Policy and Coverage. Employees who have worked for the Town for at least twelve
        months and provided at least 1250 hours of service during the twelve months before the leave
        is requested are eligible.

        31-2. Definitions.

            (a) “Twelve-month period: shall mean “rolling period” measured backward from the date
                an employee uses any small necessities leave.
            (b) “Intermittent leave” shall mean time away from the job taken in separate blocks of time
                due to a single incident covered by the law.

        31-3. Leave Entitlement. The Town will provide all eligible employees up to twenty-four (24)
        hours’ unpaid leave in the twelve-month period for any purpose:
        Leave may be taken on an intermittent basis, but not in increments of less than one (1) hour.
        Employees utilizing leave shall be entitled to be restored to the position held when the leave
                                                                                                                   6
SB MINTUES 8.31.2021
Approved 9.14.21
                                                                                                       BOH114
             Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 121 of 203

          commenced or to an equivalent position with equivalent pay, benefits and other terms and
          conditions of employment.
          31-4. Notice. If the necessity for leave is foreseeable, the employee shall provide their
          department head with notice in advance. If the necessity for leave is not foreseeable, the
          employee shall provide such notice as is practical under the circumstances of the particular
          case. Where leave is not foreseeable and the employee’s notice is verbal, the employee shall
          complete and submit a written notice as soon as possible.
32.0.     Personal Leave
          32-1. Coverage. Permanent full-time and permanent part-time employees are eligible.
          32-2. Policy for full-time employees. Full-time employees who have completed the probationary period
          and who regularly work at least 25 hours a week shall be entitled to sixteen (16) hours for personal leave
          with pay each fiscal year. Those employees who work regularly at least 20 hours a week but less than 25
          hours shall be entitled to paid personal leave on a pro-rated basis.
                  32.2.1. Use of Personal Leave.
                  (1) Use of personal leave must be approved in advance by the employee’s department heads.
                  (2) Personal leave may be taken in no less than one (1) hour increments.
                  (3) It is understood that personal leave is to be used to conduct personal business, and is not to
                      be used in lieu of or in connection with holiday or vacation time.

    32-3 Policy for part-time employees. Coverage. Permanent part-time employees under the Wage &
    Classification Plan are eligible (i.e., Employees working under 20 hours per week on a regularly scheduled
    basis). Employees working on an “as needed” irregular basis are not eligible.
          32.3.1 Policy. Part-time employees working under 20 hours per week who have completed one year of
          employment shall be entitled to paid Personal Time Off (PTO) hours pro-rated as follows: the average
          number of weekly hours worked during the prior year, divided by five (5), and multiplied by seven (7).

          For example, an employee working an average of 10 hours per week during the prior year shall receive
          14 hours of paid PTO in the following fiscal year. An employee averaging 15 hours per week shall receive
          21 hours of paid PTO in the next fiscal year.

          32.3.2 Use of Paid Personal Leave.

          (1) Use of paid personal leave hours must be approved by the employee’s department head prior to
          time taken.
          (2) Personal leave hours are available as of July 1 and must be used within that fiscal year.
          (3) There is no carry over of hours from year to year.
          (4) There is no cash in lieu of personal leave hours.
          (5) Personal leave hours may be taken in no less than ½ hour increments.

        32-4. Separation from Employment.
        Accrued but unused personal leave shall not be paid upon separation from employment

[The board also approved Town Counsel’s recommendation to remove 36.0 Equal Employment Opportunity
which is already covered in Article 3.0.]

[The board also approved Town counsel’s recommendation to remove 37.0 Paid Personal Time Off (PTO) which
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SB MINTUES 8.31.2021
Approved 9.14.21
                                                                                                        BOH115
          Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 122 of 203

is redundant and just have Personal Leave]

38.0 Social Media Policy.

    38-1. Purpose. The Town uses social media, including Town social media sites and accounts,
     to communicate and interact with the public about official Town business. Consequently, the Town has both
    an expectation of and a responsibility for the integrity and presentation of its social media content, including
    information that is attributed to the Town, its Departments, Boards and Committees, and its employees and
    officials. This policy is adopted to ensure that what is “spoken” on behalf of the Town through social
    media reflects and conforms with the Town’s standards for such content.

    This policy shall not be interpreted or applied to prohibit or infringe upon any communication or expression
    that is protected or privileged under the law, including under state or federal constitutions.

    38-2. Definitions. The following definitions shall apply to this policy:

    “Social media” is an expansive term that means and includes all digital content posted to the internet, in
    whatever form. The types of content to which this policy applies include but are not limited to: media
    sharing (YouTube, Flickr, iTunes); blogging or microblogging (WordPress, Bogger, Twitter); social networking
    (Facebook, LinkedIn, Ning); shared documents or data sharing repositories (Scribd, SlideShare, Google Docs),
    social bookmarking (Delicious, Digg, Reddit), and widgets (Google Maps, Addthis, Facebook “Like”).

    “Town social media” shall mean social media that is created, used, or maintained by the Town for official
    Town business, distinguishable from social media created, used, or maintained by a Town-affiliated or
    other person for that person’s own personal use.

    “Town user” shall mean and include any Town employee or volunteer.

    38-3. Creation of Town Social Media. All Town social media requires prior approval before creation or use,
    in conformance with Section 38-8 of this policy. This includes but is not limited to any general account,
    departmental account, or individual account for a Town user acting or representing to act in an official Town
    capacity. As part of the approval process, the IT Department will ensure that any site, account, or other use
    of such media is properly supported by the IT Department, including through archiving using the Town’s
    Social Media Archive Tool.

    38-4. Town Social Media Standards. All Town social media shall be subject to the following standards:

           A. The Town may edit the content of or terminate any Town social media at any time without
           notice.
           B. Town social media content shall pertain and be limited to official Town business, including Town-
           sponsored or Town-endorsed programs, services, and events. No Town user shall express the
           user’s own personal views or concerns using Town social media.
           C. Town social media shall adhere to all applicable federal, state, and local laws, regulations, and
           policies.
           D. Town social media content shall be considered a public record. No content that is proprietary,
           confidential, or not otherwise freely available to the public shall be posted to Town social media.
           E. Town users who post or disseminate information on Town social media shall always conduct
           themselves as professional representatives of the Town. They must follow all applicable Town bylaws,
           regulations, and policies, including the Public Records Law (M.G.L. c.66, §10), State

                                                                                                                   8
SB MINTUES 8.31.2021
Approved 9.14.21
                                                                                                        BOH116
          Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 123 of 203

          Ethics Law (M.G.L. c.268A) and Financial Disclosure Law (M.G.L. c.268B), Open Meeting
          Law (M.G.L. c.30A, §§18-25), and all ethical and non-harassment obligations.
          F. Only authorized Town users may post or disseminate information on Town social media, except
          where Town social media allows for public participation and a Town user participates as a member of
          the public in that user’s personal, not official, capacity. Any such public participation in Town social
          media by a Town user shall be subject to Section 38-6 of this policy, governing Personal Social Media
          Use.
          G. Town social media shall NOT contain:

                 a. Support, opposition, or other commentaries concerning political campaigns or candidates;
                 b. Profanity or profane content;
                 c. Content that promotes, fosters, or perpetuates discrimination based on race, creed, color,
                 age, religion, gender, marital status, veteran status, military services, national origin, physical
                 or mental disability, sexual orientation, gender identity, or any other category protected by
                 federal, state, or local laws;
                 d. Sexual content or links to sexual content;
                 e. Solicitations of commerce unrelated to Town business;
                 f. Unlawful conduct or encouragement of illegal activity;
                 g. Information that may tend to compromise the safety or security of the public or public
                 systems; or
                 h. Content that violates a legal ownership interest of any other person; or
                 i. Ad hominem or abusive statements.

   38-5. Moderation of Public Participation in Town Social Media. Town social media may, in certain instances,
   allow for public participation, including in the form of public comments or messaging with Town employees,
   officials, departments, boards, or other entities (for example, commenting on a post on the Town’s
   Facebook page). In all instances where the Town’s social media provides for public participation, in any form,
    the Town is creating a limited public forum , only. This means that the Town’s social media allows
   for the public to post content solely and only about a specified subject matter and about no other
   matters. The Town may also restrict public participation in these limited public forums to only certain
   groups.

   The Town may review and moderate public participation content to ensure that it complies with
   the standards in this policy. No Town user shall modify or delete any public participation content from Town
   social media without the prior approval of the IT Director or Town Administrator.

   Town users shall report any public participation content that contravenes this Policy to the Town
   Administrator.

   38-6. Personal Social Media Use. Town users who use social media for strictly personal use, outside of the
   workplace, and not in connection with their official Town duties, do not require approval to do so. However,
    social media can sometimes blur the line between professional and personal interactions. Therefore, Town
   users are reminded that this policy must be taken into consideration even for personal social media use,
   particularly when identifying themselves as employees of the Town or when the context may lead to that
   conclusion. Town users should use discretion and common sense when employing social media to help
   prevent inadvertently compromising professional, legal, or ethical standards. Town users should consider
   the use of a disclaimer, among other actions, when personal social media use could be confused by others to
   represent an official position of the Town.


                                                                                                                       9
SB MINTUES 8.31.2021
Approved 9.14.21
                                                                                                         BOH117
          Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 124 of 203

    Town users should refrain from using social media for personal use while on work time, limiting such use to
    breaks during normal work hours or off-hours. Town users should also limit personal social media use on
    Town computers, systems, or other technology and are advised that they have no expectation of privacy
    when using social media at the workplace, or when using Town computers, systems, or other technology.
    The Town may access, view, and act upon any information on its computers, systems, or other technology
    without notice.

    Town users shall not disclose any Town-related information that is not already considered public
    information when using social media for personal use. This rule applies even in circumstances where
    passwords or other privacy controls are implemented. This policy does not, however, prevent
    Town users from discussing the terms or conditions of their employment, including any grievance claims or
    alleged unfair labor practices when using social media for personal use, or otherwise exercising their rights
    to collective bargaining.

    38-7. Retention. All Town social media shall be archived to comply with state and local requirements for
    document retention. This includes all content removed or deleted from public view, under a provision of this
    policy, or for any other reason. No social media content shall be deleted or destroyed without prior approval
    from the Town Administrator.

    38-8. Authorization. All Town users who wish to create, post, maintain, or otherwise use Town social media
    must be authorized by their supervisor or Appointing Authority to do so. Department heads and other
    supervisors should discuss any intended use of Town social media with the IT Department, which shall
    confer and coordinate with the Town Administrator All Town users shall cooperate with the IT
    Department and Town Administrator concerning the management of Town social media, and comply
    with their requests including about user accounts and lists, passwords, and other aspects of Town social
    media.

    38-9. Policy Violations. Any Town user who receives information about or becomes aware of a violation of
    this policy should report the violation to the Town Administrator or IT Director as soon as possible. Non-
    compliance with this policy may result in any or all the following: (a) Limitation or revocation of individual or
    department rights to use or participate in Town social media; (b) removal of posts or social media accounts;
    or (c) corrective or disciplinary actions and sanctions, up to and including termination.

[The Select Board had no objection to the revised language to 38.0 Social Media as recommended by Town
Counsel]

[The Select Board unanimously agreed approve all of Town Counsel’s revisions to Personal Policies as discussed
tonight and leave out the Military Leave (acceptance of MGL Chapter 33, s.59) which will be discussed at a future
meeting.


Appointments/Liaisons

Conservation Restriction Advisory Committee
On the motion made by Kate Reid and seconded by Luke Ascolillo, it was unanimously VOTED to appoint Lee
Tatatistcheff (130 Oak Knoll Road) to serve on the Conservation Restriction Advisory Committee with a term
expiring June 30, 2022.

Land Stewardship Committee

                                                                                                                   10
SB MINTUES 8.31.2021
Approved 9.14.21
                                                                                                         BOH118
          Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 125 of 203

On the motion made by Kate Reid and seconded by Luke Ascolillo, it was unanimously VOTED to appoint Judy
Asarkof (362 River Road) to serve on the Land Stewardship Committee with a term expiring June 30, 2022.

Cultural Council
On the motion made by Kate Reid and seconded by Luke Ascolillo, it was unanimously VOTED to appoint
Deborah Bentley (Heald Road) to serve on the Cultural Council with a term expiring June 30, 2024.


FY22 Select Board Goal-setting process Con’t.

The Select Board met with Marc Wey to finalize FY2022 Select Board Goals-setting process. Nathan Brown and
Marc worked together to summarize the board’s long-term and short-term goals as discussed on August 10,
2021.

After reviewing and making final edits it was agreed to formally adopt Fiscal Year 2022 Goals at their next
scheduled for Sept 14, 2021.

     FINANCIAL SUSTAINABILITY
     Ensure Carlisle’s long-term affordability for diversity of households.

        Short term:
               1. Evaluate the expected growth and expenses over the next 5-10 years and develop a plan
               for addressing the gaps
               2. Develop a long-term goal regarding tax increases.

     ENVIRONMENTAL SUSTAINABILITY
     The Select Board is committed to ensuring the environmental impact is considered for all town
     projects and purchases. Towards this end, all future decisions should include a description of the
     environmental impact, whether beneficial or negative, with the goal of promoting beneficial
     outcomes.

        Short term:
               1. Create a Town-wide policy and process.
               2. Create an environmental sustainability committee charged with specific, measurable
               action steps.

     CITIZEN ENGAGEMENT
     An engaged and informed community makes it stronger. We will work to increase interest in town
     government by ensuring all committees are well structured and supported by the Select Board, and
     increasing citizens’ general involvement in town affairs.

        Short term:
               1. The Select Board will meet with every committee at least once per year to ensure
               alignment and communication
               2. Committee charter and team reviews
               3. Explore methods of outreach regarding opportunities for involvement in town and to
               increase participation.

     QUALITY OF EDUCATION

                                                                                                               11
SB MINTUES 8.31.2021
Approved 9.14.21
                                                                                                      BOH119
          Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 126 of 203

     Ensure our schools remain a strong town asset by providing excellent education pre-K-12 through
     ensuring a collaborative alignment between the school committees and the Select Board on high level
     goals for the school districts.

        Short Term:
               1. Strengthen ties between Town and Schools (CCHS, CPS) at multiple levels through
               meetings, both to know each other and identify common projects.
               2. Work with the school committees to identify a shared vision and long-term goals for
               education of Carlisle students.

     TOWN STAFF ALIGNMENT
     Maintain and foster a professional work environment by ensuring collaboration between
     departments, providing a path for advancement and succession planning, and developing a clear
     understanding of success through establishing goals and evaluating performance.

        Short term:
               1. Implement annual goals setting and performance review process at all levels.
               2. Meet with staff in a group setting on a quarterly basis to better understand how we can
               support them.
               3. Establish an informal gathering between staff and the Select Board.
               4. Create mechanism for celebrating excellence.

Town Administrator ’s Report

1-Fall Special Town Meeting Discussion

A notice was sent out to all Town departments requesting warrant suggested articles. No requests have been
received. At this time, there isn’t enough to warrant a Special Town Meeting

       Acceptance of Lion’s Gate Road as a Town Way
       Accept fire protection easement – Stillmeadow North, 566 Acton Street
       Acceptance of MGL Chapter 33, s.59 regarding military leave

        This came from the review of the personnel policies with Atty. Brewer. Current policy is for
        2 weeks of military leave with the Town paying the difference between the employee’s
        wages and their military pay. Accepting this statute would grant the employee up to 40
        pays paid leave for drills/training annually and up to 30 days annually if called up for a
        state/national emergency, disaster or to repel an insurrection. After the time period
        passed the town would again only be responsible for the difference in pay rate.

2-Job postings for IT Services Manager and Assistant Treasurer-Collector

The Town has posted the vacant positions of IT Services Manager (new) and Assistant Treasurer-Collector. To
date, there has been no response to the IT job posting.

The Board agreed to post job advertisement in the Carlisle Mosquito. In the meantime, It was further agreed to
authorize Nathan Brown to meeting the Town’s current IT Department to inquire about a higher level of service.

Finance Director is requesting that the Assistant Treasurer-Collector be increased to a full-time 35 hours per

                                                                                                                 12
SB MINTUES 8.31.2021
Approved 9.14.21
                                                                                                       BOH120
          Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 127 of 203

week schedule due to the increased workload in that department.

It was agreed to scheduled the Finance Director Kimberly Kane on the September 14th meeting agenda to discuss
her staffing request.

3-Completed CPA project – updated Historic District Map

Updated Historic District Map has been completed for the Town of Carlisle. The Historical Commission by
contractor Edgar Stewart to prepared this report which catalogues nearly 50 historical properties within the
Carlisle Center Historic district. The finished product is currently posted to the Historical Commission’s section
of the Town web site.

4_Eversource Delays – CPS Solar Projects

On the motion made by Kate Reid and seconded by David Model, it was unanimously VOTED to send another
letter from the Town of Carlisle regarding continued delays by Eversource on both solar projects and request
that additional steps to accelerate progress be taken.

Upcoming Meetings

Tuesday, September 14, 2021
Tuesday, September 28, 2021
Tuesday, October 12, 2021
Tuesday, October 26, 2021

Approval of Minutes/Warrants

On the motion made by Nathan Brown and seconded by Luke Ascolillo, it was VOTED [4-0-1] to approve the
minutes of July 27, 2021.

The following Town/School Payroll and Expense Warrants were approved by Barney Arnold on 08/17/21:

       Payroll (Town & School) Warrant #1222 ($626,256.38)
       Town Expense Warrant #1322 ($400,384.15)
       School Expense Warrant #1422 ($56,579.17)

On the motion made by Kate Reid and seconded by David Model, it was unanimously VOTED to adjourn the
meeting.

MEETING ADJOURNED


Submitted by:
J. Gibbons




                                                                                                                     13
SB MINTUES 8.31.2021
Approved 9.14.21
                                                                                                        BOH121
         Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 128 of 203

List of documents reviewed at meeting:

    SB Meeting Packet prepared for8/31/2021




                                                                                   14
SB MINTUES 8.31.2021
Approved 9.14.21
                                                                          BOH122
         Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 129 of 203




                                               Select Board
                                         Tuesday, October 12, 2021
                                          Town Hall – Clark Room
                                     66 Westford St., Carlisle, MA 01741



The Carlisle Select Board met on Tuesday, October 12, 2021, at 7:00 p.m. at the Carlisle Town Hall
(Clark Room) located at 66 Westford Street. Present were Barney Arnold-Chair, David Model-Vice-
Chair, Kate Reid, David Model, Luke Ascolillo and Nathan Brown.

This meeting was live streamed and recorded: https://www.youtube.com/watch?v=Gwvzvs59zwk

Remote participation was also made available via Zoom Meeting link:
https://us02web.zoom.us/j/89421734129?pwd=SW9pMzB6MXZJR29DR0trZU9IdUdwdz09

Meeting ID: 894 2173 4129 /Passcode: 785968

LEPC update:

Carlisle continues to be a low-risk community.

The Select Board agreed to support the Carlisle Board of Health decision to renew the mandate to wear
face masks within buildings with public access.

Halloween Trick-or-Treating - Halloween Trick-or-Treating will take place on Sunday, October 31, 4 to 8
p.m., Carlisle Center. While our masked and costumed youngest citizens normally visit their neighbors
on their porches or in their yards, we do ask that if you are showing off your costumes inside a home
that you wear a mask.

Public Hearing Continuation: Dangerous Dog hearing

Chair Barney Arnold reconvened the Dangerous [or Nuisance] Dog Hearing pursuant to M.G.L. c.140,
§157 and Section 14.6.7 of the Carlisle General Bylaws.

The Carlisle Select Board received a complaint that on 8/20/21, a dog named Beau, Carlisle Dog License
Number 865, bit a bicycle rider at Great Brook State Park causing personal injury. The attack occurred
at approximately 17:06 hours in an area of Great Brook State Park, 1018 Lowell Street, Carlisle, MA. In
accordance M.G.L. c.140, §157 and Section 14.6.7 of the Carlisle General Bylaws, the complaint was
investigated by the Carlisle Dog Officer/Animal Control Officer. The Select Board had scheduled a
public hearing on the complaint to be held September 28, 2021, at 7:30PM in the Clark Room at the
Town Hall, 66 Westford Street, Carlisle, Massachusetts, to investigate the complaint and to determine
if remedial measures should be ordered in accordance with state law.

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SB MINTUES 10.12.2021
Approved 10/26/21
Prepared by: jgibbons
                                                                                              BOH123
         Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 130 of 203



Also present: Town Counsel, Attorney Jennie Merrill, Town of Carlisle Dog Officer/Animal Control
Officer Gene Delano, and licensed dog owners Shaunna Simek and David Bokuniewicz.

Select Board chair Barney Arnold informed those present that all testimony will be limited to the issues
directly related to the subject matter of the hearing; only one person will be permitted to speak at a
time; all discussion will go through the Chair; all parties will be expected to conduct themselves civilly.

Witnesses were asked to raise his/her right hand and swear that "the testimony being provided in this
matter is the truth, the whole truth and nothing but the truth."

Dog Owners: Shaunna Simek and David Bokuniewicz
            480 South Street, Carlisle, MA

Name of Dog: Beau (Male White dog)
Breed:       Dogo Argentino

Chair Barney Arnold established ground rules, informing those present that: testimony will be limited
to the issues directly related to the subject matter of the hearing; only one person will be permitted to
speak at a time; all discussion will go through the Chair; all parties will be expected to conduct
themselves civilly; and argument between parties will not be permitted. Before taking testimony,
witnesses must be sworn in. The Chair may ask anyone who intends to testify to stand, raise his/her
right hand and swear that "the testimony I am about to give in this matter is the truth, the whole truth
and nothing but the truth."

Note: The following testimonies are not verbatim. Online video recording of the meeting is available
at https://www.youtube.com/watch?v=Gwvzvs59zwk

Gene Delano, Carlisle Dog Officer: Added a few more facts to his previous statements. “After incident
# 1 when I went to serve quarantine notice #1, the owner of the property Shaunna Simek stated to me
that the dog involved did not belong to her, that it was her boyfriend’s and had a Billerica address. She
stated that at the time of the incident she was upstairs in her home when the little girl from across the
street rushed into her home unannounced and was therefore bitten by her dog.

After incident #2, when I went to serve the 2nd quarantine notice, the owner Shaunna Simek stated
that the person bitten had been doing work on her property and should not have turned his back on
the dog. She again stated that the animal belonged to her boyfriend and that she was trying to get him
to be more careful. I issued a Civil Disposition Violation (0280) as a WARNING to Ms. Simek to try to
impress upon her the seriousness of a 2nd dog biting incident on her property. I also instructed Ms.
Simek to license the dog, as obviously the animal lives at 480 South Street Carlisle, not somewhere in
Billerica as she had told me before. On 7/26/21, I contacted Simek by text to let her know her animals
were still not licensed in the town. Dog license #865 was issued for Beau on 7/27.

Incident #3 was reported in the Carlisle Mosquito, and I learned about the August 20th mauling at the
State Park by reading the online version of the incident. I immediately contacted the CPD and spoke

                                                                                                          2
SB MINTUES 10.12.2021
Approved 10/26/21
Prepared by: jgibbons
                                                                                                 BOH124
         Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 131 of 203



with Sgt. Mack to inform him that I believed the dog involved in the incident was the Simek dog. Sgt
Mack contacted me 1 hour later to tell me that the victim had positively identified the dog and Dave
Bokuniewicz as being involved in the incident. I contacted the victim to let him know that the animal
was known and had been fully vaccinated against rabies which was the first time the victim was made
aware of the vaccination. During the 8 days after the attack on 8/20 I did not receive a call from either
the owners of the animal or the CPD to report the need for the 3rd quarantining. I then reached out to
Simek again and requested an immediate return call. 5 minutes later I received a call from a person
calling himself “Dave” who said he was the owner of the dog and that they intended to rehome the dog
due to the incident. I went to serve quarantine notice #3 to Dave Bokuniewicz at the 480 South Street
residence where he stated that he, too, had been bleeding after the incident, more than the other guy,
and that he had to leave the scene to go to the hospital. I asked where he had been treated and he said
he never sought treatment. He then asked if I wanted to see the dog, to which I declined. He stated
that the incident wouldn’t have happened if the victim hadn’t kicked at the dog. I issued Civil
Disposition Violation #0281 to Mr. Bokuniewicz for violation of Carlisle Bylaw 14.6.2.4.

Incident #4 was reported to me on or about 9/15 and a subsequent 4th quarantine notice was
delivered by the CPD to the residence. I recommend a close and thorough reading of the police reports
of record regarding this incident.”

During ACO DeLano’s testimony, the dog owners repeatedly interrupted him and shouted their
disagreements. The Chair warned the dog owners several times to stop their disruptive behavior and
that they would have their own opportunity to add testimony.

David Bokuniewicz: (1) Dog Officer has requested the board to read the Police Reports for an incident
which involves a worker that trespassed and entered the house without permission and then was
bitten. He asked the Board to consider the fact that the Police Report (Incident #4) has a witness
statement who is the daughter of owner of the landscape company. (2) Incident #1 was not a dog
bite. The young girl was scratched.

Shaunna Simek: Ms. Simek stated that she was not prepared to respond to the written statements
read at the initial hearing because she was not given a copy of them in advance. She said that the Dog
Officer Gene Delano has never asked her to provide a written statement. She explained that she feels
that the hearing process has been one-sided. The board allowed Gene Delano to give additional
testimony when they (the dog owners) were told at the end of the last hearing, that no more testimony
would be allowed this evening. She feels the Police Report (Incident # 4) lacks important details that
would better describe what happened.

Chair Barney Arnold: Read aloud portions of the Police Reports related to Incident #4. When the Chair
asked Mr Bokuniewicz if he had asked the victim of incident #4 and/or his relatives to say the injury
happened in Lowell (as stated in the police report), Mr. Bokuniewicz said that he did not.

David Bokuniewicz offered testimony: Disputes the witness statements. Says that Shaunna Simek
reported the incident to the Police Department immediately after the incident which conflicts with the
statements given by the worker and witnesses documented in the Police Report.

                                                                                                        3
SB MINTUES 10.12.2021
Approved 10/26/21
Prepared by: jgibbons
                                                                                               BOH125
         Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 132 of 203




Upon the advice of Town Counsel, Barney Arnold listed the documentation and testimony received by
the Select Board regarding this matter to include:

1. The Complaint, submitted via email to the Select Board on August 30, 2021.
2. Quarantine Orders dated May 11, 2021, July 11, 2021, August 20, 2021, and September 21, 2021.
3. A Temporary Restraint Order issued by Animal Control Officer Gene F. DeLano on September 8, 2021.
4. Civil Disposition Violations dated July 11, 2021, and August 28, 2021.
5. A written statement, dated September 23, 2021, from the victim of the August 20, 2021 dog bite incident.
6. A written statement, dated September 24, 2021, from the victim of the July 11, 2021 dog bite incident.
7. Incident Reports from the Carlisle Police Department dated August 20, 2021, September 14, 2021 (modified
September 15, 2021), and September 16, 2021.
8. A copy of the Notice of the dog hearing sent to the Dog Owners on September 13, 2021.
9. A letter from the Dr. Sarah Tryjankowski, DVM from Nashoba Valley Veterinary Hospital.
10. Photos of the Dog Owners property including: (1) photos of outside fenced in area; (2) photos of several
“beware of dog” signs posted on the property; (3) photo of the mud room door; (4) photo of door from the Dog
Owners garage to outside; and (5) photos of interior doors and gates.
11. Text exchange and supplemental letter from the Dog Owners.
12. Affidavit from victim Kevin Kelly dated October 6, 2021.
13. Photographs of dog bite and torn pants from Kevin Kelly.
14. Supplemental Statement from ACO DeLano dated October 12, 2021.

   •   Testimony from Shaunna Simek, provided on 9/28 & 10/12
   •   Testimony from David Bokuniewicz on 9/28 & 10/12
   •   Testimony from Carlisle Dog Officer Gene Delano on 9/28 & 10/12
   •   Testimony from Dog Trainer/Daniel Vigent on 9/28
   •   Testimony from David Suderman on 9/28
   •   Testimony from Harry Wright on 9/28

On the motion made by David Model and seconded by Nathan Brown, it was unanimously VOTED to
close the public hearing.

Barney Arnold announced that the Select Board will begin its deliberation and there will be no further
testimony or public input.

Town Counsel was requested to review the standards for making the determination of whether a dog is
a Nuisance Dog or a Dangerous Dog.

Nuisance Dog

A nuisance dog Is a dog that: (1) by excessive barking or other disturbance, is a source of annoyance to
a sick person residing in the vicinity; or (2) by excessive barking, causing damage or other interference,
a reasonable person would find such behavior disruptive to one's quiet and peaceful enjoyment; or (3)
has threatened or attacked livestock, a domestic animal or a person, but such threat or attack was not
a grossly disproportionate reaction under all the circumstances.

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SB MINTUES 10.12.2021
Approved 10/26/21
Prepared by: jgibbons
                                                                                                   BOH126
         Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 133 of 203



The Select Board unanimously agreed that the criteria for a nuisance dog do not apply.

The Board reviewed the definition of a dangerous dog and the exclusions.

Dangerous Dog: M.G.L. c.140, §136A defines “dangerous dog” as:

a dog that either: (i) without justification, attacks a person or domestic animal causing physical injury or
death; or (ii) behaves in a manner that a reasonable person would believe poses an unjustified
imminent threat of physical injury or death to a person or to a domestic or owned animal.

However, the Board should note that M.G.L. c.140, §157 states that a dog cannot be deemed
dangerous:

               (i)      solely based upon growling or barking or solely growling and barking;

               (ii)     based on the breed of the dog; or

               (iii)    if the dog was reacting to another animal or to a person and the dog’s reaction
                        was not grossly disproportionate to any of the following circumstances:

                        1. the dog was protecting or defending itself, its offspring, another domestic
                           animal or a person from attack or assault;

                        2. the person who was attacked or threatened by the dog was committing a
                           crime upon the person or property of the owner or keeper of the dog;

                        3. the person attacked or threatened by the dog was engaged in teasing,
                           tormenting, battering, assaulting, injuring or otherwise provoking the dog; or

                        4. at the time of the attack or threat, the person or animal that was attacked or
                           threatened by the dog had breached an enclosure or structure in which the
                           dog was kept apart from the public.

The Board unanimously agreed that the exclusions did not apply to this dog.

After careful consideration of the testimony and documents received during the hearing, the Chair
asked for a motion.

On the motion made by David Model and seconded by Luke Ascolillo, it was unanimously VOTED to
declare the dog (Town of Carlisle Dog License Number 865) to be a Dangerous Dog.

With the assistance of Town Counsel, the Board carefully discussed/reviewed the prescribed remedies
under M.G.L. c.140, §157 and Section 14.6.7 that will be required of the dog owners in the Notice of
Decision from the Select Board:

                                                                                                           5
SB MINTUES 10.12.2021
Approved 10/26/21
Prepared by: jgibbons
                                                                                                  BOH127
         Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 134 of 203




   1. That the dog be humanely restrained; provided, however, that no order shall provide that a
      dog deemed dangerous be chained, tethered or otherwise tied to an inanimate object
      including, but not limited to, a tree, post or building;

   2. That the dog be confined to the premises of the keeper of the dog; provided, however, that
      ''confined'' shall mean securely confined indoors or confined outdoors in a securely enclosed
      and locked pen or dog run area upon the premises of the owner or keeper; provided further,
      that such pen or dog run shall have a secure roof and, if such enclosure has no floor secured to
      the sides thereof, the sides shall be embedded into the ground for not less than 2 feet; and
      provided further, that within the confines of such pen or dog run, a dog house or proper shelter
      from the elements shall be provided to protect the dog;

   3. That when removed from the premises of the owner or the premises of the person keeping the
      dog, the dog shall be securely and humanely muzzled and restrained with a chain or other
      tethering device having a minimum tensile strength of 300 pounds and not exceeding 3 feet in
      length;

   4. That the owner or keeper of the dog provide proof of insurance in an amount not less than
      $100,000 insuring the owner or keeper against any claim, loss, damage or injury to persons,
      domestic animals or property resulting from the acts, whether intentional or unintentional, of
      the dog or proof that reasonable efforts were made to obtain such insurance if a policy has not
      been issued; provided, however, that if a policy of insurance has been issued, the owner or
      keeper shall produce such policy upon request of the hearing authority or a justice of the
      district court; and provided further, that if a policy has not been issued the owner or keeper
      shall produce proof of efforts to obtain such insurance;

   5. That the owner or keeper of the dog provide to the licensing authority or animal control officer
      or other entity identified in the order, information by which a dog may be identified,
      throughout its lifetime including, but not limited to, photographs, videos, veterinary
      examination, tattooing or microchip implantations or a combination of any such methods of
      identification;

   6. That unless an owner or keeper of the dog provides evidence that a veterinarian is of the
      opinion the dog is unfit for alterations because of a medical condition, the owner or keeper of
      the dog shall cause the dog to be altered so that the dog shall not be reproductively intact; or

   7. That the dog be humanely euthanized.

At this point in the meeting, Chair Barney Arnold asked the dog owners and Select Board member Luke
Ascolillo to leave the hearing. This was because 1) throughout the hearing, there were multiple
disruptions by dog owners Shaunna Simek and David Bokuniewicz, despite repeated warnings from the
Chair to control themselves, and 2) a loud verbal argument between the dog owners and SB member,
Luke Ascolillo, erupted at this point and none of the parties responded to the chair’s repeated request

                                                                                                         6
SB MINTUES 10.12.2021
Approved 10/26/21
Prepared by: jgibbons
                                                                                              BOH128
         Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 135 of 203



to stop. All three left the hearing.

The Board continued their discussion of possible remedies. After lengthy deliberations, on the motion
made by David Model and seconded by Nathan Brown, it was unanimously VOTED [4-0] to order the
following:

   1. That the dog be humanely restrained; provided, however, that no order shall provide that a dog
      deemed dangerous be chained, tethered, or otherwise tied to an inanimate object including,
      but not limited to, a tree, post or building.

   2. That when removed from the premises of the owner or the premises of the person keeping the
      dog, the dog shall be securely and humanely muzzled and restrained with a chain or other
      tethering device having a minimum tensile strength of 300 pounds and not exceeding 3 feet in
      length.

   3. That the owner or keeper of the dog provide to the licensing authority or animal control officer
      or other entity identified in the order, information by which a dog may be identified,
      throughout its lifetime including, but not limited to, photographs, videos, veterinary
      examination, tattooing or microchip implantations or a combination of any such methods of
      identification.

On the motion made by David Model and seconded by Nathan Brown, it was unanimously VOTED to
authorize the Select Board chair Barney Arnold to sign the Dangerous Dog Decision and official findings
of the Select Board.

Public hearing: Grant of location / Eversource

On the motion made by Nathan Brown and seconded by David Model, it was unanimously VOTED to
continue the public hearing to October 26, 2021, at 7:30PM

Public Hearing: Community Cable Needs Assessment /Comcast

On the motion made by Kate Reid and seconded by David Model, it was unanimously VOTED to close
the public hearing for the Community Cable Needs Assessment.

Green Cemetery Fee Structure:

It is Town Counsel opinion that the Select Board should seek Town Meeting approval for any changes
to the fees at the Green Cemetery. The Town can set fees at its cemeteries, and the Select Board,
acting as Cemetery Commissioners, is empowered to do so by regulation subject to Town Meeting
approval.

M.G.L. c. 114, §15, provides in part:

Towns may appropriate money for enclosing any cemetery lawfully provided by them or for
                                                                                                         7
SB MINTUES 10.12.2021
Approved 10/26/21
Prepared by: jgibbons
                                                                                             BOH129
         Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 136 of 203



constructing paths and avenues and embellishing the grounds therein, and may establish all necessary
rules relative thereto consistent with law. They may lay out such cemetery into lots, and shall set apart
a suitable portion as a public burial place for the use of the inhabitants, free of charge. They may sell
and convey to any person, resident or non-resident, the exclusive right of burial and of erecting tombs
and cenotaphs upon any lot and of ornamenting the same, upon such terms and conditions and subject
to such regulations as they shall prescribe….

“Towns” as used in Section 15 implicitly means Town Meeting, and as a result the rules, regulations,
and terms of sale contemplated by statute must be approved by Town Meeting before they have force
and effect. If the Town has accepted M.G.L. c. 114, §§22-26, establishing a Board of Cemetery
Commissioners, the Board has the authority to adopt regulations, including fees, pursuant to Section
23, but these regulations must also be approved by Town Meeting.

Reference to the Select Board as Cemetery Commissioners suggests that the Town has accepted the
elective portion of the Chapter 114. This would be consistent with the Town Cemetery Regulations last
revised in 2001.

The last page of these Regulations reflects that Town Meeting approval has been obtained for some if
not all prior fee changes.

There is one other relevant statutory fee, the local recording fee for a cemetery plot deed, which is set
at $1 by M.G.L. c. 262, §34(78). Section 34 provides that this fee may be increased by Town Meeting
action adopting a bylaw which prescribes a greater fee.

The Board agreed that a warrant article should be considered for Town Meeting consideration.

Cemetery Deed Transfer Request(s):

Deed 763
On the motion made by Kate Reid and seconded by David Model, it was unanimously VOTED to transfer
land in the public burial ground to Miles King (7 Park St) at Green Cemetery, Lot C18, Grave 1.

Deed 764
On the motion made by Kate Reid and seconded by David Model, it was unanimously VOTED to transfer
land in the public burial ground to Paul & Shirley Nelson (18 Countryside Rd) at Green Cemetery, Lot
D329, Graves 1, and 2.

Deed 765
On the motion made by Kate Reid and seconded by David Model, it was unanimously VOTED to transfer
land in the public burial ground to Scott H Seaburg (108 Stow St) at Green Cemetery, Lot C 24, Graves
1, 2, 3 4, 5, 6, 7 and 8.

Deed 766
On the motion made by Kate Reid and seconded by David Model, it was unanimously VOTED to transfer
land in the public burial ground to Kenneth M Deitch (31 Laurelwood Dr) at Green Cemetery, Lot
                                                                                                        8
SB MINTUES 10.12.2021
Approved 10/26/21
Prepared by: jgibbons
                                                                                                BOH130
        Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 137 of 203



D172, Graves 1, 2, 3 and 4.

Police Department FY22 Goals

Chief Fisher presented his draft goals for review.

Goal 1: Hire 2 FT Police Officers
   • 1st Officer (FY22)
   • 2nd Officer (FY23)


The Chief explained that the changes in the Police Reform Act (below) adopted by the Commonwealth
mean that he can no longer hire part time officers.

The Select Board asked about funding for the FY22 officer and the Chief responded that he did not
think this would require any significant new funds. The Select Board expressed support for hiring a full-
time officer this fiscal year. On the FY23 new police officer, the Board and the Chief agreed that this
would go through the usual FY23 budget process.

Goal 2: Review, research, draft, and adopt Police Department Policies. The police department
members will have guidance required to perform their jobs within the limits of the new laws.

Police Reform Act
    • Prioritize policies that may be written with what is known
    • Attend meetings and trainings as the Commission provides guidance
    • Identify the policies we are going to change
    • Obtain policies from exemplary agencies

Re-write 1/3 of the State Accreditation Policies
   • Prioritize critical policies and procedures
   • Identify which of these we can update now
   • Identify the policies we are going to change
   • Identify the policies we do not need to adapt
   • Obtain policies from exemplary agencies
   • Rewrite policies identified using exemplary language specific to Carlisle
   • Submit policies for peer review
   • Present policy changes to members

Goal 3: Support the Public Safety Facility Task Force to develop a plan to present at Town Meeting
   • Meet with stakeholders
   • Provide list of needs and liabilities
   • Ascertain choice of land
   • Define area require for each facility
   • Needs Assessment complete for both sides
                                                                                                        9
SB MINTUES 10.12.2021
Approved 10/26/21
Prepared by: jgibbons
                                                                                               BOH131
         Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 138 of 203



   • Go to bid for design services
   • Design presentation for Town Meeting
   • Present at Town Meeting

On Goal #3, Nathan Brown suggested that the goal be revised because the Public Safety Facilities Task
Force is responsible for the decision about what to recommend to Town Meeting, not Chief Fisher. The
Board wants to encourage department heads to submit goals that have the greatest chance of success.

Chief Fisher agreed to submit a revised set of goals.

Fire Department FY22 Goals

Personnel status and trends

• 15 new EMT’s, 5 left
• 10 new firefighters, 10 left
• Focus on recruiting and training EMT’s since 2019
• Focus on recruiting and training Firefighters in progress
• Recruits who do not own homes are difficult to retain
• Demographics are difficult as the population ages. The population aged 35-45 has greatly decreased
  over past 30 years
• Headwinds: Demographics, housing costs, station amenities (work space, gathering space, training
  space)

Demographics

• Affects Recruitment
• Affects equipment needs
• Affects training and retention




Response to pandemic
• Hired college student and recent graduate EMTs
• Provide staffing for new town needs
• Worked closely with COA and other organizations for their facility needs
• Performed 3000 covid tests, overall 3.11% positive, Currently 6.08%
• Obtained, stored and distributed appropriate PPE Outside funding
• Obtain $100,194.29 Federal AFG grant with 5% Carlisle match
                                                                                                   10
SB MINTUES 10.12.2021
Approved 10/26/21
Prepared by: jgibbons
                                                                                            BOH132
         Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 139 of 203



• SCBA compressor in place
• Extrication tools soon
• Obtain $10,000 state grant for safety related equipment
• Rescue boat gift of Maynard Fire Department
• Scott SCBA packs and bottles gift of neighboring departments
• Previous grant for Gear washers

Fire Department received a FEMA grant in the amount of $100K from the Assistance to Firefighter
federal grant program (FEMA). The funds were used to purchase SCBA compressor and extrication
         tools.

Goal 1: NFIRS compliant reporting system
       • Currently only doing minimum reporting required by law
       • Required for grant funding
       • Needed for grant applications, ISO ratings, exposure tracking etc
       • Cloud based system will cost money
       • Will be locked in, once chosen do not want to change
       • Ability to integrate into current systems, integration costs
       • Retaining ownership of the data

       Note: Remaining FEMA grant funds will be used for the NFIRS system

Goal 2: Obtain UTV outfitted for off road medical response
       • Older and smaller EMTs medically capable but more prone to injury with long carries
       • More use of open space by population
       • Also used for brush fires
       • Outfitted for response in snow (cross country ski injuries

Goal 3: Recruit and train firefighters
       • Daytime coverage an issue
       • EMS had been the priority previously
       • Goal of opportunity
       • Training difficult as we lose experienced people
       • Demographics and housing are severe headwinds


Appointments/Resignations:

Master Plan Steering Committee
On the motion made by Kate Reid and seconded by David Model, it was VOTED to support the Planning
Board appointment of Christina Christodoulopoulos (Hemlock Hill) to the Master Plan Steering
Committee.

Conservation Restriction Advisory Committee
On the motion made by Kate Reid and seconded by David Model, it was VOTED to appoint Jeannie
                                                                                                    11
SB MINTUES 10.12.2021
Approved 10/26/21
Prepared by: jgibbons
                                                                                               BOH133
         Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 140 of 203



Geneczko (Maple Street) to serve on the Conservation Restriction Advisory Committee for a term that
will expire June 30,2022.

Town Administrator’s Report:

Comcast Cable license extension

The Town has contacted the Dept. of Telecommunications regarding a 6-month extension of Carlisle’s
cable television license agreement with Comcast while the Select Board continues to negotiate with
Comcast for a new agreement. Dept. of Telecommunications routinely grants such extension
         requests, but procedurally, they require the Town to formally reject Comcast’s initial proposal
         to continue negotiating.

On the motion made by Kate Reid and seconded by David Model, it was VOTED to preliminarily deny
Comcast’s renewal license proposal to allow more time to come to an agreement with Comcast, and to
direct Town Counsel to move for a 120-day extension of time for filing of the written reasons for the
preliminary denial so that the parties may continue to finalize the terms of renewal.

Extension of initial reporting requirement for ARPA
The first formal report on the use of the federal ARPA funds had been October 31st but the federal
government has extended that deadline to next April 1st, which now lines up well with the
budgeting/Town Meeting.

Traffic & Pedestrian Safety Committee (TPSC) Update:

TPSC met to consider some of the concerns raised by residents regarding the traffic signage in Carlisle
Center as a part of the Complete Streets project.

The Committee did not have much input into this issue at the time since the project was State funded
and on a State numbered route. TPSC ultimately decided to seek a meeting with MassDOT regarding
what options, if any, there are for rural communities such as Carlisle. The signs can be smaller in
diameter. However, the color, number of signs and the placement may not be and require more
discussion.

Eversource approval of Ameresco Solar panel interconnection
Eversource has approved the interconnection application for Ameresco Solar, and the panels are now
energized and producing energy (and revenues). A letter from Ryan Fahey/Ameresco thanked Carlisle
officials and residents who helped move this project across the finish line.

Offer to new Assistant Treasurer-Collector
After re-advertising a full-time 35 hour per week position, the Finance Director and Town Administrator
are recommending that the Board hire Tara Bicknell of Chelmsford, MA as Assistant Treasurer-
Collector. Tara has a good deal of experience in financial positions and most recently has worked in the
Finance Dept. for the Town of Acton. Additionally, she has attended the certification school for
financial officials at UMass-Amherst and her references were all very positive. She has been CORI
                                                                                                       12
SB MINTUES 10.12.2021
Approved 10/26/21
Prepared by: jgibbons
                                                                                               BOH134
        Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 141 of 203



checked and the Town is in the process of the requisite credit check.


Approval of Minutes/Warrants:

On the motion made by Kate Reid and seconded by David Model, it was VOTED to approve the
minutes of September 14, 2021, as presented.

The following Town/School Payroll and Expense Warrants were approved by Barney Arnold on:
09/29/21:
   •   Payroll (Town & School) Warrant #2222 ($760,085.55)
   •   Town Expense Warrant #2322 ($869623.88)
   •   School Expense Warrant #2422 ($46,395.34)


On the motion made by Kate Reid and seconded by David Model, it was unanimously VOTED to
adjourn the meeting.

Meeting adjourned.




                                                                                            13
SB MINTUES 10.12.2021
Approved 10/26/21
Prepared by: jgibbons
                                                                                       BOH135
         Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 142 of 203



List of documents reviewed at meeting:

1. Meeting Packet prepared for 9/28/21
2. The Complaint, submitted via email to the Select Board on August 30, 2021.
3. Quarantine Orders dated May 11, 2021, July 11, 2021, August 20, 2021, and September 21, 2021.
4. A Temporary Restraint Order issued by Animal Control Officer Gene F. DeLano on Sept 8, 2021.
5. Civil Disposition Violations dated July 11, 2021 and August 28, 2021.
6. A written statement, dated Sept 23, 2021, from the victim of the Aug 20, 2021 dog bite incident.
7. A written statement, dated Sept 24, 2021, from the victim of the July 11, 2021 dog bite incident.
8. Incident Reports from the Carlisle Police Department dated Aug 20, 2021, Sept 14, 2021 (modified
Sept 15, 2021), and September 16, 2021.
9. A copy of the Notice of the dog hearing sent to the Dog Owners on Sept 13, 2021.
10. A letter from the Dr. Sarah Tryjankowski, DVM from Nashoba Valley Veterinary Hospital.
11. Photos of the Dog Owners property including: (1) photos of outside fenced in area; (2) photos of
several “beware of dog” signs posted on the property; (3) photo of the mud room door; (4) photo of
door from the Dog Owners garage to outside; and (5) photos of interior doors and gates.
12. Text exchange and supplemental letter from the Dog Owners.
13. Affidavit from Kevin Kelly dated Oct 6, 2021.
14. Photographs of dog bite and torn pants from Kevin Kelly.
15. Supplemental Statement from ACO DeLano dated Oct 12, 2021.




                                                                                                       14
SB MINTUES 10.12.2021
Approved 10/26/21
Prepared by: jgibbons
                                                                                              BOH136
      Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 143 of 203
                                          Town of Carlisle
                                               Office of
                                        BOARD OF HEALTH                           Tel.: (978) 369-0283
                                         66 Westford Street                       Fax: (978) 369-4521
                                         Carlisle, MA 01741                   boardofhealth@carlislema.gov




Message from the Carlisle Board of Health Chairman:

During this difficult time of global pandemic, the Carlisle Board of Health is working diligently to minimize
the impact of COVID-19 on our town, while still addressing routine public health issues.
Throughout this crisis, we are doing our best to support our public health duties related to land use
permitting. Be assured that all requests are being received and will be addressed as soon as possible.

Please keep the following in mind:

•   The Board of Health’s current priority is COVID-19 response activities.
•   Staff is working remotely as much as possible in keeping with the Governor’s Orders. Messages to the
    Health Department—whether by phone, email, or US Mail—are monitored on a regular and frequent
    schedule.
•   In conjunction with addressing COVID-19 issues, high priority is given to emergency needs that may
    pose a risk to public health, such as failed septic systems.
•   Health Department activities are triaged to most effectively use our department’s resources. You can
    help insure that we support you in a timely and efficient manner by doing the following:
        o Be patient and be polite to our staff. They have been working long unpredictable hours to
              keep you safe, and your courtesy goes a long way to prevent their burnout.
        o Submit requests as early as possible. Requests are generally addressed first-come first-served.
              The terser and more clear your request, the more quickly it can be handled.
        o If you are submitting applications, make sure that they are complete. Incomplete applications
              will be given low priority for response.

Thank you for your continued support as we work to safely reopen our community. If you have any
questions or concerns, don’t hesitate to reach out to me.




____________________________________
Tony Mariano
Chairman, Carlisle Board of Health
August 12, 2020




                                                                                                    BOH137
         Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 144 of 203


                                       Town of Carlisle
                                            Office of
                                     BOARD OF HEALTH
                                      66 Westford Street                      Tel.: (978) 369-0283
                                      Carlisle, MA 01741                      Fax: (978) 369-4521



MEMORANDUM

To:               Carlisle Select Board
                  Town Administrator
                  Town Counsel
From:             Carlisle Board of Health
                  Tony Mariano, Chairman
Date:             August 26, 2021

In Re:            Town of Carlisle Face Mask Mandate



Acting under its authority stated in Mass. General Laws, Chapter III, Section 31, the Carlisle Board of
Health at a duly posted public meeting held on August 25, 2021, unanimously voted as follows:

          In response to the recent increase in positive COVID-19 cases in Carlisle and throughout
          Middlesex County, including break-through cases among those who have been fully vaccinated,
          the Carlisle Board of Health hereby adopts an indoor face mask mandate for all indoor public
          spaces, or private spaces open to the public within the Town of Carlisle except where an
          individual is unable to wear a face mask due to a medical condition or disability and in
          employee’s private work space where face masks are encouraged. This mandate will be revisited
          by the Board of Health in early October, 2021.

Massachusetts General Laws Chapter 111, Section 104 permits “the selectmen and the board of health
[to] use all possible care to prevent the spread of [an] infection” that is dangerous to public health. The
Board of Health therefor requests that the Carlisle Select Board also issue an emergency declaration for
the implementation of a local face mask mandate within the Town of Carlisle.1




1
    See Massachusetts General Laws Chapter 111, Sections 31 and 104

                                                                                                     BOH138
          Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 145 of 203




                                         Town of Carlisle
                                              Office of
                                       BOARD OF HEALTH
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                                        Carlisle, MA 01741                      Fax: (978) 369-4521



MEMORANDUM

To:               Carlisle Select Board
                  Town Administrator
                  Town Counsel
From:             Carlisle Board of Health
                  Tony Mariano, Chairman
Date:             October 12, 2021

In Re:            Town of Carlisle Face Mask Mandate



At a public meeting held on October 6, 2021, the Carlisle Board of Health revisited the Face Mask Mandate
for all indoor public spaces or private spaces open to the public within the Town of Carlisle as previously
planned. The Board of Health unanimously voted to continue the Face Mask Mandate and reconsider the
mandate in early November. The Board of Health recommends that the Select Board take the same
position.

The reasons for this recommendation are:

      •   The Board felt that the initial Face Mask Mandate was well timed and may have contributed to
          the continuing low number of COVID cases in Carlisle.

      •   The Board feels it would be prudent to parallel the state guidance in effect on the school campus

      •   The Board does not want to engage in constantly changing positions on face masks which would
          be confusing to residents and visitors.

      •   The Board will revisit the Face Mask Mandate again in early November which may also coincide
          with new guidance for the school.




                                                                                                   BOH139
          Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 146 of 203




                                        Town of Carlisle
                                             Office of
                                      BOARD OF HEALTH
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                                       Carlisle, MA 01741                     Fax: (978) 369-4521



MEMORANDUM

To:              Carlisle Select Board
                 Town Administrator
                 Town Counsel
From:            Carlisle Board of Health
                 Linda Fantasia, Health Agent
Date:            November 18, 2021

In Re:           Town of Carlisle Face Mask Mandate



At a public meeting held on November 17, 2021, the Carlisle Board of Health revisited the Face Mask
Mandate for all indoor public spaces or private spaces open to the public within the Town of Carlisle as
previously planned. The Board of Health voted to continue the Face Mask Mandate and to reconsider the
mandate in early December. The Board of Health recommends that the Select Board take the same
position.

The reasons for this recommendation are:

      •   Carlisle has an 83% vaccination rate among eligible residents
      •   While the vaccines are reducing the risk of severe illness, there has been a rise in the state
          positivity rate; this was not unexpected but remains a concern
      •   Middlesex County is still listed as high risk on the state data chart
      •   There have been some breakthrough cases (1.3%) of fully vaccinated individuals in the state
      •   Vaccinations for ages 5-11 are only starting so this population is not yet fully vaccinated
      •   Holiday gatherings and travel may present additional risks
      •   The Board will revisit the Face Mask Mandate again in early December.

The Board did approve one exception to the mandate for activities in which the performer and/or
officiant, if fully vaccinated, may remove his/her mask for the purpose of performing but must put the
mask back in place when not performing.




                                                                                                 BOH140
     Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 147 of 203




Since January 2020 Elsevier has created a COVID-19 resource centre with
free information in English and Mandarin on the novel coronavirus COVID-
  19. The COVID-19 resource centre is hosted on Elsevier Connect, the
             company's public news and information website.



   Elsevier hereby grants permission to make all its COVID-19-related
research that is available on the COVID-19 resource centre - including this
  research content - immediately available in PubMed Central and other
publicly funded repositories, such as the WHO COVID database with rights
for unrestricted research re-use and analyses in any form or by any means
   with acknowledgement of the original source. These permissions are
 granted for free by Elsevier for as long as the COVID-19 resource centre
                             remains active.




                                                                      BOH141
                    Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 148 of 203

                                                           Travel Medicine and Infectious Disease 36 (2020) 101751


                                                                   Contents lists available at ScienceDirect


                                                 Travel Medicine and Infectious Disease
                                                       journal homepage: www.elsevier.com/locate/tmaid




Eﬃcacy of face mask in preventing respiratory virus transmission: A                                                                                     T
systematic review and meta-analysis
Mingming Lianga,b,1, Liang Gaoc,1, Ce Chengd, Qin Zhoue, John Patrick Uyf, Kurt Heinerg,
Chenyu Sunf,∗
a
  Department of Epidemiology and Health Statistics, School of Public Health, Anhui Medical University, Hefei, 230032, Anhui, PR China
b
  Center for Evidence-Based Practice, Anhui Medical University, Hefei, 230032, Anhui, PR China
c
  Center of Experimental Orthopaedics, Saarland University Medical Center, Kirrberger Straße Building 37-38, D-66421, Homburg, Saar, Germany
d
  Department of Internal Medicine, Cape Fear Valley Medical Center, Fayetteville, 28304, NC, USA
e
  Mayo Clinic, Rochester, MN, 55905, USA
f
  AMITA Health Saint Joseph Hospital Chicago, Chicago, 60657, Illinois, USA
g
  Dignity Health Mercy Hospital, Merced, 95340, CA, USA




A R T I C LE I N FO                                       A B S T R A C T

Keywords:                                                 Background: Conﬂicting recommendations exist related to whether masks have a protective eﬀect on the spread
Facemask                                                  of respiratory viruses.
Respiratory virus                                         Methods: The Preferred Reporting Items for Systematic Reviews and Meta-Analysis (PRISMA) statement was
Inﬂuenza                                                  consulted to report this systematic review. Relevant articles were retrieved from PubMed, Web of Science,
SARS-CoV
                                                          ScienceDirect, Cochrane Library, and Chinese National Knowledge Infrastructure (CNKI), VIP (Chinese) data-
SARS-CoV-2
Prevention
                                                          base.
                                                          Results: A total of 21 studies met our inclusion criteria. Meta-analyses suggest that mask use provided a sig-
                                                          niﬁcant protective eﬀect (OR = 0.35 and 95% CI = 0.24–0.51). Use of masks by healthcare workers (HCWs) and
                                                          non-healthcare workers (Non-HCWs) can reduce the risk of respiratory virus infection by 80% (OR = 0.20, 95%
                                                          CI = 0.11–0.37) and 47% (OR = 0.53, 95% CI = 0.36–0.79). The protective eﬀect of wearing masks in Asia
                                                          (OR = 0.31) appeared to be higher than that of Western countries (OR = 0.45). Masks had a protective eﬀect
                                                          against inﬂuenza viruses (OR = 0.55), SARS (OR = 0.26), and SARS-CoV-2 (OR = 0.04). In the subgroups based
                                                          on diﬀerent study designs, protective eﬀects of wearing mask were signiﬁcant in cluster randomized trials and
                                                          observational studies.
                                                          Conclusions: This study adds additional evidence of the enhanced protective value of masks, we stress that the
                                                          use masks serve as an adjunctive method regarding the COVID-19 outbreak.




1. Introduction                                                                                the use of masks as appropriate personal protective equipment (PPE) is
                                                                                               often considered when preventing the spread of respiratory infections.
    Facemasks are recommended for diseases transmitted through dro-                            Experimental data shows that the micropores of mask block dust par-
plets and respirators for respiratory aerosols, yet recommendations and                        ticles or pathogens that are larger than the size of micropores [3]. For
terminology vary between guidelines. The concepts of droplet and                               example, the micropores of N95 masks materials are only 8 μm in
airborne transmission that are entrenched in clinical practice recently                        diameter, which can eﬀectively prevent the penetration of virions [4,5].
are more complex than previously thought. The concern is now in-                                   Although the aforementioned studies support the potential bene-
creasing in the face of the Coronavirus Disease 2019 (COVID-19) pan-                           ﬁcial eﬀect of masks, the substantial impact of masks on the spread of
demic [1]. The spread of respiratory viral infections (RVIs) occurs                            laboratory-diagnosed respiratory viruses remains controversial [6].
primarily through contact and droplet routes. And new evidence sug-                            Smith et al. indicated that there were insuﬃcient data to determine
gests severe acute respiratory syndrome coronavirus 2 (SARS-CoV-2)                             deﬁnitively whether N95 masks are superior to surgical masks in pro-
can remain viable and infectious in aerosols for hours [2]. Therefore,                         tecting healthcare workers (HCWs) against transmissible acute


    ∗
      Corresponding author. AMITA Health Saint Joseph Hospital Chicago, 2900 N. Lake Shore Drive, Chicago, 60657, Illinois, USA.
      E-mail address: drsunchenyu@yeah.net (C. Sun).
    1
      These authors contributed equally: Mingming Liang and Liang Gao.

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                   Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 149 of 203

M. Liang, et al.                                                                                                Travel Medicine and Infectious Disease 36 (2020) 101751




                                              Fig. 1. Flow diagram of the study search and selection process.


respiratory infections in clinical settings [7]. Another meta-analysis          select eligible studies, published before March 2020, from multiple
suggested that facemask provides a non-signiﬁcant protective eﬀect              electronic databases, including PubMed, Web of Science, Cochrane
(OR = 0.53, 95% CI 0.16–1.71, I2 = 48%) against the 2009 inﬂuenza               Library, and Chinese National Knowledge Infrastructure (CNKI), VIP
pandemic [8]. Xiao et al. concluded that masks did not support a sub-           (Chinese) database. Relevant Chinese technical terms for the Chinese
stantial eﬀect on the transmission of inﬂuenza from 7 studies [6]. On           databases were used to search for published articles (see Appendix 1,
the contrary, Jeﬀerson et al. suggested that wearing masks signiﬁcantly         for search details). Furthermore, references of all relevant articles and
decreased the spread of SARS (OR = 0.32; 95% CI 0.25–0.40;                      reviews were retrieved to search for additional eligible studies with full-
I2 = 58.4%) [9]. Up to date, existing evidence on the eﬀectiveness of           texts. After removing duplicates, all abstracts and titles were ﬁltered
the use of masks to prevent respiratory viral transmission contradicts          independently by two reviewers (M.L.; L.G.) and the full texts were
each other.                                                                     downloaded and meticulously appreciated. The two reviewers com-
    Therefore, we performed a systematic review and meta-analysis to            pared and discussed the results and consulted with the third reviewer
evaluate the eﬀectiveness of the use of masks to prevent laboratory-            (C.Y.S.), if necessary, to reach a consensus.
conﬁrmed respiratory virus transmission.

                                                                                2.2. Inclusion and exclusion criteria
2. Methods
                                                                                    The studies meeting the following criteria were included: (1) con-
2.1. Identiﬁcation and selection of studies                                     cerning the relationship between the face mask and preventing RVIs;
                                                                                (2) diagnosis of respiratory virus must have laboratory evidence, or the
    The Preferred Reporting Items for Systematic Reviews and Meta-              local clinical diagnostic criteria are applied during an acute large-scale
Analysis (PRISMA) statement was consulted to report this systematic             infectious disease when laboratory evidence might be not available; (3)
review. A comprehensive searching strategy was carefully designed to            complete data available of both cases and controls to calculate an odds

                                                                            2


                                                                                                                                                      BOH143
                   Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 150 of 203

M. Liang, et al.                                                                                            Travel Medicine and Infectious Disease 36 (2020) 101751


ratio (OR) with 95% conﬁdence interval (CI); (4) appropriate study               3.3. General protective eﬀects
design; (5) no language restrictions applied. The exclusive criteria were
as follows: (1) conferences/meetings abstracts, case reports, editorials,            The 21 studies, involving 8,686 participants, showed that masks
and review articles; (2) duplicate publication or overlapping studies; (3)       were generally eﬀective in preventing the spread of respiratory viruses.
studies with unavailable full texts.                                             After wearing a mask, the risk of contracting RVIs was signiﬁcantly
                                                                                 reduced, with the pooled OR was 0.35 and 95% CI = 0.24–0.51
2.3. Study quality assessment                                                    (I2 = 60%, M − H Random-eﬀect model) (Fig. 3).

    The Newcastle-Ottawa Scale (NOS) was used to evaluate the quality            3.4. HCWs vs. non-HCWs
of the case-control study and cohort study: study ratings of seven to
nine stars corresponded to high-quality, ﬁve to six stars to moderate                In the subgroup of HCWs, a more obvious protective eﬀect was
quality, and four stars or less to low quality [10]. The Jadad scale was         identiﬁed with the pooled OR of 0.20 (95% CI = 0.11–0.37, I2 = 59%)
used to evaluate the quality of randomized controlled study: study               (Fig. 4). In one study investigating COVID-19, the OR was 0.04
ratings of three to ﬁve corresponded to high-quality, and two or less to         (95%CI = 0.00–0.60) [35]. In the subgroup of non-HCW, also a pro-
low quality [11]. Three reviewers (M.L.; L.G.; C.Y.S.) completed as-             tective eﬀect was found with the pooled OR of 0.53 (95%
sessments independently and the disagreements were resolved by a                 CI = 0.36–0.79, I2 = 45%). A more detailed analysis found signiﬁcant
panel discussion with other reviewers.                                           eﬀects in both the household subgroup (OR = 0.60, 95%
                                                                                 CI = 0.37–0.97,I2 = 31%), and the non-household subgroup
                                                                                 (OR = 0.44, 95% CI = 0.33–0.59,I2 = 54%) (Table 4). One study
2.4. Statistical analysis
                                                                                 included both health care workers and family members of patients, with
                                                                                 the OR of 0.74 (95% CI: 0.29–1.90) [22].
    The association of mask use with subsequent RVIs was assessed with
odds ratios (ORs) with a 95% conﬁdence interval (CI). P values less
                                                                                 3.5. Asian countries vs. Western countries
than 0.05 were considered statistically signiﬁcant. Considering the
potential for inter-study heterogeneity, subgroup analysis were carried
                                                                                     By geographic locations, beneﬁcial protective eﬀects of wearing
out based on stratiﬁcation by occupations (HCWs or Non-HCWs),
                                                                                 masks were found both in Asia (OR = 0.31, 95% CI = 0.19–0.50,
countries, virus types, and study designs. Sensitivity analysis was per-
                                                                                 I2 = 65%), and in Western countries (OR = 0.45, 95% CI = 0.24–0.83,
formed by omitting individual studies to assess the stability of the meta-
                                                                                 I2 = 51%) (Table 4). For HCWs, wearing mask can signiﬁcantly reduce
analysis. The heterogeneity was assessed using the I2 statistic. The
                                                                                 the risk of RVIs in both Asian (OR = 0.21, 95% CI = 0.11–0.41,
heterogeneity was considered insigniﬁcance when P > 0.10 and
                                                                                 I2 = 64%) and Western countries (OR = 0.11, 95% CI = 0.02–0.51,
I2 < 50%. If the study lacked heterogeneity, the pooled OR estimate
                                                                                 I2 = 0%). For non-HCWs, similar protective eﬀects were also observed
was calculated using the ﬁxed-eﬀects model, otherwise the random-
                                                                                 in Asian (OR = 0.51, 95% CI = 0.34–0.78, I2 = 45%) and Western
eﬀects model was used [12]. Begg's and Egger's test were performed to
                                                                                 countries (OR = 0.46, 95% CI = 0.34–0.63, I2 = 57%).
quantitatively analyze the potential publication bias by Stata (version
14.0; Stata Corp, College Station, TX) software. The P values of Begg's
                                                                                 3.6. Subgroup analyses based on diﬀerent virus types
and Egger's test more than 0.05 implied no obvious publication bias in
this meta-analysis [13,14]. The meta-analysis was performed using
                                                                                    Masks had a protective eﬀect against inﬂuenza viruses (OR = 0.55,
Revman 5.3.5 (http://tech.cochrane.org/revman) [15].
                                                                                 95% CI = 0.39–0.76, I2 = 27%), SARS (OR = 0.26, 95%
                                                                                 CI = 0.18–0.37, I2 = 47%), and SARS-CoV-2 (OR = 0.04, 95%
3. Results                                                                       CI = 0.00–0.6, I2 = 0%) (Table 4). However, no signiﬁcant protective
                                                                                 eﬀects against H1N1 was shown (OR = 0.30, 95% CI = 0.08–1.16,
3.1. Characteristics of eligible studies                                         I2 = 51%).

    Following the literature search and screening (Fig. 1), a total of 21        3.7. Subgroup analyses based on diﬀerent study designs
studies which included 13 case-control studies, 6 cluster randomized
trials, and 2 cohort studies met our inclusion criteria [4,16–35]                   In the subgroups based on diﬀerent study designs, protective eﬀects
(Table 1). Among them, 12 studies investigated HCWs, 8 studies in-               of wearing mask were signiﬁcant in cluster randomized trials
vestigated non-healthcare professional populations, and the remaining            (OR = 0.65, 95% CI = 0.47–0.91, I2 = 20%) and observational studies
one study investigated HCWs and relatives of patients. Eleven studies            (OR = 0.24, 95% CI = 0.15–0.38, I2 = 54%) (Table 4).
were conducted in China (including 4 studies from Hong Kong, China),
6 in Western countries, and 4 in other Asian countries. And 4 studies            4. Discussion
investigated patients with respiratory virus, 7 studies investigated Se-
vere acute respiratory syndrome coronavirus (SARS-CoV), 12 studies                  This meta-analysis of the 21 studies provided the latest state-of-art
investigated inﬂuenza virus including 5 investigating the H1N1 virus,            evidence on the eﬃcacy of masks in preventing the transmission of
and 1 study investigated SARS-CoV-2.                                             RVIs. Our data show that the protective eﬀects of masks against RVIs
                                                                                 were not only signiﬁcant for both HCWs and non-HCWs, but also
3.2. Quality of studies                                                          consistent between Asian and Western populations.

    Inter-rater agreement of the quality of included studies was strong.         4.1. Mechanism of physical protection of masks
Tables 2 and 3 summarize the quality evaluations of the included stu-
dies. Funnel plots assessing the risk of publication bias are included in            The physical barrier provided by a mask can eﬀectively prevent the
Fig. 2. Neither Begg's test (z = 0.45, p = 0.651) nor Egger's test               respiratory tract from contacting the outside virus, thereby reducing the
(t = −0.65, p = 0.524) manifested any distinct evidence of the pub-              risk of respiratory virus infections [36]. A recent study showed that
lication bias. The sensitivity analyses did not substantially alter the          SARS-CoV-2 can travel up to 4 m (≈13 feet) from patients and be
pooled ORs by excluding one-by-one study, indicating that the meta-              widely distributed on daily objects (e.g. ﬂoors, computer mice, trash
analysis was generally robust.                                                   cans) [37]. Surgical masks are able to reduce inﬂuenza virus RNA in

                                                                             3


                                                                                                                                                  BOH144
                                                                                                                                                                                                                                                                  M. Liang, et al.




             Table 1
             Characteristics of eligible studies.
                     Study                    Year   Country         Virus               Mask type                   Type of Study        Population           Main ﬁndings & comments

                                                                             a
              1      Yin et al.               2004   China           SARS                Paper mask, cotton mask     Case-control study   Healthcare workers   Wearing a mask is eﬀective for medical personnel in preventing SARS hospital
                                                                                                                                                               infections.
                                                                             a
              2      Wu et al.                2004   China           SARS                Mask                        Case-control study   Population           The mask use lowered the risk for disease supports the community's use of this strategy
              3      Ma et al.                2004   China           SARSa               Mask                        Case-control study   Healthcare workers   Wearing masks is of great signiﬁcance to prevent respiratory infections. There are
                                                                                                                                                               many types of masks used clinically.
              4      Loeb et al.              2004   Canada          SARS                Medical Mask, N95           Case-control study   Healthcare workers   Consistently wearing a mask (either surgical or particulate respirator type N95) while
                                                                                                                                                               caring for a SARS patient was protective for the nurses.
                                                                             a
              5      Teleman et al.           2004   Singapore       SARS                N95                         Case-control study   Healthcare workers   Both hand washing and wearing of N95 masks remained strongly protective but gowns
                                                                                                                                                               and gloves did not aﬀect.
              6      Nishiura et al.          2005   Vietnam         SARS                Surgical mask               Case-control study   Employees and        Masks and gowns appeared to prevent SARS transmission.
                                                                                                                                          relative
              7      Wilder-Smith et al.      2005   Singapore       SARS                N95                         Case-control study   Healthcare workers   Asymptomatic SARS was associated with lower SARS antibody titers and higher use of
                                                                                                                                                               masks when compared to pneumonic SARS.
              8      MacIntyre et al.         2011   China           Respiratory virus   Medical Mask, N95 Fit       Cluster randomized   Healthcare workers   There was no signiﬁcant diﬀerence in outcomes between the N95 arms with and
                                                                                         tested, N95 non-ﬁt tested   trial                                     without ﬁt testing.
              9      Barasheed et al.         2014   Australia       Respiratory virus   Mask                        Cluster randomized   Pilgrims             The laboratory results did not show any diﬀerence between the ‘mask’ group and
                                                                                                                     trial                                     ‘control’ group.
              10     Sung et al.              2016   USA             Respiratory virus   Mask                        Cohort study         HSCT patients        The requirement that all individuals in direct contact with HSCT patients wear surgical
                                                                                                                                                               masks will reduce RVI.




         4
              11     Zhang et al.             2017   China           Respiratory virus   Masks                       Case-control study   Healthcare workers   Choosing the right disposable respirator also plays an important role in controlling
                                                                                                                                                               hospital viral infections.
              12     Cowling et al.           2008   China (Hong     Inﬂuenza virus      Mask                        Cluster randomized   Household            The laboratory-based or clinical secondary attack ratios did not signiﬁcantly diﬀer
                                                     Kong)                                                           trial                                     across the mask group and control group. Adherence to interventions was variable.
              13     Cowling et al.           2009   China (Hong     Inﬂuenza virus      Mask                        Cluster randomized   Household            Hand hygiene and facemasks seemed to prevent household transmission of inﬂuenza
                                                     Kong)                                                           trial                                     virus when implemented within 36 h of index patient symptom onset.
              14     Suess et al.             2012   Germany         Inﬂuenza virus      Mask                        Cluster randomized   Household            The secondary infection in the mask groups was signiﬁcantly lower compared to the
                                                                                                                     trial                                     control group.
              15     Aiello et al.            2012   USA             Inﬂuenza virus      Mask                        Cluster randomized   Student              Face masks and hand hygiene combined may reduce the rate of ILI and conﬁrmed
                                                                                                                     trial                                     inﬂuenza in community settings.
              16     Cheng et al.             2010   China (Hong     H1N1                Surgical mask               Case-control study   Healthcare workers   Not wearing a surgical mask during contact with the index case were found to be
                                                     Kong)                                                                                                     signiﬁcant risk factors for nosocomial acquisition of S-OIV.
              17     Jaeger et al.            2011   USA             H1N1                Mask or N95                 Cohort study         Healthcare workers   The use of a mask or N95 respirator was associated with remaining seronegative.
              18     Chokephaibulkit et al.   2012   Thailand        H1N1                Mask                        Case-control study   Healthcare workers   During the H1N1 outbreak in 2009, the wearing of masks by medical personnel was
                                                                                                                                                               not related to the infection. There was a weak association in the nurse subgroup.
              19     Zhang et al.             2012   China           H1N1                Mask                        Case-control study   Healthcare workers   The results suggest that the protective eﬀect of wearing a mask is not signiﬁcant.
              20     Zhang et al.             2013   China (Hong     H1N1                Mask                        Case-control study   Population           Wearing masks is a protective factor against H1N1 infection when taking a plane.
                                                     Kong)
              21     Wang et al.              2020   China           SARS-CoV-2          N95                         Case-control study   Healthcare workers   The 2019-nCoV infection rate for medical staﬀ was signiﬁcantly increased in the no-
                                                                                                                                                               mask group compared with the N95 respirator group (adjusted odds ratio (OR):
                                                                                                                                                               464.82, [95% CI: 97.73-inﬁnite]).

               a
                   Patients met local clinical diagnostic criteria during an acute large-scale infectious disease.
                                                                                                                                                                                                                                                                                                                   Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 151 of 203




BOH145
                                                                                                                                                                                                                                                         Travel Medicine and Infectious Disease 36 (2020) 101751
                        Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 152 of 203

M. Liang, et al.                                                                                                             Travel Medicine and Infectious Disease 36 (2020) 101751


Table 2
The quality of the case-control studies and cohort studies.
         Study                    Year   Selection   Comparability   Outcome    Starsa

  1      Yin et al.               2004   3           2               2          7
  2      Wu et al.                2004   4           2               2          8
  3      Ma et al.                2004   3           2               2          8
  4      Loeb et al.              2004   3           2               2          7
  5      Teleman et al.           2004   3           2               3          8
  6      Wilder-Smith et al.      2005   3           2               3          8
  7      Nishiura et al.          2005   4           2               1          7
  8      Cheng et al.             2010   3           2               3          8
  9      Jaeger et al.            2011   3           2               2          7
  10     Chokephaibulkit et al.   2012   3           2               2          7
  11     Zhang et al.             2012   3           2               3          8
  12     Zhang et al.             2013   4           2               1          7
  13     Sung et al.              2016   3           2               2          7
  14     Zhang et al.             2017   3           2               1          6
  15     Wang et al.              2020   3           1               1          5

  a
                                                                                                 Fig. 2. Funnel plot of mask-wearing and risk of laboratory-conﬁrmed re-
       Scoring by Newcastle-Ottawa Scale.
                                                                                                 spiratory viral infection.

respiratory droplets and coronavirus RNA in aerosols [38]. The SARS-
CoV-2 aerosol, mainly appearing in submicron region (dp between 0.25                             the risk of virus infection by 56% in non-household settings, indicating
and 1.0 μm) and supermicron region (dp > 2.5 μm) [39], can be ef-                                the potential beneﬁts of wearing masks for the general public.
fectively ﬁltered out from the inhaled air by either surgical masks or                           Moreover, signiﬁcant protective eﬀects were found in the study con-
N95 masks [3,40]. Comparison of the incidence of COVID-19 in Hon-                                ducted in the general population [17], indicating the potential beneﬁts
gkong, China with Spain, Italy, Germany, France, U.S., U.K., Singapore,                          of wearing masks for the general public. Interestingly, a recent COVID-
and South Korea showed that community-wide mask wearing may as-                                  19 dynamics modeling study suggested that broad adoption of even
sist in controlling COVID-19 with reduced emission of infected saliva                            relatively ineﬀective non-medical grade “social” masks may mean-
and respiratory droplets from mildly symptomatic patients [41].                                  ingfully reduce the community transmission and decrease peak hospi-
                                                                                                 talizations and deaths during the current COVID-19 pandemic [48].
                                                                                                 Although laboratory-conﬁrmed virus results show no diﬀerence be-
4.2. Protective eﬀects for both HCWs and non-HCWs                                                tween the mask group and the control group in a study investigating the
                                                                                                 wearing of masks by pilgrims, wearing masks reduced the risk of in-
    During the current COVID-19 pandemic, HCWs are facing the dan-                               ﬂuenza-like illness when people gather [4]. This diﬀerence between
gers inherent in close contact with index-patients [42]. In Italy, more                          laboratory-conﬁrmed cases and clinically diagnosed inﬂuenza-like ill-
than 2,600 HCWs have been infected by March 19, 2020, accounting for                             ness cases were likely due to an under-diagnosis of real cases caused by
8.3% of the country's total cases [43]. According to our analysis,                               too few nasal swabs collected for laboratory conﬁrmation. Zhang et al.
wearing masks signiﬁcantly reduced the risk of infection among HCWs                              conducted a case-control study and found that none of the passengers
by 80%. It is noteworthy that, none of the 278 HCWs wearing N95                                  always wearing masks on an international ﬂight were infected with
masks in quarantined areas were infected by SARS-CoV-2 yet, 10 of the                            H1N1 [32], and a recent case report [49] described a man who was
215 HCWs who did not wear masks in the open areas were infected                                  wearing a mask at international ﬂight and then tested positive for
[35]. Therefore, universal masking of HCWs at clinical settings is likely                        COVID-19, while 25 other people closest to him on the plane and ﬂight
to provide great beneﬁts for HCWs. especially during current COVID-19                            attendants were all tested negative, further demonstrating the beneﬁts
pandemic. Moreover, protective beneﬁts were also reported in hema-                               of wearing masks during public transportations [50].
topoietic stem cell transplant (HSCT) patients [33]. Besides, Sokol's                                Protective eﬀects were also found among household settings
study also found a reduced risk of hospital-acquired RVIs by putting                             showing a 40% reduced risk of RVIs. However, masking with prudent
surgical masks on all workers and visitors in every patient room on the                          implementation and high compliance is a prerequisite to ensure the
bone marrow transplant unit [44]. Accumulative data showed that                                  successful protection, which is practically challenging especially for
people with older age, immunosuppressed state and systematic com-                                non-HCWs. Two household studies included in our analysis reported
modities are at higher risk for severe COVID-19 infection [45–47], and                           low facemask adherence among household contacts [23,24], which
therefore, should be protected with proper measures (e.g. prophylactic                           might explain the poor protective eﬀects from these studies. In contrast,
masking) during the current pandemic. In addition, those who have                                Suess et al. reported a good compliance, which showed a signiﬁcant
close contact with those populations at high risks of contracting RVIs                           protective eﬀect [29]. These ﬁndings implicated that proper use of
should consider wearing masks as well.                                                           masks has an impact on the eﬀectiveness of preventing RVIs. Given that
    More importantly, our data showed that masks worn by non-HCWs                                most people in household settings were unlikely to strictly follow hand
can also eﬀectively prevent the spread of respiratory viruses and reduce

Table 3
The quality of randomized controlled studies.
                   Study                      Year              Randomization                Double-blind           Description of inclusion/exclusion criteria           Scoresa

  1                Cowling et al.             2008              2                            0                      1                                                     3
  2                Cowling et al.             2009              2                            0                      1                                                     3
  3                MacIntyre                  2011              2                            0                      1                                                     3
  4                Suess et al.               2012              2                            1                      1                                                     4
  5                Ailello                    2012              2                            1                      1                                                     4
  6                Barasheed et al.           2014              2                            0                      1                                                     3

  a
       Scoring by Jadad scale.

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                   Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 153 of 203

M. Liang, et al.                                                                                               Travel Medicine and Infectious Disease 36 (2020) 101751




                         Fig. 3. Forest plot of the overall eﬀect of mask-wearing on laboratory-conﬁrmed respiratory viral infection.


hygiene and mask use recommendations [23], re-evaluating the home                 and areas, regarding the general public wearing masks. We also ana-
quarantine strategy might be essential during the current COVID-19                lyzed its eﬀects based on diﬀerent geographic locations, showing that
pandemic [51,52].                                                                 wearing masks does provide protective eﬀects in both Asian countries
                                                                                  and western countries by 69% and 55%, respectively. Among HCWs, it
4.3. Protective eﬀects against inﬂuenza, SARS, and COVID-19                       reduced the risk in both Asian and western countries. Especially, for
                                                                                  non-healthcare populations, reduced risk of 54% was found in western
    The risk of inﬂuenza, SARS, and COVID-19 infection were reduced               countries, and a reduced risk of 49% was found in Asia. This would
by 45%, 74%, and 96% by wearing masks, respectively, which were                   suggest that the proper use of masks might play a signiﬁcant role in
consistent with previous meta-analyses during the SARS outbreaks                  public health eﬀorts to suppress the spread of RVIs, regardless of the
[9,53]. The previous systematic review from Xiao et al., though re-               geographic locations, especially during an outbreak.
porting non-signiﬁcant protection of masks against the inﬂuenza virus
[6], did not strictly follow the PRISMA statement and represented                 4.5. Limitations and future perspective
merely non-aggregated data. For example, there was one study [54]
included by Xiao et al. did not report a signiﬁcantly protection by                   The present meta-analysis still has several limitations. First, well-
wearing masks. However, it should be noted that the result of this study          designed high-quality prospective studies and studies of masking in the
was not convincing because the H1N1 pandemic broke out during the                 general public are still insuﬃcient. Second, Droplet-borne and airborne
study period, and the national hygiene campaign implemented at this               viruses are likely to cause large-scale transmissions among the pas-
time inﬂuenced all participants to wear masks [54].                               sengers within closed transportation vehicles [55]. However, relevant
    The insigniﬁcantly reduced risk of H1N1 infection following                   studies are relatively rare [32]. Third, this article included some studies
masking could be partially explained by the relatively small sample size          of SARS patients diagnosed according to clinical diagnostic criteria for
and multiple confounding factors (e.g. prior vaccination, hand hygiene,           SARS due to a low detection rate of RT-PCR [56]. The lack of suﬃcient
age, gender, and culture). Jeager et al., 2009 indicated that overall PPE         virologic evidence may aﬀect our conclusions. However, this eﬀect
use among HCWs was low; as more than 25% of HCWs in this study                    might not be signiﬁcant, as 92% of patients with clinical SARS for
reported they never used PPE in any patient encounter, and only 17%               whom paired sera were available had a > 4-fold rise in antibody titer to
reported wearing masks with every H1N1 patient encounter, which                   SARS-CoV [57]. Fourth, control subjects without masking are generally
could signiﬁcantly lower the sample size of data collected [27]. Also,            lacking in studies conducted in healthcare settings mainly due to the
the same study [27] indicated that the majority of HCWs had received              ethical issue. Future studies might choose HCWs from departments
regular seasonal inﬂuenza vaccination, which could play a role of                 without needs of masking as controls [26]. Fifth, our study didn't have
confounding factor contributing to protective eﬀects toward control               suﬃcient data for subgroup analysis of diﬀerent mask types since our
group. Additionally, during acute outbreak of H1N1, speciﬁc preventive            inclusion criteria mainly focused on masks versus no masks, which
measures were lagged behind H1N1 exposures. This could suggest that               might inherently omit studies that focused on eﬀectiveness of diﬀerent
HCWs might already have been infected before wearing masks, further               mask types. Though there were published studies that had shown dif-
decreasing the powers of data collected.                                          ferent speciﬁcations of masks and diﬀerent wearing methods may aﬀect
                                                                                  the protective eﬀect of masks [17,32]. And when the included studies
4.4. Consistent protective eﬀects between Asian and western countries             divided the time/frequency of wearing masks, we only included the
                                                                                  group of masks with the longest wearing/highest wearing frequency.
    Due to current controversial guidelines between diﬀerent countries            This might also ignore eﬀects of the short/infrequent mask-wearing. In

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                     Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 154 of 203

M. Liang, et al.                                                                                                 Travel Medicine and Infectious Disease 36 (2020) 101751




                   Fig. 4. Forest plot of the eﬀect of mask-wearing on laboratory-conﬁrmed respiratory viral infection among HCW and non-HCW.


Table 4                                                                                addition, the studies we included were mainly conducted in Asia,
Meta-analysis results of eﬀect of masks on laboratory-conﬁrmed respiratory             especially China, and more evidence from other countries is needed to
viral infection among diﬀerent subgroups.                                              support our views. Last but not least, information about other con-
                   Subgroup           Study     OR     95%CI       Heterogeneity       founding biases, such as vaccination, hand hygiene, age, gender, and
                                      numbers                                          culture, may aﬀect the protective eﬀect of masks.

  Overall          –                  21        0.35   0.24–0.51   60%
  HCW vs Non-      HCWs               12        0.20   0.11–0.37   59%
                                                                                       5. Conclusion
     HCWs          Non-HCWs           8         0.53   0.36–0.79   45%
  Non-HCWs         Household          3         0.60   0.37–0.97   31%                     The present systematic review and meta-analysis showed the gen-
                   Non-household      5         0.44   0.33–0.59   54%                 eral eﬃcacy of masks in preventing the transmission of RVIs. Such
  Countries        Asian              15        0.31   0.19–0.50   65%
                                                                                       protective eﬀects of masking are evidentiary for both healthcare and
                   Western            6         0.45   0.24–0.83   51%
  HCWs based       Asian              10        0.21   0.11–0.41   64%                 non-healthcare workers and consistent between Asian and Western
      on           Western            2         0.11   0.02–0.51   0%                  populations. More evidences are still needed to better clarify the ef-
      countries                                                                        fectiveness of masking in various circumstances.
  Non- HCWs        Asian              4         0.51   0.34–0.78   64%
      based on     Western            4         0.46   0.34–0.63   57%
      countries                                                                        Funding
  Virus types      Inﬂuenza virus     12        0.55   0.39–0.76   27%
                   SARS-CoV           7         0.26   0.18–0.37   47%                    This work was not supported by any funding.
                   SARS-CoV-2         1         0.04   0.00–0.60   0%
                   H1N1               5         0.30   0.08–1.16   51%
  Study designs    Cluster RCTs       6         0.65   0.47–0.91   20%                 CRediT authorship contribution statement
                   Observational      15        0.24   0.15–0.38   52%
                   studies(cohort
                                                                                           Mingming Liang: Conceptualization, Data curation, Formal ana-
                   and case control
                   studies)
                                                                                       lysis, Investigation, Methodology, Visualization, Writing - original
                                                                                       draft, Writing - review & editing. Liang Gao: Conceptualization, Data
HCW: Healthcare workers; Non-HCWs: Non-healthcare workers; RCT:                        curation, Formal analysis, Investigation, Methodology, Writing - ori-
Randomized control trial.                                                              ginal draft, Writing - review & editing. Ce Cheng: Investigation,

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                      Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 155 of 203

M. Liang, et al.                                                                                                                   Travel Medicine and Infectious Disease 36 (2020) 101751


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M. Liang, et al.                                                                                                                 Travel Medicine and Infectious Disease 36 (2020) 101751


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                                Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 157 of 203




                              The    NEW ENGLA ND JOURNAL                                                                    of    MEDICINE




                                                                                                         Perspective                october 29, 2020



                              Facial Masking for Covid-19 — Potential for “Variolation”
                              as We Await a Vaccine
                              Monica Gandhi, M.D., M.P.H., and George W. Rutherford, M.D.​​




                                      A
                                            s SARS-CoV-2 continues its global spread,                                         tween public masking and pan-
Facial Masking for Covid-19




                                            it’s possible that one of the pillars of Covid-19                                 demic control. Recent data from
                                                                                                                              Boston demonstrate that SARS-
                                            pandemic control — universal facial mask-                                         CoV-2 infections decreased among
                                      ing — might help reduce the severity of disease                                         health care workers after univer-
                                                                                                                              sal masking was implemented in
                                      and ensure that a greater propor-          tomatic infected people. The                 municipal hospitals in late March.
                                      tion of new infections are asymp-          Centers for Disease Control and                 SARS-CoV-2 has the protean
                                      tomatic. If this hypothesis is borne       Prevention (CDC) therefore rec-              ability to cause myriad clinical
                                      out, universal masking could be-           ommended on April 3 that the                 manifestations, ranging from a
                                      come a form of “variolation” that          public wear cloth face coverings             complete lack of symptoms to
                                      would generate immunity and                in areas with high rates of com-             pneumonia, acute respiratory dis-
                                      thereby slow the spread of the vi-         munity transmission — a recom-               tress syndrome, and death. Re-
                                      rus in the United States and else-         mendation that has been unevenly             cent virologic, epidemiologic, and
                                      where, as we await a vaccine.              followed across the United States.           ecologic data have led to the hy-
                                         One important reason for                    Past evidence related to other           pothesis that facial masking may
                                      population-wide facial masking             respiratory viruses indicates that           also reduce the severity of disease
                                      became apparent in March, when             facial masking can also protect the          among people who do become in-
                                      reports started to circulate describ-      wearer from becoming infected,               fected.3 This possibility is consis-
                                      ing the high rates of SARS-CoV-2           by blocking viral particles from             tent with a long-standing theory
                                      viral shedding from the noses              entering the nose and mouth.2 Epi-           of viral pathogenesis, which holds
                                      and mouths of patients who were            demiologic investigations conduct-           that the severity of disease is pro-
                                      presymptomatic or asymptomatic             ed around the world — especially             portionate to the viral inoculum
                                      — shedding rates equivalent to             in Asian countries that became               received. Since 1938, researchers
                                      those among symptomatic pa-                accustomed to population-wide                have explored, primarily in animal
                                      tients.1 Universal facial masking          masking during the 2003 SARS                 models, the concept of the lethal
                                      seemed to be a possible way to             pandemic — have suggested that               dose of a virus — or the dose at
                                      prevent transmission from asymp-           there is a strong relationship be-           which 50% of exposed hosts die


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     Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 158 of 203

P E R S PEC TIV E                                                                                     Facial Masking for Covid-19


          (LD50). With viral infections in         in environments with limited test-          in U.S. food-processing plants,
          which host immune responses              ing, suggests a shift from sympto-          where all workers were issued
          play a predominant role in viral         matic to asymptomatic infections.           masks each day and were required
          pathogenesis, such as SARS-CoV-2,        Another experiment in the Syrian            to wear them, the proportion of
          high doses of viral inoculum can         hamster model simulated surgi-              asymptomatic infections among
          overwhelm and dysregulate innate         cal masking of the animals and              the more than 500 people who
          immune defenses, increasing the          showed that with simulated mask-            became infected was 95%, with
          severity of disease. Indeed, down-       ing, hamsters were less likely to           only 5% in each outbreak experi-
          regulating immunopathology is            get infected, and if they did get           encing mild-to-moderate symp-
          one mechanism by which dexa-             infected, they either were asymp-           toms.3 Case-fatality rates in coun-
          methasone improves outcomes in           tomatic or had milder symptoms              tries with mandatory or enforced
          severe Covid-19 infection. As            than unmasked hamsters.                     population-wide masking have
          proof of concept of viral inocula           The most obvious way to spare            remained low, even with resur-
          influencing disease manifesta-           society the devastating effects of          gences of cases after lockdowns
          tions, higher doses of adminis-          Covid-19 is to promote measures             were lifted.
          tered virus led to more severe           to reduce both transmission and                 Variolation was a process
          manifestations of Covid-19 in a          severity of illness. But SARS-CoV-2         whereby people who were suscep-
          Syrian hamster model of SARS-            is highly transmissible, cannot             tible to smallpox were inoculated
          CoV-2 infection.4                        be contained by syndromic-based             with material taken from a vesi-
              If the viral inoculum matters        surveillance alone,1 and is proving         cle of a person with smallpox,
          in determining the severity of           difficult to eradicate, even in re-         with the intent of causing a mild
          SARS-CoV-2 infection, an addition-       gions that implemented strict ini-          infection and subsequent immu-
          al hypothesized reason for wear-         tial control measures. Efforts to           nity. Variolation was practiced only
          ing facial masks would be to re-         increase testing and containment            until the introduction of the va-
          duce the viral inoculum to which         in the United States have been              riola vaccine, which ultimately
          the wearer is exposed and the            ongoing and variably successful,            eradicated smallpox. Despite con-
          subsequent clinical impact of the        owing in part to the recent in-             cerns regarding safety, worldwide
          disease. Since masks can filter          crease in demand for testing.               distribution, and eventual uptake,
          out some virus-containing drop-             The hopes for vaccines are               the world has high hopes for a
          lets (with filtering capacity deter-     pinned not just on infection pre-           highly effective SARS-CoV-2 vac-
          mined by mask type),2 masking            vention: most vaccine trials include        cine, and as of early September,
          might reduce the inoculum that           a secondary outcome of decreas-             34 vaccine candidates were in
          an exposed person inhales. If this       ing the severity of illness, since          clinical evaluation, with hundreds
          theory bears out, population-wide        increasing the proportion of cas-           more in development.
          masking, with any type of mask           es in which disease is mild or                  While we await the results of
          that increases acceptability and         asymptomatic would be a public              vaccine trials, however, any pub-
          adherence,2 might contribute to          health victory. Universal masking           lic health measure that could in-
          increasing the proportion of SARS-       seems to reduce the rate of new             crease the proportion of asymp-
          CoV-2 infections that are asymp-         infections; we hypothesize that             tomatic SARS-CoV-2 infections
          tomatic. The typical rate of asymp-      by reducing the viral inoculum, it          may both make the infection less
          tomatic infection with SARS-CoV-2        would also increase the propor-             deadly and increase population-
          was estimated to be 40% by the           tion of infected people who re-             wide immunity without severe
          CDC in mid-July, but asymptom-           main asymptomatic.3                         illnesses and deaths. Reinfection
          atic infection rates are reported           In an outbreak on a closed Ar-           with SARS-CoV-2 seems to be rare,
          to be higher than 80% in settings        gentinian cruise ship, for example,         despite more than 8 months of
          with universal facial masking,           where passengers were provided              circulation worldwide and as sug-
          which provides observational evi-        with surgical masks and staff with          gested by a macaque model. The
          dence for this hypothesis. Coun-         N95 masks, the rate of asymptom-            scientific community has been
          tries that have adopted population-      atic infection was 81% (as com-             clarifying for some time the hu-
          wide masking have fared better           pared with 20% in earlier cruise            moral and cell-mediated compo-
          in terms of rates of severe Covid-       ship outbreaks without universal            nents of the adaptive immune
          related illnesses and death, which,      masking). In two recent outbreaks           response to SARS-CoV-2 and the


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     Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 159 of 203

PE R S P ECTIV E                                                                                                                   Facial Masking for Covid-19


          inadequacy of antibody-based se-           specific T-cell immunity between                This article was published on September 8,
                                                                                                     2020, at NEJM.org.
          roprevalence studies to estimate           people with asymptomatic infec-
          the level of more durable T-cell           tion and those with symptomatic                 1. Gandhi M, Yokoe DS, Havlir DV. Asymp-
          and memory B-cell immunity to              infection, as well as a demonstra-              tomatic transmission, the Achilles’ heel of
          SARS-CoV-2. Promising data have            tion of the natural slowing of                  current strategies to control Covid-19. N Engl
                                                                                                     J Med 2020;​382:​2158-60.
          been emerging in recent weeks              SARS-CoV-2 spread in areas with                 2. van der Sande M, Teunis P, Sabel R. Pro-
          suggesting that strong cell-medi-          a high proportion of asymptom-                  fessional and home-made face masks reduce
          ated immunity results from even            atic infections.                                exposure to respiratory infections among
                                                                                                     the general population. PLoS One 2008;​3(7):​
          mild or asymptomatic SARS-CoV-2               Ultimately, combating the pan-               e2618.
          infection,5 so any public health           demic will involve driving down                 3. Gandhi M, Beyrer C, Goosby E. Masks
          strategy that could reduce the se-         both transmission rates and se-                 do more than protect others during COVID-19:
                                                                                                     reducing the inoculum of SARS-CoV-2 to
          verity of disease should increase          verity of disease. Increasing evi-              protect the wearer. J Gen Intern Med 2020
          population-wide immunity as well.          dence suggests that population-                 July 31 (Epub ahead of print).
             To test our hypothesis that             wide facial masking might benefit               4. Imai M, Iwatsuki-Horimoto K, Hatta M,
                                                                                                     et al. Syrian hamsters as a small animal
          population-wide masking is one             both components of the response.                model for SARS-CoV-2 infection and coun-
          of those strategies, we need fur-            Disclosure forms provided by the au-          termeasure development. Proc Natl Acad Sci
          ther studies comparing the rate            thors are available at NEJM.org.                U S A 2020;​117:​16587-95.
                                                                                                     5. Sekine T, Perez-Potti A, Rivera-Ballester-
          of asymptomatic infection in areas                                                         os O, et al. Robust T cell immunity in conva-
                                                     From the Center for AIDS Research, Division
          with and areas without universal           of HIV, Infectious Diseases, and Global Medi-   lescent individuals with asymptomatic or
          masking. To test the variolation           cine, Department of Medicine (M.G.), and        mild COVID-19. Cell 2020 August 11 (Epub
                                                     the Division of Infectious Disease and Global   ahead of print).
          hypothesis, we will need more
                                                     Epidemiology, Department of Epidemiolo-
          studies comparing the strength             gy and Biostatistics (G.W.R.), University of    DOI: 10.1056/NEJMp2026913
          and durability of SARS-CoV-2–              California, San Francisco, San Francisco.       Copyright © 2020 Massachusetts Medical Society.
                                                                                                     Facial Masking for Covid-19




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                  Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 160 of 203

                                                                                                                                Original research


                                 Reduction of secondary transmission of




                                                                                                                                                                   BMJ Glob Health: first published as 10.1136/bmjgh-2020-002794 on 28 May 2020. Downloaded from http://gh.bmj.com/ on August 12, 2021 by guest. Protected by copyright.
                                 SARS-­CoV-2 in households by face
                                 mask use, disinfection and social
                                 distancing: a cohort study in
                                 Beijing, China
                                 Yu Wang,1 Huaiyu Tian,2 Li Zhang,1 Man Zhang,3 Dandan Guo,4 Wenting Wu,1
                                 Xingxing Zhang,3 Ge Lin Kan,5 Lei Jia,1 Da Huo,1 Baiwei Liu,1 Xiaoli Wang,1
                                 Ying Sun,1 Quanyi Wang,1 Peng Yang,3 C. Raina MacIntyre6,7



To cite: Wang Y, Tian H,         Abstract
Zhang L, et al. Reduction of                                                                       Summary box
                                 Introduction Transmission of COVID-19 within families
secondary transmission of        and close contacts accounts for the majority of epidemic
SARS-­CoV-2 in households by                                                                       What is already known?
                                 growth. Community mask wearing, hand washing and
face mask use, disinfection                                                                        ►► Mitigation of the COVID-19 pandemic depends solely
                                 social distancing are thought to be effective but there is
and social distancing: a                                                                              on non-­pharmaceutical interventions until drugs or
cohort study in Beijing,         little evidence to inform or support community members
                                                                                                      vaccines are available. Transmission of COVID-19
China. BMJ Global Health         on COVID-19 risk reduction within families.
                                                                                                      within families and close contacts accounts for
2020;5:e002794. doi:10.1136/     Methods A retrospective cohort study of 335 people in
                                                                                                      the majority of epidemic growth. Community mask
bmjgh-2020-002794                124 families and with at least one laboratory confirmed
                                                                                                      wearing, hand washing and social distancing are
                                 COVID-19 case was conducted from 28 February to 27
                                                                                                      thought to be effective but the evidence is not clear.
Handling editor Seye Abimbola    March 2020, in Beijing, China. The outcome of interest
                                 was secondary transmission of severe acute respiratory            What are the new findings?
Received 1 May 2020              syndrome coronavirus 2 (SARS-­CoV-2) within the family.           ►► The overall secondary attack rate in households was
Revised 9 May 2020               Characteristics and practices of primary cases, of well              23.0%. Face masks were 79% effective and disin-
Accepted 11 May 2020             family contacts and household hygiene practices were                 fection was 77% effective in preventing transmis-
                                 analysed as predictors of secondary transmission.                    sion, while close frequent contact in the household
                                 Results The secondary attack rate in families was 23.0%              increased the risk of transmission 18 times, and
                                 (77/335). Face mask use by the primary case and family               diarrhoea in the index patient increased the risk by
                                 contacts before the primary case developed symptoms                  four times. The results demonstrate the importance
                                 was 79% effective in reducing transmission (OR=0.21,                 of the pre-­symptomatic infectiousness of COVID-19
                                 95% CI 0.06 to 0.79). Daily use of chlorine or ethanol               patients and shows that wearing masks after illness
                                 based disinfectant in households was 77% effective                   onset does not protect.
                                 (OR=0.23, 95% CI 0.07 to 0.84). Wearing a mask after
                                 illness onset of the primary case was not significantly           What do the new findings imply?
                                 protective. The risk of household transmission was 18             ►► The findings inform universal face mask use and
                                 times higher with frequent daily close contact with the              social distancing, not just in public spaces, but in-
                                 primary case (OR=18.26, 95% CI 3.93 to 84.79), and four              side the household with members at risk of getting
                                 times higher if the primary case had diarrhoea (OR=4.10,             infected. This further supports universal face mask
                                 95% CI 1.08 to 15.60). Household crowding was not                    use, and also provides guidance on risk reduction for
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                                 significant.                                                         families living with someone in quarantine or isola-
employer(s)) 2020. Re-­use
permitted under CC BY-­NC. No    Conclusion The study confirms the highest risk of                    tion, and families of health workers, who may face
commercial re-­use. See rights   transmission prior to symptom onset, and provides the first          ongoing risk.
and permissions. Published by    evidence of the effectiveness of mask use, disinfection and
BMJ.                             social distancing in preventing COVID-19. We also found
For numbered affiliations see    evidence of faecal transmission. This can inform guidelines
end of article.                  for community prevention in settings of intense COVID-19
                                                                                                 Introduction
                                 epidemics.                                                      In the absence of a vaccine for COVID-19,
Correspondence to                                                                                non-­pharmaceutical interventions (NPIs) are
Dr Quanyi Wang;                                                                                  the only available disease control measures.
​wangquanyi@​protonmail.​com
 and
                                                                                                 We have shown that population level NPIs,
 Dr Peng Yang;                                                                                   including travel bans and the national emer-
 ​yangpengcdc@​163.​com                                                                          gency response, were effective in flattening

                                        Wang Y, et al. BMJ Global Health 2020;5:e002794. doi:10.1136/bmjgh-2020-002794                                        1
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             Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 161 of 203

BMJ Global Health

the COVID-19 epidemic curve in China.1 However,                  decreased, and lymphocyte count decreased at the




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the effect of other NPIs, such as mask use and hygiene           early stage of illness.
practices, have not been well studied in the COVID-19         2. Epidemiological criteria included: (a) visits to/living
pandemic.                                                        in Wuhan or cities around Wuhan or other commu-
   In the USA, the use of face masks in the community            nities which had already reported COVID-19 cases
has been recommended.2 It is thought that universal              in the 14 days prior to the onset of symptoms; (b)
face mask use (UFMU) may reduce outward transmis-                having contact with a person known to have infec-
sion from asymptomatically infected people and protect           tion with SARS-­CoV-2 in the 14 days prior to onset of
well people from becoming infected. However, the World           symptoms; (c) having contact with a person who had
Health Organization and Public Health England recom-             fever or respiratory symptoms and came from Wuhan
mend against UFMU on the grounds that there is little            or adjacent cities or other communities which had
evidence from randomised controlled trials to support            already reported COVID-19 cases in the 14 days prior
this. Some experts suggest that in a pandemic, the precau-       to onset of symptoms; (d) being one of the cluster
tionary principle should be used and UFMU encouraged             cases.
as it is unlikely to cause harm and may result in public        Suspected cases met one of the epidemiological criteria
health gain.3 4 In countries where personal protective        and any two of the clinical criteria, or met all of the clin-
equipment is scarce, people are making their own masks.       ical criteria. Confirmed cases were those suspected cases
   In China, over 70% of human-­       to-­
                                          human transmis-     who met one of the following criteria: (a) respiratory or
sion of severe acute respiratory syndrome coronavirus         blood specimen tested positive for SARS-­CoV-2 by real
2 (SARS-­  CoV-2) occurred in families.5 6However, data       time reverse transcriptase-­ polymerase chain reaction;
to inform COVID-19 risk reduction in households are           (b) virus in respiratory or blood specimen was highly
unavailable. Given epidemic growth is dominated by            homologous with known SARS-­        CoV-2 through gene
household transmission,5 6 studying the use of NPIs, such     sequencing.
as face masks, social distancing and disinfection in the
household setting, may inform community epidemic
control and prevent transmission of COVID-19 in               Data collection
households.                                                   A three part structured questionnaire was developed.
                                                              The first part included demographic and clinical infor-
                                                              mation of the primary case. The second part was mainly
                                                              focused on the primary case’s knowledge about and atti-
Methods                                                       tudes toward COVID-19, and their self-­reported practices
Study population and design                                   (mask wearing, social distancing, living arrangements)
We conducted a retrospective cohort study involving           and activities in the home. The third part was about
families of laboratory confirmed COVID-19 cases in            self-­reported behaviours of all family members, as well
Beijing, China. We defined family members as those who        as the family’s accommodation and household hygiene
had lived with primary cases in a house for 4 days before     practices from 4 days before the illness onset to the day
and for more than 24 hours after the primary cases devel-     the primary case was isolated, including room ventila-
oped illness related to COVID-19. As of 21 February 2020,     tion, room cleaning and disinfection. Close contact was
all laboratory confirmed COVID-19 cases reported in           defined as being within 1 m or 3 feet of the primary case,
Beijing were enrolled in our study and followed-­up. The      such as eating around a table or sitting together watching
outcome of interest was secondary transmission in the         TV. The frequency of contact, disinfection and ventila-
household. Families with secondary transmission were          tion was measured.
defined as those where some or all of the family members         After diagnosis, the primary case was hospitalised as
become infected within one incubation period (2 weeks)        per standard practice in Beijing. Eligible primary cases
of symptom onset of the primary case.                         and their family members were interviewed between 28
   To analyse the predictors of household transmission,       February and 8 March. Data on the primary case were
we compared families with and without secondary trans-        extracted from epidemiological investigating reports
mission for various measured risk factors, preventive         from Beijing Centre for Disease Prevention and Control
interventions and exposures.                                  and supplemented by interview.
                                                                 The clinical severity of the COVID-19 case was catego-
Definition of confirmed case                                  rised as mild, severe or critical. Mild disease included non-­
According to national prevention and control guideline        pneumonia and mild pneumonia cases. Severe disease
(fifth edition),7 confirmed cases were those who met the      was characterised by dyspnoea, respiratory frequency
clinical, epidemiological and laboratory testing criteria     ≥30/min, blood oxygen saturation ≤93%, PaO2/FiO2
for COVID-19 simultaneously.                                  ratio <300 and/or lung infiltrates >50% within 24–48
1. Clinical criteria included: (a) fever and/or one or        hours. Critical cases were those who exhibited respiratory
   more respiratory symptoms; (b) radiological evidence       failure, septic shock and/or multiple organ dysfunction/
   of pneumonia; (c) white blood cell count normal or         failure.8

2                                                            Wang Y, et al. BMJ Global Health 2020;5:e002794. doi:10.1136/bmjgh-2020-002794
                                                                                                                            BOH155
                 Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 162 of 203

                                                                                                                   BMJ Global Health

Statistical analysis                                                             Patient and public involvement




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Risk factors for secondary transmission were analysed by                         No patients or the public were involved in the study
characteristics of the primary case, characteristics of well                     design, setting the research questions, interpretation or
family members and household hygiene practices. Cate-                            writing up of results, or reporting of the research.
gorical variables are presented as counts and percentages,
and continuous variables as medians (IQR). The χ2 test
and Fisher exact test were applied to compare difference                         Results
between groups when necessary. A composite COVID-19                              As of 21 February 2020, 399 confirmed COVID-19 cases
knowledge score and hand hygiene score were created                              in 181 families were reported in Beijing. Four family clus-
with multiple sub-­   questions. A multivariable logistic                        ters were excluded because we were unable to determine
regression model was used to identify risk factors associ-                       whether there was secondary transmission or co-­expo-
ated with SARS-­CoV-2 household transmission. Univari-                           sure, leaving 177 families. After reviewing information
able analysis was first performed with all measures and                          in the epidemiological investigation reports and survey
only those variables significant at p<0.1 could be selected                      calls, 40 families were excluded as they did not meet the
in the following multivariable logistic regression analysis.                     study inclusion criteria. A further 13 families declined to
Backward elimination was performed to establish a final                          be interviewed and were also excluded, leaving 124 fami-
model retaining those with p<0.05 in the model. Statis-                          lies for study (figure 1).
tical analyses were performed using SAS software (V.9.4).                           Over the 2 weeks of follow-­up from onset of the primary
                                                                                 case, secondary transmission occurred in 41/124 fami-
Ethics statement                                                                 lies (77 secondary cases), and 83/124 families had no
As our study was embedded within the COVID-19 preven-                            secondary transmission. The overall secondary attack rate
tion and control practice within public health units, and                        in families was 23.0% (77/335). In the secondary trans-
the telephone interview was a supplementary survey of                            mission group, 41 primary cases caused 77 secondary
the epidemiological field investigation, ethics approval                         cases, with a median secondary case number in families
was not required. We obtained subjects’ verbal informed                          of 2 (IQR 1–2). In the secondary transmission group, the
consent before the start of the interviews.                                      secondary attack rate in children <18 years of age was
                                                                                 36.1% (13/36), compared with 69.6% (64/92) in adults,
                                                                                 and the difference between these two age groups was
                                                                                 significant (χ²=12.08, p<0.001). The median age of the 13
                                                                                 secondary child cases was 3 years (IQR 2–6), 12/13 were




Figure 1 Selection and inclusion of interviewing subjects. Summary of household enrolment, and inclusion and interview
response in the analysis of SARS-­CoV-2 household transmission in Beijing, China.

Wang Y, et al. BMJ Global Health 2020;5:e002794. doi:10.1136/bmjgh-2020-002794                                                         3
                                                                                                                                 BOH156
                Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 163 of 203

BMJ Global Health

Table 1      Characteristics of primary cases of COVID-19: univariable analysis




                                                                                                                                                             BMJ Glob Health: first published as 10.1136/bmjgh-2020-002794 on 28 May 2020. Downloaded from http://gh.bmj.com/ on August 12, 2021 by guest. Protected by copyright.
                                                                 Families without             Families with
                                              Total (n (%))      transmission (n (%))         transmission (n                    Unadjusted OR
Primary cases                                 (n=124)            (n=83)                       (%)) (n=41)            P value     (95% CI)
Age (years) (median (IQR))                    45.0 (35.7–60.0)   42.0 (34.0–57.5)             52.0 (39.3–61.0)       –           –
 <18                                         0                  0                            0                      –           –
 18–59                                       92 (74.2)          63 (75.9)                    29 (70.7)              –           Ref
 ≥60                                         32 (25.8)          20 (24.1)                    12 (29.3)              0.54        1.30 (0.56 to 3.02)
Sex                                           –                  –                            –                      –           –
 Men                                         61 (49.2)          40 (48.2)                    21 (51.2)              –           Ref
 Women                                       63 (50.8)          43 (51.8)                    20 (48.8)              0.75        0.89 (0.42 to 1.87)
Education level                               –                  –                            –                      –           –
 High school or lower                        26 (21.0)          18 (21.7)                    8 (19.5)               –           Ref
 Bachelor degree                             69 (55.6)          47 (56.6)                    22 (53.7)              0.53        0.75 (0.30 to 1.86)
 Graduate degree                             29 (23.4)          18 (21.7)                    11 (26.8)              0.65        0.77 (0.25 to 2.38)
Clinical severity                             –                  –                            –                      –           –
 Mild                                        96 (77.4)          63 (75.9)                    33 (80.4)              –           Ref
 Severe                                      20 (16.1)          16 (19.3)                    4 (9.8)                0.22        0.48 (0.15 to 1.54)
 Critical                                    8 (6.5)            4 (4.8)                      4 (9.8)                0.38        1.91 (0.45 to 8.13)
Fever (≥37.3℃)                                –                  –                            –                      –           –
 No                                          18 (14.5)          9 (10.8)                     9 (22.0)               –           Ref
 Yes                                         106 (85.5)         74 (89.2)                    32 (78.0)              0.11        0.43 (0.16 to 1.19)
Cough*                                        –                  –                            –                      –           –
 No                                          66 (53.2)          45 (54.2)                    21 (51.2)              –           Ref
 Yes                                         58 (46.8)          38 (45.8)                    20 (48.8)              0.75        1.13 (0.53 to 2.39)
Diarrhoea†                                    –                  –                            –                      –           –
 No                                          109 (87.9)         76 (91.6)                    33 (80.5)              –           Ref
 Yes                                         15 (12.1)          7 (8.4)                      8 (19.5)               0.08        2.63 (0.88 to 7.85)
Comorbidity                                   –                  –                            –                      –           –
 No                                          103 (83.1)         72 (86.7)                    31 (75.6)              –           Ref
 Yes                                         21 (16.9)          11 (13.3)                    10 (24.4)              0.13        2.11 (0.81 to 5.48)
Time interval from illness onset to first     3.0 (1.0–7.0)      3.0 (1.0–7.0)                4.0 (2.0–7.0)          –           –
hospital visit (days) (median (IQR))‡
 ≤2                                          47 (37.9)          35 (42.2)                    12 (29.3)              –           Ref
 >2                                          77 (62.1)          48 (57.8)                    29 (70.7)              0.17        1.76 (0.79 to 3.93)
Time interval from illness onset to medical 5.0 (2.0–7.0)        5.0 (2.0–7.0)                5.0 (3.0–9.0)          –           –
isolation (days) (median (IQR))
 ≤2                                          32 (25.8)          26 (31.3)                    6 (14.6)               –           Ref
 >2                                          92 (74.2)          57 (68.7)                    35 (85.4)              0.05        2.66 (1.00 to 7.12)
Time interval from illness onset to           7.0 (4.7–10.2)     7.0 (4.4–9.9)                8.0 (5.6–12.9)         –           –
laboratory confirmation (days) (median
(IQR))
 ≤3                                          16 (12.9)          13 (15.7)                    3 (7.3)                –           Ref
 >3                                          108 (87.1)         70 (84.3)                    38 (92.7)              0.20        2.35 (0.63 to 8.77)
Knowledge score on COVID-19 before            5 (0–9)            5 (0–9)                      5 (0–10)               –           –
illness onset (14 in total) (median (IQR))§
 ≥10                                         31 (25.0)          18 (21.7)                    13 (31.7)              –           Ref
 3–9                                         45 (36.3)          32 (38.6)                    13 (31.7)              0.24        0.56 (0.22 to 1.47)
 ≤2                                          48 (38.7)          33 (39.7)                    15 (36.6)              0.33        0.63 (0.25 to 1.61)
Self-­awareness of being infected with        –                  –                            –                      –           –
SARS-­CoV-2 when developed illness
 Likely                                      45 (36.3)          35 (42.2)                    10 (24.4)              –           Ref

                                                                                                                                             Continued

4                                                                           Wang Y, et al. BMJ Global Health 2020;5:e002794. doi:10.1136/bmjgh-2020-002794
                                                                                                                                            BOH157
                  Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 164 of 203

                                                                                                                       BMJ Global Health

 Table 1      Continued




                                                                                                                                                     BMJ Glob Health: first published as 10.1136/bmjgh-2020-002794 on 28 May 2020. Downloaded from http://gh.bmj.com/ on August 12, 2021 by guest. Protected by copyright.
                                                                        Families without         Families with
                                                 Total (n (%))          transmission (n (%))     transmission (n             Unadjusted OR
 Primary cases                                   (n=124)                (n=83)                   (%)) (n=41)       P value   (95% CI)
  Unlikely                                      79 (63.7)              48 (57.8)                31 (75.6)         0.06      2.26 (0.98 to 5.21)
 Knowledge of their own infectiousness           –                      –                        –                 –         –
 after illness onset
  Likely                                        84 (67.7)              62 (74.7)                22 (53.7)         –         Ref
  Unlikely                                      40 (32.3)              21 (25.3)                19 (46.3)         0.02      2.55 (1.16 to 5.61)
 Wear mask at home after illness onset¶          –                      –                        –                 –         –
  Never                                         41 (33.1)              24 (28.9)                17 (41.5)         –         Ref
  Sometimes                                     37 (29.8)              21 (25.3)                16 (39.0)         0.76      1.15 (0.46 to 2.87)
  All the time                                  46 (37.1)              38 (45.8)                8 (19.5)          0.02      0.30 (0.11 to 0.82)
 Self-­isolated after illness onset              –                      –                        –                 –         –
  Yes                                           79 (63.7)              58 (69.9)                21 (51.2)         –         Ref
  No                                            45 (36.3)              25 (30.1)                20 (48.8)         0.05      2.17 (1.00 to 4.70)
 Eat separately at home after illness onset      –                      –                        –                 –         –
  Yes                                           70 (56.5)              54 (65.1)                16 (39.0)         –         Ref
  No                                            54 (43.5)              29 (34.9)                25 (61.0)         0.008     2.86 (1.32 to 6.19)
 Eat with separate tableware                     –                      –                        –                 –         –
  Yes                                           81 (65.3)              58 (69.9)                23 (56.1)         –         Ref
  No                                            43 (34.7)              25 (30.1)                18 (43.9)         0.14      1.78 (0.82 to 3.88)
 Score on hand hygiene (8 in total) (with 11 8 (7–8)                    8 (7–8)                  7 (6–8)           –         –
 missing values) (median (IQR))
  ≥6                                            103 (91.2)             68 (93.2)                35 (87.5)         –         Ref
  4–5                                           7 (6.2)                4 (5.5)                  3 (7.5)           0.63      1.46 (0.31 to 6.88)
  ≤3                                            3 (2.6)                1 (1.3)                  2 (5.0)           0.28      3.88 (0.34 to 44.29)

 *Primary case ever had the symptom of cough when living with others at home.
 †Primary case ever had the symptom of diarrhoea (change of character of stool) when living with others at home.
 ‡Date on which cases self-­reported the appearance of either fever (≥37.3℃) or any respiratory symptom during epidemiological investigation. Date
 of hospital visit was the earliest date that cases sought medical service for COVID-19 related illness.
 §A composite variable involving the primary case’s knowledge on the infectivity of SARS-­CoV-2, contagious population, transmission route,
 susceptible population, incubation period, common symptoms and preventive measures.
 ¶Refers to the primary case or family members wearing a face mask at home, regardless of whether it was a N95 mask, disposable surgical mask or
 a common mask, including cloth mask. Wearing masks all the time means the primary case wears a mask all the time except when having dinner or
 sleeping at home.
 **A composite variable involving the primary case’s hand washing practice, including using running water, washing frequency, using sanitiser and
 under what conditions.



mild and 1/13 was asymptomatic. Of 64 secondary adult                                  onset, failing to self-­isolate and not eating separately
cases, 82.8% (53/64) were mild, 10.9% (7/64) were                                      were associated with transmission (table 1).
severe, 1.6% (1/64) was critical and 4.7% (3/64) were                               2. Behaviours of family members: having daily close con-
asymptomatic. No statistically significant difference was                              tact with the primary case at home, and number of
observed in clinical severity between 41 index adult cases                             family members wearing a mask in the home before
(table 1) and 64 secondary adult cases for the secondary                               and after the primary case’s illness onset date were as-
transmission group (p=0.18).                                                           sociated with transmission (table 2).
  The univariable analysis for association with secondary                           3. Household practices: frequency of using chlorine or
transmission of SARS-­CoV-2 within families is shown in                                ethanol based disinfectant for household cleaning
tables 1–3. Significant associations were:                                             and household ventilation duration were protective
1. Characteristics, behaviours and knowledge of the                                    (table 3).
   primary case: having diarrhoea, interval from illness                              In multivariable logistic regression model, four factors
   onset to medical isolation >2 days, self-­awareness of be-                       remained significantly associated with secondary trans-
   ing infected with SARS-­CoV-2 when the primary case                              mission. The primary case having diarrhoea in the home
   developed the illness, lack of knowledge of their own                            and daily close contact with the primary case in the home
   infectiousness, mask wearing in the home after illness                           increased the risk. Transmission was significantly reduced

Wang Y, et al. BMJ Global Health 2020;5:e002794. doi:10.1136/bmjgh-2020-002794                                                              5
                                                                                                                                      BOH158
               Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 165 of 203

BMJ Global Health

Table 2    Characteristics of well family members: univariable analysis




                                                                                                                                                               BMJ Glob Health: first published as 10.1136/bmjgh-2020-002794 on 28 May 2020. Downloaded from http://gh.bmj.com/ on August 12, 2021 by guest. Protected by copyright.
                                                                         Families without        Families with
                                                      Total (n (%))      transmission (n         transmission                    Unadjusted OR
Family members                                        (n=121)            (%)) (n=81)             (n (%)) (n=40)     P value      (95% CI)
Family size (median (IQR))                             4 (3–5)            3 (3–5)                 4 (3–6)           –            –
 ≤3                                                  56 (46.3)          41 (50.6)               15 (37.5)          –            Ref
 >3                                                  65 (53.7)          40 (49.4)               25 (62.5)          0.18         1.71 (0.79 to 3.71)
Close contact with primary cases at home (within       –                  –                       –                 –            –
1 m or 3 feet) (No of times)*
 0                                                   41 (33.9)          36 (44.4)                5 (12.5)          –            Ref
 1–3                                                 61 (50.4)          38 (46.9)               23 (57.5)          0.005        4.55 (1.57 to 13.20)
 ≥4                                                  19 (15.7)           7 (8.7)                12 (30.0)          <0.001       12.34 (3.30 to 46.23)
No of family members wearing mask at home              0 (0–1)            0 (0–2)                 0 (0–0)           –            –
before primary case’s illness onset date (median
(IQR))†
 None                                                90 (74.4)          54 (66.7)               36 (90.0)          –            Ref
 One or more                                         31 (25.6)          27 (33.3)                4 (10.0)          0.009        0.22 (0.07 to 0.69)
No of family members wearing mask at home after        1 (0–3)            2 (0–3)                 0 (0–3)           –            –
primary case’s illness onset date (median (IQR))‡
 None                                                47 (38.8)          26 (32.1)               21 (52.5)          –            Ref
 Some                                                38 (31.4)          24 (29.6)               14 (35.0)          0.47         0.72 (0.30 to 1.73)
 All                                                 36 (29.8)          31 (38.3)                5 (12.5)          0.004        0.20 (0.07 to 0.60)

*Family members stay with the primary case at a short distance (within 1 m or 3 feet) for more than 10 min at a time. For example, they have dinner
with the primary case around a table or watch TV sitting near.
†Before the primary case developed the illness, the primary case or his/her family contacts wear masks all the time at home.
‡When the primary case developed the illness, the primary case’s family contacts wear masks all the time living with the primary case at home.


by frequent use of chlorine or ethanol based disin-                            crowded and small. UFMU is a low risk intervention with
fectant in households and family members (including                            potential public health benefits.3 4 The results suggest
the primary case) wearing a mask at home before the                            that community face mask use is likely to be the most
primary case developed the illness (table 4).                                  effective inside the household during severe epidemics.
                                                                                  Almost a quarter of family members became infected,
Discussion                                                                     and the findings suggest that the risk was highest either
This study confirms that the highest risk of household                         before symptom onset or early in the clinical illness, as
transmission is prior to symptom onset, but that precau-                       most primary cases were hospitalised after diagnosis, and
tionary NPIs, such as mask use, disinfection and social                        interventions were not effective if applied after symptom
distancing in households can prevent COVID-19 trans-                           onset. In the univariate analysis, wearing a mask after
mission during the pandemic. This study is the first to                        illness onset was significant, but in multivariate anal-
confirm the effectiveness of mask use prior to symptom                         ysis, only wearing it before symptom onset was effec-
onset by family members, daily household disinfection                          tive. Viral load is highest in the 2 days before symptom
and social distancing in the home. This could inform                           onset and on the first day of symptoms, and up to 44%
precautionary guidelines for families to reduce intrafa-                       of transmission is during the pre-­symptomatic period in
milial transmission in areas where there is high commu-                        settings with substantial household clustering.10 11 This
nity transmission or other risk factors for COVID-19.                          supports UFMU, probably by reducing onward trans-
Household transmission is a major driver of epidemic                           mission from people in the pre-­       symptomatic phase
growth.5 6 Further, in countries where health system                           of the illness12 13 as well as protecting well mask users.
capacity is exhausted, many people with infection are                          Randomised clinical trials of face masks in the house-
required to self-­isolate at home, where their house-                          hold have confirmed protection against other respira-
hold contacts will be at risk of infection. In our study,                      tory viruses if compliant, if used within 36 hours of the
the median family size of the 124 families was 4 (range                        primary case symptom onset, and alone or in combi-
2–9), usually with children, parents and grandparents,                         nation with hand hygiene.14 15 This study now provides
which is similar to the social structure of most Chinese                       specific evidence for UFMU in settings of high epidemic
families.9 Therefore, the risk of SARS-­CoV-2 household                        growth to protect against COVID-19. In our study, 91.2%
transmission is high if a primary case was introduced and                      (103/113) of primary cases had a high score on hand
no measure was adopted. We showed that NPIs are effec-                         hygiene, but it was not effective, confirming the results
tive at preventing transmission, even in homes that are                        of previous randomised clinical trials which showed hand

6                                                                             Wang Y, et al. BMJ Global Health 2020;5:e002794. doi:10.1136/bmjgh-2020-002794
                                                                                                                                              BOH159
                 Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 166 of 203

                                                                                                                          BMJ Global Health

 Table 3     Characteristics of the residence and household practices: univariable analysis between two family groups




                                                                                                                                                         BMJ Glob Health: first published as 10.1136/bmjgh-2020-002794 on 28 May 2020. Downloaded from http://gh.bmj.com/ on August 12, 2021 by guest. Protected by copyright.
                                                                    Families without        Families with
 Residence and household                 Total (n (%))              transmission (n (%))    transmission (n (%))                 Unadjusted OR
 practices                               (n=121)                    (n=81)                  (n=40)                    P value    (95% CI)
 Residential area per capita (m2)        25.0 (17.3–35.0)           28.0 (18.0–35.8)        20.0 (16.9–31.8)          –          –
 (median (IQR))
  ≤20                                   50 (41.3)                  30 (37.1)               20 (50.0)                 –          Ref
  20–40                                 49 (40.5)                  36 (44.4)               13 (32.5)                 0.16       0.54 (0.23 to 1.27)
  ≥40                                   22 (18.2)                  15 (18.5)               7 (17.5)                  0.51       0.70 (0.24 to 2.02)
 No of bedrooms per person               0.7 (0.5–1.0)              0.7 (0.5–1.0)           0.7 (0.5–1.0)             –          –
 (median (IQR))
  ≥1                                    39 (32.2)                  28 (34.6)               11 (27.5)                 –          Ref
  <1                                    82 (67.8)                  53 (65.4)               29 (72.5)                 0.49       1.34 (0.59 to 3.08)
 No of washrooms (median (IQR))          1 (1–2)                    1 (1–2)                 1 (1–2)                   –          –
  2 or more                             34 (28.1)                  23 (28.4)               11 (27.5)                 –          Ref
  1                                     87 (71.9)                  58 (71.6)               29 (72.5)                 0.87       1.07 (0.46 to 2.49)
 Frequency of room cleaning (wet         –                          –                       –                                   –
 type)
  Once in 1–2 days                      83 (68.6)                  59 (72.8)               24 (60.0)                 –          Ref
  Once in >2 days                       38 (31.4)                  22 (27.2)               16 (40.0)                 0.11       1.90 (0.86 to 4.19)
 Frequency of chlorine or ethanol        –                          –                       –                         –          –
 based disinfectant use for house
 cleaning*
  Once in 2 or more days                86 (71.1)                  50 (61.7)               36 (90.0)                 –          Ref
  Once a day or more                    35 (28.9)                  31 (38.3)               4 (10.0)                  0.003      0.18 (0.06 to 0.55)
 Ventilation duration per day (hours) 2.0 (1.0–6.0)                 3.0 (1.5–8.0)           1.8 (1.0–4.0)             –          –
 (median (IQR))†
  >1                                    85 (70.2)                  62 (76.5)               23 (57.5)                 –          Ref
  ≤1                                    36 (29.8)                  19 (23.5)               17 (42.5)                 0.02       2.55 (1.14 to 5.70)

 *When cleaning the house, disinfectant which contains chlorine or ethanol is used to disinfect the floor, door and window handles, indoor air, tables
 and toilets.
 †Ventilation means the practice of opening the window to allow convection of indoor air.




 Table 4     Risk factors for SARS-­CoV-2 household transmission: multivariable analysis
 Risk factor                                                                               Adjusted OR          95% CI                  P value
 Primary case has diarrhoea                                                                –                    –                       –
  No                                                                                      –                    –                       Ref
  Yes                                                                                     4.10                 (1.08 to 15.60)         0.04
 Close contact at home with primary cases (within 1 m or 3 feet) (times)                   –                    –                       –
  0                                                                                       –                    –                       Ref
  1–3                                                                                     3.30                 (1.05 to 10.40)         0.04
  ≥4                                                                                      18.26                (3.93 to 84.79)         ＜0.001
 No of family members (including primary case) wearing a mask at home                      –                    –                       –
 before the primary case’s illness onset date
  None                                                                                    –                    –                       Ref
  1 or more                                                                               0.21                 (0.06 to 0.79)          0.02
 Frequency of chlorine or ethanol based disinfectant use for house                         –                    –                       –
 cleaning
  Once in 2 or more days                                                                  –                    –                       Ref
  Once a day or more                                                                      0.23                 (0.07 to 0.84)          0.03


Wang Y, et al. BMJ Global Health 2020;5:e002794. doi:10.1136/bmjgh-2020-002794                                                                    7
                                                                                                                                            BOH160
             Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 167 of 203

BMJ Global Health

hygiene alone did not protect against respiratory trans-       Author affiliations




                                                                                                                                                      BMJ Glob Health: first published as 10.1136/bmjgh-2020-002794 on 28 May 2020. Downloaded from http://gh.bmj.com/ on August 12, 2021 by guest. Protected by copyright.
                                                               1
missible viruses, but masks combined with hand hygiene          Institute for Infectious Disease and Endemic Disease Control, Beijing Center for
                                                               Disease Prevention and Control, Beijing Research Center for Preventive medicine,
did have effect.16                                             Beijing, China
   As the compliance of UFMU would be poor in the              2
                                                                State Key Laboratory of Remote Sensing Science, College of Global Change and
home, there was difficulty and also no necessity for           Earth System Science, Beijing Normal University, Beijing, China
                                                               3
everyone to wear masks at home. We recommended that             Office of Beijing Center for Global Health, Beijing Center for Disease Prevention
those families with members who were at risk of getting        and Control, Beijing Research Center for Preventive medicine, Beijing, China
                                                               4
                                                                Institute for nutrition and food hygiene, Beijing Center for Disease Prevention and
infected with SARS-­CoV-2 (such as ever having contact         Control, Beijing Research Center for Preventive medicine, Beijing, China
with a COVID-19 patient, medical workers caring for a          5
                                                                Department of Environmental and Occupational Health, School of Public Health,
COVID-19 patient or having a history of travelling to          University of Nevada, Las Vegas, Nevada, USA
                                                               6
high risk areas) should apply UFMU to reduce the risk of        Arizona State University College of Health Solutions, Phoenix, Arizona, USA
                                                               7
household transmission.                                         Kirby institute, Faculty of Medicine, the University of New South Wales, Sydney,
                                                               New South Wales, Australia
   This study showed that social distancing within the
home is effective and having close contact (within 1           Acknowledgements We thank the staff members in the district and municipal
m or 3 feet, such as eating around a table or sitting          Centres for Disease Prevention and Control, and medical settings in Beijing for
                                                               conducting field investigation, specimen collection, laboratory detection and case
together watching TV) is a risk factor for transmission.       reporting. We also thank all patients and families involved in the study.
The study also provides evidence of effectiveness of
                                                               Contributors All authors approved the final draft of the manuscript. The
chlorine or ethanol based household disinfection in            corresponding authors attests that all listed authors meet authorship criteria and
areas with high community transmission, or where one           that no others meeting the criteria have been omitted.
family member is a health worker, or where there is a          Funding This work was supported by Beijing Science and Technology Planning
risk of COVID-19, such as during home quarantine,              Project (Z201100005420010).
consistent with advice provided by local health author-        Competing interests None declared.
ities or organisations.17 Diarrhoea as a symptom in the        Patient and public involvement Patients and/or the public were not involved in
primary case is also a risk factor for SARS-­CoV-2 trans-      the design, or conduct, or reporting, or dissemination plans of this research.
mission within families, which highlights the impor-           Patient consent for publication Not required.
tance of disinfection of the bathroom and toilet, as well      Provenance and peer review Not commissioned; externally peer reviewed.
as closing the toilet lid when flushing to prevent aero-
                                                               Data availability statement No additional data available.
solisation of the virus.
                                                               Open access This is an open access article distributed in accordance with the
   Our study has limitations. Telephone interview has          Creative Commons Attribution Non Commercial (CC BY-­NC 4.0) license, which
inherent limitations, including recall bias. It would          permits others to distribute, remix, adapt, build upon this work non-­commercially,
take about 20 min to complete an interview, and 95%            and license their derivative works on different terms, provided the original work is
(118/124) of interviews were rated as informative by the       properly cited, appropriate credit is given, any changes made indicated, and the
                                                               use is non-­commercial. See: http://​creativecommons.​org/​licenses/​by-​nc/​4.​0/.
interviewers. The evaluation results of mask wearing were
reliable, but we did not collect data on the concentra-
tion of disinfectant used by families. The strengths of the
study were that we had complete follow-­up data and were
able to accurately ascertain the incidence of secondary        References
transmission in the cohort.                                      1 Tian H, Liu Y, Li Y, et al. An investigation of transmission control
                                                                   measures during the first 50 days of the COVID-19 epidemic in
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                                                                 2 Centers for Disease Control and Prevention. Recommendation
                                                                   regarding the use of cloth face coverings, especially in areas of
Conclusions                                                        significant community-­based transmission. Available: https://www.​
                                                                   cdc.​gov/​coronavirus/​2019-​ncov/​prevent-​getting-​sick/​cloth-​face-​
Household transmission in the pre-­    symptomatic or              cover.​html [Accessed 15 Apr 2020].
early symptomatic period of COVID-19 is a driver of              3 Greenhalgh T, Schmid MB, Czypionka T, et al. Face masks for the
                                                                   public during the covid-19 crisis. BMJ 2020;369:m1435.
epidemic growth and any measure aimed at reducing                4 Javid B, Weekes MP, Matheso NJ. Covid-19: should the public wear
this can flatten the curve. This study reinforces the              face masks? Yes—population benefits are plausible and harms
high risk of transmission in households but impor-                 unlikely. BMJ 2020;369:m1442.
                                                                 5 World Health Organization. Report of the WHO-­China joint mission
tantly shows that UFMU and hygiene measures can                    on coronavirus disease 2019 (COVID-19), 2020. Available: https://
significantly reduce the risk of household transmis-               www.​who.​int/​docs/​default-​source/​coronaviruse/​who-​china-​joint-​
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                                                                                                                                              BOH162
             Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 169 of 203


  Brief Communication
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Respiratory virus shedding in exhaled breath and
efficacy of face masks
Nancy H. L. Leung 1, Daniel K. W. Chu1, Eunice Y. C. Shiu1, Kwok-Hung Chan2, James J. McDevitt3,
Benien J. P. Hau1,4, Hui-Ling Yen 1, Yuguo Li5, Dennis K. M. Ip1, J. S. Malik Peiris1, Wing-Hong Seto1,6,
Gabriel M. Leung1, Donald K. Milton7,8 and Benjamin J. Cowling 1,8 ✉

We identified seasonal human coronaviruses, influenza                       medically attended ARIs and determining the potential efficacy of
viruses and rhinoviruses in exhaled breath and coughs of chil-              surgical face masks to prevent respiratory virus transmission.
dren and adults with acute respiratory illness. Surgical face
masks significantly reduced detection of influenza virus RNA                Results
in respiratory droplets and coronavirus RNA in aerosols, with               We screened 3,363 individuals in two study phases, ultimately
a trend toward reduced detection of coronavirus RNA in respi-               enrolling 246 individuals who provided exhaled breath samples
ratory droplets. Our results indicate that surgical face masks              (Extended Data Fig. 1). Among these 246 participants, 122 (50%)
could prevent transmission of human coronaviruses and influ-                participants were randomized to not wearing a face mask during
enza viruses from symptomatic individuals.                                  the first exhaled breath collection and 124 (50%) participants were
    Respiratory virus infections cause a broad and overlapping spec-        randomized to wearing a face mask. Overall, 49 (20%) voluntarily
trum of symptoms collectively referred to as acute respiratory virus        provided a second exhaled breath collection of the alternate type.
illnesses (ARIs) or more commonly the ‘common cold’. Although                  Infections by at least one respiratory virus were confirmed by
mostly mild, these ARIs can sometimes cause severe disease and              reverse transcription PCR (RT–PCR) in 123 of 246 (50%) partici-
death1. These viruses spread between humans through direct or               pants. Of these 123 participants, 111 (90%) were infected by human
indirect contact, respiratory droplets (including larger droplets that      (seasonal) coronavirus (n = 17), influenza virus (n = 43) or rhinovi-
fall rapidly near the source as well as coarse aerosols with aerody-        rus (n = 54) (Extended Data Figs. 1 and 2), including one participant
namic diameter >5 µm) and fine-particle aerosols (droplets and              co-infected by both coronavirus and influenza virus and another
droplet nuclei with aerodynamic diameter ≤5 µm)2,3. Although                two participants co-infected by both rhinovirus and influenza virus.
hand hygiene and use of face masks, primarily targeting contact and         These 111 participants were the focus of our analyses.
respiratory droplet transmission, have been suggested as important             There were some minor differences in characteristics of the 111
mitigation strategies against influenza virus transmission4, little is      participants with the different viruses (Table 1a). Overall, 24% of
known about the relative importance of these modes in the trans-            participants had a measured fever ≥37.8 °C, with patients with influ-
mission of other common respiratory viruses2,3,5. Uncertainties             enza more than twice as likely than patients infected with coronavi-
similarly apply to the modes of transmission of COVID-19 (refs. 6,7).       rus and rhinovirus to have a measured fever. Coronavirus-infected
    Some health authorities recommend that masks be worn by                 participants coughed the most with an average of 17 (s.d. = 30)
ill individuals to prevent onward transmission (source control)4,8.         coughs during the 30-min exhaled breath collection. The profiles
Surgical face masks were originally introduced to protect patients          of the participants randomized to with-mask versus without-mask
from wound infection and contamination from surgeons (the                   groups were similar (Supplementary Table 1).
wearer) during surgical procedures, and were later adopted to                  We tested viral shedding (in terms of viral copies per sample)
protect healthcare workers against acquiring infection from their           in nasal swabs, throat swabs, respiratory droplet samples and aero-
patients. However, most of the existing evidence on the filtering effi-     sol samples and compared the latter two between samples collected
cacy of face masks and respirators comes from in vitro experiments          with or without a face mask (Fig. 1). On average, viral shedding was
with nonbiological particles9,10, which may not be generalizable to         higher in nasal swabs than in throat swabs for each of coronavi-
infectious respiratory virus droplets. There is little information on       rus (median 8.1 log10 virus copies per sample versus 3.9), influenza
the efficacy of face masks in filtering respiratory viruses and reduc-      virus (6.7 versus 4.0) and rhinovirus (6.8 versus 3.3), respectively.
ing viral release from an individual with respiratory infections8, and      Viral RNA was identified from respiratory droplets and aerosols
most research has focused on influenza11,12.                                for all three viruses, including 30%, 26% and 28% of respiratory
    Here we aimed to explore the importance of respiratory droplet          droplets and 40%, 35% and 56% of aerosols collected while not
and aerosol routes of transmission with a particular focus on coro-         wearing a face mask, from coronavirus, influenza virus and rhino-
naviruses, influenza viruses and rhinoviruses, by quantifying the           virus-infected participants, respectively (Table 1b). In particular for
amount of respiratory virus in exhaled breath of participants with          coronavirus, we identified OC43 and HKU1 from both respiratory


1
 WHO Collaborating Centre for Infectious Disease Epidemiology and Control, School of Public Health, Li Ka Shing Faculty of Medicine, The University
of Hong Kong, Hong Kong, China. 2Department of Microbiology, Li Ka Shing Faculty of Medicine, The University of Hong Kong, Hong Kong, China.
3
  Department of Environmental Health, Harvard School of Public Health, Boston, MA, USA. 4Department of Surgery, Queen Mary Hospital, Hong Kong,
China. 5Department of Mechanical Engineering, The University of Hong Kong, Hong Kong, China. 6Department of Pathology, Hong Kong Baptist Hospital,
Hong Kong, China. 7Maryland Institute for Applied Environmental Health, School of Public Health, University of Maryland, College Park, MD, USA.
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  These authors jointly supervised this work: Donald K. Milton, Benjamin J. Cowling. ✉e-mail: bcowling@hku.hk

676                                                                         Nature Medicine | VOL 26 | May 2020 | 676–680 | www.nature.com/naturemedicine

                                                                                                                                        BOH163
               Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 170 of 203

NATuRE MEDicinE                                                                                                             Brief Communication
Table 1a | Characteristics of individuals with symptomatic coronavirus, influenza virus or rhinovirus infection
                                                                         All who provided exhaled breath                 Coronavirus                 Influenza virus            Rhinovirus
                                                                         (n = 246)                                       (n = 17)                    (n = 43)                   (n = 54)
                                                                         n (%)                                           n (%)                       n (%)                      n (%)
Female                                                                   144 (59)                                        13 (76)                     22 (51)                    30 (56)
Age group, years
   11–17                                                                 12 (5)                                          0 (0)                       8 (19)                     4 (7)
   18–34                                                                 114 (46)                                        10 (59)                     11 (26)                    24 (44)
   35–50                                                                 79 (32)                                         2 (12)                      16 (37)                    18 (33)
   51–64                                                                 35 (14)                                         4 (24)                      8 (19)                     5 (9)
   ≥ 65                                                                  6 (2)                                           1 (6)                       0 (0)                      3 (6)
Chronic medical conditions
   Any                                                                   49 (20)                                         5 (29)                      5 (12)                     10 (19)
   Respiratory                                                           18 (7)                                          0 (0)                       4 (9)                      3 (6)
Influenza vaccination
   Ever                                                                  94 (38)                                         6 (35)                      15 (35)                    20 (37)
   Current season                                                        23 (9)                                          2 (12)                      1 (2)                      4 (7)
   Previous season only                                                  71 (29)                                         4 (24)                      14 (33)                    16 (30)
Ever smoker                                                              31 (13)                                         1 (6)                       6 (14)                     6 (11)
Time since illness onset, h
   <24                                                                   22 (9)                                          0 (0)                       5 (12)                     2 (4)
   24–48                                                                 100 (41)                                        9 (53)                      13 (30)                    25 (46)
   48–72                                                                 85 (35)                                         8 (47)                      18 (42)                    20 (37)
   72–96                                                                 39 (16)                                         0 (0)                       7 (16)                     7 (13)
History of measured fever ≥37.8 °C                                       58 (24)                                         3 (18)                      17 (40)                    8 (15)
Measured fever ≥37.8 °C at presentation                                  36 (15)                                         2 (12)                      18 (42)                    2 (4)
   Measured body temperature (˚C) at enrollment                          36.8 (0.8)                                      36.9 (0.8)                  37.4 (0.9)                 36.6 (0.7)
  (mean, s.d.)
Symptoms at presentation
   Fever                                                                 111 (45)                                        10 (59)                     27 (63)                    16 (30)
   Cough                                                                 198 (80)                                        15 (88)                     40 (93)                    44 (81)
   Sore throat                                                           211 (86)                                        15 (88)                     31 (72)                    49 (91)
   Runny nose                                                            200 (81)                                        17 (100)                    36 (84)                    48 (89)
   Headache                                                              186 (76)                                        13 (76)                     30 (70)                    38 (70)
   Myalgia                                                               176 (72)                                        12 (71)                     31 (72)                    34 (63)
   Phlegm                                                                176 (72)                                        9 (53)                      34 (79)                    41 (76)
   Chest tightness                                                       64 (26)                                         3 (18)                      12 (28)                    9 (17)
   Shortness of breath                                                   103 (42)                                        6 (35)                      14 (33)                    25 (46)
   Chills                                                                100 (41)                                        8 (47)                      29 (67)                    16 (30)
   Sweating                                                              95 (39)                                         5 (29)                      18 (42)                    20 (37)
   Fatigue                                                               218 (89)                                        16 (94)                     38 (88)                    48 (89)
   Vomiting                                                              19 (8)                                          2 (12)                      5 (12)                     2 (4)
   Diarrhea                                                              17 (7)                                          2 (12)                      1 (2)                      6 (11)
Number of coughs during exhaled breath collection                        8 (14)                                          17 (30)                     8 (11)                     5 (9)
(mean, s.d.)
Seasonal coronavirus (n = 17), seasonal influenza virus (n = 43) and rhinovirus (n = 54) infections were confirmed in individuals with acute respiratory symptoms by RT–PCR in any samples (nasal swab,
throat swab, respiratory droplets and aerosols) collected.




droplets and aerosols, but only identified NL63 from aerosols and                                      masks, respectively, but did not detect any virus in respiratory drop-
not from respiratory droplets (Supplementary Table 2 and Extended                                      lets or aerosols collected from participants wearing face masks, this
Data Fig. 3).                                                                                          difference was significant in aerosols and showed a trend toward
   We detected coronavirus in respiratory droplets and aerosols in 3                                   reduced detection in respiratory droplets (Table 1b). For influenza
of 10 (30%) and 4 of 10 (40%) of the samples collected without face                                    virus, we detected virus in 6 of 23 (26%) and 8 of 23 (35%) of the

Nature Medicine | VOL 26 | May 2020 | 676–680 | www.nature.com/naturemedicine                                                                                                                         677
                                                                                                                                                                                     BOH164
            Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 171 of 203

Brief Communication                                                                                                               NATuRE MEDicinE

              a                                                              Coronavirus
                                       1010

                                                                                P = 0.07                                    P = 0.02
                                       108
             Virus copies per sample




                                       106


                                       104


                                       102


                                       100

                                              Nasal   Throat          Droplet                 Droplet             Aerosol               Aerosol
                                              swab    swab       particles >5 µm,        particles >5 µm,    particles ≤5 µm,      particles ≤5 µm,
                                                                  without mask              with mask         without mask            with mask
                                                                              Sample type


                                                                             Influenza virus
              b 1010

                                                                                P = 0.01                                    P = 0.26
                                       108
             Virus copies per sample




                                       106


                                       104


                                       102


                                       100

                                              Nasal   Throat          Droplet                 Droplet             Aerosol               Aerosol
                                              swab    swab       particles >5 µm,        particles >5 µm,    particles ≤5 µm,      particles ≤5 µm,
                                                                  without mask              with mask         without mask            with mask
                                                                              Sample type


              c                                                                Rhinovirus
                                       1010

                                                                                P = 0.44                                    P = 0.12
                                       108
             Virus copies per sample




                                       106


                                       104


                                       102


                                       100

                                              Nasal   Throat          Droplet                 Droplet             Aerosol               Aerosol
                                              swab    swab       particles >5 µm,        particles >5 µm,    particles ≤5 µm,      particles ≤5 µm,
                                                                  without mask              with mask         without mask            with mask
                                                                              Sample type


Fig. 1 | Efficacy of surgical face masks in reducing respiratory virus shedding in respiratory droplets and aerosols of symptomatic individuals
with coronavirus, influenza virus or rhinovirus infection. a–c, Virus copies per sample collected in nasal swab (red), throat swab (blue) and respiratory
droplets collected for 30min while not wearing (dark green) or wearing (light green) a surgical face mask, and aerosols collected for 30min while not
wearing (brown) or wearing (orange) a face mask, collected from individuals with acute respiratory symptoms who were positive for coronavirus (a),
influenza virus (b) and rhinovirus (c), as determined by RT–PCR in any samples. P values for mask intervention as predictor of log10 virus copies per
sample in an unadjusted univariate Tobit regression model which allowed for censoring at the lower limit of detection of the RT–PCR assay are shown,
with significant differences in bold. For nasal swabs and throat swabs, all infected individuals were included (coronavirus, n=17; influenza virus, n=43;
rhinovirus, n=54). For respiratory droplets and aerosols, numbers of infected individuals who provided exhaled breath samples while not wearing or
wearing a surgical face mask, respectively were: coronavirus (n=10 and 11), influenza virus (n=23 and 28) and rhinovirus (n=36 and 32). A subset
of participants provided exhaled breath samples for both mask interventions (coronavirus, n=4; influenza virus, n=8; rhinovirus, n=14). The box
plots indicate the median with the interquartile range (lower and upper hinge) and ±1.5×interquartile range from the first and third quartile (lower and
upper whiskers).



678                                                                                 Nature Medicine | VOL 26 | May 2020 | 676–680 | www.nature.com/naturemedicine

                                                                                                                                                 BOH165
               Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 172 of 203

NATuRE MEDicinE                                                                                                                Brief Communication
Table 1b | Efficacy of surgical face masks in reducing respiratory virus frequency of detection and viral shedding in respiratory
droplets and aerosols of symptomatic individuals with coronavirus, influenza virus or rhinovirus infection
                                                    Droplet particles >5 μm                                                                     Aerosol particles ≤5 μm
Virus type             Without surgical face mask                With surgical face mask                 P          Without surgical face mask               With surgical face mask                 P
                            Detection of virus
                       No. positive/no. total (%)                No. positive/no. total (%)                         No. positive/no. total (%)               No. positive/no. total (%)
Coronavirus            3 of 10 (30)                              0 of 11 (0)                             0.09       4 of 10 (40)                             0 of 11 (0)                             0.04
Influenza virus 6 of 23 (26)                                     1 of 27 (4)                             0.04       8 of 23 (35)                             6 of 27 (22)                            0.36
Rhinovirus             9 of 32 (28)                              6 of 27 (22)                            0.77       19 of 34 (56)                            12 of 32 (38)                           0.15
                       Viral load (log10 virus copies per sample)
                       Median (IQR)                              Median (IQR)                                       Median (IQR)                             Median (IQR)
Coronavirus            0.3 (0.3, 1.2)                            0.3 (0.3, 0.3)                          0.07       0.3 (0.3, 3.3)                           0.3 (0.3, 0.3)                          0.02
Influenza virus 0.3 (0.3, 1.1)                                   0.3 (0.3, 0.3)                          0.01       0.3 (0.3, 3.0)                           0.3 (0.3, 0.3)                          0.26
Rhinovirus             0.3 (0.3, 1.3)                            0.3 (0.3, 0.3)                          0.44       1.8 (0.3, 2.8)                           0.3 (0.3, 2.4)                          0.12
P values for comparing the frequency of respiratory virus detection between the mask intervention were obtained by two-sided Fisher’s exact test and (two-sided) P values for mask intervention as
predictor of log10 virus copies per sample were obtained by an unadjusted univariate Tobit regression model, which allowed for censoring at the lower limit of detection of the RT–PCR assay, with significant
differences in bold. Undetectable values were imputed as 0.3 log10 virus copies per sample. IQR, interquartile range.




respiratory droplet and aerosol samples collected without face                                           size fractionation) collected from hospitals treating patients with
masks, respectively. There was a significant reduction by wearing                                        severe acute respiratory syndrome and Middle East respiratory
face masks to 1 of 27 (4%) in detection of influenza virus in respira-                                   syndrome, but ours demonstrates detection of human seasonal
tory droplets, but no significant reduction in detection in aerosols                                     coronaviruses in exhaled breath, including the detection of OC43
(Table 1b). Moreover, among the eight participants who had influ-                                        and HKU1 from respiratory droplets and NL63, OC43 and HKU1
enza virus detected by RT–PCR from without-mask aerosols, five                                           from aerosols.
were tested by viral culture and four were culture-positive. Among                                           Our findings indicate that surgical masks can efficaciously reduce
the six participants who had influenza virus detected by RT–PCR                                          the emission of influenza virus particles into the environment in
from with-mask aerosols, four were tested by viral culture and two                                       respiratory droplets, but not in aerosols12. Both the previous and
were culture-positive. For rhinovirus, there were no significant dif-                                    current study used a bioaerosol collecting device, the Gesundheit-II
ferences between detection of virus with or without face masks, both                                     (G-II)12,15,19, to capture exhaled breath particles and differentiated
in respiratory droplets and in aerosols (Table 1b). Conclusions were                                     them into two size fractions, where exhaled breath coarse particles
similar in comparisons of viral shedding (Table 1b). In addition,                                        >5 μm (respiratory droplets) were collected by impaction with a
we found a significant reduction in viral shedding (Supplementary                                        5-μm slit inertial Teflon impactor and the remaining fine particles
Table 2) in respiratory droplets for OC43 (Extended Data Fig. 4)                                         ≤5 μm (aerosols) were collected by condensation in buffer. We also
and influenza B virus (Extended Data Fig. 5) and in aerosols for                                         demonstrated the efficacy of surgical masks to reduce coronavi-
NL63 (Extended Data Fig. 4).                                                                             rus detection and viral copies in large respiratory droplets and in
    We identified correlations between viral loads in different                                          aerosols (Table 1b). This has important implications for control of
samples (Extended Data Figs. 6–8) and some evidence of declines                                          COVID-19, suggesting that surgical face masks could be used by ill
in viral shedding by time since onset for influenza virus but not                                        people to reduce onward transmission.
for coronavirus or rhinovirus (Extended Data Fig. 9). In univari-                                            Among the samples collected without a face mask, we found that
able analyses of factors associated with detection of respiratory                                        the majority of participants with influenza virus and coronavirus
viruses in various sample types, we did not identify significant                                         infection did not shed detectable virus in respiratory droplets or
association in viral shedding with days since symptom onset                                              aerosols, whereas for rhinovirus we detected virus in aerosols in 19
(Supplementary Table 3) for respiratory droplets or aerosols                                             of 34 (56%) participants (compared to 4 of 10 (40%) for coronavi-
(Supplementary Tables 4–6).                                                                              rus and 8 of 23 (35%) for influenza). For those who did shed virus
    A subset of participants (72 of 246, 29%) did not cough at all dur-                                  in respiratory droplets and aerosols, viral load in both tended to be
ing at least one exhaled breath collection, including 37 of 147 (25%)                                    low (Fig. 1). Given the high collection efficiency of the G-II (ref. 19)
during the without-mask and 42 of 148 (28%) during the with-mask                                         and given that each exhaled breath collection was conducted for
breath collection. In the subset for coronavirus (n = 4), we did not                                     30 min, this might imply that prolonged close contact would be
detect any virus in respiratory droplets or aerosols from any partici-                                   required for transmission to occur, even if transmission was primar-
pants. In the subset for influenza virus (n = 9), we detected virus in                                   ily via aerosols, as has been described for rhinovirus colds20. Our
aerosols but not respiratory droplets from one participant. In the                                       results also indicate that there could be considerable heterogene-
subset for rhinovirus (n = 17), we detected virus in respiratory drop-                                   ity in contagiousness of individuals with coronavirus and influenza
lets from three participants, and we detected virus in aerosols in five                                  virus infections.
participants.                                                                                                The major limitation of our study was the large proportion of
                                                                                                         participants with undetectable viral shedding in exhaled breath
Discussion                                                                                               for each of the viruses studied. We could have increased the sam-
Our results indicate that aerosol transmission is a potential mode                                       pling duration beyond 30 min to increase the viral shedding being
of transmission for coronaviruses as well as influenza viruses and                                       captured, at the cost of acceptability in some participants. An
rhinoviruses. Published studies detected respiratory viruses13,14 such                                   alternative approach would be to invite participants to perform
as influenza12,15 and rhinovirus16 from exhaled breath, and the detec-                                   forced coughs during exhaled breath collection12. However, it was
tion of SARS-CoV17 and MERS-CoV18 from air samples (without                                              the aim of our present study to focus on recovering respiratory

Nature Medicine | VOL 26 | May 2020 | 676–680 | www.nature.com/naturemedicine                                                                                                                             679
                                                                                                                                                                                       BOH166
             Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 173 of 203

Brief Communication                                                                                                                     NATuRE MEDicinE

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tion, acknowledgements, peer review information; details of author                      new method for sampling and detection of exhaled respiratory virus aerosols.
contributions and competing interests; and statements of data and                       Clin. Infect. Dis. 46, 93–95 (2008).
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680                                                                                 Nature Medicine | VOL 26 | May 2020 | 676–680 | www.nature.com/naturemedicine

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               Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 174 of 203

NATuRE MEDicinE                                                                                                  Brief Communication
Methods                                                                                       correlation between viral shedding in nose swabs, throat swabs, respiratory droplets
Study design. Participants were recruited year-round from March 2013 through May              and aerosols and factors affecting viral shedding in respiratory droplets and aerosols.
2016 in a general outpatient clinic of a private hospital in Hong Kong. As routine                We identified three groups of respiratory viruses with the highest frequency of
practice, clinic staff screened all individuals attending the clinics for respiratory and     infection as identified by RT–PCR, namely coronavirus (including NL63, OC43,
any other symptoms regardless of the purpose of the visit at triage. Study staff then         HKU1 and 229E), influenza virus and rhinovirus, for further statistical analyses. We
approached immediately those who reported at least one of the following symptoms              defined viral shedding as log10 virus copies per sample and plotted viral shedding in
of ARI for further screening: fever ≥37.8 °C, cough, sore throat, runny nose,                 each sample (nasal swab, throat swab, respiratory droplets and aerosols); the latter
headache, myalgia and phlegm. Individuals who reported ≥2 ARI symptoms, within                two were stratified by mask intervention. As a proxy for the efficacy of face masks
3 d of illness onset and ≥11 years of age were eligible to participate. After explaining      in preventing transmission of respiratory viruses via respiratory droplet and aerosol
the study to and obtaining informed consent from the participants, a rapid influenza          routes, we compared the respiratory virus viral shedding in respiratory droplet and
diagnostic test, the Sofia Influenza A + B Fluorescent Immunoassay Analyzer (cat.             aerosol samples between participants wearing face masks or not, by comparing the
no. 20218, Quidel), was used to identify influenza A or B virus infection as an               frequency of detection with a two-sided Fisher’s exact test and by comparing viral
incentive to participate. All participants provided a nasal swab for the rapid test           load (defined as log10 virus copies per sample) by an unadjusted univariate Tobit
and an additional nasal swab and a separate throat swab for subsequent virologic              regression model, which allowed for censoring at the lower limit of detection of the
confirmation at the laboratory. All participants also completed a questionnaire to            RT–PCR assay. We also used the unadjusted univariate Tobit regression to investigate
record basic information including age, sex, symptom severity, medication, medical            factors affecting viral shedding in respiratory droplets and aerosols without mask use,
conditions and smoking history. In the first phase of the study from March 2013 to            for example age, days since symptom onset, previous influenza vaccination, current
February 2014 (‘Influenza Study’), the result of the rapid test was used to determine         medication and number of coughs during exhaled breath collection. We investigated
eligibility for further participation in the study and exhaled breath collection, whereas     correlations between viral shedding in nasal swab, throat swab, respiratory droplets
in the second phase of the study from March 2014 to May 2016 (‘Respiratory Virus              and aerosols with scatter-plots and calculated the Spearman’s rank correlation
Study’), the rapid test did not affect eligibility. Eligible participants were then invited   coefficient between any two types of samples. We imputed 0.3 log10 virus copies ml−1
to provide an exhaled breath sample for 30 min in the same clinic visit.                      for undetectable values before transformation to log10 virus copies per sample. All
     Before exhaled breath collection, each participant was randomly allocated in             analyses were conducted with R v.3.6.0 (ref. 22) and the VGAM package v.1.1.1 (ref. 23).
a 1:1 ratio to either wearing a surgical face mask (cat. no. 62356, Kimberly-Clark)
or not during the collection. To mimic the real-life situation, under observation by          Reporting Summary. Further information on research design is available in the
the study staff, participants were asked to attach the surgical mask themselves, but          Nature Research Reporting Summary linked to this article.
instruction on how to wear the mask properly was given when the participant wore
the mask incorrectly. Participants were instructed to breathe as normal during                Data availability
the collection, but (natural) coughing was allowed and the number of coughs was               Anonymized raw data and R syntax to reproduce all the analyses, figures, tables
recorded by study staff. Participants were then invited to provide a second exhaled           and supplementary tables in the published article are available at: https://doi.
breath sample of the alternate type (for example if the participant was first assigned        org/10.5061/dryad.w9ghx3fkt.
to wearing a mask they would then provide a second sample without a mask),
but most participants did not agree to stay for a second measurement because
of time constraints. Participants were compensated for each 30-min exhaled
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breath collection with a supermarket coupon worth approximately US$30 and all
                                                                                                  nasopharyngeal flocked swabs and aspirates for rapid diagnosis of respiratory
participants were gifted a tympanic thermometer worth approximately US$20.
                                                                                                  viruses in children. J. Clin. Virol. 42, 65–69 (2008).
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Ethical approval. Written informed consent was obtained from all participants
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≥18 years of age and written informed consent was obtained from parents or
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legal guardians of participants 11–17 years of age in addition to their own written
                                                                                                  Implementation in R (Springer, 2016).
informed consent. The study protocol was approved by the Institutional Review
Board of The University of Hong Kong and the Clinical and Research Ethics
Committee of Hong Kong Baptist Hospital.                                                      Acknowledgements
                                                                                              This work was supported by the General Research Fund of the University Grants
Collection of swabs and exhaled breath particles. Nasal swabs and throat swabs                Committee (grant no. 765811), the Health and Medical Research Fund (grant no. 13120592)
were collected separately, placed in virus transport medium, stored and transported to        and a commissioned grant of the Food and Health Bureau and the Theme-based Research
the laboratory at 2–8 °C and the virus transport medium was aliquoted and stored              Scheme (project no. T11-705/14-N) of the Research Grants Council of the Hong Kong
at −70 °C until further analysis. Exhaled breath particles were captured and differ­          SAR Government. We acknowledge colleagues including R. O. P. Fung, A. K. W. Li, T. W.
entiated into two size fractions, the coarse fraction containing particles with aerody­       Y. Ng, T. H. C. So, P. Wu and Y. Xie for technical support in preparing and conducting this
namic diameter >5 μm (referred to here as ‘respiratory droplets’), which included             study and enrolling participants; J. K. M. Chan, S. Y. Ho, Y. Z. Liu and A. Yu for laboratory
droplets up to approximately 100 µm in diameter and the fine fraction with particles          support; S. Ferguson, W. K. Leung, J. Pantelic, J. Wei and M. Wolfson for technical support
≤5 μm (referred to here as ‘aerosols’) by the G-II bioaerosol collecting device12,15,19.      in constructing and maintaining the G-II device; V. J. Fang, L. M. Ho and T. T. K. Lui for
In the G-II device, exhaled breath coarse particles >5 μm were collected by a 5-μm            setting up the database; and C. W. Y. Cheung, L. F. K. Cheung, P. T. Y. Ching, A. C. H. Lai,
slit inertial Teflon impactor and the remaining fine particles ≤5 μm were condensed           D. W. Y. Lam, S. S. Y. Lo, A. S. K. Luk and other colleagues at the Outpatient Center and
and collected into approximately 170 ml of 0.1% BSA/PBS. Both the impactor and the            Infection Control Team of Hong Kong Baptist Hospital for facilitating this study.
condensate were stored and transported to the laboratory at 2–8 °C. The virus on the
impactor was recovered into 1 ml and the condensate was concentrated into 2 ml of             Author contributions
0.1% BSA/PBS, aliquoted and stored at −70 °C until further analysis. In a validation          All authors meet the International Committee of Medical Journal Editors criteria for
study, the G-II was able to recover over 85% of fine particles >0.05 µm in size and had       authorship. The study protocol was drafted by N.H.L.L. and B.J.C. Data were collected
comparable collection efficiency of influenza virus as the SKC BioSampler19.                  by N.H.L.L., E.Y.C.S. and B.J.P.H. Laboratory testing was performed by D.K.W.C. and K.-
                                                                                              H.C. Statistical analyses were conducted by N.H.L.L. N.H.L.L. and B.J.C. wrote the first
Laboratory testing. Samples collected from the two studies were tested at the same            draft of the manuscript, and all authors provided critical review and revision of the text
time. Nasal swab samples were first tested by a diagnostic-use viral panel, xTAG              and approved the final version.
Respiratory Viral Panel (Abbott Molecular) to qualitatively detect 12 common
respiratory viruses and subtypes including coronaviruses (NL63, OC43, 229E and                Competing interests
HKU1), influenza A (nonspecific, H1 and H3) and B viruses, respiratory syncytial              B.J.C. consults for Roche and Sanofi Pasteur. The authors declare no other competing
virus, parainfluenza virus (types 1–4), adenovirus, human metapneumovirus and                 interests.
enterovirus/rhinovirus. After one or more of the candidate respiratory viruses
was detected by the viral panel from the nasal swab, all the samples from the same
participant (nasal swab, throat swab, respiratory droplets and aerosols) were then            Additional information
tested with RT–PCR specific for the candidate virus(es) for determination of virus            Extended data is available for this paper at https://doi.org/10.1038/s41591-020-0843-2.
concentration in the samples. Infectious influenza virus was identified by viral              Supplementary information is available for this paper at https://doi.org/10.1038/
culture using MDCK cells as described previously21, whereas viral culture was not             s41591-020-0843-2.
performed for coronavirus and rhinovirus.                                                     Correspondence and requests for materials should be addressed to B.J.C.
Statistical analyses. The primary outcome of the study was virus generation rate              Peer review information Alison Farrell was the primary editor on this article and
in tidal breathing of participants infected by different respiratory viruses and the          managed its editorial process and peer review in collaboration with the rest of the
efficacy of face masks in preventing virus dissemination in exhaled breath, separately        editorial team.
considering the respiratory droplets and aerosols. The secondary outcomes were                Reprints and permissions information is available at www.nature.com/reprints.


Nature Medicine | www.nature.com/naturemedicine
                                                                                                                                                                     BOH168
            Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 175 of 203

Brief Communication                                                                                                           NATuRE MEDicinE




Extended Data Fig. 1 | Participant enrolment, randomization of mask intervention and identification of respiratory virus infection.



                                                                                                             Nature Medicine | www.nature.com/naturemedicine
                                                                                                                                          BOH169
            Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 176 of 203

NATuRE MEDicinE                                                                                Brief Communication




Extended Data Fig. 2 | Weekly number of respiratory virus infections identified by RT-PCR in symptomatic individuals who had provided exhaled breath
samples (respiratory droplets and aerosols) during the study period. Blue, coronavirus; red, influenza virus; yellow, rhinovirus; green, other respiratory
viruses including human metapneumovirus, parainfluenza virus, respiratory syncytial virus and adenovirus; white, no respiratory virus infection identified.




Nature Medicine | www.nature.com/naturemedicine
                                                                                                                                         BOH170
           Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 177 of 203

Brief Communication                                                                                                           NATuRE MEDicinE




Extended Data Fig. 3 | Respiratory virus shedding in (a) nasal swab, (b) throat swab, (c) respiratory droplets and (d) aerosols in symptomatic
individuals with coronavirus NL63, coronavirus OC43, coronavirus HKU1, influenza A and influenza B virus infection. For nasal swabs and throat swabs,
all infected individuals identified by RT-PCR in any collected samples were included: coronavirus NL63 (n = 8), coronavirus OC43 (n = 5), coronavirus
HKU1 (n = 4), influenza A virus (n = 31) and influenza B virus (n = 14). For respiratory droplets and aerosols, only infected individuals who provided
exhaled breath samples while not wearing a surgical face mask were included: coronavirus NL63 (n = 3), coronavirus OC43 (n = 3), coronavirus HKU1
(n = 4), influenza A virus (n = 19) and influenza B virus (n = 6). The box plots indicate the median with the interquartile range (lower and upper hinge) and
± 1.5 × interquartile range from the first and third quartile (lower and upper whisker). Dark blue, coronavirus NL63; light blue, coronavirus OC43; brown,
coronavirus HKU1; red, influenza A virus; orange, influenza B virus.




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                                                                                                                                          BOH171
            Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 178 of 203

NATuRE MEDicinE                                       Brief Communication




Extended Data Fig. 4 | See next page for caption.


Nature Medicine | www.nature.com/naturemedicine
                                                                           BOH172
            Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 179 of 203

Brief Communication                                                                                                           NATuRE MEDicinE

Extended Data Fig. 4 | Efficacy of surgical face masks in reducing respiratory virus shedding in respiratory droplets and aerosols of symptomatic
individuals with seasonal coronaviruses including (a) coronavirus NL63, (b) coronavirus OC43 and (c) coronavirus HKU1. The figure shows the virus
copies per sample collected in nasal swab (red), throat swab (blue), respiratory droplets collected for 30 min while not wearing (dark green) or wearing
(light green) a surgical face mask and aerosols collected for 30 min while not wearing (brown) or wearing (orange) a face mask, collected from individuals
with acute respiratory symptoms who were positive for coronavirus NL63, coronavirus OC43 and coronavirus HKU1 as determined by RT-PCR in any
samples. P values for mask intervention as predictor of log10 virus copies per sample in an unadjusted univariate Tobit regression model which allowed for
censoring at the lower limit of detection of the RT-PCR assay are shown, with significant differences in bold. For nasal swabs and throat swabs, all infected
individuals were included (coronavirus NL63, n = 8; coronavirus OC43, n = 5; coronavirus HKU1, n = 4). For respiratory droplets and aerosols, numbers
of infected individuals who provided exhaled breath samples while not wearing or wearing a surgical face mask, respectively were: coronavirus NL63
(n = 3 and 5), coronavirus OC43 (n = 3 and 4), coronavirus HKU1 (n = 4 and 2). A subset of participants provided exhaled breath samples for both mask
interventions (coronavirus NL63, n = 0; coronavirus OC43, n = 2; coronavirus HKU1, n = 2).




                                                                                                             Nature Medicine | www.nature.com/naturemedicine
                                                                                                                                           BOH173
            Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 180 of 203

NATuRE MEDicinE                                                                                 Brief Communication




Extended Data Fig. 5 | Efficacy of surgical face masks in reducing respiratory virus shedding in respiratory droplets and aerosols of symptomatic
individuals with seasonal influenza viruses including (a) influenza A and (b) influenza B virus. The figure shows the virus copies per sample collected in
nasal swab (red), throat swab (blue), respiratory droplets collected for 30 min while not wearing (dark green) or wearing (light green) a surgical face mask
and aerosols collected for 30 min while not wearing (brown) or wearing (orange) a face mask, collected from individuals with acute respiratory symptoms
who were positive for influenza A and influenza B virus as determined by RT-PCR in any samples. P values for mask intervention as predictor of log10 virus
copies per sample in an unadjusted univariate Tobit regression model which allowed for censoring at the lower limit of detection of the RT-PCR assay are
shown, with significant differences in bold. For nasal swabs and throat swabs, all infected individuals were included (influenza A virus, n = 31; influenza B
virus, n = 14). For respiratory droplets and aerosols, numbers of infected individuals who provided exhaled breath samples while not wearing or wearing a
surgical face mask, respectively were: influenza A virus (n = 19 and 19), influenza B virus (n = 6 and 10). A subset of participants provided exhaled breath
samples for both mask interventions (influenza A virus, n = 7; influenza B virus, n = 2).




Nature Medicine | www.nature.com/naturemedicine
                                                                                                                                           BOH174
            Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 181 of 203

Brief Communication                                                                                                     NATuRE MEDicinE




Extended Data Fig. 6 | Correlation of coronavirus viral shedding between different samples (nasal swab, throat swab, respiratory droplets and aerosols)
in symptomatic individuals with seasonal coronavirus infection. For nasal swabs and throat swabs, all infected individuals were included (n = 17). For
respiratory droplets and aerosols, only infected individuals who provided exhaled breath samples while not wearing a surgical face mask were included
(n = 10). r, the Spearman’s rank correlation coefficient.




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                                                                                                                                     BOH175
            Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 182 of 203

NATuRE MEDicinE                                                                              Brief Communication




Extended Data Fig. 7 | Correlation of influenza viral shedding between different samples (nasal swab, throat swab, respiratory droplets and aerosols)
in symptomatic individuals with seasonal influenza infection. For nasal swabs and throat swabs, all infected individuals were included (n = 43). For
respiratory droplets and aerosols, only infected individuals who provided exhaled breath samples while not wearing a surgical face mask were included
(n = 23). r, the Spearman’s rank correlation coefficient.




Nature Medicine | www.nature.com/naturemedicine
                                                                                                                                      BOH176
            Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 183 of 203

Brief Communication                                                                                                        NATuRE MEDicinE




Extended Data Fig. 8 | Correlation of rhinovirus viral shedding between different samples (nasal swab, throat swab, respiratory droplets and aerosols)
in symptomatic individuals with rhinovirus infection. For nasal swabs and throat swabs, all infected individuals were included (n = 54). For respiratory
droplets and aerosols, only infected individuals who provided exhaled breath samples while not wearing a surgical face mask were included (n = 36). r, the
Spearman’s rank correlation coefficient.




                                                                                                           Nature Medicine | www.nature.com/naturemedicine
                                                                                                                                        BOH177
            Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 184 of 203

NATuRE MEDicinE                                       Brief Communication




Extended Data Fig. 9 | See next page for caption.



Nature Medicine | www.nature.com/naturemedicine
                                                                           BOH178
            Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 185 of 203

Brief Communication                                                                                                           NATuRE MEDicinE

Extended Data Fig. 9 | Respiratory virus shedding in respiratory droplets and aerosols stratified by days from symptom onset for (a) coronavirus, (b)
influenza virus or (c) rhinovirus. The figures shows the virus copies per sample collected in nasal swab (red), throat swab (blue), respiratory droplets
(dark green) and aerosols (brown) collected for 30 min while not wearing a surgical face mask, stratified by the number of days from symptom onset on
which the respiratory droplets and aerosols were collected. For nasal swabs and throat swabs, all infected individuals were included (coronavirus, n = 17;
influenza virus, n = 43; rhinovirus, n = 54). For respiratory droplets and aerosols, numbers of infected individuals who provided exhaled breath samples
while not wearing or wearing a surgical face mask, respectively were: coronavirus (n = 10 and 11), influenza virus (n = 23 and 28), rhinovirus (n = 36 and
32). A subset of participants provided exhaled breath samples for both mask interventions (coronavirus, n = 4; influenza virus, n = 8; rhinovirus, n = 14).
The box plots indicate the median with the interquartile range (lower and upper hinge) and ± 1.5 × interquartile range from the first and third quartile
(lower and upper whisker).




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                                                                                                                                           BOH179
                 Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 186 of 203




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                                                                                                      Corresponding author(s): Benjamin John Cowling
                                                                                                      Last updated by author(s): Mar 4, 2020


Reporting Summary
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For all statistical analyses, confirm that the following items are present in the figure legend, table legend, main text, or Methods section.
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           The exact sample size (n) for each experimental group/condition, given as a discrete number and unit of measurement
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           The statistical test(s) used AND whether they are one- or two-sided
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           For null hypothesis testing, the test statistic (e.g. F, t, r) with confidence intervals, effect sizes, degrees of freedom and P value noted
           Give P values as exact values whenever suitable.

           For Bayesian analysis, information on the choice of priors and Markov chain Monte Carlo settings
           For hierarchical and complex designs, identification of the appropriate level for tests and full reporting of outcomes
           Estimates of effect sizes (e.g. Cohen's d, Pearson's r), indicating how they were calculated
                                                 Our web collection on statistics for biologists contains articles on many of the points above.


Software and code
Policy information about availability of computer code
  Data collection              No software was used.

  Data analysis                All analyses were conducted with R version 3.6.0 and the VGAM package 1.1.1.
For manuscripts utilizing custom algorithms or software that are central to the research but not yet described in published literature, software must be made available to editors/reviewers.
We strongly encourage code deposition in a community repository (e.g. GitHub). See the Nature Research guidelines for submitting code & software for further information.


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                                                                                                                                                                                                October 2018




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                Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 187 of 203

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                                                                                                                                                                              nature research | reporting summary
Life sciences study design
All studies must disclose on these points even when the disclosure is negative.
  Sample size              We estimated a priori the sample size to be 300 participants. The primary outcome of the study was the reduction in the exhaled virus
                           concentration of normal tidal breathing by wearing face mask in terms of total virus by RT-PCR as a proxy for infectious virus particle. We
                           expected that a 1-log reduction in exhaled virus particle by face mask intervention would have a clinically relevant effect in reducing the
                           probability of transmission. Except for influenza, there was no quantitative data available from exhaled breath samples from respiratory virus-
                           infected individuals before the present study. If the standard deviation of exhaled virus concentration was 1 log copies/ml (Milton et al., PLoS
                           Pathog 2013), we would detect a difference of >1 log copies/ml in the mask vs control group as long as we have >15 participants with a
                           specific respiratory virus. For example, if our study included 23 participants with rhinovirus detectable in exhaled breath without a mask, we
                           will have 80% power and 0.05 significance level to identify differences in viral shedding in aerosols of 1.28 log10 copies associated with the
                           use of face masks, assuming a standard deviation of 1.54 log10 copies based on data from nasal and throat swab (Lu et al., J Clin Microbiol
                           2008). We expected from 300 individuals with ARI, at least 150 to have a respiratory virus, and at least 20-30 to have each of rhinovirus,
                           coronavirus, adenovirus and parainfluenza plus small numbers of other respiratory viruses, assuming the Viral Panel would detect respiratory
                           viruses in 60% of participants including 10% by influenza (since we partly recruited during the influenza seasons) and the other 50% made up
                           of rhinovirus, coronavirus, adenovirus and parainfluenza virus.

  Data exclusions          As described in the Results section and Supplementary Figure 1, only participants who provided exhaled breath samples and randomized to
                           mask intervention were included; and final analyses were performed only for participants with either coronavirus, influenza virus or rhinovirus
                           infection, which had sufficient sample size for comparison between mask intervention.

  Replication              Samples from a subset of participants identified with a coronavirus, influenza or rhinovirus infection were re-tested by RT-PCR with consistent
                           results. R syntax is available to reproduce all the analyses, figures, tables and supplementary tables in the published article.

  Randomization            Prior to the exhaled breath collection, each participant was randomly allocated in a 1:1 ratio to either wearing a surgical face mask or not
                           during the exhaled breath collection using a computer-generated sequence. The allocation was concealed to the study stuff performing the
                           exhaled breath collection before allocation of the mask intervention.

  Blinding                 Blinding to the participant and the study stuff for the mask intervention was not possible. The study staff performing the statistical analyses
                           was also involved in the data collection. We expected there would be minimal bias due to unblinding since data collection for questionnaires
                           was done before randomization to mask intervention, and viral load from a sample measured by RT-PCR is an objective measurement.




Reporting for specific materials, systems and methods
We require information from authors about some types of materials, experimental systems and methods used in many studies. Here, indicate whether each material,
system or method listed is relevant to your study. If you are not sure if a list item applies to your research, read the appropriate section before selecting a response.

Materials & experimental systems                                  Methods
n/a Involved in the study                                         n/a Involved in the study
           Antibodies                                                        ChIP-seq
           Eukaryotic cell lines                                             Flow cytometry
           Palaeontology                                                     MRI-based neuroimaging
           Animals and other organisms
           Human research participants
           Clinical data



Eukaryotic cell lines
Policy information about cell lines
  Cell line source(s)                       Madin-Darby Canine Kidney (MDCK) cells

  Authentication                            European Collection of Authenticated Cell Cultures.
                                                                                                                                                                              October 2018




  Mycoplasma contamination                  We confirm that all cell lines tested negative for mycoplasma contamination.

  Commonly misidentified lines              Nil
  (See ICLAC register)




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                Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 188 of 203



Human research participants




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Policy information about studies involving human research participants
  Population characteristics       As described in the Results section, Table 1a and Supplementary Table 1, there were some differences in characteristics of
                                   participants with the different viruses. Overall, most participants were younger adults and 5% were age 11-17 years, but there
                                   were more children with influenza virus and no children in the subgroup with coronavirus infection. Overall, 59% were female,
                                   but there were more females among the subgroup with coronavirus infection. The majority of participants did not have
                                   underlying medical conditions and overall 9% had received influenza vaccination for the current season but only 2% among those
                                   with influenza virus infection. The majority of participants were sampled within 24–48 or 48–72 hours of illness onset. 24% of
                                   participants had a measured fever ≥37.8ºC, with influenza patients more than twice as likely than coronavirus and rhinovirus-
                                   infected patients to have a measured fever. Coronavirus-infected participants coughed the most with an average of 17 (SD 30)
                                   coughs during the 30-minute exhaled breath collection. The profile of the participants randomized to with-mask vs without-mask
                                   groups were similar.

  Recruitment                      As described in the Methods section, participants were recruited year-round from March 2013 through May 2016 in a general
                                   outpatient clinic of a private hospital in Hong Kong. As routine practice, clinic staff screened all individuals attending the clinics
                                   for respiratory and any other symptoms regardless of the purpose of the visit at the triage. Study staff then approached
                                   immediately those who reported at least one of the following symptoms of acute respiratory illness (ARI) for further screening:
                                   fever≥37.8ºC, cough, sore throat, runny nose, headache, myalgia and phlegm. Individuals who reported ≥2 ARI symptoms, within
                                   3 days of illness onset and ≥11 years of age were eligible to participate.

  Ethics oversight                 As described in the Methods section, the study protocol was approved by the Institutional Review Board of The University of
                                   Hong Kong and the Clinical and Research Ethics Committee of Hong Kong Baptist Hospital.
Note that full information on the approval of the study protocol must also be provided in the manuscript.


Clinical data
Policy information about clinical studies
All manuscripts should comply with the ICMJE guidelines for publication of clinical research and a completed CONSORT checklist must be included with all submissions.

  Clinical trial registration      The present study was not registered in clinical trials registries, as it was a laboratory-based study of detection of viruses in
                                   exhaled breath and the effect of wearing surgical facemasks on virus detection. It was not a Phase II/III clinical trial.

  Study protocol                   Not available in clinical trials registries (as above). Study protocol will be made available to editors and peer reviewers if
                                   requested.

  Data collection                  As described in the Methods section, participants were recruited year-round from March 2013 through March 2016 in a general
                                   outpatient clinic of a private hospital in Hong Kong. Data collection for questionnaires and exhaled breath sample collection was
                                   done face-to-face with the participant by trained study staff at the same clinic on the day of participant enrolment.

  Outcomes                         As pre-specified in the study protocol, the primary outcomes of the study were the virus generation rate in the tidal breathing of
                                   participants infected by different respiratory viruses, and the efficacy of face mask in preventing virus dissemination in exhaled
                                   breath especially at the aerosol fraction. As pre-specified in the study protocol, one of the secondary outcomes was to provide
                                   indirect evidence for relative importance of different transmission routes of influenza and other respiratory viruses. In this
                                   regard, in the present manuscript we examined the correlation between viral shedding in nose swabs, throat swabs, respiratory
                                   droplets and aerosols, and factors affecting viral shedding in respiratory droplets and aerosols. As described in the Discussion
                                   section in the present manuscript about the limitation of our study, there was large proportion of participants with undetectable
                                   viral shedding in exhaled breath for each of the viruses studied, and therefore we were unable to examine the exhaled
                                   respiratory virus reduction proportion by chi-squared test, nor the exhaled respiratory virus reduction volume (i.e. viral load) by
                                   t-test and linear regression as pre-specified in the study protocol. Instead, we have used Fisher’s exact test and Tobit regression
                                   for the same purposes respectively.



                                                                                                                                                                            October 2018




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                                                                                                                                                              BOH182
             Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 189 of 203


    Brief Communication
    https://doi.org/10.1038/s41591-020-0869-5




Temporal dynamics in viral shedding and
transmissibility of COVID-19
Xi He1,3, Eric H. Y. Lau 2,3 ✉, Peng Wu2, Xilong Deng1, Jian Wang1, Xinxin Hao2, Yiu Chung Lau2,
Jessica Y. Wong2, Yujuan Guan1, Xinghua Tan1, Xiaoneng Mo1, Yanqing Chen1, Baolin Liao1,
Weilie Chen1, Fengyu Hu1, Qing Zhang1, Mingqiu Zhong1, Yanrong Wu1, Lingzhai Zhao1,
Fuchun Zhang1, Benjamin J. Cowling 2,4, Fang Li1,4 and Gabriel M. Leung 2,4

We report temporal patterns of viral shedding in 94 patients                 ill (with fever and/or respiratory symptoms and radiographic evi-
with laboratory-confirmed COVID-19 and modeled COVID-19                      dence of pneumonia), but none were classified as ‘severe’ or ‘critical’
infectiousness profiles from a separate sample of 77 infec-                  on hospital admission (Supplementary Table 1).
tor–infectee transmission pairs. We observed the highest                         A total of 414 throat swabs were collected from these 94 patients,
viral load in throat swabs at the time of symptom onset, and                 from symptom onset up to 32 days after onset. We detected high
inferred that infectiousness peaked on or before symptom                     viral loads soon after symptom onset, which then gradually
onset. We estimated that 44% (95% confidence interval,                       decreased towards the detection limit at about day 21. There was no
30–57%) of secondary cases were infected during the index                    obvious difference in viral loads across sex, age groups and disease
cases’ presymptomatic stage, in settings with substan-                       severity (Fig. 2).
tial household clustering, active case finding and quaran-                       Separately, based on 77 transmission pairs obtained from pub-
tine outside the home. Disease control measures should be                    licly available sources within and outside mainland China (Fig. 1b
adjusted to account for probable substantial presymptomatic                  and Supplementary Table 2), the serial interval was estimated to have
transmission.                                                                a mean of 5.8 days (95% confidence interval (CI), 4.8–6.8 days) and
   SARS-CoV-2, the causative agent of COVID-19, spreads effi-                a median of 5.2 days (95% CI, 4.1–6.4 days) based on a fitted gamma
ciently, with a basic reproductive number of 2.2 to 2.5 determined           distribution, with 7.6% negative serial intervals (Fig. 1c). Assuming
in Wuhan1,2. The effectiveness of control measures depends on sev-           an incubation period distribution of mean 5.2 days from a separate
eral key epidemiological parameters (Fig. 1a), including the serial          study of early COVID-19 cases1, we inferred that infectiousness
interval (duration between symptom onsets of successive cases in             started from 12.3 days (95% CI, 5.9–17.0 days) before symptom onset
a transmission chain) and the incubation period (time between                and peaked at symptom onset (95% CI, –0.9–0.9 days) (Fig. 1c). We
infection and onset of symptoms). Variation between individuals              further observed that only <0.1% of transmission would occur before
and transmission chains is summarized by the incubation period               7 days, 1% of transmission would occur before 5 days and 9% of
distribution and the serial interval distribution, respectively. If the      transmission would occur before 3 days prior to symptom onset. The
observed mean serial interval is shorter than the observed mean              estimated proportion of presymptomatic transmission (area under
incubation period, this indicates that a significant portion of trans-       the curve) was 44% (95% CI, 30–57%). Infectiousness was estimated
mission may have occurred before infected persons have developed             to decline quickly within 7 days. Viral load data were not used in the
symptoms. Significant presymptomatic transmission would prob-                estimation but showed a similar monotonic decreasing pattern.
ably reduce the effectiveness of control measures that are initiated             In sensitivity analysis, using the same estimating procedure but
by symptom onset, such as isolation, contact tracing and enhanced            holding constant the start of infectiousness from 5, 8 and 11 days
hygiene or use of face masks for symptomatic persons.                        before symptom onset, infectiousness was shown to peak at 2 days
   SARS (severe acute respiratory syndrome) was notable, because             before to 1 day after symptom onset, and the proportion of pres-
infectiousness increased around 7–10 days after symptom onset3,4.            ymptomatic transmission ranged from 37% to 48% (Extended Data
Onward transmission can be substantially reduced by contain-                 Fig. 1).
ment measures such as isolation and quarantine (Fig. 1a)5. In con-               Finally, simulation showed that the proportion of short serial
trast, influenza is characterized by increased infectiousness shortly        intervals (for example, <2 days) would be larger if infectiousness
around or even before symptom onset6.                                        were assumed to start before symptom onset (Extended Data Fig. 2).
   In this study, we compared clinical data on virus shedding with           Given the 7.6% negative serial intervals estimated from the infec-
separate epidemiologic data on incubation periods and serial inter-          tor–infectee paired data, start of infectiousness at least 2 days before
vals between cases in transmission chains, to draw inferences on             onset and peak infectiousness at 2 days before to 1 day after onset
infectiousness profiles.                                                     would be most consistent with this observed proportion (Extended
   Among 94 patients with laboratory-confirmed COVID-19                      Data Fig. 3).
admitted to Guangzhou Eighth People’s Hospital, 47/94 (50%) were                 Here, we used detailed information on the timing of symptom
male, the median age was 47 years and 61/93 (66%) were moderately            onsets in transmission pairs to infer the infectiousness profile of


Guangzhou Eighth People’s Hospital, Guangzhou Medical University, Guangzhou, China. 2World Health Organization Collaborating Centre for Infectious
1

Disease Epidemiology and Control, School of Public Health, University of Hong Kong, Hong Kong, SAR, China. 3These authors contributed equally: Xi He,
Eric H. Y. Lau. 4These authors jointly supervised this work: Benjamin J. Cowling, Fang Li, Gabriel M. Leung. ✉e-mail: ehylau@hku.hk

672                                                                           Nature Medicine | VOL 26 | MAY 2020 | 672–675 | www.nature.com/naturemedicine

                                                                                                                                          BOH183
                          Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 190 of 203

NaturE MEDICInE                                                                                                                                                                            Brief Communication
 a
     Hypothetical scenarios                                                                                                              Incubation period              Primary case
                                                                                                                                                                                                SARS 2003                                                                      Estimated incubation period: 4–5 days
                               Infection                          Symptom onset                                                                                                                                                                                                Estimated serial interval: 10–11 days
                                                                                                                                         Symptomatic period             Secondary case
                 Primary case                                                                                                                                                                      Primary case
                                                                                                                                         Onset of infectiousness of the primary case

                                                                                                                                                                                                                                                                                  Start: after symptom onset
                                                                                                                                                                                                                                                                                  Peak: ~10 days after onset
                                                                                                                                                                                                                                                                                  End: weeks after onset
                                                    Distribution of onset of infectiousness                                                                                                                                    Viral shedding (infectiousness)
                Scenario 1                                                                                      Symptom onset
       Serial interval ≈ Incubation                                    Infection
                                                                                                                                                                                                Secondary case
                                                        Secondary case
                                                                                                                                                                                                                                              Serial interval

                                                                                         Serial interval
                                                                                                                                                                                                                           0                   5             10          15             20
                                                                                                                                                                                                                            Days from symptom onset of primary case



                Scenario 2                                         Distribution of onset of infectiousness                                                                                       Seasonal influenza                                                            Estimated incubation period: 2 days
                                                                                                                                                                                                                                                                               Estimated serial interval: 2–4 days
       Serial interval > Incubation                                                Infection                                    Symptom onset


                                                                       Secondary case                                                                                                           Primary case


                                                                                                Serial interval                                                                                                                                                                Start: ~2 days before onset
                                                                                                                                                                                                                                                                               Peak: ~1 day after onset
                                                                                                                                                                                                                                                                               End: 6–8 days after onset
                                                                                                                                                                                                                   Viral shedding (infectiousness)

                                                                                                                                                                                                Secondary case
                Scenario 3                          Distribution of onset of infectiousness
       Serial interval < Incubation                         Infection                       Symptom onset
                                                                                                                                                                                                                             Serial
                                                Secondary case                                                                                                                                                              interval

                                                                                                                                                                                                                        –2 0                    5            10
                                                                                     Serial interval                                                                                                           Days from symptom onset of primary case



 b    ID                                                                                                                                                                                                                        c              15
       1
       2
       3
       4
       5
       6                                                                                                                                                                                                                                       10
       7




                                                                                                                                                                                                                                Density (%)
       8
       9
      10
      11
      12
      13                                                                                                                                                                                                                                           5
      14
      15        Onset date of primary cases
      16        Onset date of secondary cases
      17
      18        Exposure window for transmission to secondary cases
      19
      20
      21                                                                                                                                                                                                                                           0
      22
      23                                                                                                                                                                                                                                                −4 −2 0       2       4     6     8 10 12 14 16 18 20 22
      24
      25                                                                                                                                                                                                                                                                      Serial interval (days)
      26
      27
      28                                                                                                                                                                                                                                       30
      29
      30
      31
      32
      33
      34
      35                                                                                                                                                                                                                                       20
                                                                                                                                                                                                                                Density (%)




      36
      37
      38
      39
      40
      41
      42                                                                                                                                                                                                                                       10
      43
      44
      45
      46
      47
      48
      49                                                                                                                                                                                                                                           0
      50
      51
      52                                                                                                                                                                                                                                               −10   −8     −6        −4     −2      0   2     4   6   8
      53
      54                                                                                                                                                                                                                                                             Days after symptom onset
      55
      56
      57                                                                                                                                                                                                                                        30
      58
      59
      60
      61
      62
      63
      64                                                                                                                                                                                                                                        20
                                                                                                                                                                                                                                Density (%)




      65
      66
      67
      68
      69
      70
      71                                                                                                                                                                                                                                        10
      72
      73
      74
      75
      76
      77
                                                                                                                                                                                                                                                   0
           18   20   22   24    26   28    30   1   3     5   7    9     11   13    15    17   19   21     23    25   27   29   31   2    4     6   8   10   12   14   16   18   20   22   24    26   28   1   3   5                                    0           3          6           9       12
                     December 2019                                                 January 2020                                                               February 2020                                March 2020
                                                                                                                                                                                                                                                                  Days from infection to symptom onset



Fig. 1 | Transmission of infectious diseases. a, Schematic of the relation between different time periods in the transmission of infectious disease.
b, Human-to-human transmission pairs of SAR-CoV-2 virus (N = 77). We assumed a maximum exposure window of 21 days prior to symptom onset of the
secondary cases. Detailed information on the transmission pairs and the source of information is summarized in Supplementary Tables 2 and 3.
c, Estimated serial interval distribution (top), inferred infectiousness profile (middle) and assumed incubation period (bottom) of COVID-19.




COVID-19. We showed substantial transmission potential before                                                                                                would tend to have a higher proportion of presymptomatic trans-
symptom onset. Of note, most cases were isolated after symptom                                                                                               mission, mainly due to quick quarantine of close contacts and iso-
onset, preventing some post-symptomatic transmission. Even                                                                                                   lation, thus reducing the probability of secondary spread later on
higher proportions of presymptomatic transmission of 48% and                                                                                                 in the course of illness. In a rapidly expanding epidemic wherein
62% have been estimated for Singapore and Tianjin, where active                                                                                              contact tracing/quarantine and perhaps even isolation are no lon-
case finding was implemented7. Places with active case finding                                                                                               ger feasible, or in locations where cases are not isolated outside the

Nature Medicine | VOL 26 | MAY 2020 | 672–675 | www.nature.com/naturemedicine                                                                                                                                                                                                                                  673
                                                                                                                                                                                                                                                                                             BOH184
               Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 191 of 203

Brief Communication                                                                                                                              NaturE MEDICInE

                         20                                                                                20
                                                                                                                                                  Mild (n = 76)
                                                                                                                                                  Severe (n = 18)
                         25                                                                                25
             Ct value




                                                                                               Ct value
                         30                                                                                30

                         35                                                                                35

                        >40                                                                               >40
                              0   7            14         21            28             35                       0     7           14             21                 28
                                          Days since symptom onset                                                    Days since symptom onset

                         20                                                                                20                                     <65 years (n = 79)
                                                                 Mild, stable (n = 27)
                                                                 Moderate, stable (n = 47)                                                        ≥65 years (n = 15)
                         25                                      Mild to severe (n = 5)                    25
                                                                 Moderate to severe (n = 14)




                                                                                               Ct value
             Ct value




                         30                                                                                30

                         35                                                                                35

                        >40                                                                               >40
                              0       7             14          21                     28                       0     7           14             21                    28
                                          Days since symptom onset                                                    Days since symptom onset

                         20                                                                                20
                                                                     Female (n = 47)                                                              Imported from Hubei (n = 24)
                                                                     Male (n = 47)                                                                Other (n = 70)
                         25                                                                                25
             Ct value




                                                                                               Ct value
                         30                                                                                30

                         35                                                                                35

                        >40                                                                               >40
                              0       7             14          21                     28                       0     7           14             21                 28
                                          Days since symptom onset                                                    Days since symptom onset


Fig. 2 | Temporal patterns of viral shedding. Viral load (threshold cycle (Ct) values) detected by RT–PCR (PCR with reverse transcription) in throat swabs
from patients infected with SARS-CoV-2 (N = 94), overall and stratified by disease severity, sex, age group and link to Hubei province. The detection limit
was Ct = 40, which was used to indicate negative samples. The thick lines show the trend in viral load, using smoothing splines. We added some noise to
the data points to avoid overlaps.


home, we should therefore observe a lower proportion of presymp-                                 affected. However, the incubation period would have been overes-
tomatic transmission.                                                                            timated, and thus the proportion of presymptomatic transmission
   Our analysis suggests that viral shedding may begin 5 to 6 days                               artifactually inflated. Second, shorter serial intervals than those
before the appearance of the first symptoms. After symptom onset,                                reported here have been reported, but such estimates lengthened
viral loads decreased monotonically, consistent with two recent                                  when restricted to infector–infectee pairs with more certain trans-
studies8,9. Another study from Wuhan reported that virus was                                     mission links16. Finally, the viral shedding dynamics were based on
detected for a median of 20 days (up to 37 days among survivors)                                 data for patients who received treatment according to nationally
after symptom onset10, but infectiousness may decline significantly                              promulgated protocols, including combinations of antivirals, anti-
8 days after symptom onset, as live virus could no longer be cultured                            biotics, corticosteroids, immunomodulatory agents and Chinese
(according to Wölfel and colleagues11). Together, these results sup-                             medicine preparations, which could have modified the shedding
port our findings that the infectiousness profile may more closely                               dynamical patterns.
resemble that of influenza than of SARS (Fig. 1a), although we                                       In conclusion, we have estimated that viral shedding of patients
did not have data on viral shedding before symptom onset6,12. Our                                with laboratory-confirmed COVID-19 peaked on or before symp-
results are also supported by reports of asymptomatic and presymp-                               tom onset, and a substantial proportion of transmission probably
tomatic transmission13,14.                                                                       occurred before first symptoms in the index case. More inclusive
   For a reproductive number of 2.5 (ref. 2), contact tracing and                                criteria for contact tracing to capture potential transmission events
isolation alone are less likely to be successful if more than 30% of                             2 to 3 days before symptom onset should be urgently considered for
transmission occurred before symptom onset, unless >90% of the                                   effective control of the outbreak.
contacts can be traced15. This is more likely achievable if the defini-
tion of contacts covers 2 to 3 days prior to symptom onset of the                                Online content
index case, as has been done in Hong Kong and mainland China                                     Any methods, additional references, Nature Research report-
since late February. Even when the control strategy is shifting away                             ing summaries, source data, extended data, supplementary infor-
from containment to mitigation, contact tracing would still be an                                mation, acknowledgements, peer review information; details of
important measure, such as when there are super-spreading events                                 author contributions and competing interests; and statements of
that may occur in high-risk settings including nursing homes or                                  data and code availability are available at https://doi.org/10.1038/
hospitals. With a substantial proportion of presymptomatic trans-                                s41591-020-0869-5.
mission, measures such as enhanced personal hygiene and social
distancing for all would likely be the key instruments for commu-                                Received: 15 March 2020; Accepted: 1 April 2020;
nity disease control.                                                                            Published online: 15 April 2020
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on patient recall after confirmation of COVID-19. The potential                                  References
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674                                                                                                Nature Medicine | VOL 26 | MAY 2020 | 672–675 | www.nature.com/naturemedicine

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              Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 192 of 203

NaturE MEDICInE                                                                                         Brief Communication
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Nature Medicine | VOL 26 | MAY 2020 | 672–675 | www.nature.com/naturemedicine                                                                                              675
                                                                                                                                                           BOH186
                Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 193 of 203

Brief Communication                                                                                                                                    NaturE MEDICInE

Methods                                                                                        obtained by bootstrapping with 1,000 replications. We also performed sensitivity
Sources of data. Guangzhou Eighth People’s Hospital in Guangdong, China was                    analyses by fixing the start of infectiousness from days 5, 8 and 11 before symptom
designated as one of the specialized hospitals for treating patients with COVID-19             onset and inferred the infectiousness profile.
at both city and provincial levels on 20 January 2020. After that, many people with                As an additional check, we simulated the expected serial intervals assuming
COVID-19 were admitted via fever clinics, the hospital emergency room or after                 the same aforementioned incubation period but two different infectiousness
confirmation of cases from community epidemiological investigation carried out                 profiles, where infectiousness started on the same day and from 2 days before
by the Guangzhou Center for Disease Control and Prevention, or transferred from                symptom onset, respectively. A recent study isolated live infectious SARS-CoV-2
other hospitals. The first confirmed patient with COVID-19 was admitted on 21                  virus from patients with COVID-19 up to 8 days after symptom onset11, thus we
January 2020, but in the initial phase, patients suspected to have COVID-19 were also          assumed the same duration of infectiousness. We also assumed that infectiousness
admitted. We identified all suspected and confirmed COVID-19 cases admitted from               peaked on the day of symptom onset. The timing of transmission to secondary
21 January 2020 to 14 February 2020 and collected throat swabs in each case. Patients          cases was simulated according to the infectiousness profile using a lognormal
included those who traveled from Wuhan or Hubei to Guangzhou as well as locals,                and exponential distribution, respectively, where the serial intervals were
with cases ranging from asymptomatic, mild to moderate at admission.                           estimated as the sum of the onset to transmission interval and the incubation
    The samples were tested by N-gene-specific quantitative RT–PCR assay as                    period. We drew random samples for the transmission time relative to symptom
previously described17. To understand the temporal dynamics of viral shedding and              onset of the infector TI ≈ βc(t), and also the incubation period Tinc ≈ f(t), then the
exclude non-confirmed COVID-19 cases, we selected 94 patients who had at least one             simulated serial interval was TI + Tinc. We also performed simulation considering
positive result (cycle threshold (Ct) value < 40) in their throat samples. Serial samples      combinations of different infectiousness profiles, with start of infectiousness 7 days
were collected from some but not all patients for clinical monitoring purposes.                before to 3 days after symptom onset, and peak infectiousness also 7 days before to
    We collected information reported on possible human-to-human transmission                  3 days after symptom onset. We present the distribution of the serial intervals and
pairs of patients with laboratory-confirmed COVID-19 from publicly available                   proportion of negative serial intervals over 10,000 simulations.
sources, including announcements made by government health agencies and media                      All statistical analyses were conducted in R version 3.6.3 (R Development
reports in mainland China and countries/regions outside China. A transmission                  Core Team).
pair was defined as two confirmed COVID-19 cases identified in the epidemiologic
investigation by showing a clear epidemiologic link with each other, such that one case        Ethics approval. Data collection and analysis were required by the National Health
(infectee) was highly likely to have been infected by the other (infector), by fulfilling      Commission of the People’s Republic of China to be part of a continuing public
the following criteria: (1) the infectee did not report a travel history to an area affected   health outbreak investigation.
by COVID-19 or any contact with other confirmed or suspected COVID-19 cases
except for the infector within 14 days before symptom onset; (2) the infector and              Reporting Summary. Further information on research design is available in the
infectee were not identified in a patient cluster where other COVID-19 cases had               Nature Research Reporting Summary linked to this article.
also been confirmed; and (3) the infector and infectee pair did not share a common
source of exposure to a COVID-19 case or a place where there were COVID-19                     Data availability
case(s) reported. We excluded possible transmission pairs without a clear exposure             Detailed transmission pairs data in this study are provided in the Supplementary
history reported prior to symptom onset. Data of possible transmission pairs of                Information and viral shedding data will be available upon request and approval
COVID-19 were extracted, including age, sex, location, date of symptom onset, type             by a data access committee. The data access committee comprises leadership of
or relationship between the pair cases and time of contact of the cases.                       the Guangzhou Eighth People’s Hospital and the Guangzhou Health Commission.
                                                                                               There is no restriction to data access.
Statistical analysis. We analyzed two separate data sets—clinical and
epidemiologic—to assess presymptomatic infectiousness. First, we assessed
longitudinal viral shedding data from patients with laboratory-confirmed COVID-                Code availability
19 starting from symptom onset, where viral shedding during the first few days                 We provided the code for generating Fig. 1c in the Supplementary Information and
after illness onset could be compared with the inferred infectiousness. Second, the            at https://github.com/ehylau/COVID-19. Other codes are available upon request to
serial intervals from clear transmission chains, combined with information on the              the corresponding author.
incubation period distribution, were used to infer the infectiousness profile, as
described in the following.                                                                    References
      We present SARS-CoV-2 viral loads in the throat swabs of each patient by day             17. Chen, W. et al. Detectable 2019-nCoV viral RNA in blood is a strong
of symptom onset. To aid visualization, a smoothing spline was fitted to the Ct                    indicator for the further clinical severity. Emerg. Microbes Infect. 9,
values to summarize the overall trend. Specifically, a generalized additive model,                 469–473 (2020).
E(Y) = β0 + s(t), with an identity link was fitted, where Y are the Ct values, β0 is the
intercept and s(t) is a cubic spline evaluated at t days after symptom onset. We also
compared the viral load by disease severity, age, sex and travel history from Hubei.           Acknowledgements
      We fitted a gamma distribution to the transmission pairs data to estimate                This work was supported by Department of Science and Technology of Guangdong
the serial interval distribution. We used a published estimate of the incubation               Province (project no. 2020B111108001, to F.L.) and a commissioned grant from the
period distribution to infer infectiousness with respect to symptom onset from                 Health and Medical Research Fund from the Government of the Hong Kong Special
the first 425 patients with COVID-19 in Wuhan with detailed exposure history1.                 Administrative Region (to B.J.C.).
We considered that infected cases would become infectious at a certain time point
before or after illness onset (tS1). Infectiousness—that is, transmission probability          Author contributions
to a secondary case—would then increase until reaching its peak (Fig. 1). The                  X. He, E.H.Y.L., P.W., B.J.C., F.L. and G.M.L. conceived and designed the study. X. He,
transmission event would occur at time tI with a probability described by the                  X.D., J.W., Y.G., X.T., X.M., Y.C. and B.L. were responsible for clinical care and collected all
infectiousness profile βc(tI − tS1) relative to the illness onset date, assuming a gamma       biomaterials. W.C. and F.H. carried out laboratory testing. Q.Z., M.Z. and Y.W. collected and
distribution β(t) with a time shift c to allow for start of infectiousness c days prior        collated linked clinical–epidemiologic data. L.Z., F.Z. and F.L. supervised and coordinated all
to symptom onset; that is, βc(t) = β(t + c). The secondary case would then show                aspects of the study at Guangzhou Eighth People’s Hospital. P.W., X. Hao, Y.C.L. and J.Y.W.
symptoms at time tS2, after the incubation period that is assumed to follow a                  collected and verified all infector–infectee transmission data. E.H.Y.L., B.J.C. and G.M.L.
lognormal distribution g(tS2 − tI). Hence the observed serial intervals distribution           wrote the first draft. All authors contributed to data interpretation, critical revision of the
f(tS2 − tS1) would be the convolution between the infectiousness profile and                   manuscript and approved the final version of the manuscript.
incubation period distribution. We constructed a likelihood function based on the
convolution, which was fitted to the observed serial intervals, allowing for the start         Competing interests
of infectiousness around symptom onset and window of symptom onset                             The authors declare no competing interests.
(tS1l, tS1u), given by

                                                                                               Additional information
                                           tS1u Z
                                           Z    tS2

               LðtS1u ; tS1l ; tS2 jθÞ ¼              βc ðtI � tS1 ÞgðtS2 � tI ÞdtI dtS1       Extended data is available for this paper at https://doi.org/10.1038/s41591-020-0869-5.
                                           tS1l �1
                                                                                               Supplementary information is available for this paper at https://doi.org/10.1038/
                                                                                               s41591-020-0869-5.
    A normalization factor can be added to account for the uncertainty in the                  Correspondence and requests for materials should be addressed to E.H.Y.L.
symptom-onset dates of the index cases. Assuming a uniform distribution, the
likelihood would differ only by a multiplicative constant and give the same                    Peer review information Alison Farrell and João Monteiro were the primary editors on
estimates.                                                                                     this article and managed its editorial process and peer review in collaboration with the
    Parameters θ, including the gamma distribution parameters and the start of                 rest of the editorial team.
infectiousness, were estimated using maximum likelihood. The 95% CIs were                      Reprints and permissions information is available at www.nature.com/reprints.

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                                                                                                                                                                         BOH187
            Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 194 of 203

NaturE MEDICInE                                                                               Brief Communication




Extended Data Fig. 1 | Inferred infectiousness profile. Infectiousness was assumed to start from 5 days (top) to 8 days (middle) and 11 days (bottom)
before symptom onset.




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                                                                                                                                        BOH188
           Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 195 of 203

Brief Communication                                                                                                   NaturE MEDICInE




Extended Data Fig. 2 | Simulated serial intervals. Simulated serial intervals assuming infectiousness started on the same day of symptom onset (top
panel) and from 2 days before symptom onset (bottom panel) to about 10 days after symptom onset. Both scenarios assumed that infectiousness peaked
on the first day of symptom onset.




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                                                                                                                                   BOH189
            Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 196 of 203

NaturE MEDICInE                                                                                  Brief Communication




Extended Data Fig. 3 | Simulated proportions of negative serial intervals. Simulated proportions of negative serial intervals assuming start of
infectiousness and peak infectiousness from 7 days before symptom onset to 3 days after symptom onset. From the estimated serial interval distribution
based on infector-infectee pairs, 7.6% of the serial intervals were negative. Gray area represents the implausible range where the peak infectious is earlier
than the start of infectiousness.




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                                                                                                                                            BOH190
                 Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 197 of 203




                                                                                                                                                                                                nature research | reporting summary
                                                                                                      Corresponding author(s): Eric HY Lau
                                                                                                      Last updated by author(s): Mar 28, 2020


Reporting Summary
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Statistics
For all statistical analyses, confirm that the following items are present in the figure legend, table legend, main text, or Methods section.
n/a Confirmed
           The exact sample size (n) for each experimental group/condition, given as a discrete number and unit of measurement
           A statement on whether measurements were taken from distinct samples or whether the same sample was measured repeatedly
           The statistical test(s) used AND whether they are one- or two-sided
           Only common tests should be described solely by name; describe more complex techniques in the Methods section.

           A description of all covariates tested
           A description of any assumptions or corrections, such as tests of normality and adjustment for multiple comparisons
           A full description of the statistical parameters including central tendency (e.g. means) or other basic estimates (e.g. regression coefficient)
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           For null hypothesis testing, the test statistic (e.g. F, t, r) with confidence intervals, effect sizes, degrees of freedom and P value noted
           Give P values as exact values whenever suitable.

           For Bayesian analysis, information on the choice of priors and Markov chain Monte Carlo settings
           For hierarchical and complex designs, identification of the appropriate level for tests and full reporting of outcomes
           Estimates of effect sizes (e.g. Cohen's d, Pearson's r), indicating how they were calculated
                                                 Our web collection on statistics for biologists contains articles on many of the points above.


Software and code
Policy information about availability of computer code
  Data collection              MS Excel 2013.

  Data analysis                All statistical analyses were conducted in R version 3.6.2 (R Development Core Team, Vienna, Austria).
For manuscripts utilizing custom algorithms or software that are central to the research but not yet described in published literature, software must be made available to editors/reviewers.
We strongly encourage code deposition in a community repository (e.g. GitHub). See the Nature Research guidelines for submitting code & software for further information.


Data
Policy information about availability of data
 All manuscripts must include a data availability statement. This statement should provide the following information, where applicable:
     - Accession codes, unique identifiers, or web links for publicly available datasets
     - A list of figures that have associated raw data
     - A description of any restrictions on data availability

Detailed transmission pairs data in this study are given in the supplementary information and viral shedding data will be available upon request and approval by a
data access committee. The data access committee comprises leadership of the Guangzhou Eighth People’s Hospital and the Guangzhou Health Commission; there
                                                                                                                                                                                                October 2018




is no restriction to data access.




                                                                                                                                                                                                      1


                                                                                                                                                                              BOH191
                Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 198 of 203




                                                                                                                                                                            nature research | reporting summary
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    Life sciences                        Behavioural & social sciences                  Ecological, evolutionary & environmental sciences
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Life sciences study design
All studies must disclose on these points even when the disclosure is negative.
  Sample size              94 COVID-19 patients who had at least one positive results (Cycle threshold value < 40) by in their throat samples, tested by N-gene-specific
                           quantitative reverse-transcriptase–polymerase-chain-reaction (RT-PCR) assay; 77 infector-infectee pairs from publicly available data

  Data exclusions          No data was excluded

  Replication              No replication

  Randomization            Observational study, no randomization

  Blinding                 Observational study, no blinding




Reporting for specific materials, systems and methods
We require information from authors about some types of materials, experimental systems and methods used in many studies. Here, indicate whether each material,
system or method listed is relevant to your study. If you are not sure if a list item applies to your research, read the appropriate section before selecting a response.

Materials & experimental systems                                  Methods
n/a Involved in the study                                         n/a Involved in the study
           Antibodies                                                        ChIP-seq
           Eukaryotic cell lines                                             Flow cytometry
           Palaeontology                                                     MRI-based neuroimaging
           Animals and other organisms
           Human research participants
           Clinical data



Human research participants
Policy information about studies involving human research participants
  Population characteristics            COVID-19 patients admitted to Guangzhou Eighth People’s Hospital

  Recruitment                           Samples were collected from patients for clinical monitoring purposes.

  Ethics oversight                      Data collection and analysis were required by the National Health Commission of the People’s Republic of China to be part of a
                                        continuing public health outbreak investigation.
Note that full information on the approval of the study protocol must also be provided in the manuscript.
                                                                                                                                                                            October 2018




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                                Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 199 of 203

                             Understanding Masks to Protect Children Against COVID-19
Less Protective                                                                                                                   Most Protective
                         Cloth Cover           Surgical Mask           Surgical + Cloth             KF94, KN95, FFP2                     N95
                                                                                                    Filtration Mask*             Filtration Mask**

 Images: Centers for
  Disease Prevention
   and Control (CDC)


Sizes for <12 yrs?     Yes                    Yes (ASTM Level 3)     Yes                        Yes                           No (Adult small available.)
What is this mask      Droplets (e.g. spray   Droplets               Droplets                   Droplets and up to at least   Droplets and up to at least
designed to            from a cough,                                                            94-95% virus aerosols (i.e.   95% virus aerosols.
protect against?       sneeze or spit)                                                          very small particles).
Benefits               Comfortable,           Comfortable,           Comfortable, readily       Readily available. Better     Readily available. Most
                       readily available.     readily available.     available.                 fitting for children and      protective.
                                                                                                youth.                        May fit high school aged
                       May have               Has metal nose         Surgical mask under                                      children.
                       adjustable ear         band to improve fit.   cloth face covering        Has metal nose band; some
                       straps or metal                               applies gentle pressure    brands have adjustable ear    Has metal nose band to
                       nose band to                                  around edges of surgical   loops to improve fit.         improve fit.
                       improve fit.                                  mask helping to make a
                                                                     better seal.               Different styles available;   Straps go behind head to
                       Washable                                                                 some may find one style       make a better seal than ear
                                                                     Two layers impedes         more comfortable than         loops.
                                                                     more virus particles       another.
                                                                     than a single mask.

Drawbacks              No performance         Better than cloth      Probably better than a     Possibly somewhat less        May be less comfortable.
                       standards exist.       but filtration         surgical mask or cloth     comfortable.
                                              performance            face covering alone.                                     More expensive.
                       Unknown filtration                                                       More expensive.
                                              depends on the
                       performance.                                  Filtration performance
                                              design standard.
                                                                     depends on the design
                       No seal around
                                              No seal around         standard of surgical
                       edges.
                                              edges.                 mask.
                       May allow virus to                                                        *Complies with Korean,        **Complies with US
                                              May allow virus to     No seal around edges.
                       get through fabric                                                        Chinese, or European          CDC/NIOSH N95
                                              get through &
                       & around mask                                 May allow virus to get      medical device standards.     standard.
                                              around mask edge.
                       edge.                                         through & around mask
                                                                     edge.
                                                                                                                                                BOH193
                                   Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 200 of 203

Key points when choosing and using masks:               FAQs:
   The more people who wear masks, the more
                                                        Q: What is mask filtration?
                                                                                                                    Understanding Masks
    we will all be protected. If a mask wearer has a
    virus (flu, cold, COVID-19), keeping an infected    A: The ability of a mask to trap and hold droplets
                                                        and aerosols so they are not inhaled.
                                                                                                                     to Protect Children
    sneeze and breath covered will benefit
    everyone.
                                                        Q: When we talk about virus aerosols, what does
                                                                                                                      Against COVID-19
   If your child is old enough to wear an adult
                                                        that mean?
    mask, NIOSH-certified N95 respirators offer the
                                                        A: For COVID-19, the aerosol is a suspension of
    best protection. Some manufacturers offer size
                                                        tiny infectious virus particles that can drift
    small, which may fit some children.
                                                        around in the air. They are easily inhaled.
   If you select the more protective masks--N95,       Aerosols are harder to filter, that’s why the more
    FFP2, KF94, or KN95—check to make sure the          protective masks (N95, FFP2, KN95, KF94) are
    package says it is certified. Some masks are        preferable.                                                                           Images: CDC
    called N95, FFP2, KF94, or KN95 but are not
    certified to the relevant standard.
                                                                                                                    The more people who wear masks,
                                                        Q: What is a droplet?
         o N95 – U.S. NIOSH standard                    A: A droplet is larger in size than an aerosol, for
                                                                                                                    the more we will all be protected.
         o FFP2 – European standard                     example the spray from a cough, sneeze, or spit.            Guidance for respiratory protection
         o KF94 – Korean standard                       Droplets remain in the air for a shorter time and
         o KN95 – Chinese standard
                                                                                                                    for children is still evolving. This is
                                                        travel much shorter distances than aerosols.
                                                                                                                    to help you understand different
   Regardless of mask type, it must fit snuggly to
    provide the best protection.                        Q: What are the safer masks?                                types of face coverings & masks and
        o Headbands (straps that go around the          A: Look for masks approved for medical use. For             their benefits and shortcomings, so
            whole head) provide a tighter fit than      any mask, protection relies on proper                       you can make a more informed
            ear bands.                                  adjustment for a good tight fit.                            choice as your children return to
        o You can knot the mask’s ear bands or                                                                      school.
            head band to achieve a tighter fit.           Most Protective N95*
        o Nose bands should be adjusted for a                              FFP2, KN95 & KF94
            tight fit across the bridge of the nose.                       Surgical mask under cloth cover          Susan Sama, ScD, RN, Epidemiologist
                                                                           Surgical mask**                          Ann Bauer, ScD, Epidemiologist
   Double masking (surgical mask under cloth                                                                       John Lindberg, MS, CIH
                                                           Less Protective Cloth face covering
    covering) probably offers better protection
    than either used alone. Some manufacturers                                                                      Who are we? The authors are researchers and
    offer ASTM Level 3 surgical masks in child sizes.   Q: Where can I buy protective masks?                        parents and this pamphlet summarizes how
                                                        A: Counterfeits can be a problem especially with            we choose masks for our families. We received
Useful references:                                      the N95 and KN95. One source worth                          no funding and are not affiliated with or
https://www.cdc.gov/coronavirus/2019-                   considering is: ProjectN95.org                              endorsing any companies or products. This
ncov/prevent-getting-sick/about-face-                                                                               does not represent opinions of our employers
coverings.html                                          *look for “NIOSH Approved”                                  or funding agencies.
https://www.cdc.gov/coronavirus/2019-                   **look for “ASTM Level 3” to ensure you are buying a high
                                                        quality surgical mask
ncov/prevent-getting-sick/mask-fit-and-                                                                                          August 12, 2021
filtration.html

                                                                                                                                               BOH194
                                                       Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 201 of 203




                                                     The    NEW ENGLA ND JOURNAL                                                                      of   MEDICINE




                                                                                                                                Perspective                 May 21, 2020



                                                     Universal Masking in Hospitals in the Covid-19 Era
                                                     Michael Klompas, M.D., M.P.H., Charles A. Morris, M.D., M.P.H., Julia Sinclair, M.B.A.,
                                                     Madelyn Pearson, D.N.P., R.N., and Erica S. Shenoy, M.D., Ph.D.​​




                                                              A
Universal Masking in Hospitals in the Covid-19 Era




                                                                      s the SARS-CoV-2 pandemic continues to                                          tients. There are two scenarios
                                                                      explode, hospital systems are scrambling to                                     in which there may be possible
                                                                                                                                                      benefits.
                                                                      intensify their measures for protecting pa-                                         The first is during the care of
                                                              tients and health care workers from the virus. An                                       a patient with unrecognized
                                                                                                                                                      Covid-19. A mask alone in this
                                                              increasing number of frontline            a passing interaction in a public             setting will reduce risk only slight-
                                                              providers are wondering whether           space is therefore minimal. In                ly, however, since it does not pro-
                                                              this effort should include univer-        many cases, the desire for wide-              vide protection from droplets that
                                                              sal use of masks by all health care       spread masking is a reflexive re-             may enter the eyes or from fomites
                                                              workers. Universal masking is al-         action to anxiety over the pan-               on the patient or in the environ-
                                                              ready standard practice in Hong           demic.                                        ment that providers may pick up
                                                              Kong, Singapore, and other parts              The calculus may be different,            on their hands and carry to their
                                                              of Asia and has recently been             however, in health care settings.             mucous membranes (particularly
                                                              adopted by a handful of U.S.              First and foremost, a mask is a               given the concern that mask wear-
                                                              hospitals.                                core component of the personal                ers may have an increased ten-
                                                                 We know that wearing a mask            protective equipment (PPE) clini-             dency to touch their faces).
                                                              outside health care facilities of-        cians need when caring for symp-                  More compelling is the possi-
                                                              fers little, if any, protection from      tomatic patients with respiratory             bility that wearing a mask may
                                                              infection. Public health authori-         viral infections, in conjunction with         reduce the likelihood of transmis-
                                                              ties define a significant exposure        gown, gloves, and eye protection.             sion from asymptomatic and min-
                                                              to Covid-19 as face-to-face contact       Masking in this context is already            imally symptomatic health care
                                                              within 6 feet with a patient with         part of routine operations for most           workers with Covid-19 to other
                                                              symptomatic Covid-19 that is sus-         hospitals. What is less clear is              providers and patients. This con-
                                                              tained for at least a few minutes         whether a mask offers any further             cern increases as Covid-19 be-
                                                              (and some say more than 10 min-           protection in health care settings            comes more widespread in the
                                                              utes or even 30 minutes). The             in which the wearer has no direct             community. We face a constant
                                                              chance of catching Covid-19 from          interactions with symptomatic pa-             risk that a health care worker with


                                                                                                      n engl j med 382;21   nejm.org   May 21, 2020                                 e63(1)
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     Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 202 of 203

PE R SP EC TI VE                                                           Universal Masking in Hospitals in the Covid-19 Era


          early infection may bring the virus        paradoxically, lead to more                   evacuees from Wuhan during the
          into our facilities and transmit it        transmission of Covid-19 if it di-            height of the epidemic there was
          to others. Transmission from peo-          verts attention from implement-               only 1 to 3%.4,5 Modelers assess-
          ple with asymptomatic infection            ing more fundamental infection-               ing the spread of infection in Wu-
          has been well documented, al-              control measures.                             han have noted the importance of
          though it is unclear to what ex-               Such measures include vigorous            undiagnosed infections in fueling
          tent such transmission contributes         screening of all patients coming to           the spread of Covid-19 while also
          to the overall spread of infection.1-3     a facility for symptoms of Covid-19           acknowledging that the transmis-
              More insidious may be the              and immediately getting them                  sion risk from this population is
          health care worker who comes to            masked and into a room; early                 likely to be lower than the risk of
          work with mild and ambiguous               implementation of contact and                 spread from symptomatic patients.3
          symptoms, such as fatigue or               droplet precautions, including eye            And then the potential benefits
          muscle aches, or a scratchy throat         protection, for all symptomatic               of universal masking need to be
          and mild nasal congestion, that            patients and erring on the side of            balanced against the future risk
          they attribute to working long             caution when in doubt; rescreen-              of running out of masks and
          hours or stress or seasonal aller-         ing all admitted patients daily for           thereby exposing clinicians to the
          gies, rather than recognizing              signs and symptoms of Covid-19                much greater risk of caring for
          that they may have early or mild           in case an infection was incubat-             symptomatic patients without a
          Covid-19. In our hospitals, we have        ing on admission or they were                 mask. Providing each health care
          already seen a number of instances         exposed to the virus in the hos-              worker with one mask per day for
          in which staff members either              pital; having a low threshold for             extended use, however, may para-
          came to work well but developed            testing patients with even mild               doxically improve inventory con-
          symptoms of Covid-19 partway               symptoms potentially attributable             trol by reducing one-time uses
          through their shifts or worked             to a viral respiratory infection              and facilitating centralized work-
          with mild and ambiguous symp-              (this includes patients with pneu-            flows for allocating masks with-
          toms that were subsequently di-            monia, given that a third or more             out risk assessments at the indi-
          agnosed as Covid-19. These cases           of pneumonias are caused by vi-               vidual-employee level.
          have led to large numbers of our           ruses rather than bacteria); requir-              There may be additional ben-
          patients and staff members being           ing employees to attest that they             efits to broad masking policies
          exposed to the virus and a hand-           have no symptoms before starting              that extend beyond their technical
          ful of potentially linked infections       work each day; being attentive to             contribution to reducing pathogen
          in health care workers. Masking            physical distancing between staff             transmission. Masks are visible re-
          all providers might limit transmis-        members in all settings (including            minders of an otherwise invisible
          sion from these sources by stop-           potentially neglected settings such           yet widely prevalent pathogen and
          ping asymptomatic and minimally            as elevators, hospital shuttle buses,         may remind people of the impor-
          symptomatic health care workers            clinical rounds, and work rooms);             tance of social distancing and
          from spreading virus-laden oral            restricting and screening visitors;           other infection-control measures.
          and nasal droplets.                        and increasing the frequency and                  It is also clear that masks serve
              What is clear, however, is that        reliability of hand hygiene.                  symbolic roles. Masks are not only
          universal masking alone is not a               The extent of marginal benefit            tools, they are also talismans that
          panacea. A mask will not protect           of universal masking over and                 may help increase health care
          providers caring for a patient with        above these foundational measures             workers’ perceived sense of safety,
          active Covid-19 if it’s not accom-         is debatable. It depends on the               well-being, and trust in their hos-
          panied by meticulous hand hygiene,         prevalence of health care workers             pitals. Although such reactions
          eye protection, gloves, and a gown.        with asymptomatic and minimal-                may not be strictly logical, we are
          A mask alone will not prevent              ly symptomatic infections as well             all subject to fear and anxiety,
          health care workers with early             as the relative contribution of               especially during times of crisis.
          Covid-19 from contaminating their          this population to the spread of              One might argue that fear and
          hands and spreading the virus to           infection. It is informative, in              anxiety are better countered with
          patients and colleagues. Focusing          this regard, that the prevalence of           data and education than with a
          on universal masking alone may,            Covid-19 among asymptomatic                   marginally beneficial mask, par-



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     Case 1:21-cv-11794-ADB Document 39-1 Filed 09/09/22 Page 203 of 203

P ER SPE CTIV E                                                               Universal Masking in Hospitals in the Covid-19 Era


         ticularly in light of the worldwide         scribed above may be its greatest                 an asymptomatic contact in Germany. N Engl
                                                                                                       J Med 2020;​382:​970-1.
         mask shortage, but it is difficult          contribution.                                     2. Bai Y, Yao L, Wei T, et al. Presumed asymp-
         to get clinicians to hear this mes-           Disclosure forms provided by the au-            tomatic carrier transmission of COVID-19.
         sage in the heat of the current cri-        thors are available at NEJM.org.                  JAMA 2020 February 21 (Epub ahead of print).
                                                                                                       3. Li R, Pei S, Chen B, et al. Substantial un-
         sis. Expanded masking protocols’            From the Department of Population Medi-           documented infection facilitates the rapid dis-
         greatest contribution may be to             cine, Harvard Medical School and Harvard          semination of novel coronavirus (SARS-CoV2).
         reduce the transmission of anxi-            Pilgrim Health Care Institute (M.K.), Brigham     Science 2020 March 16 (Epub ahead of print).
                                                     and Women’s Hospital (M.K., C.A.M., J.S.,         4. Hoehl S, Rabenau H, Berger A, et al.
         ety, over and above whatever role           M.P.), Harvard Medical School (M.K., C.A.M.,      Evidence of SARS-CoV-2 infection in return-
         they may play in reducing trans-            E.S.S.), and the Infection Control Unit and Di-   ing travelers from Wuhan, China. N Engl J
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